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1    Kathleen P. March, Esq., (CA SBN 80366)
     THE BANKRUPTCY LAW FIRM, PC
2    10524 W. Pico Blvd, Suite 212, LA, CA 90064
3    Phone: 310-559-9224; Fax: 310-559-9133
     Email: kmarch@BKYLAWFIRM.com
4    Counsel of Record for Han Trinh on Motion
5
                           UNITED STATES BANKRUPTCY COURT
6
                CENTRAL DISTRICT OF CALIFORNIA—SANTA ANA DIV.
7
8
     In re                Bankruptcy Case No. 8:23-bk-10571-SC
9
10   THE                  Chapter 11
     LITIGATION
11   PRACTICE                 REPLY OF HAN TRINH (“HAN”), TO TRUSTEE
12   GROUP, P.C.,
                          MARSHACK’S OPPOSITION TO HAN’S MOTION
13                        [DKT.674] FOR ALLOWANCE AND PAYMENT OF
14   Debtor.
                          ADMINISTRATIVE CLAIM PER 11 U.S.C. §503(b)(1)(A);
15                            REPLY DECLARATION OF HAN TRINH;
16                        DECLARATION OF TONY DIAB SIGNED 4/14/24;
17                        DECLARATIONS OF MORGAN LEE, BRENDA MENDEZ,
18                        LINDA PREY, MARIA THACH, RAMONA MONTIERO,
19                        ANA GURROLA, MICHAEL VU, HALEY SIMMONEAU,
20                        ESQ., COLLIN O. DONNER, ESQ., GEORGE
21                        CHAMBERLAIN, ESQ., PETER OSTERMAN, ESQ.,
22                        DENISE MIKRUT, ESQ., DAVID ORR, ESQ., ISRAEL
23                        OROZCO, ESQ., AND KATHLEEN P. MARCH, ESQ.
24                        Hearing on Greyson’s [dkt.290] Motion for allowance and
25                        payment of administrative claim is set for:
26                        Date: April 25, 2024
                          Time: 11:00 a.m.
27                        Place: Courtroom of Bankruptcy Judge Scott Clarkson, by Zoom
28                        or in person at:
     ________________________________________________________________________________________________
     REPLY OF HAN TRINH, TO TRUSTEE MARSHACK’S OPPOSITION TO JHAN’S MOTION [DKT.674]
     FOR ALLOWANCE AND PAYMENT OF ADMINISTRATIVE CLAIM PER 11 U.S.C. §503(b)(1)(A); REPLY
     DECL.OF HAN TRINH; DECLS. OF JAYDE TRINH, TONY DIAB, KATHLEEN P. MARCH, ESQ., AND
     MULTIPLE ADDITIONAL DECLARANTS, AS ATTACHED                                             i
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1                         411 West Fourth Street, Courtroom 5C
2                         Santa Ana, CA 92701-4593

3
4
5          Han Trinh (“Han”) makes Han’s herein REPLY to Trustee’s [dkt.1104]
6
     Opposition (“OPP”) filed 4/11/24, opposing Han’s [dkt.674] Motion for Allowance
7
8    and Payment of Administrative Claim. Han’s herein REPLY consists of the REPLY

9    Memorandum of Points & Authorities, Han Trinh Reply Decl, and Declarations of
10
     Jayde Trinh, Tony Diab, Morgan Lee, Brenda Mendez, Linda Prey, Maria Thach,
11
12   Ramona (“Mona”) Montiero, Ana Gurrola, Michael Vu, Haley Simmoneau, Esq.,

13   George Chamberlain, Esq., Collin O. Donner, Esq., Peter Osterman, Esq., Denise
14
     Mikrut, Esq., David Orr, Esq., Israel Orozco, Esq., and Kathleen P. March, Esq.
15
16
     Dated: April 18, 2024                             THE BANKRUPTCY LAW FIRM, PC
17
18                                                    __/s/ Kathleen P. March__________
                                                      By: Kathleen P. March, Esq
19                                                    Attorneys for Han Trinh on her Motion/
20                                                    Reply
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     ________________________________________________________________________________________________
     REPLY OF HAN TRINH, TO TRUSTEE MARSHACK’S OPPOSITION TO JHAN’S MOTION [DKT.674]
     FOR ALLOWANCE AND PAYMENT OF ADMINISTRATIVE CLAIM PER 11 U.S.C. §503(b)(1)(A); REPLY
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5
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6
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8            Ramona Montiero, Ana Gurrola, and Michael Vu Hereto, Confirm They
9            Worked with Han and Jayde from 3/20/23 to 6/2/23 and There Was Increased
10           Volume of Communications...............................................................................2
11   IV.     The Paychex System (LPG’s Payroll Processor) Printout (Attached as an
12           Exhibit to Han’s Declaration) Reports that Han and Jayde were Active LPG
13           Employees as of 6/2/23.......................................................................................3
14
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15
             Jayde’s Work from 3/20/23 to 6/2/23, was Essential, and Kept LPG’s Client
16
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17
18   VI.     OPP Admits that “Preponderance of the Evidence” is the Applicable Burden of
19           Proof on Han and Jayde’s Motions; the Evidence to Han and Jayde’s Motions
20           in Chief, and the Declarations with Exhibits, to Han and Jayde’s Replies, Far
21           Exceed “Preponderance”, Particularly as Trustee’s OPPs Have No Evidence
22           Contra, Only Unproven Allegations...................................................................5
23
     VII. OPPs Do Not Deny that Late Pay Penalties are Owed on Han and Jayde’s W-2
24
             Salaries, if Those Salaries are Owed to Han and Jayde, Which Han and Jayde
25
             Have Proven........................................................................................................5
26
     VIII. OPP is in Error in Saying Vacation Stopped Accruing, to LPG Employees,
27
             Because No Vacation is Shown Accruing on the Most Recent Date Paychex
28
     ________________________________________________________________________________________________
     REPLY OF HAN TRINH, TO TRUSTEE MARSHACK’S OPPOSITION TO JHAN’S MOTION [DKT.674]
     FOR ALLOWANCE AND PAYMENT OF ADMINISTRATIVE CLAIM PER 11 U.S.C. §503(b)(1)(A); REPLY
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1            Paystub that LPG Issued to LPG Employees; Han’s Declaration Attests that the
2            Paychex Paystubs, for that Last Paid LPG Payroll, Do Not Show Vacation
3            Accruing Most Likely Because LPG, by that Time, Had Stopped Paying for
4            that Function of Paychex Payroll........................................................................6
5    IX.     Opp Does Not Deny that Dinsmore Firm/its Field Agents “Lost” $14,000+ of
6            Han’s Property; Loss Due to Negligence, or Due to Intentional Taking; Either
7            Way the LPG Bankruptcy Estate is Liable to Pay Han for Han’s Property That
8            Dinsmore Firm/its Field Agents, Seized in the 6/2/23 Lockout, Then
9            “Lost”................................................................................................................10
10
     X.      Conclusion........................................................................................................12
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     ________________________________________________________________________________________________
     REPLY OF HAN TRINH, TO TRUSTEE MARSHACK’S OPPOSITION TO JHAN’S MOTION [DKT.674]
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1
            HAN’S REPLY MEMORANDUM OF POINTS AND AUTHORITIES
2
3    I.      OPP [DKT.1103] IS BASED ON THE UTTERLY FALSE ALLEGATION
4            THAT “THERE WAS SIMPLY NO MORE WORK AT LPG”
5           Trustee’s Opposition (“OPP”) [dkt.1103] to Han Trinh’s [dkt.674] Motion for
6    Allowance and Payment of Administrative Claim, is based on the totally false
7
     allegation (OPP, p.9, lines 21-25), that:
8
9               “There was simply no more work at LPG”
10   as of 3/20/23 (date LPG filed bankruptcy), because LPG had transferred its files to
11
     other law firms. Note that OPP cites nothing—no declaration, no exhibit—as
12
13   evidence proving this allegation, because this allegation is utterly false.
14
     II.     HAN (AND JAYDE) HAD MORE WORK TO DO—NOT LESS—FROM
15
             3/20/23 TO 6/2/23
16
            Han Trinh’s Declaration to this Reply, ¶17-¶19 (and Jayde’s Declaration ¶20-
17
     ¶22 to Jayde’s Reply) explains in detail the 6 reasons why Han and Jayde had more
18
19   work to do—not less work—from 3/20/23 to 6/2/23:
20
21
            1. “ To elaborate, Jayde and I both had EVEN MORE work to do, from mid-
22             February 2023 to 06/02/23, because there were significantly increased
23             communications to LPG, by former clients, current clients, the “local
               counsel” attorneys who left LPG but were still defending clients in state
24
               court suits across the US, opposing counsels, etc. as a result of (1) LPG
25             having transferred LPG’s files to Oakstone Law Group (and after that to
26             Phoenix Law), (2) LPG filing bankruptcy on 03/20/23, (3) the erroneous
27             payment processing errors that were pulled from clients (ie, drawing double
               amount of money that was agreed upon between LPG and the client out of
28   ________________________________________________________________________________________________
     REPLY OF HAN TRINH, TO TRUSTEE MARSHACK’S OPPOSITION TO JHAN’S MOTION [DKT.674]
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     LINDA PREY, MARIA THACK, RAMONA MONTIERO, MICHAEL VU, HALEY SIMMONEAU AND
     KATHLEEN P. MARCH, ESQ.                                                                        1
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 1               client’s bank accounts or credit cards, (4) clients and attorneys emailed and
                 phoned LPG, saying they could not reach anyone at Oakstone or Phoenix,
 2
                 and (5) if the clients and local counsel had been able to reach anyone at
 3               Oakstone or Phoenix, the people at Oakstone and Phoenix did not know
 4               enough about the clients/lawsuits against clients, to answer the questions that
 5               were then asked to Jayde and I at LPG, and (6) people from Oakstone and
                 Phoenix phoned and emailed me and Han, asking us to help them, because
 6               they lacked information.
 7            2. There was no one left at LPG to do the work that Jayde and I, and our
 8               assistants, did from 03/20/23 to 06/02/23. Daniel March did not know the
                 files or issues well enough to answer the inquires that Jayde and I answered
 9
                 from 03/20/23 to 06/2/23. Not to mention he did not have time to do so,
10               because he was counsel of record defending many clients in California state
11               court suits. Daniel March and his paralegals would email my team and I to
                 assist him, and such emails could be found in the LPG emails.
12
              3. For all 6 of these reasons, nothing could be further from the truth than OPP
13               alleging there was “simply no more work at LPG.” All 6 of these things that
14               I listed immediately supra resulted in there being a larger volume of
15               communications that Jayde, her team, my team, and I had to respond to,
                 between 03/20/23 and 06/02/24, than the volume of communications we had
16
                 to respond to, before 03/20/23.
17
18     III.   THE DECLARATIONS OF MORGAN LEE, BRENDA MENDEZ,
19            LINDA PREY, MARIA THACH, RAMONA MONTIERO, ANA
20            GURROLA, AND MICHAEL VU HERETO, CONFIRM THEY
21            WORKED WITH HAN AND JAYDE FROM 3/20/23 TO 6/2/23 AND
22            THERE WAS INCREASED VOLUME OF COMMUNICATIONS
23      In addition to Han’s, Jayde’s and Diab’s Declaration hereto, the Declarations of
24 Morgan Lee, Brenda Mendez, Linda Prey, Maria Thach, Ramona (“Mona”) Montiero,
25
     Ana Gurrola, and Michael Vu to Han and Jayde’s Replies each attest they worked with
26
27
28    ________________________________________________________________________________________________
      REPLY OF HAN TRINH, TO TRUSTEE MARSHACK’S OPPOSITION TO JHAN’S MOTION [DKT.674]
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      KATHLEEN P. MARCH, ESQ.                                                                        2
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1 Han and Jayde from 3/20/23 to 6/2/23, and attest to the increased volume of work from
2 3/20/23 to 6/2/23.
3
    IV. THE PAYCHEX SYSTEM (LPG’S PAYROLL PROCESSOR)
4
           PRINTOUT (ATTACHED AS AN EXHIBIT TO HAN’S
5
           DECLARATION) REPORTS THAT HAN AND JAYDE WERE ACTIVE
6
           LPG EMPLOYEES AS OF 6/2/23
7
           Han Trinh’s Declaration to this Reply attests that Paychex was LPG’s payroll
8
9    processing company. Han attaches, as Exhibit A To Han’s Reply Declaration, a
10   printout from Paychex that reports that Han and Jayde were active LPG employees as
11
     of 6/2/23, along with active employees Daniel March, Olga Esquivel, and Carl
12
13   Wuestehube.
14
             There is no Declaration of LPG managing attorney Daniel March, to Trustee’s
15
     OPPs to Han and Jayde’s administrative claim motions. In light of that Paychex
16
17   printout, Exhibit A to Han’s Declaration, the most charitable thing that can be said
18
     about Daniel March’s erroneous testimony, in the 4/24/23 LPG 341a meeting, is that
19
     Daniel March misspoke and/or forgot to clarify that he and his paralegals Olga and
20
21   Carl were not working in LPG’s Tustin Office, but instead were working in Daniel
22
     March’s office that was down the street from LPG’s Tustin office. Daniel March
23
     hardly ever went to LPG’s Tustin office after mid-February 2023, so he would not
24
25   know when Han and Jayde were working in LPG’s Tustin office and/or when Han and
26
     Jayde were working remote, from mid-February 2023 to 6/2/23.
27
28   ________________________________________________________________________________________________
     REPLY OF HAN TRINH, TO TRUSTEE MARSHACK’S OPPOSITION TO JHAN’S MOTION [DKT.674]
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     KATHLEEN P. MARCH, ESQ.                                                                        3
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1            But it’s harder to be charitable about Daniel March’s erroneous 341a
2    testimony, when the 62-page list of emails that is Exhibit B to Han’s Declaration to
3
     this Reply lists some emails showing that Daniel March and his paralegals were
4
5    asking questions to Han during the 3/20/23 to 6/2/23 period. (Han Decl to this Reply
6    goes over this).
7
             Tony Diab’s Declaration (signed 4/14/24) to this Reply attests that Daniel
8
9    March worked from Daniel March’s office down the street from LPG’s Tustin office,
10   not from LPG’s Tustin office.
11
12
     V.      TONY DIAB’S DECLARATION TO HAN’S AND JAYDE’S REPLIES
13
             ATTESTS THAT HAN AND JAYDE’S WORK FROM 3/20/23 TO
14
             6/2/23, WAS ESSENTIAL, AND KEPT LPG’S CLIENT BASE FROM
15
             BEING DIMINISHED OR COMPLETELY FALLING APART
16
            Tony Diab’s Declaration (signed 4/14/24), to Han and Jayde’s Replies, could
17
18   not be clearer attesting to the benefit to LPG of Han and Jayde’s work for LPG from
19
     3/20/23 to 6/2/23. Diab Decl, ¶7, signed 4/14/24, attests that Han and Jayde’s work
20
     from 3/20/23 to 6/2/23 was essential and that without their work, LPG’s client base
21
22   would have been diminished, if that client base had not completely fallen apart:
23
24
            “The work that Han and Jayde did for LPG was essential in allowing LPG to
25          continue to respond to clients. It was also essential in allowing the law firms
26          that received client files to services those files as they had many questions
            regarding client files, the status of ongoing settlements, and the procedures LPG
27
28   ________________________________________________________________________________________________
     REPLY OF HAN TRINH, TO TRUSTEE MARSHACK’S OPPOSITION TO JHAN’S MOTION [DKT.674]
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     KATHLEEN P. MARCH, ESQ.                                                                        4
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1           would apply in certain circumstances. Without their assistance the client base at
            LPG would have diminished if not completely fallen apart.”
2
3           Han and Jayde’s Declarations confirm that Han and Jayde’s work allowed
4
      Trustee Marshack to sell the LPG client files, which Trustee’s OPP (p2, footnote 2)
5
      claims was LPG’s most valuable asset, to Morning Law for many millions of dollars
6
7     in August 2023. (See Kathleen P. March, Esq. Decl. to this Reply about Trustee
8
      selling LPG’s client files to winning bidder Morning Law (Sale Order is dkt.325,
9
      entered 8/2/3, for a price supposed to be higher than the 42 million dollars that
10
11    losing bidder Consumer Legal Group, had offered.
12
            Trustee would not have been able to sell LPG’s client files for 42 million or
13
      more, if LPG’s client base had completely fallen apart. (Kathleen P. March Decl
14
15    hereto; Tony Diab Decl hereto).
16
17
     VI.     OPP ADMITS THAT “PREPONDERANCE OF THE EVIDENCE” IS
18
             THE APPLICABLE BURDEN OF PROOF ON HAN AND JAYDE’S
19
             MOTIONS; THE EVIDENCE TO HAN AND JAYDE’S MOTIONS IN
20
             CHIEF, AND THE DECLARATIONS WITH EXHIBITS, TO HAN AND
21
             JAYDE’S REPLIES, FAR EXCEED “PREPONDERANCE”,
22
             PARTICULARLY AS TRUSTEE’S OPPS HAVE NO EVIDENCE
23
             CONTRA, ONLY UNPROVEN ALLEGATIONS
24
             OPP (p.5 OPP to Han’s Motion, p.5 OPP to Jayde’s Motion) admits that “proof
25
26   by a preponderance of the evidence” is Han and Jayde’s burden of proof. Han and

27   Jayde’s Motions in chief [dkt.674 Han and dkt.675 Jayde] exceed that burden of
28   ________________________________________________________________________________________________
     REPLY OF HAN TRINH, TO TRUSTEE MARSHACK’S OPPOSITION TO JHAN’S MOTION [DKT.674]
     FOR ALLOWANCE AND PAYMENT OF ADMINISTRATIVE CLAIM PER 11 U.S.C. §503(b)(1)(A); REPLY
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     LINDA PREY, MARIA THACK, RAMONA MONTIERO, MICHAEL VU, HALEY SIMMONEAU AND
     KATHLEEN P. MARCH, ESQ.                                                                        5
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1    proof. This is particularly true as OPPs have no evidence contra, to Han and Jayde’s
2    evidence, only unproven allegations.
3
4
      VII. OPPs DO NOT DENY THAT LATE PAY PENALTIES ARE OWED ON
5
             HAN AND JAYDE’S W-2 SALARIES, IF THOSE SALARIES ARE
6
             OWED TO HAN AND JAYDE, WHICH HAN AND JAYDE HAVE
7
             PROVEN
8
            Han and Jayde’s Motions in chief [dkt. 674 Han, dkt.675 Jayde] brief the
9
10   California statutes requiring an employer, which pays salary late, to pay late pay
11   penalties.
12
            OPPs do not deny that LPG’s bankruptcy estate owes late pay penalties, in the
13
14   amounts calculated/briefed in Han and Jayde’s Motions in chief, if LPG owes Han and
15
     Jayde their W-2 salaries for 3/20/23 through 6/2/23.
16
            The evidence to Han and Jayde’s Motions in chief, and to Han and Jayde’s
17
18   herein Replies, proves that Han and Jayde continued to be LPG W-2 salaried
19
     employees, for the work they did for LPG, from 3/20/23 to 6/2/23, as the Paychex
20
     payroll system LPG used shows (Exhibit A to Han Decl to this Reply). LPG will be
21
22   paying late, so the late pay penalties briefed in Han and Jayde’s Motions in chief
23
     [$34,615.38 Han; $28,846.15 Jayde] are owed to Han and Jayde by LPG and this Court
24
     should order LPG to pay those “late pay” amounts.
25
26
27
28   ________________________________________________________________________________________________
     REPLY OF HAN TRINH, TO TRUSTEE MARSHACK’S OPPOSITION TO JHAN’S MOTION [DKT.674]
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     KATHLEEN P. MARCH, ESQ.                                                                        6
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1    VIII. OPP IS IN ERROR IN SAYING VACATION STOPPED ACCRUING,
2            TO LPG EMPLOYEES, BECAUSE NO VACATION IS SHOWN
3            ACCRUING ON THE MOST RECENT DATE PAYCHEX PAYSTUB
4            THAT LPG ISSUED TO LPG EMPLOYEES; HAN’S DECLARATION
5            ATTESTS THAT THE PAYCHEX PAYSTUBS, FOR THAT LAST
6            PAID LPG PAYROLL, DO NOT SHOW VACATION ACCRUING
7            MOST LIKELY BECAUSE LPG, BY THAT TIME, HAD STOPPED
8            PAYING FOR THAT FUNCTION OF PAYCHEX PAYROLL
9           OPPS do not deny that earlier Paychex paystubs—issued to Han and Jayde
10   by Paychex—paying LPG the salaries to Han, Jayde, and additional LPG W-2
11
     employees, showed vacation time was accruing. Han and Jayde’s Motions in chief
12
13   [dkt.764 Han, dkt.765 Jayde] point this out.
14
            The Declaration of Marshack Hays law firm attorney, Alina Mamlyuk, alleges
15
     that Mamlyuk sent attorney Kathleen March of The Bankruptcy Law Firm, PC, the
16
17   entire record of Jayde and Han's paystubs for their employment with LPG. Attorney
18
     Kathleen has received no such thing from attorney Mamlyuk. (March Decl) In fact, it
19
     was attorney Kathleen March who sent all the LPG paystubs that Jayde and Han had,
20
21   to Mamlyuk. Exhibit A to March Decl is the 56 Han LPG paystubs, and Exhibit B
22
     attaches the 59 Jayde LPG paystubs (stubs for 7/9/21 to last paychex paystub, dated
23
     3/17/23. Some of that 1 and ½ years of Paystubs show vacation pay being accrued).
24
25   March sent Mamlyuk all the Paychex paystubs that Han and Jayde had. (March
26
     Decl) But Trustee could have accessed all of Han and Jayde’s Paychex records, and
27
28   ________________________________________________________________________________________________
     REPLY OF HAN TRINH, TO TRUSTEE MARSHACK’S OPPOSITION TO JHAN’S MOTION [DKT.674]
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     LINDA PREY, MARIA THACK, RAMONA MONTIERO, MICHAEL VU, HALEY SIMMONEAU AND
     KATHLEEN P. MARCH, ESQ.                                                                        7
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1    all of every other LPG employee’s paystub records, at Paychex, as the person in
2    charge of LPG’s bankruptcy estate (March Decl hereto). If Trustee had gone through
3
     all of Jayde's 59 LPG paystubs (as OPP alleges), and Han’s 56 LPG Paychex
4
5    paystubs, which March sent Mamlyuk, from 7/9-21 to 3/17 32, Trustee would have
6    noticed that many of those Paychex paystubs showed vacation hours
7
     accruing. Considering that the "Time Off (based on Policy Year)" section is shown
8
9    intermittently, on the Paychex paystubs, the fact that the last Paychex paystub does
10   not show that “Time Off (based on Policy Year)” section, does establish that vacation
11
     stopped accruing. It only shows that Paychex paystubs only intermittently reported
12
13   vacation time accruing.
14
            Trustee’s attorneys could not reasonably have thought that all the accrued
15
     vacation pay, through the next to last paystub, disappeared. (March Decl to Reply).
16
17   That did not happen. Rather, Han’s Declaration to this Reply attests after LPG's HR
18
     employee left LPG on 2/14/2024, Han was abruptly appointed to handle payroll. Han
19
     was inexperienced with Paychex's multiple features and the possibility that her
20
21   account was not set up with the correct ability to include all features necessary, there
22
     can be multiple reasons why LPG paystubs, after 2/17/23, did not report vacation
23
     hours for any LPG employees on their paystubs. Another most likely reason is that
24
25   LPG had stopped paying Paychex's invoice, which bills, inter alia, for the Time and
26
     Attendance product on Paychex. When invoices are not paid, the products not paid
27
28   ________________________________________________________________________________________________
     REPLY OF HAN TRINH, TO TRUSTEE MARSHACK’S OPPOSITION TO JHAN’S MOTION [DKT.674]
     FOR ALLOWANCE AND PAYMENT OF ADMINISTRATIVE CLAIM PER 11 U.S.C. §503(b)(1)(A); REPLY
     DECL.OF HAN TRINH; DECLS. OF JAYDE TRINH, TONY DIAB, MORGAN LEE, BRENDA MENDEZ,
     LINDA PREY, MARIA THACK, RAMONA MONTIERO, MICHAEL VU, HALEY SIMMONEAU AND
     KATHLEEN P. MARCH, ESQ.                                                                        8
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1    for are deactivated, with the result accrued vacation hours do not print on Paychex
2    paystubs (Han Decl to Reply). However, Han and Jayde were aware they accrued
3
     6.16 hours of vacation time, for every 2 week (biweekly) pay period so they were
4
5    able to calculate the vacation hours that were accruing. (Han Decl, to Reply, Jayde
6    Decl to Reply) they took the most recent paystub that listed accrued vacation hours
7
     and added 6.16 hours additional vacation accrual for every pay period
8
9    thereafter. (Han Decl, Jayde Decl).
10          As briefed in Han and Jayde’s Motions in chief [dkt.764 Han, Dkt.765 Jayde],
11
     per California law, employers are required to pay employees all accrued vacation
12
13   pay, at the time the employee is terminated, regardless whether termination occurs
14
     voluntarily by employee quitting, or involuntarily, by employer laying off or firing
15
     the employee. Per California state law, the dollar amount owed an employee upon
16
17   termination, for accrued vacation, is paid by using the employee’s salary amount.
18
            Because the employee is not entitled to be paid accrued vacation, until the
19
     date that employee’s employment terminates--which for Han and Jayde was 6/2/23--
20
21   and because 6/2/23 is months post-petition, that obligation is a post-petition
22
     obligation of LPG, and the Court should order LPG’s bankruptcy estate to pay Han
23
     and Jayde their accrued vacation pay, as calculated in Han and Jayde’s Motions in
24
25   Chief [dkt.674 Han, dkt.675 Jayde]. There is no binding authority that counsel for
26
     Han and Jayde found, nationwide, ruling on whether or not vacation pay that comes
27
28   ________________________________________________________________________________________________
     REPLY OF HAN TRINH, TO TRUSTEE MARSHACK’S OPPOSITION TO JHAN’S MOTION [DKT.674]
     FOR ALLOWANCE AND PAYMENT OF ADMINISTRATIVE CLAIM PER 11 U.S.C. §503(b)(1)(A); REPLY
     DECL.OF HAN TRINH; DECLS. OF JAYDE TRINH, TONY DIAB, MORGAN LEE, BRENDA MENDEZ,
     LINDA PREY, MARIA THACK, RAMONA MONTIERO, MICHAEL VU, HALEY SIMMONEAU AND
     KATHLEEN P. MARCH, ESQ.                                                                        9
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1    due postpetition is an administrative claim. Bankruptcy cases are not binding
2    authority so this is an open issue. (March Decl to this Reply). Even if only the
3
     vacation pay that Han and Jayde accrued, from 3/20/23 to 6/2/23, was ordered paid,
4
5    that would be 33.88 hours vacation pay accrued during that period, for Han, which is
6    $4,878.72 for Han at Han’s salary; and would be 33.88 hours vacation pay accrued
7
     during that period, for Jayde, which is $4,065.60 for Jayde at Jayde’s salary. (Han
8
9    Decl to Han’s Reply, Jayde Decl to Jayde’s Reply).
10   IX.     OPP DOES NOT DENY THAT DINSMORE FIRM/ITS FIELD AGENTS
11           “LOST” $14,000+ OF HAN’S PROPERTY; LOSS DUE TO
12           NEGLIGENCE, OR DUE TO INTENTIONAL TAKING; EITHER WAY
13
             THE LPG BANKRUPTCY ESTATE IS LIABLE TO PAY HAN FOR
14
             HAN’S PROPERTY THAT DINSMORE FIRM/ITS FIELD AGENTS,
15
             SIEZED IN THE 6/2/23 LOCKOUT, THEN “LOST”
16
             OPP does not deny that Trustee’s special counsel, Dinsmore & Shohl, LLP
17
     have failed to return to Han $14,000+ of Han’s personally owned property, which was
18
19   seized at Greyson’s office on 6/2/23, by Dinsmore Firm/its field agents.
20
             Greyson Law Center PC’s [dkt.676] administrative claim motion in chief (at
21
     Sections I. and II.) briefs the controlling law, that a bankruptcy estate is liable to pay
22
23   for damage a trustee/trustee’s agents cause, whether caused by negligence, or whether
24
     caused by conduct that is an intentional tort (like converting property of a non-debtor).
25
             Han incorporates that briefing here, as if set forth in full here. Per that
26
27   controlling law, it doesn’t matter whether Trustee’s attorneys, Dinsmore & Shohl
28   ________________________________________________________________________________________________
     REPLY OF HAN TRINH, TO TRUSTEE MARSHACK’S OPPOSITION TO JHAN’S MOTION [DKT.674]
     FOR ALLOWANCE AND PAYMENT OF ADMINISTRATIVE CLAIM PER 11 U.S.C. §503(b)(1)(A); REPLY
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     LINDA PREY, MARIA THACK, RAMONA MONTIERO, MICHAEL VU, HALEY SIMMONEAU AND
     KATHLEEN P. MARCH, ESQ.                                                                        10
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1    LLP/their field agents, negligently “lost” Han’s $14,000+ of seized property, seized at
2    Greyson’s office on 6/2/23, or converted Han’s property intentionally. Either way
3
     they seized $14,000+ of Han’s personally owned property on 6/2/23 and have not
4
5    returned Han’s personally owned property to Han, to present.
6            Consequently, the LPG bankruptcy estate owes Han the $14,000+ value of the
7
     seized property, proven by receipts and by Han’s Declaration to Han’s Motion in chief
8
9    [dkt674].
10           Note that Trustee’s field agents were NOT honest regarding Han’s personal
11
     items which they had seized at Greyson’s office on 6/2/23. (March Decl hereto).
12
13   Trustee’s special counsel, Dinsmore & Shohl LLP and their field agents, who
14
     performed the Lockout at Greyson on 6/2/23, were NOT honest regarding Han’s
15
     personal items which they had seized at Greyson’s office on 6/2/23. (March Decl
16
17   hereto). Dinsmore and the field agents claimed repeatedly they could not find the 86-
18
     inch TV, owned by Han personally, even though that 86-inch TV was bolted to the
19
     wall in Han’s locked room at Greyson. A TV that big, bolted to the wall, is not “lost”,
20
21   though Trustee’s field agents, and attorneys, repeatedly told Han attorney Kathleen
22
     March of The Bankruptcy Law Firm, in emails, that they couldn’t locate Han’s big
23
     screen TV. That was untrue, they knew it was bolted to the wall in the office Han had
24
25   occupied. The field agents just wanted to keep Han’s TV, instead of returning the TV
26
     to Han. It took multiple emails by me, to get Dinsmore firm and field agents, to get
27
28   ________________________________________________________________________________________________
     REPLY OF HAN TRINH, TO TRUSTEE MARSHACK’S OPPOSITION TO JHAN’S MOTION [DKT.674]
     FOR ALLOWANCE AND PAYMENT OF ADMINISTRATIVE CLAIM PER 11 U.S.C. §503(b)(1)(A); REPLY
     DECL.OF HAN TRINH; DECLS. OF JAYDE TRINH, TONY DIAB, MORGAN LEE, BRENDA MENDEZ,
     LINDA PREY, MARIA THACK, RAMONA MONTIERO, MICHAEL VU, HALEY SIMMONEAU AND
     KATHLEEN P. MARCH, ESQ.                                                                        11
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1    them to admit they had the TV, still bolted to the wall, and to get the TV returned to
2    Han, who had to bring workers to remove the TV from the wall.
3
     X.      CONCLUSION
4
            Instead of Trustee’s attorneys having filed their OPPS [dkt1103, dkt.1104] to
5
6    Han and Jayde’s administrative claim motions—lacking evidence to prove the
7    allegations made in those OPPs, Trustee/the LPG bankruptcy estate should be
8
     thanking Han and Jayde for their essential post-petition work for LPG, done from
9
10   3/20/23 to 6/2/23, which kept LPG’s client base from “…being diminished, if it had
11   not completely fallen apart” (as Tony Diab’s Declaration, ¶7, to this Reply attests.
12
     Trustee should be agreeing to pay Han and Jayde’s their W-2 salaries, for 3/20/23 to
13
14   6/2/23, because Han and Jayde’s work benefitted LPG, allowing Trustee to sell
15
     LPG’s client files to Morning Law for many millions of dollars. The amounts sought
16
     by Han and Jayde’s administrative claim motions [dkt.674 Han, dkt.675 Jayde] are
17
18   tiny, compared to the many millions of dollars Trustee sold LPG’s client files to
19
     Morning Law for [5.5 million to start and a percent of further fees paid by the
20
     consumer clients, for a total payment to the bankruptcy estate projected at being 50
21
22   million dollars or more. [March Decl; Sale order is dkt.352, entered 8/2/23].
23
            Plus, the Court should order the LPG bankruptcy estate to reimburse Han Trinh
24
     for the $14,000+ of Han’s personally owned property, paid for by Han, that Trustee’s
25
26   special counsel Dinsmore & Sholl LLP/their field agents seized at Greyson on 6/2/23,
27
28   ________________________________________________________________________________________________
     REPLY OF HAN TRINH, TO TRUSTEE MARSHACK’S OPPOSITION TO JHAN’S MOTION [DKT.674]
     FOR ALLOWANCE AND PAYMENT OF ADMINISTRATIVE CLAIM PER 11 U.S.C. §503(b)(1)(A); REPLY
     DECL.OF HAN TRINH; DECLS. OF JAYDE TRINH, TONY DIAB, MORGAN LEE, BRENDA MENDEZ,
     LINDA PREY, MARIA THACK, RAMONA MONTIERO, MICHAEL VU, HALEY SIMMONEAU AND
     KATHLEEN P. MARCH, ESQ.                                                                        12
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1    and thereafter “lost”. Where lost by negligence, or converted, the bankruptcy estate is
2    liable for this damage, caused by its agents.
3
     Dated: April 18, 2024                             THE BANKRUPTCY LAW FIRM, PC
4
5                                                      __/s/ Kathleen P. March__________
                                                       By: Kathleen P. March, Esq
6
                                                       Attorneys for Han Trinh on this REPLY
7
8
9
10
11
12
13
14
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16
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19
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21
22
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24
25
26
27
28   ________________________________________________________________________________________________
     REPLY OF HAN TRINH, TO TRUSTEE MARSHACK’S OPPOSITION TO JHAN’S MOTION [DKT.674]
     FOR ALLOWANCE AND PAYMENT OF ADMINISTRATIVE CLAIM PER 11 U.S.C. §503(b)(1)(A); REPLY
     DECL.OF HAN TRINH; DECLS. OF JAYDE TRINH, TONY DIAB, MORGAN LEE, BRENDA MENDEZ,
     LINDA PREY, MARIA THACK, RAMONA MONTIERO, MICHAEL VU, HALEY SIMMONEAU AND
     KATHLEEN P. MARCH, ESQ.                                                                        13
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1
                   HAN TRINH DECLARATION TO THIS REPLY
2
3           I, HAN TRINH (“Han”), declare:
4
5           4. My administrative claim Motion [dkt674] filed 11/17/24, requests that
6              LPG’s bankruptcy estate pay me my Litigation Practice Group PC (“LPG”)
7
               salary, for the 11 weeks of essential work I did for LPG, from 03/20/23 to
8
9              06/02/23.
10          5. I have read Trustee Marshack’s Opposition (“OPP”) [dkt.1103] filed
11
               04/11/24. That OPP alleges I am not entitled to be paid my salary by LPG’s
12
13             bankruptcy estate, for the 11 weeks of essential work I did for LPG, from
14
               03/20/23 to 06/02/23, and that I am not entitled to be paid the vacation pay
15
               that I accrued before 03/20/23, the date on which LPG filed bankruptcy.
16
17          6. The OPP is incorrect in alleging I was not a W2 employee of LPG from
18
               03/20/23 through 06/02/23 (date of Lockouts). As I have stated in multiple
19
               Declarations and in my 03/20/2024 deposition with attorney Ghio, I was an
20
21             LPG W2 employee 01/29/21 until 06/02/23.
22
            7. Records of LPG’s payroll processor, Paychex, shows that as of 06/02/23,
23
               LPG had 5 ACTIVE employees: Daniel March, Olga Esquivel, Phuong
24
25             Trinh (Jayde), Carl Wuestehube, and Han Trinh. That Paycheck printout is
26
               Exhibit A to this Declaration.
27
28
     ________________________________________________________________________________________________
     REPLY OF HAN TRINH (“HAN”), TO TRUSTEE MARSHACK’S OPPOSITION TO HAN’S MOTION
     [DKT.674] FOR ALLOWANCE AND PAYMENT OF ADMINISTRATIVE CLAIM PER 11 U.S.C. 14
     §503(b)(1)(A); REPLY DECLARATION OF HAN TRINH; DECLARATION OF TONY DIAB                       1
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1           8. Attached as Exhibit B to my herein Declaration are screenshots of a list of
2              some emails from han@lpglaw.com and legal@lpglaw.com proving that my
3
               team and I were doing a large volume of LPG work, from 03/20/23 thru
4
5              06/02/23. Even Alex Rubin’s declaration, in favor of the Opposition against
6              Greyson, Jayde, and I, provided exhibits of some of those LPG emails
7
               proving that Jayde and I never stopped working for LPG until the lockout
8
9              order date. I cannot understand why attorney Mamlyuk is claiming that I
10             have not met my burden of proof to establish that I was an LPG employee
11
               post-petition for even a day when she is well aware that I do not have access
12
13             to LPG to prove that. From my understanding, Dinsmore and the Trustee’s
14
               office should have access to all of LPG’s email accounts and would be able
15
               to find substantial evidence that Jayde, her team, my team, and I continued
16
17             working on behalf of LPG. Some of those email accounts would be
18
               support@lplaw.com, payment@lpglaw.com, paymentlegal@lpglaw.com,
19
               service@lpglaw.com, han@lpglaw.com, urgent@lpglaw.com,
20
21             legal@lpglaw.com, jayde@lpglaw.com, attorney@lpglaw.com, etc.
22
            9. Furthermore, Jayde and I do not have access to LPG’s phone logs. LPG’s
23
               phone logs would also show that Jayde and her team were handling all
24
25             escalated calls that were coming in and calling out to those clients that my
26
               team would notify Jayde’s team up until 06/02/2023.
27
28
     ________________________________________________________________________________________________
     REPLY OF HAN TRINH (“HAN”), TO TRUSTEE MARSHACK’S OPPOSITION TO HAN’S MOTION
     [DKT.674] FOR ALLOWANCE AND PAYMENT OF ADMINISTRATIVE CLAIM PER 11 U.S.C. 15
     §503(b)(1)(A); REPLY DECLARATION OF HAN TRINH; DECLARATION OF TONY DIAB                       2
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1           10. LPG’s procedure, in 2021, 2022, and 2023 was to send a Termination letter
2              attached with the terminated employees or employees’ who quit, final
3
               paystub by email with their final paycheck deposited in their bank accounts
4
5              or a final check mailed out to them if the employee was working remote for
6              LPG. If the employee worked in office, those terminated employees or
7
               employees who quit would go through the same process but just in-person.
8
9              Attorney Mamlyuk, Trustee’s office, and Dinsmore can find examples of
10             LPG Termination letters that went out to these employees in LPG HR’s files
11
               and LPG’s HR email (hr@lpglaw.com). Jayde and I have never received a
12
13             termination notice, termination letter, or even a final paycheck from LPG
14
               that would indicate that we were no longer employed by LPG at any point in
15
               time. I produced all deposits that I received from LPG and all deposits in
16
17             general in my personal bank account prior to my deposition on 03/20/2024
18
               with attorney Ghio as was required by me.
19
            11. Attorney Mamlyuk claims that my Declaration attached to Greyson’s
20
21             Motion for Administrative Claim, that “in the very second paragraph, Han
22
               fully admits to working as Greyson’s administrator since March 12, 2023. A
23
               true and correct copy of the Declaration of Han Trinh filed on November 17,
24
25             2023, as Dk. No. 676-1, is attached to the Hays Decl. as Exhibit 4”. I have
26
               reviewed that specific exhibit, and this is what it states:
27
28
     ________________________________________________________________________________________________
     REPLY OF HAN TRINH (“HAN”), TO TRUSTEE MARSHACK’S OPPOSITION TO HAN’S MOTION
     [DKT.674] FOR ALLOWANCE AND PAYMENT OF ADMINISTRATIVE CLAIM PER 11 U.S.C. 16
     §503(b)(1)(A); REPLY DECLARATION OF HAN TRINH; DECLARATION OF TONY DIAB                       3
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1                  “2. From when Greyson Law Center PPC (“Greyson”) was incorporated
2                  as a California corporation on 5/12/23, to present, I have been the
3                  administrator of Greyson, administering Greyson’s client files, and
4                  hiring/firing/assigning/monitoring Greyson’s attorney staff. I have
5                  personal knowledge of everything in this declaration, and could and
6                  would testify competently thereto, if called on to do so at trial or
7                  hearing.”
8    Nowhere does the date March 12, 2023 come up and as a matter of fact, my first
9    declaration for Greyson for the June 12, 2023 hearing in paragraph 4 states:
10
                   “In April of 2023, I joined Greyson as the Administrator.”
11
12          12. I was employed by Greyson Law Center, PC (“Greyson”), for part of the
13
               period of 03/20/23 to 06/02/23, but as Greyson only had 48 client files, as of
14
               06/02/23 and was a startup, working for Greyson left me plenty of time to
15
16             continue doing my essential work for LPG, particularly as I was able to
17
               work nights and weekends as a salaried employee. I provided a document to
18
               show that I was invited to fill out onboarding paperwork with Eng Taing’s
19
20             Greyson on 04/10/2024 through Eng Taing’s Greyson’s chosen payroll
21
               processor, Gusto, which was required of me before my 03/24/2024
22
               deposition with attorney Ghio. Attorney Mamlyuk states that my motion
23
24             “conspicuously avoids pinning a date at which Han began employment at
25
               Greyson. This evasiveness is telling.” I did not avoid anything. The only
26
27             reason I did not mention Greyson specifically in my Motion for

28
     ________________________________________________________________________________________________
     REPLY OF HAN TRINH (“HAN”), TO TRUSTEE MARSHACK’S OPPOSITION TO HAN’S MOTION
     [DKT.674] FOR ALLOWANCE AND PAYMENT OF ADMINISTRATIVE CLAIM PER 11 U.S.C. 17
     §503(b)(1)(A); REPLY DECLARATION OF HAN TRINH; DECLARATION OF TONY DIAB                       4
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1              Administrative Claim was simply because Greyson had nothing to do my
2              personal administrative claim with LPG.
3
            13. After reaching out with a lot of former Greyson attorneys, they confirmed
4
5              that they received their official offer letter from Ms. Harris of Eng Taing’s
6              Greyson. The date on the offer letter is neither here nor there because a lot of
7
               attorneys that did accept Eng Taing’s Greyson’s offer letter were employed
8
9              by Oakstone Law Group and other firms at that time. I am pretty sure
10             attorneys have the freedom and the right to choose where to work. I
11
               explained all of this as thoroughly as possible and as asked of me, in my
12
13             03/20/24 deposition with attorney Ghio.
14
            14. I did a minimum of 40 hours of work for LPG each week, from 03/20/23
15
               through 6/2/23. But because I was a salaried W2 employee at LPG, I did
16
17             NOT keep daily time records of what work I did for LPG each day. I never
18
               had to. In fact, none of LPG’s salaried employees were required to do that,
19
               including the former LPG attorneys who were also salaried employees. In
20
21             fact, none of the former LPG attorneys were required to bill their hours
22
               because that was not the work model LPG had. That was how LPG’s
23
               Paychex account was set up by LPG. Attorney Mamlyuk can also go verify
24
25             that with LPG’s Paychex account manager, Alexander Harth.
26
            15. My attorneys, The Bankruptcy Law Firm, PC, by attorney Kathleen P.
27
28             March, emailed Marshack Hays’ attorney Alina Mamlyuk copies of all my

     ________________________________________________________________________________________________
     REPLY OF HAN TRINH (“HAN”), TO TRUSTEE MARSHACK’S OPPOSITION TO HAN’S MOTION
     [DKT.674] FOR ALLOWANCE AND PAYMENT OF ADMINISTRATIVE CLAIM PER 11 U.S.C. 18
     §503(b)(1)(A); REPLY DECLARATION OF HAN TRINH; DECLARATION OF TONY DIAB                       5
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1              Paychex paystubs from the last paystub, that was a fully submitted and
2              processed payroll on Paychex, I received in March 2023, back as far as
3
               paystubs that were still accessible on Paychex, which was 56 paystubs. See
4
5              March’s Decl for that email sending my 56 LPG Paychex paystubs to
6              attorney Mamlyuk. Where attorney Mamlyuk states that the Trustee was
7
               able to obtain the entire record of my paystubs with my history employment
8
9              with LPG from Paychex and provided those records to my counsel is
10             complete news to me as I have confirmed with my attorneys at the
11
               Bankruptcy Law Firm PC that they never received such emails. My LPG
12
13             W2s for 2021, 2022 and 2023 years were also emailed to attorney Mamlyuk
14
               by my attorney, Kathleen March, as well. (See March Decl). Attorney
15
               Mamlyuk can also verify with LPG’s Paychex account manager, Alexander
16
17             Harth, that LPG’s Paychex account is has been in disarray and users pretty
18
               much cannot access anything since there has been no payments made to
19
               Paychex to keep the account fully active. While I was at LPG, I received
20
21             emails during March 2023 and onward about if LPG was keeping LPG’s
22
               Paychex account open, paying outstanding invoices, etc. I was abruptly
23
               given access to manage payroll due to LPG's HR leaving on 02/14/2024, my
24
25             administrative account is connected to my personal account for Paychex,
26
               which was not setup correctly so that when payroll was processed, the
27
28             vacation hours would show up on the paystubs. There is also the fact that

     ________________________________________________________________________________________________
     REPLY OF HAN TRINH (“HAN”), TO TRUSTEE MARSHACK’S OPPOSITION TO HAN’S MOTION
     [DKT.674] FOR ALLOWANCE AND PAYMENT OF ADMINISTRATIVE CLAIM PER 11 U.S.C. 19
     §503(b)(1)(A); REPLY DECLARATION OF HAN TRINH; DECLARATION OF TONY DIAB                       6
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1              LPG stopped paying Paychex's invoice, which also includes the Time and
2              Attendance product on Paychex. When invoices are not paid, the products
3
               that are available, such as the Time and Attendance product, are deactivated
4
5              hence vacation hours are no longer tracked appropriately on Paychex
6              (Attorney Mamlyuk can verify this with the Time and Attendance
7
               department at Paychex). However, knowing that Jayde and I accrued 6.16
8
9              hours ever paycheck that was received biweekly, we were able to calculate
10             the vacation hours that were accruing ourselves. We took the paystub that
11
               listed our available balance of vacation hours last and added 6.16 hours
12
13             every pay period from there.
14
            16. LPG, which at its height had over 400 employees, had very few employees
15
               left during the 03/20/23 to 06/02/23 period. Jayde and I were only W2
16
17             salaried employees at LPG and nothing more. To be clear, the only bonus
18
               Jayde and I ever received was a Christmas bonus from LPG in December
19
               2021 in the amount of $500. Most LPG employees received $200-$500 for
20
21             that 2021 Christmas bonus, which Maria Eeyah Tan facilitated and paid the
22
               “real executives” including herself $10,000+ bonus checks. We were never
23
               officers, directors or shareholders of LPG. The Opposition stating that in
24
25             Jayde and I were insiders of LPG are absolutely false. We do NOT meet the
26
               definition of insiders in Bankruptcy Code 11 USC 101(31). LPG was fully
27
28             managed by Tony Diab and LPG’s Managing Attorney Daniel March, Esq.

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1              Any decisions that bound LPG to any liability, promises, guarantees, etc.
2              had to be ratified by attorney Daniel March and Tony Diab. Neither I or
3
               Jayde had any ability to bind LPG to anything- again, only Diab or attorney
4
5              Daniel March had this power.
6           17. Jayde and I never participated, in any way, in transferring LPG client files
7
               and legal service agreements to other Law Firms or in transferring LPG
8
9              money anywhere not relating to LPG expenses. Nor did LPG send any LPG
10             client files and legal service agreements or LPG money, to Greyson Law
11
               Center PC. The present Greyson Law Center, PC was not incorporated until
12
13             05/12/23, and did not exist in any form at the time LPG was transferring
14
               LPG client files to other Law Firms, end of January 2023 to February 2023.
15
               There is no existing evidence that shows Jayde and I instructing, navigating,
16
17             or even encouraging the transferring of files. Jayde and I were notified by
18
               other LPG coworkers that files were missing from LPG’s CRM DebtPayPro
19
               (now known as FORTH) around mid-January. When we brought this to
20
21             Daniel March and Tony Diab’s attention, Diab stated that they would
22
               investigate it. Near the end of January to early February, we were all
23
               informed that LPG was going to begin winding up and explained that
24
25             disappearing files were files that had already been transferred to other law
26
               firms that would be able to service those clients better than LPG could, that
27
28             those firms had more financial means and manpower to service clients. The

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1              only law firm mentioned at the time was Oakstone Law Group. We were
2              told that the process of winding up LPG would take approximately one to
3
               two years to complete. Jayde and I were told that LPG would be able to
4
5              continue paying LPG employees that were left since Oakstone was going to
6              pay LPG 20% of the fees Oakstone received from the transferred files. I
7
               note that a letter that is Exhibit 47, page 107 to Alex Rubin’s [dkt.1099]
8
9              supplemental declaration filed 4/11/23, to Oakstone, states reasons why
10             Oakstone is better equipped to service the LPG client files transferred to
11
               Oakstone, than LPG is, and states that “OLG shall collect client payments
12
13             and remit the sum of 20% of revenue collected to LPG as compensation to
14
               LPG.”
15
            18. What might interest the Trustee is that during this chaotic time period for
16
17             LPG, the only person asking for LPG’s work product/material was Mario
18
               Azevedo. He was emailing and reaching out LPG employees to send him
19
               LPG’s protocols, LPG’s standard operating procedures, LPG’s lucid charts,
20
21             etc. I as the administrator of LPG, at the time, immediately notified to lock
22
               down LPG’s systems and for the IT and Business Intelligence Department to
23
               review LPG’s security systems in place. As soon as LPG locked Azevedo
24
25             out of everything per Diab’s instruction, Azevedo shut down access to
26
               LeadMeToTheMoney, a CRM that belonged to Azevedo, with the home
27
28             page stating that if anyone wanted access to that CRM, they would have to

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1              reach out to Tony Diab and Han Trinh. He listed our personal phone
2              numbers and our lpglaw emails. This led me to getting an entire new phone
3
               number and phone in March 2023 due to an overwhelming number of calls
4
5              coming in nonstop day and night from strangers asking questions I did not
6              know the answer to. I provided this screenshot in the miscellaneous
7
               documents that was sent as part of my deposition on 03/20/24 with attorney
8
9              Ghio. To this day, I am still not sure as to why I was personally attacked by
10             Mario Azevedo. Based on information and belief, Mario Azevedo was/is
11
               involved with Elite Legal Group and was/is involved with Morning Law
12
13             Group.
14
            19. Jane Dearwester was erroneous when she claimed that I had a $300,000
15
               wedding that Tony Diab paid for. Jane Dearwester and Richard Meier were
16
17             NOT invited to my wedding, NOR WERE THEY PRESENT at the
18
               wedding. I also NEVER spoke to Dearwester or Meier about my wedding.
19
               The cost of my wedding was not six figures let alone $300,000. It is
20
21             customary within my culture for wedding guests to provide monetary gifts,
22
               typically in red envelopes, that ultimately covers majority, if not all, to the
23
               cost of the wedding.
24
25          20. In attorney Jane Dearwester’s Declaration in support of the Opposition,
26
               Dearwester stated that that I was called “General Han” because I was strict.
27
28             Jane Dearwester was not present when I was given that nickname in early

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1              2021. Dearwester was not even an employee during that time. There were
2              only 9-15 LPG employees during that period, and employees were giving
3
               out nicknames to each other. As I testified in my 03/20/2024 deposition, I
4
5              was given the nickname because Chinese food was involved. Dearwester
6              also mentions that attorney Richard Meier’s office was right next to Jayde’s
7
               office on the first floor, but Meier’s office got moved to the second floor for
8
9              more than half a year before Meier abruptly quit LPG in February 2023 and
10             went to work at Elite Legal Practice (Exhibit C). Exhibit 30 of Alex Rubin’s
11
               Declaration in support of the Opposition states:
12
13                      “A true and correct copy of an email string with Jayde Trinh, Israel
14                      Orozco, and Han regarding notice of shutting down LPG and
                        laughing at attorneys resigning as a result last dated February 23,
15                      2023.”
16            Rocio Prado-Garcia was not an attorney at LPG. Rocio Prado was a legal
17
              assistant to LPG’s former FDCPA Department’s Head Attorney, Richard
18
19            Meier. Rocio Prado-Garcia also goes by Rosy Prado. Prado is left LPG and

20            went to Elite Legal Practice (Exhibit D). Yasmeen Villamil, another legal
21
              assistant to LPG’s former FDCPA Head Attorney Richard Meier, quit around
22
23            the same time attorney Meier quit and followed him to Elite Legal Practice as

24            well (Exhibit D).
25
            21. On p. 9, lines 21-25 of the Opposition where attorney Mamlyuk argues that
26
27             “There was simply no more work at LPG”, as of 03/20/23, because LPG had

28             transferred its files to other law firms is false. The reality is completely
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1              opposite to the Opposition’s “There was simply no more work at LPG”
2              allegation (which cites nothing-- no declarations, and no exhibits—to
3
               support that argument). To state that after the fact is a huge slap in the face
4
5              with how much work and effort was put into keeping what was left of LPG
6              together and to make sure the former clients of LPG were attended to, taken
7
               care of, and to have their questions and concerns regarding their accounts,
8
9              files, and lawsuits addressed.
10          22. To elaborate, Jayde and I both had EVEN MORE work to do, from mid-
11
               February 2023 to 06/02/23, because there were significantly increased
12
13             communications to LPG, by former clients, current clients, the “local
14
               counsel” attorneys who left LPG but were still defending clients in state
15
               court suits across the US, opposing counsels, etc. as a result of (1) LPG
16
17             having transferred LPG’s files to Oakstone Law Group (and after that to
18
               Phoenix Law), (2) LPG filing bankruptcy on 03/20/23, (3) the erroneous
19
               payment processing errors that were pulled from clients (ie, drawing double
20
21             amount of money that was agreed upon between LPG and the client out of
22
               client’s bank accounts or credit cards, (4) clients and attorneys emailed and
23
               phoned LPG, saying they could not reach anyone at Oakstone or Phoenix,
24
25             and (5) if the clients and local counsel had been able to reach anyone at
26
               Oakstone or Phoenix, the people at Oakstone and Phoenix did not know
27
28             enough about the clients/lawsuits against clients, to answer the questions that

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1              were then asked to Jayde and I at LPG, and (6) people from Oakstone and
2              Phoenix phoned and emailed me and Han, asking us to help them, because
3
               they lacked information.
4
5           23. There was no one left at LPG to do the work that Jayde and I, and our
6              assistants, did from 03/20/23 to 06/02/23. Daniel March did not know the
7
               files or issues well enough to answer the inquires that Jayde and I answered
8
9              from 03/20/23 to 06/2/23. Not to mention he did not have time to do so,
10             because he was counsel of record defending many clients in California state
11
               court suits. Daniel March and his paralegals would email my team and I to
12
13             assist him and such emails could be found in the LPG emails.
14
            24. For all 6 of these reasons, nothing could be further from the truth than OPP
15
               alleging there was “simply no more work at LPG.” All 6 of these things that
16
17             I listed immediately supra resulted in there being a larger volume of
18
               communications that Jayde, her team, my team, and I had to respond to,
19
               between 03/20/23 and 06/02/24, than the volume of communications we had
20
21             to respond to, before 03/20/23.
22
            25. Attorney Daniel March, worked with his two paralegals, Olga and Carl,
23
               from his office down the street from LPG’s Tustin office and was hardly
24
25             ever at LPG’s Tustin office after mid-February 2023. Tony Diab’s
26
               Declaration to this Reply confirms this.
27
28
     ________________________________________________________________________________________________
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1           26. LPG was always set up so that most employees could work remotely and
2              often times, Jayde, our teams, and I did work remotely. LPG was evicted
3
               from its Tustin office in May 2023 (Notice to Quit is Exhibit E hereto). As
4
5              instructed by Daniel March and Tony Diab, I was the employee at LPG’s
6              Tustin offices who had to get all LPG’s furniture moved to a storage facility,
7
               by 05/29/23, the date LPG had to be out of the Tustin office. Diab stated the
8
9              Trustee lifted the stay for the LPG Tustin office, so we needed to return it
10             brand new. I was instructed to find storage units and have movers move all
11
               furniture (desks, chairs, file cabinets, monitor stands, trash cans, etc.) into
12
13             those storage units and Diab will give the storage unit address to the Trustee.
14
            27. I already explained in multiple declarations and at my 03/20/2024 hearing
15
               that I was visiting Oakstone’s office at 3345 Michaelson Drive, Suite B,
16
17             Irvine, CA 92612, per separate requests from Scott Eadie, Eng Taing, and
18
               Wes Thomas. I was doing most of my work for LPG at LPG’s Tustin Office
19
               until we were evicted from there. My personal property got moved to
20
21             Greyson’s temporary office at the former Oakstone’s office when we evicted
22
               from LPG’s Tustin Office. Eng Taing put a restrictive access and locked out
23
               everyone from Greyson’s original office located at 3161 Michelson Drive,
24
25             Suite 1675, Irvine, CA 92612 on 04/28/2023, but no one had officially
26
               settled down into that office yet. A U-haul was rented and my personal
27
28             belonging went from LPG’s Tustin Office to Present Greyson’s temporary

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1              office, at the time of lockout was Oakstone’s previous office since Oakstone
2              had already dissolved, on 05/19/2023 (Exhibit F). Although attorney Hays
3
               states in his Declaration that “This sequence of events lacks credibility”, that
4
5              sequence of events is exactly what happened. I believe the Tustin Executive
6              Center has cameras outside of their building and I believe 3345 Michelson
7
               Drive, Suite 400B, Irvine, CA 92612’s office and the building itself has
8
9              camera footage of Friday, 05/19/2023 that can prove that.
10          28. Present Greyson’s temporary office being at Oakstone’s previous office for
11
               it dissolved was a temporary solution since Greyson was abruptly kicked out
12
13             by Eng Taing’s. Present Greyson was already looking into other offices right
14
               before the lockout happened. Stating that the office that Greyson was locked
15
               out of was not leased by the Debtor (LPG), but by Phoenix Law is incorrect.
16
17             Attorney Alina Mamlyuk might want to check her records because based on
18
               information and belief, Innovative Solutions was the signer for the lease of
19
               3345 Michaelson Drive, Suite 400A and 400B, Irvine, CA 92612 but LPG
20
21             WAS THE GUARANTOR for the standby letter of credit. Innovative
22
               Solutions was the one who subleased from Alteryx and was the one who
23
               allowed Phoniex Law to operate in Suite 400A and Oakstone to operate in
24
25             Suite 400B.
26
            29. Both Jayde and I continued as W2 employees of LPG from 03/20/23 to
27
28             06/02/23. Tony Diab told Jayde and I, near the end of March to early April

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1              2023, that LPG had filed bankruptcy, but that Diab would get the
2              Bankruptcy Court to authorized LPG to pay our salary and the other LPG
3
               employees’, that were left, pay.
4
5           30. LPG benefitted from Jayde’s work, and my work, because our work,
6              receiving and answering the high volume of client and attorney
7
               communications from 03/20/23 to 06/02/23, kept the LPG’s client base from
8
9              falling apart, which allowed Trustee Marshack to sell the LPG client files, in
10             July 2023, for many millions of dollars, to Morning Law. Tony Diab’s
11
               Declaration to this Reply attests to this.
12
13          31. Because Jayde’s and my work was essential (there was no one else to do it
14
               and no one else could do it) and because it benefitted LPG (which sold the
15
               client files for many millions of dollars in July 23), Jayde and I would be to
16
17             be paid on a quantum meruit basis, for that work. The most accurate
18
               measure of the quantum meruit value would be Jayde and my W2 salaries.
19
            32. As I testified in my deposition, taken for almost 7 hours on 03/20/24 by
20
21             Trustee attorney Christopher Ghio, Esq of Dinsmore & Shohl, LLP, that I
22
               was a W2 employee of Litigation Practice Group, PC (“LPG”) from
23
               01/29/21 through 06/02/23.
24
25          33. Since I was locked out of everything and was not permitted to be involved
26
               with LPG, I was left with no choice but to quit work for LPG on 06/02/23,
27
28             when Dinsmore firm attorney Christopher Celentino told me, on the phone,

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1              that LPG had filed bankruptcy on 03/20/23, that Richard Marshack had been
2              appointed by the Bankruptcy Court, to take over running LPG, and that the
3
               Dinsmore firm, for Trustee, had obtained an Order from the Bankruptcy
4
5              Court, authorizing Trustee’s attorneys to lock most of Greyson’s
6              management team out and other Law Firms out of their offices, seizing and
7
               taking over all of those firms’ operations.
8
9           34. I was employed by Greyson Law Center, PC (“Greyson”), during part of the
10             time from 03/20/23 to 06/02/23, but as Greyson only had 48 client files and
11
               was a startup, as of 06/02/23, working for Greyson left me plenty of time to
12
13             continue doing my essential administration work for LPG, particularly as I
14
               was able to work nights and weekends, as a salaried employee.
15
            35. The W-2 form that I received from Greyson for the 2023 year showed
16
17             Greyson only paid me $33,420.70 for the whole 2023 year, because Greyson
18
               had very limited money. I produced that W2 form before my 03/20/23
19
               deposition.
20
21      I declare under penalty of perjury that the foregoing is true and correct, and that
22                                                               18 2024.
     this Declaration is executed at Orange, California on April____,
23
                              _______________________
24
25                                 HAN TRINH
26
27
28
     ________________________________________________________________________________________________
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                        EXHIBIT A




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                        EXHIBIT B




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                           Exhibit D




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                          Exhibit E




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1
2       DECLARATION OF KATHLEEN P. MARCH ESQ TO REPLY
3
        I, KATHLEEN P. MARCH, declare:
4
5       1. I make this Declaration to attest to specific things relevant to Jayde’s and Han’s
6           herein Replies to Trustee’s OPPs to Han and Jayde’s administrative claim
7
            motions [dkt.674, Han; dkt.675, Jayde].
8
9       2. Trustee Marshack, filed his Motion [dkt.191, filed 7/7/23], moving to sell
10          debtor LPG’s client files, for the highest and best price offered. The starting
11
            offer, per that Motion, was from Consumer Legal Group, estimated to be for 42
12
13          million dollars. The Bankruptcy Court eventually granted the Motion to sell, to
14
            sell to Morning Law as buyer. Sale Order is dkt. 352, entered 8/2/23, in main
15
            LPG bankruptcy case docket, and attaches the Morning Law Purchase
16
17          Agreement with Trustee. I have read that Agreement of Purchase and Sale
18
            between the LPG Bankruptcy estate as seller, and buyer Morning Law. The
19
            Agreement of Purchase and Sale (Exhibit 1 to Sale Order, dkt. 352] requires
20
21          Morning Law to pay the LPG bankruptcy estate 5.5 million to start, for LPG’s
22
            client files, and then to pay the LPG bankruptcy estate 50% of all fees generated
23
            on active executory contracts, going forward, on LPG client files being
24
25          purchased by Moring Law, and 40% on inactive files. From everything I read,
26
            the total to be paid by Morning Law appeared to be higher than the 42 million
27
28          that Consumer Law Group had offered.

     ________________________________________________________________________________________________
     REPLY OF HAN TRINH (“HAN”), TO TRUSTEE MARSHACK’S OPPOSITION TO HAN’S MOTION
     [DKT.674] FOR ALLOWANCE AND PAYMENT OF ADMINISTRATIVE CLAIM PER 11 U.S.C. 104
     §503(b)(1)(A); REPLY DECLARATION OF HAN TRINH; DECLARATION OF TONY DIAB                       18
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1       3. No buyer would pay 40 to 50 million dollars for LPG’s client files, if those files
2           were in disarray. As Tony Diab’s Declaration hereto, signed 4/14/24, explains,
3
            granting trustee’s motion to sell, Han and Jayde Trinh’s work from 3/20/23 to
4
5           6/2/23 was essential, because without that work, LPG’s data base of client files
6           would have been diminished , or would have crashed completely.
7
        4. At request of Marshack Hays attorney, Alina Mamlyuk, I first emailed
8
9           Mamlyuk Han Trinh’s, and Jayde Trinh’s, most recent (February 2023) paystub
10          from Paychex, which was LPG’s payroll processing company, at that time, and
11
            which provided LPG W-2 employees with Paychex paystubs with each LPG
12
13          paycheck. My email is Exhibit A, and those Paychex paystubs are attached as
14
            part of Exhibit A.
15
        5. Next Mamlyuk asked for more Paychex paystubs, so I emailed Mamlyuk the
16
17          whole year of Paychex paystubs that LPG’s payroll processor, Paychex, had
18
            given Han, in 2022-23, ending with the February 2022 Paychex Paystub. That
19
            email is Exhibit B, and the full year of Han’s Paychex paystubs, which I
20
21          emailed to Mamlyuk by that email, are attached to Exhibit B.
22
        6. Exhibit C to hereto is a full year of Jayde Trinh’s Paychex paystubs.
23
        7. Mamlyuk’s Declaration to OPP to Han’s Motion in chief [dkt.674] says I only
24
25          sent Mamlyuk one Paychex paystub. Not correct, as I sent her a whole year of
26
            Han’s Paychex paystubs, showing that vacation hours were accruing on each
27
28          Paystub, except the last Paychex paystub.

     ________________________________________________________________________________________________
     REPLY OF HAN TRINH (“HAN”), TO TRUSTEE MARSHACK’S OPPOSITION TO HAN’S MOTION
     [DKT.674] FOR ALLOWANCE AND PAYMENT OF ADMINISTRATIVE CLAIM PER 11 U.S.C. 105
     §503(b)(1)(A); REPLY DECLARATION OF HAN TRINH; DECLARATION OF TONY DIAB                       19
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1       8. Mamlyuk saying I am lying about what I sent her is either Mamlyuk being very
2           mistaken, or Mamlyuk knowingly misstating.
3
        9. This Court’s dkt.818 order, continued hearing on the administrative claim
4
5           motions, so the parties could informally exchange discovery.
6       10. Because Jayde Trinh had not received her 2023-year W-2 form from LPG, I
7
            emailed Mamlyuk, asking her to send it to my firm, as it was required by law
8
9           and was overdue. That email is Exhibit D hereto. I received zero response and
10          zero W-2 form.
11
        11. I also emailed Mamlyuk, asking her to send my firm certain documents
12
13          relevant to Han Trinh’s administrative claim Motion. That email is Exhibit E
14
            hereto. I received zero response and zero documents.
15
        12. Next, on 2/29/24, my firm served a Jayde Trinh Request to Produce Documents
16
17          on Trustee Marshack, asking Marshack to inter alia produce Jayde’s 2023 W-2
18
            form from LPG. That RPD is Exhibit F hereto. My firm received no written
19
            response and no documents.
20
21      13. Also on 2/29/24, my firm served a Han Trinh Request to Produce Documents
22
            on Trustee Marshack, asking Marshack to produce documents relevant to Han
23
            Trinh’s administrative claim motion [dkt.674]. That RPD is Exhibit G hereto.
24
25          My firm received no written response and no documents.
26
        14. Next, on April 4, 2024, I sent an email to Mamlyuk, Exhibit H hereto, that,
27
28          inter alia, pointed out Trustee’s written Response to Jayde’s RPD ,and

     ________________________________________________________________________________________________
     REPLY OF HAN TRINH (“HAN”), TO TRUSTEE MARSHACK’S OPPOSITION TO HAN’S MOTION
     [DKT.674] FOR ALLOWANCE AND PAYMENT OF ADMINISTRATIVE CLAIM PER 11 U.S.C. 106
     §503(b)(1)(A); REPLY DECLARATION OF HAN TRINH; DECLARATION OF TONY DIAB                       20
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1           Trustee’s written Reponses to Han’s RPD, were overdue, and Trustee’s
2           document production, on each RPD, was overdue, and that Trustee failing to
3
            serve a written Response, and failing to timely produce any documents, had
4
5           waived all objections to my firm’s RPD.
6       15. I received no response to that email.
7
        16. In summary, Trustee, in error, has filed OPPs requesting this Court to deny
8
9           Han and Jayde’s administrative claim motions [dkt.674 Han, dkt.675 Jayde],
10          while Trustee’s attorneys utterly stonewalled on giving my firm discovery
11
            relevant to those administrative claim motions, that my firm is entitled to. That
12
13          improper behavior by Trustee’s attorneys is unclean hands, which is an
14
            additional reason the Court should overrule Trustee’s OPPS to Han and Jayde’s
15
            administrative claim Motions.
16
17      17. In addition, Trustee’s special counsel, Dinsmore & Shohl LLP and their field
18
            agents, who performed the Lockout at Greyson on 6/2/23, were NOT honest
19
            regarding Han’s personal items which they had seized at Greyson’s office on
20
21          6/2/23. (March Decl hereto). Greyson’s first attorney, Douglas Plazak, had
22
            requested access to Han’s locked office that the Trustee’s field agent changed
23
            the locks to by emailing attorney Celentino of Dinsmore. No one from
24
25          Dinsmore ever got back to Greyson about the new key, in the field agents’
26
            possession after changing the locks on Han’s office, to Han’s office. Han was
27
28          never able to access her office within Greyson’s office after 06/02/2023 even

     ________________________________________________________________________________________________
     REPLY OF HAN TRINH (“HAN”), TO TRUSTEE MARSHACK’S OPPOSITION TO HAN’S MOTION
     [DKT.674] FOR ALLOWANCE AND PAYMENT OF ADMINISTRATIVE CLAIM PER 11 U.S.C. 107
     §503(b)(1)(A); REPLY DECLARATION OF HAN TRINH; DECLARATION OF TONY DIAB                       21
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1           after attorney Celentino stated that they had no problem with Greyson returning
2           to its office. Greyson locked out of its office for the second time sometime late
3
            July 2023, but was not aware until a Greyson employee showed up to check on
4
5           the office and discovered they were locked out on 08/01/2023 BEFORE the sale
6           to Morning Law. Greyson immediately notified its attorney at the time, Douglas
7
            Plazak, that they were locked out and he in turned emailed attorney Celentino.
8
9           Greyson never regained access after it was locked out on 08/01/2023. Dinsmore
10          and the field agents claimed repeatedly they could not find the 86-inch TV,
11
            owned by Han personally, even though that 86-inch TV was bolted to the wall
12
13          in Han’s locked room at Greyson. A TV that big, bolted to the wall, is not
14
            “lost”, though Trustee’s field agents, and attorneys, repeatedly told Han
15
            attorney Kathleen March of The Bankruptcy Law Firm, in emails, that they
16
17          couldn’t locate Han’s big screen TV. That was untrue, they knew it was bolted
18
            to the wall in the office Han had occupied. The field agents just wanted to keep
19
            Han’s TV, instead of returning the TV to Han. It took multiple emails by me, to
20
21          get Dinsmore firm and field agents, to get them to admit they had the TV, still
22
            bolted to the wall, and to get the TV returned to Han, who had to bring workers
23
            to remove the TV from the wall. Han informed me that there was little left of
24
25   //
26
27
28
     ________________________________________________________________________________________________
     REPLY OF HAN TRINH (“HAN”), TO TRUSTEE MARSHACK’S OPPOSITION TO HAN’S MOTION
     [DKT.674] FOR ALLOWANCE AND PAYMENT OF ADMINISTRATIVE CLAIM PER 11 U.S.C. 108
     §503(b)(1)(A); REPLY DECLARATION OF HAN TRINH; DECLARATION OF TONY DIAB                       22
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1    what was in her locked personal office.
2           I declare under penalty of perjury that the foregoing is true and correct and that
3
     this Declaration is executed at Los Angeles, California, on April 15, 2024.
4
5                         /s/ Kathleen P. March
6                           KATHLEEN P. MARCH
7
8
9
10
11
12
13
14
15
16
17
18
19
20
21
22
23
24
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26
27
28
     ________________________________________________________________________________________________
     REPLY OF HAN TRINH (“HAN”), TO TRUSTEE MARSHACK’S OPPOSITION TO HAN’S MOTION
     [DKT.674] FOR ALLOWANCE AND PAYMENT OF ADMINISTRATIVE CLAIM PER 11 U.S.C. 109
     §503(b)(1)(A); REPLY DECLARATION OF HAN TRINH; DECLARATION OF TONY DIAB                       23
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  From:          K. P. March
  To:            "Alina Mamlyuk"
  Cc:            "Ed Hays"; "Layla Buchanan"
  Subject:       Alina Mamlyuk Esq of MarshackHays firm, from KPMarch, Esq., Bky LF for Han Trinh: Please read below
                 RESPONSE to your 2/12/24 at 7:46pm email. Please REPLY to confirm receipt. Please email my firm the 4 items
                 of discovery my firm requests. Thx
  Date:          Wednesday, February 14, 2024 12:15:09 PM
  Attachments:   Exhibit B to Han Decl items that Han owned that disappeared 110823 resaved 021324.pdf
                 paychex paystubs for Han and Jayde showing accruing vacation hours.pdf



 021424

 To Alina Mamlyuk, Esq of MarshackHays firm, counsel for Trustee Marshack, cc to
 MarshackHays attys Ed Hays and Layla Buchanan

 From KPMarch, Esq. of The Bankruptcy Law Firm, PC, counsel for Han Trinh on Han’s Motion
 for allowance and payment of administrative claim [dkt.674], counsel for Phuong (aka Jayde)
 Trinh on Jayde’s Motionfor allowance and payment of administrative claim [dkt.675] and
 counsel for Greyson Law Center PC on Greyson’s Motion [dkt.676]:

 Atty Mamlyuk:

 This email responds to your 2/12/24 at 7:46pm email regarding the Motion for allowance and
 payment of administrative claim [dkt.674] filed by our law firm, for our firm’s client Han Trinh.

 I see on the California State Bar website that you are an attorney, CA Bar #284154. Why are
 you so coy about your status, in your email? Are you employed by Trustee Marshack’s law
 firm, MarshackHays? Reply and tell my firm please. I find it is helpful to be clear about whom
 my firm is dealing with.

 Your email is in error in saying that Han’s [dkt.674] Motion does not provide any evidence for
 how Han’s administrative claim is calculated. Han’s [dkt.674] Motion, and Han’s Declaration
 thereto, are extremely clear as to how the $136,280.56 salary that LPG owes Han, for Han’s
 essential 11 weeks of post-petition work for LPG, is calculated.

 But let me recap that calculation for you: See ¶8 of Han’s Declaration, and see Paychex
 paystub that is Exhibit A to Han’s Declaration. The Paychex paystub states that Han was being
 paid gross earnings of $11,538.47 per 2 week pay period (see top right box on Exhibit A). That
 is gross pay of $5,769.23 per week, as ¶8 of Han’s Declaration states. Han attests Han did 11
 weeks of essential work for LPG, post-petition, from 3/20/23 to 6/2/23 (¶7 Han Decl).
 $5,769.23 per week x 11 weeks = $63,461.54 salary that LPG owes Han for that postpetition
 work, which is an administrative claim per 11 USC §503(b)(1)(A)(i).

 In addition, as Han’s administrative claim Motion explains, and as Han’s Declaration (¶22


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 explains) she is entitled, per CA Labor Code §203(a), to be paid penalties for late Pay totaling
 $34,615.38 in late pay penalties.

 In addition, as Han’s administrative claim Motion explains, and as Han’s Declaration explains,
 Han is entitled, per CA Labor Code § 227.3, to be paid for 264.88 hours of vacation time Han
 had accrued, but had not taken, as of 6/2/23. That vacation pay totals $38,203.64, and is
 calculated correctly in Han’s Dkt.674 claim, and in Han’s Declaration (¶23).

 You ask for evidence (in addition to Han’s Declaration, and Jayde Trinh’s Declaration) that Han
 and Jayde were accruing vacation pay while employed at LPG.

 Han has searched, and now been able to locate two earlier Paychex pay stubs, one for each of
 Han and Jayde, which I am attaching as Exhibit A hereto, and which show that Han and Jayde
 were each accruing vacation pay while employed at LPG, at the rate of 6.16 hours of vacation
 time, for each 2 week pay period. I believe that is the statutory rate of accrual, for a business
 in Tustin, Ca, where LPG was located. Han’s Declaration (¶23) attests that Han and Jayde
 were each accruing vacation hours at the rate of 6.16 hours of vacation time, for each 2 week
 pay period.. The 2 paychex paystubs that I am attaching as Exhibit A, show this. My firm’s
 understanding is that all LPG W-2 employees accrued vacation hours at this same 6.16 hours
 of vacation time, for each 2 week pay period.

 I note that Paychex was LPG’s payroll processing company, and therefore, that Trustee
 Marshack can ask Paychex to supply Trustee Marshack with the Paychex paystubs, for Han and
 Jayde Trinh, for the several years each was employed by LPG. Please do so, and please send
 my firm copies of all those paystubs. Thx in advance.

 Han’s [dkt.674] Motion, p. 12, adds up the $63,461.54 + $34,615.38 +$38,203.64 =
 $136,280.56 postpetition salary, late pay penalties and payment for accrued vacation not
 taken.

 In addition, the LPG owes Han $14,433.56 for items that disappeared from Han’s locked office
 at Greyson’s office, after Trustee Marshack’s attorneys (Dinsmore & Sholl aka Celentino firm
 and its field agents, on 6/2/23, locked Greyson out of its office. I apologize, but the list of
 items Han had paid for personally, which “disappeared” from Han’s locked office, Exhibit B,
 does not seem to be attached to the Dkt.674 Motion, so I am attaching it now.

 As regards to your email requesting my firm to provide you/MarshackHays, with a copy of
 Han’s employment contract with LPG, Han does not have a copy, but LPG has a copy of Han’s
 employment contract, fully signed by Han and LPG LPG also has a copy of Phuong (aka
 Jayde) Trinh’s employment contract, fully signed by Jayde and LPG.



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 Han and LPG signed that written contract when Han was first hired by LPG, and each time Han
 got a raise thereafter, Han signed a sheet for the LPG HR department, verifying the specific
 raise. Ditto for Jayde Trinh.

 Judge Clarkson continued the hearing on all the administrative claim motions so that the
 parties could exchange discovery. Therefore, please email my firm the following:

   1. LPG’s copy of Han’s employment contract, signed by Han and by LPG.
      Also, please email my firm the series of sheets that Han signed for LPG’s
      HR department, each time Han received a raise from LPG, verifying the
      amount of Han’s new salary.
   2. Please also please email my firm LPG’s copy of Phuong (aka “Jayde”
      Trinh’s employment contract, signed by Jayde and by LPG. Like Han,
      Jayde signed a sheet for LPG’s HR department, verifying Jayde’s new
      salary, each time Jayde got a raise from LPG. Please email my firm all
      those receipts.
   3. LPG kept an employee file on each LPG employee. Please email my firm
      the full employee file which LPG kept on Han, and the full employee file
      which LPG kept on Jayde.
   4. All paychex paystubs for Han and Jayde Trinh, for all the years they were
      employed by LPG; and
   5. LPG’s W-2 forms for 2023 year for each of Han and Jayde Trinh.
 Thanks in advance for emailing my firm 1, 2,3, 4 and 5.

 At the time that Han Trinh, and Jayde Trinh, performed the 11 weeks of post-petition work for
 LPG, they were the only LPG employees who were doing the work they did for LPG, and who
 could continue doing that work for LPG. Their work was essential (as Han’s Declaration ¶11
 and 12 explains; see also Jayde’s Declaration), because Han and Jayde were the only LPG
 employees administering LPG’s 28,000 active litigation files. Those 28,000 active litigation
 files could not be managed, without Han and Jayde’s work.

 As regards your question about why Han’s salary was increased over the years, LPG increased
 Han’s salary, as Han’s duties at LPG increased. Ditto with Jayde. Han’s salary was
 incrementally increased to $300,000 per year (as shown on Paychex paystub that is Exhibit A
 to Han’s [dkt.674] administrative claim motion. The increase of Han’s salary to $300,000 per
 year was because by then, Han and Jayde, together, were administering the whole LPG
 attorney network.

 Han was not paid more than Jayde, because a part of Jayde’s compensation was that LPG
 contracted to repay Jayde’s student loans from law school, before those loans came due,
 which LPG did pay. When LPG’s repaying Jayde’s student loans from law school is taken into
 account, Jayde was paid more than Han.


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 However, as the Paychex paystubs that are Exhibit A to Han’s administrative motion claim,
 and are Exhibit A to Jayde’s administrative motion claim, show clearly Han and Jayde’s W-2
 salaries, and as those are issued by LPG’s payroll processing company, Paychex, there is no
 legal basis for Trustee Marshack, or you, or MarshackHays to object to (aka second guess)
 those salary amounts.

 Please REPLY to confirm receipt.

 Please email my firm 1, 2, 3, 4 and 5.

 I trust this email answers your questions, and that MarshackHays will now file a short
 pleading with the BankruptcyCcourt, stating that MarshackHays has examined Han and Jayde
 Trinh’s Motions for allowance and payment of administrative claims, and agrees those should
 be granted as filed. My firm requests MarshackHays to promptly do so, because there is no
 valid reason to oppose Han’s or Jayde’s administrative claim motions. Please REPLY to confirm
 MarshackHays will now do that, promptly. Thank you in advance.

 KPMarch


 Kathleen P. March, Esq.
 The Bankruptcy Law Firm, PC
 10524 W. Pico Blvd, Suite 212
 Los Angeles, CA 90064
 Phone: 310-559-9224
 Fax: 310-559-9133
 E-mail: kmarch@BKYLAWFIRM.com
 Website: www.BKYLAWFIRM.com
 "Have a former bankruptcy judge for your personal bankruptcy attorney"



 From: Alina Mamlyuk <amamlyuk@marshackhays.com>
 Sent: Monday, February 12, 2024 7:46 PM
 To: kmarch@BKYLAWFIRM.com
 Cc: Ed Hays <EHays@MarshackHays.com>; Layla Buchanan <LBuchanan@marshackhays.com>
 Subject: RE: LPG Dk. No. 674; Han Trinh’s Administrative Claim

 Good evening, Ms. March—

 My name is Alina Mamlyuk, I am handling the administrative claim motions filed in In re: Litigation
 Practice Group, P.C., Case No. 8:23-bk-10571-SC on behalf of the Trustee, Richard Marshack. Your
 client, Han Trinh (“Han,” to differentiate from Jayde Trinh), filed an administrative claim as Dk. No.
 674 (“Han Admin Claim” / “Motion”) in the amount of $136,280.56 and I am following up with you
 regarding some questions we have and documents we need to begin verifying the claim.


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 Other than a copy of a paystub for a single check #13033, the Motion did not provide any evidence
 for your calculation of Han’s admin claim. Can you please provide a copy of an employment
 agreement that states Han’s duties, her salary, her vacation vesting schedule and the basis for her
 nearly ten-fold salary increase from $17.31/hr to $300,000/yr in the span of two and a half years
 employment at LPG? It appears that your other client, Jayde Trinh, who is a CA licensed attorney
 and who alleges to have performed nearly identical duties as Han, was making 20% less than Han
 and I am hoping you can provide any evidence that would explain such a drastic difference in the
 employment agreement/reviews/pay bump documentation. This large check was cut to Han on the
 eve of LPG’s filing its bankruptcy petition. Han’s declaration attached to Dk. No. 822, states that
 “Jayde and I work for a living. We are young and are not financially well off,” which appears to
 indicate that the sudden and extreme pay bump was recent. For how many periods did Han receive
 paychecks comparable to check #13033 attached to Han’s admin claim motion?

 Likewise, there is no evidence outside of Han’s declaration regarding the vested vacation portion of
 Han’s claim ($38,203.64)—the paycheck stub has no vacation time indicated at all. Please forward
 any employment agreement that states how 264.88 hours were vested.  

 Looking forward to working together and getting some clarity in resolving this claim.

 Thank you,

 Alina Mamlyuk
 949-333-7777




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                        EXHIBIT B




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  From:           K. P. March
  To:             "Alina Mamlyuk"
  Subject:        RE: To alina Mamlyuk of Marshack Hays firm, cc attys Ed Hays from KPMarch, bky LF: Confirming received your
                  below email, but it is MISSING some things. Please REPLY to confirm you will do as last 2 paragraphs of my
                  below email request. Thx.
  Date:           Monday, March 4, 2024 3:07:25 PM
  Attachments:    Phuong Trinh- LPG Paystubs all from start through last paychex paystub received.pdf
                  Han Trinh- LPG Paystubs all from start to last paystub received from Paychex.pdf


 030424

 To Alina Mamlyuk from KPMarch, Bky LF

 As I told you in our “meet and confer” meeting, Han and jayde trinh were W-2 employees of LPG.
 Yes, they were performing essential services for LPG, but their performing essential services for LPG
 does NOT make them insiders of LPG. You have no evidence that they were insiders, because They
 were NOT insiders. They were never officers, directors or equityholders of LPG.

 I pointed out, last week, that Trustee Marshack, as Chapter 11 Trustee, can access all Paychex
 paystubs, that Paychex issued to Han Trinh and Jayde Trinh, and to all other LPG W-2 employess,
 each time Paychex issued and employee a W-2 paychecks.   So demanding Han/Jayde produce
 documents that Trustee can access is unnecessary and is an improper imposition on Han/Jayde.
 Despite that, I had Han/Jayde collect as many of their LPG Paychex paystubs as they could, and those
 are attached, as pdf files, one of Han’s Paychex paystubs, and one of Jayde’s Paychex paystubs. Plus
 Trustee can access the W-2s for all LPG employees. I need Phuong (aka Jayde) Trinh’s W-2 Forms for
 the time she worked as W-2 employee at LPG. Please SEND. Federal law required LPG to deliver
 those LPG 2023 year W-2 forms to Jayde Trinh, and other LPG employees. Jayde’s is LATE. Send
 now please.

 Please REPLY to confirm receipt.

 KPMarch




 Kathleen P. March, Esq.
 The Bankruptcy Law Firm, PC
 10524 W. Pico Blvd, Suite 212
 Los Angeles, CA 90064
 Phone: 310-559-9224
 Fax: 310-559-9133
 E-mail: kmarch@BKYLAWFIRM.com
 Website: www.BKYLAWFIRM.com
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 From: Alina Mamlyuk <amamlyuk@marshackhays.com>
 Sent: Monday, March 4, 2024 1:08 PM
 To: K. P. March <kmarch@bkylawfirm.com>


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                                                                         HAN TRINH
                                                                         2128 WEST CHERRY DRIVE                                                         NON-NEGOTIABLE
                                                                         ORANGE CA 92868




                                NON-NEGOTIABLE




                            PERSONAL AND CHECK INFORMATION                             EARNINGS       BASIS OF DESCRIPTION           HRS/UNITS       RATE THIS PERIOD ($) YTD HOURS         YTD ($)
                            Han Trinh                                                                   PAY
                            2128 West Cherry Drive                                                             Salary                                          -11538.47                   69230.82
                            Orange, CA 92868                                                                   Holiday                                                          M24.0000
                            Soc Sec #: xxx-xx-xxxx       Employee ID: 1031                                      Total Hours                                                      24.0000
                                                                                                                Gross Earnings                                 -11538.47                   69230.82
                            Home Department: 1 LPG CA                                                           Total Hrs Worked

                            Pay Period: 02/27/23 to 03/12/23                                                    Dir Dep Reimb                                                                300.00
                            Check Date: 03/17/23     Check #: Unknown                                           REIMB & OTHER PAYMENTS                                                       300.00
                            NET PAY ALLOCATIONS                                        WITHHOLDIN               DESCRIPTION          FILING STATUS        THIS PERIOD ($)                   YTD ($)
                                                                                       GS
                            DESCRIPTION            THIS PERIOD ($)           YTD ($)                            Social Security      $-690.62                     -690.62                   4143.73
                            Check Amount                   -5297.85       -5297.85                              Medicare             $-161.51                     -161.51                    969.10
                            Chkg 860                           0.00       37384.90                              Fed Income Tax       $-1,841.42                  -1841.42                  11048.52
                            NET PAY                        -5297.85       32087.05                              CA Income Tax        $-739.71                     -739.71                   4438.26
                                                                                                                CA Disability        $-100.25                     -100.25                    601.50

                                                                                                                TOTAL                                            -3533.51                  21201.11
                                                                                       DEDUCTION                DESCRIPTION                               THIS PERIOD ($)                   YTD ($)

                                                                                                                401k EE Pretax                                   -2307.69                  13846.14
                                                                                                                Medical Pre-tax                                   -399.42                   2396.52

                                                                                                                TOTAL                                            -2707.11                  16242.66




                                                                                        NET PAY                                                               THIS PERIOD ($)                 YTD ($)
                                                                                                                                                                     -5297.85                32087.05

                             Payrolls by Paychex, Inc.
                            0942 1607-7926 Litigation Practice Group PC • 17542 17th St Ste 100 • Tustin CA 92780 • (949) 715-0648
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                                                                         HAN TRINH
                                                                         2128 WEST CHERRY DRIVE                                                      NON-NEGOTIABLE
                                                                         ORANGE CA 92868




                                NON-NEGOTIABLE




                            PERSONAL AND CHECK INFORMATION                             EARNINGS       BASIS OF DESCRIPTION        HRS/UNITS       RATE THIS PERIOD ($) YTD HOURS         YTD ($)
                            Han Trinh                                                                   PAY
                            2128 West Cherry Drive                                                             Salary                                        11538.47                   80769.29
                            Orange, CA 92868                                                                   Holiday                                                       M24.0000
                            Soc Sec #: xxx-xx-xxxx       Employee ID: 1031                                     Total Hours                                                    24.0000
                                                                                                               Gross Earnings                                11538.47                   80769.29
                            Home Department: 1 LPG CA                                                          Total Hrs Worked

                            Pay Period: 02/27/23 to 03/12/23                                                   Dir Dep Reimb                                                              300.00
                            Check Date: 03/17/23     Check #: 13141                                            REIMB & OTHER PAYMENTS                                                     300.00
                            NET PAY ALLOCATIONS                                        WITHHOLDIN              DESCRIPTION        FILING STATUS        THIS PERIOD ($)                   YTD ($)
                                                                                       GS
                            DESCRIPTION            THIS PERIOD ($)           YTD ($)                           Social Security                                 690.62                    4834.35
                            Check Amount                      0.00           0.00                              Medicare                                        161.51                    1130.61
                            Chkg 860                       5297.85       37384.90                              Fed Income Tax     SMS                         1841.42                   12889.94
                            NET PAY                        5297.85       37384.90                              CA Income Tax      SMI2 1 0                     739.71                    5177.97
                                                                                                               CA Disability                                   100.25                     701.75

                                                                                                               TOTAL                                          3533.51                   24734.62
                                                                                       DEDUCTION               DESCRIPTION                             THIS PERIOD ($)                   YTD ($)

                                                                                                               401k EE Pretax                                 2307.69                   16153.83
                                                                                                               Medical Pre-tax                                 399.42                    2795.94

                                                                                                               TOTAL                                          2707.11                   18949.77




                                                                                        NET PAY                                                            THIS PERIOD ($)                 YTD ($)
                                                                                                                                                                  5297.85                 37384.90

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                                                                         HAN TRINH
                                                                         2128 WEST CHERRY DRIVE                                                      NON-NEGOTIABLE
                                                                         ORANGE CA 92868




                                NON-NEGOTIABLE




                            PERSONAL AND CHECK INFORMATION                             EARNINGS       BASIS OF DESCRIPTION        HRS/UNITS       RATE THIS PERIOD ($) YTD HOURS        YTD ($)
                            Han Trinh                                                                   PAY
                            2128 West Cherry Drive                                                             Salary                                        11538.47                  69230.82
                            Orange, CA 92868                                                                   Holiday                                                   M24.0000
                            Soc Sec #: xxx-xx-xxxx       Employee ID: 1031                                     Total Hours                                                   24.0000
                                                                                                               Gross Earnings                                11538.47                  69230.82
                            Home Department: 1 LPG CA                                                          Total Hrs Worked

                            Pay Period: 02/13/23 to 02/26/23                                                   Dir Dep Reimb                                                             300.00
                            Check Date: 03/03/23     Check #: 13033                                            REIMB & OTHER PAYMENTS                                                    300.00
                            NET PAY ALLOCATIONS                                        WITHHOLDINGS            DESCRIPTION        FILING STATUS        THIS PERIOD ($)                  YTD ($)

                            DESCRIPTION            THIS PERIOD ($)           YTD ($)                           Social Security                                 690.62                   4143.73
                            Check Amount                      0.00           0.00                              Medicare                                        161.52                    969.10
                            Chkg 860                       5297.84       32087.05                              Fed Income Tax     SMS                         1841.42                  11048.52
                            NET PAY                        5297.84       32087.05                              CA Income Tax      SMI2 1 0                     739.71                   4438.26
                                                                                                               CA Disability                                   100.25                    601.50

                                                                                                               TOTAL                                          3533.52                  21201.11
                                                                                       DEDUCTION               DESCRIPTION                             THIS PERIOD ($)                  YTD ($)

                                                                                                               401k EE Pretax                                 2307.69                  13846.14
                                                                                                               Medical Pre-tax                                 399.42                   2396.52

                                                                                                               TOTAL                                          2707.11                  16242.66




                                                                                        NET PAY                                                            THIS PERIOD ($)                YTD ($)
                                                                                                                                                                   5297.84               32087.05

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                                                                         HAN TRINH
                                                                         2128 WEST CHERRY DRIVE                                                         NON-NEGOTIABLE
                                                                         ORANGE CA 92868




                                NON-NEGOTIABLE




                            PERSONAL AND CHECK INFORMATION                             EARNINGS       BASIS OF DESCRIPTION        HRS/UNITS       RATE THIS PERIOD ($) YTD HOURS         YTD ($)
                            Han Trinh                                                                   PAY
                            2128 West Cherry Drive                                                             Salary                                        -11538.47                  57692.35
                            Orange, CA 92868                                                                   Holiday                                                    M24.0000
                            Soc Sec #: xxx-xx-xxxx       Employee ID: 1031                                     Total Hours                                                    24.0000
                                                                                                               Gross Earnings                                -11538.47                  57692.35
                            Home Department: 1 LPG CA                                                          Total Hrs Worked

                            Pay Period: 02/13/23 to 03/26/23                                                   Dir Dep Reimb                                                              300.00
                            Check Date: 03/03/23     Check #: 12867                                            REIMB & OTHER PAYMENTS                                                     300.00
                                                              (VOID)                   WITHHOLDINGS            DESCRIPTION        FILING STATUS         THIS PERIOD ($)                  YTD ($)

                                                                                                               Social Security    Override $-690.62             -690.62                  3453.11
                                                                                                               Medicare           Override $-161.52             -161.52                   807.58
                                                                                                               Fed Income Tax     Override $-1,841.42          -1841.42                  9207.10
                                                                                                               CA Income Tax      Override $-739.71             -739.71                  3698.55
                            NET PAY ALLOCATIONS                                                                CA Disability      Override $-100.25             -100.25                   501.25

                            DESCRIPTION            THIS PERIOD ($)           YTD ($)                           TOTAL                                           -3533.52                 17667.59
                            Check Amount                       0.00          0.00 DEDUCTION                    DESCRIPTION                              THIS PERIOD ($)                  YTD ($)
                            Chkg 860                       -5297.84      26789.21
                            NET PAY                        -5297.84      26789.21                              401k EE Pretax                                  -2307.69                 11538.45
                                                                                                               Medical Pre-tax                                  -399.42                  1997.10

                                                                                                               TOTAL                                           -2707.11                 13535.55




                                                                                        NET PAY                                                             THIS PERIOD ($)                YTD ($)
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                                                                         HAN TRINH
                                                                         2128 WEST CHERRY DRIVE                                                      NON-NEGOTIABLE
                                                                         ORANGE CA 92868




                                NON-NEGOTIABLE




                            PERSONAL AND CHECK INFORMATION                             EARNINGS       BASIS OF DESCRIPTION        HRS/UNITS       RATE THIS PERIOD ($) YTD HOURS        YTD ($)
                            Han Trinh                                                                   PAY
                            2128 West Cherry Drive                                                             Salary                                        11538.47                  69230.82
                            Orange, CA 92868                                                                   Holiday                                                   M24.0000
                            Soc Sec #: xxx-xx-xxxx       Employee ID: 1031                                     Total Hours                                                   24.0000
                                                                                                               Gross Earnings                                11538.47                  69230.82
                            Home Department: 1 LPG CA                                                          Total Hrs Worked

                            Pay Period: 02/13/23 to 03/26/23                                                   Dir Dep Reimb                                                             300.00
                            Check Date: 03/03/23     Check #: 12867                                            REIMB & OTHER PAYMENTS                                                    300.00
                            NET PAY ALLOCATIONS                                        WITHHOLDINGS            DESCRIPTION        FILING STATUS        THIS PERIOD ($)                  YTD ($)

                            DESCRIPTION            THIS PERIOD ($)           YTD ($)                           Social Security                                 690.62                   4143.73
                            Check Amount                      0.00           0.00                              Medicare                                        161.52                    969.10
                            Chkg 860                       5297.84       32087.05                              Fed Income Tax     SMS                         1841.42                  11048.52
                            NET PAY                        5297.84       32087.05                              CA Income Tax      SMI2 1 0                     739.71                   4438.26
                                                                                                               CA Disability                                   100.25                    601.50

                                                                                                               TOTAL                                          3533.52                  21201.11
                                                                                       DEDUCTION               DESCRIPTION                             THIS PERIOD ($)                  YTD ($)

                                                                                                               401k EE Pretax                                 2307.69                  13846.14
                                                                                                               Medical Pre-tax                                 399.42                   2396.52

                                                                                                               TOTAL                                          2707.11                  16242.66




                                                                                        NET PAY                                                            THIS PERIOD ($)                YTD ($)
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Payrolls by Paychex, Inc.




                                                                         HAN TRINH
                                                                         2128 WEST CHERRY DRIVE                                                      NON-NEGOTIABLE
                                                                         ORANGE CA 92868




                                NON-NEGOTIABLE




                            PERSONAL AND CHECK INFORMATION                             EARNINGS       BASIS OF DESCRIPTION        HRS/UNITS       RATE THIS PERIOD ($) YTD HOURS        YTD ($)
                            Han Trinh                                                                   PAY
                            2128 West Cherry Drive                                                             Salary                                        11538.47                  57692.35
                            Orange, CA 92868                                                                   Holiday                                                   M24.0000
                            Soc Sec #: xxx-xx-xxxx       Employee ID: 1031                                     Total Hours                                                   24.0000
                                                                                                               Gross Earnings                                11538.47                  57692.35
                            Home Department: 1 LPG CA                                                          Total Hrs Worked

                            Pay Period: 02/13/23 to 02/24/23                                                   Dir Dep Reimb                                                             300.00
                            Check Date: 02/24/23     Check #: 12736                                            REIMB & OTHER PAYMENTS                                                    300.00
                            NET PAY ALLOCATIONS                                        WITHHOLDINGS            DESCRIPTION        FILING STATUS        THIS PERIOD ($)                  YTD ($)

                            DESCRIPTION            THIS PERIOD ($)           YTD ($)                           Social Security                                 690.63                   3453.11
                            Check Amount                      0.00           0.00                              Medicare                                        161.52                    807.58
                            Chkg 860                       5297.83       26789.21                              Fed Income Tax     SMS                         1841.42                   9207.10
                            NET PAY                        5297.83       26789.21                              CA Income Tax      SMI2 1 0                     739.71                   3698.55
                                                                                                               CA Disability                                   100.25                    501.25

                                                                                                               TOTAL                                          3533.53                  17667.59
                                                                                       DEDUCTION               DESCRIPTION                             THIS PERIOD ($)                  YTD ($)

                                                                                                               401k EE Pretax                                 2307.69                  11538.45
                                                                                                               Medical Pre-tax                                 399.42                   1997.10

                                                                                                               TOTAL                                          2707.11                  13535.55




                                                                                        NET PAY                                                            THIS PERIOD ($)                YTD ($)
                                                                                                                                                                   5297.83               26789.21

                             Payrolls by Paychex, Inc.
                            0942 1607-7926 Litigation Practice Group PC DBA • 17542 17th St Ste 100 • Tustin CA 92780 • (949) 715-0648
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                                                                                  HAN TRINH
                                                                                  2128 WEST CHERRY DRIVE                                                    NON-NEGOTIABLE
                                                                                  ORANGE CA 92868




                                   NON-NEGOTIABLE




                            PERSONAL AND CHECK INFORMATION                                     EARNINGS       BASIS OF DESCRIPTION       HRS/UNITS       RATE THIS PERIOD ($) YTD HOURS        YTD ($)
                            Han Trinh                                                                           PAY
                            2128 West Cherry Drive                                                                     Salary                                       11538.47                  46153.88
                            Orange, CA 92868                                                                           Holiday                                                  M24.0000
                            Soc Sec #: xxx-xx-xxxx           Employee ID: 1031                                        Total Hours                                                   24.0000
                                                                                                                      Gross Earnings                                11538.47                  46153.88
                            Home Department: 1 LPG CA                                                                 Total Hrs Worked

                            Pay Period: 01/30/23 to 02/12/23                                                          Dir Dep Reimb                                                             300.00
                            Check Date: 02/17/23     Check #: 12689                                                   REIMB & OTHER PAYMENTS                                                    300.00
                            NET PAY ALLOCATIONS                                                WITHHOLDINGS           DESCRIPTION        FILING STATUS        THIS PERIOD ($)                  YTD ($)

                            DESCRIPTION                 THIS PERIOD ($)             YTD ($)                           Social Security                                 690.62                   2762.48
                            Check Amount                            0.00              0.00                            Medicare                                        161.51                    646.06
                            Chkg 860                             5297.85          21491.38                            Fed Income Tax     SMS                         1841.42                   7365.68
                            NET PAY                              5297.85          21491.38                            CA Income Tax      SMI2 1 0                     739.71                   2958.84
                            TIME OFF (Based on Policy Year)                                                           CA Disability                                   100.25                    401.00

                            DESCRIPTION     BEGBAL       CURR ACCRUECURR DEDUCT   AVAIL BAL                           TOTAL                                          3533.51                  14134.06
                            Sick            40.00 hrs      0.00 hrs   0.00 hrs    40.00 hrs    DEDUCTION              DESCRIPTION                             THIS PERIOD ($)                  YTD ($)
                            DESCRIPTION     BEGBAL       CURR ACCRUECURR DEDUCT   AVAIL BAL
                            Vacation       194.04 hrs      6.16 hrs   0.00 hrs    200.20 hrs                          401k EE Pretax                                 2307.69                   9230.76
                                                                                                                      Medical Pre-tax                                 399.42                   1597.68

                                                                                                                      TOTAL                                          2707.11                  10828.44




                                                                                                NET PAY                                                           THIS PERIOD ($)                YTD ($)
                                                                                                                                                                          5297.85               21491.38

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Payrolls by Paychex, Inc.




                                                                         HAN TRINH
                                                                         2128 WEST CHERRY DRIVE                                                      NON-NEGOTIABLE
                                                                         ORANGE CA 92868




                                NON-NEGOTIABLE




                            PERSONAL AND CHECK INFORMATION                             EARNINGS       BASIS OF DESCRIPTION        HRS/UNITS       RATE THIS PERIOD ($) YTD HOURS        YTD ($)
                            Han Trinh                                                                   PAY
                            2128 West Cherry Drive                                                             Salary                                                                  34615.41
                            Orange, CA 92868                                                                   Holiday                                                   M24.0000
                            Soc Sec #: xxx-xx-xxxx       Employee ID: 1031                                     Total Hours                                                   24.0000
                                                                                                               Gross Earnings                                                          34615.41
                            Home Department: 1 LPG CA                                                          Total Hrs Worked

                            Pay Period: 02/06/23 to 02/19/23                                                   Dir Dep Reimb                                   300.00                    300.00
                            Check Date: 02/10/23     Check #: 12486                                            REIMB & OTHER PAYMENTS                          300.00                    300.00
                            NET PAY ALLOCATIONS                                        WITHHOLDINGS            DESCRIPTION        FILING STATUS        THIS PERIOD ($)                  YTD ($)

                            DESCRIPTION            THIS PERIOD ($)           YTD ($)                           Social Security                                                          2071.86
                            Check Amount                      0.00           0.00                              Medicare                                                                  484.55
                            Chkg 860                        300.00       16193.53                              Fed Income Tax     SMS                                                   5524.26
                            NET PAY                         300.00       16193.53                              CA Income Tax      SMI2 1 0                                              2219.13
                                                                                                               CA Disability                                                             300.75

                                                                                                               TOTAL                                                                   10600.55
                                                                                       DEDUCTION               DESCRIPTION                             THIS PERIOD ($)                  YTD ($)

                                                                                                               401k EE Pretax                                                           6923.07
                                                                                                               Medical Pre-tax                                                          1198.26

                                                                                                               TOTAL                                                                    8121.33




                                                                                        NET PAY                                                            THIS PERIOD ($)                YTD ($)
                                                                                                                                                                    300.00               16193.53

                             Payrolls by Paychex, Inc.
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                                                                         HAN TRINH
                                                                         2128 WEST CHERRY DRIVE                                                       NON-NEGOTIABLE
                                                                         ORANGE CA 92868




                                NON-NEGOTIABLE




                            PERSONAL AND CHECK INFORMATION                             EARNINGS       BASIS OF DESCRIPTION        HRS/UNITS        RATE THIS PERIOD ($) YTD HOURS        YTD ($)
                            Han Trinh                                                                   PAY
                            2128 West Cherry Drive                                                             Salary                                         11538.47                  34615.41
                            Orange, CA 92868                                                                   Holiday                   M8.0000                          M24.0000
                            Soc Sec #: xxx-xx-xxxx       Employee ID: 1031                                     Total Hours                8.0000                              24.0000
                                                                                                               Gross Earnings                                 11538.47                  34615.41
                            Home Department: 1 LPG CA                                                          Total Hrs Worked
                                                                                       WITHHOLDINGS            DESCRIPTION        FILING STATUS         THIS PERIOD ($)                  YTD ($)
                            Pay Period: 01/16/23 to 01/29/23
                            Check Date: 02/03/23     Check #: 12251                                            Social Security                                  690.62                   2071.86
                            NET PAY ALLOCATIONS                                                                Medicare                                         161.52                    484.55
                                                                                                               Fed Income Tax     SMS                          1841.42                   5524.26
                            DESCRIPTION            THIS PERIOD ($)           YTD ($)                           CA Income Tax      SMI2 1 0                      739.71                   2219.13
                            Check Amount                   5297.84           0.00                              CA Disability                                    100.25                    300.75
                            Chkg 860                          0.00       15893.53
                            NET PAY                        5297.84       15893.53                              TOTAL                                           3533.52                  10600.55
                                                                                       DEDUCTION               DESCRIPTION                              THIS PERIOD ($)                  YTD ($)

                                                                                                               401k EE Pretax                                  2307.69                   6923.07
                                                                                                               Medical Pre-tax                                  399.42                   1198.26

                                                                                                               TOTAL                                           2707.11                   8121.33




                                                                                        NET PAY                                                             THIS PERIOD ($)                YTD ($)
                                                                                                                                                                    5297.84               15893.53

                             Payrolls by Paychex, Inc.
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                                                                         HAN TRINH
                                                                         2128 WEST CHERRY DRIVE                                                         NON-NEGOTIABLE
                                                                         ORANGE CA 92868




                                NON-NEGOTIABLE




                            PERSONAL AND CHECK INFORMATION                             EARNINGS       BASIS OF DESCRIPTION        HRS/UNITS         RATE THIS PERIOD ($) YTD HOURS        YTD ($)
                            Han Trinh                                                                   PAY
                            2128 West Cherry Drive                                                             Salary                                         -11538.47                  23076.94
                            Orange, CA 92868                                                                   Holiday                   M-8.0000                          M16.0000
                            Soc Sec #: xxx-xx-xxxx       Employee ID: 1031                                     Total Hours                -8.0000                              16.0000
                                                                                                               Gross Earnings                                 -11538.47                  23076.94
                            Home Department: 1 LPG CA                                                          Total Hrs Worked
                                                                                       WITHHOLDINGS            DESCRIPTION        FILING STATUS          THIS PERIOD ($)                  YTD ($)
                            Pay Period: 01/16/23 to 01/29/23
                            Check Date: 02/03/23     Check #: 11932                                            Social Security    Override $-690.62              -690.62                  1381.24
                                                              (VOID)                                           Medicare           Override $-161.52              -161.52                   323.03
                                                                                                               Fed Income Tax     Override $-1,841.42           -1841.42                  3682.84
                                                                                                               CA Income Tax      Override $-739.71              -739.71                  1479.42
                                                                                                               CA Disability      Override $-100.25              -100.25                   200.50

                                                                                                               TOTAL                                            -3533.52                  7067.03
                            NET PAY ALLOCATIONS                                        DEDUCTION               DESCRIPTION                               THIS PERIOD ($)                  YTD ($)

                            DESCRIPTION            THIS PERIOD ($)           YTD ($)                           401k EE Pretax                                   -2307.69                  4615.38
                            Check Amount                       0.00      -5297.84                              Medical Pre-tax                                   -399.42                   798.84
                            Chkg 860                       -5297.84      15893.53
                            NET PAY                        -5297.84      10595.69                              TOTAL                                            -2707.11                  5414.22




                                                                                        NET PAY                                                              THIS PERIOD ($)                YTD ($)
                                                                                                                                                                    -5297.84               10595.69

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                                                                                  HAN TRINH
                                                                                  2128 WEST CHERRY DRIVE                                                    NON-NEGOTIABLE
                                                                                  ORANGE CA 92868




                                   NON-NEGOTIABLE




                            PERSONAL AND CHECK INFORMATION                                     EARNINGS       BASIS OF DESCRIPTION       HRS/UNITS       RATE THIS PERIOD ($) YTD HOURS        YTD ($)
                            Han Trinh                                                                           PAY
                            2128 West Cherry Drive                                                                     Salary                                       11538.47                  34615.41
                            Orange, CA 92868                                                                           Holiday               M8.0000                            M24.0000
                            Soc Sec #: xxx-xx-xxxx           Employee ID: 1031                                        Total Hours             8.0000                                24.0000
                                                                                                                      Gross Earnings                                11538.47                  34615.41
                            Home Department: 1 LPG CA                                                                 Total Hrs Worked
                                                                                               WITHHOLDINGS           DESCRIPTION        FILING STATUS        THIS PERIOD ($)                  YTD ($)
                            Pay Period: 01/16/23 to 01/29/23
                            Check Date: 02/03/23     Check #: 11932                                                   Social Security                                 690.62                   2071.86
                            NET PAY ALLOCATIONS                                                                       Medicare                                        161.52                    484.55
                                                                                                                      Fed Income Tax     SMS                         1841.42                   5524.26
                            DESCRIPTION                 THIS PERIOD ($)             YTD ($)                           CA Income Tax      SMI2 1 0                     739.71                   2219.13
                            Check Amount                            0.00              0.00                            CA Disability                                   100.25                    300.75
                            Chkg 860                             5297.84          15893.53
                            NET PAY                              5297.84          15893.53                            TOTAL                                          3533.52                  10600.55
                            TIME OFF (Based on Policy Year)                                    DEDUCTION              DESCRIPTION                             THIS PERIOD ($)                  YTD ($)

                            DESCRIPTION     BEGBAL       CURR ACCRUECURR DEDUCT   AVAIL BAL                           401k EE Pretax                                 2307.69                   6923.07
                            Sick            40.00 hrs      0.00 hrs   0.00 hrs    40.00 hrs                           Medical Pre-tax                                 399.42                   1198.26
                            DESCRIPTION     BEGBAL       CURR ACCRUECURR DEDUCT   AVAIL BAL
                            Vacation       187.88 hrs      6.16 hrs   0.00 hrs    194.04 hrs                          TOTAL                                          2707.11                   8121.33




                                                                                                NET PAY                                                           THIS PERIOD ($)                YTD ($)
                                                                                                                                                                          5297.84               15893.53

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                                                                         HAN TRINH
                                                                         2128 WEST CHERRY DRIVE                                                       NON-NEGOTIABLE
                                                                         ORANGE CA 92868




                                NON-NEGOTIABLE




                            PERSONAL AND CHECK INFORMATION                             EARNINGS       BASIS OF DESCRIPTION        HRS/UNITS        RATE THIS PERIOD ($) YTD HOURS        YTD ($)
                            Han Trinh                                                                   PAY
                            2128 West Cherry Drive                                                             Salary                                         11538.47                  23076.94
                            Orange, CA 92868                                                                   Holiday                   M8.0000                          M16.0000
                            Soc Sec #: xxx-xx-xxxx       Employee ID: 1031                                     Total Hours                8.0000                              16.0000
                                                                                                               Gross Earnings                                 11538.47                  23076.94
                            Home Department: 1 LPG CA                                                          Total Hrs Worked
                                                                                       WITHHOLDINGS            DESCRIPTION        FILING STATUS         THIS PERIOD ($)                  YTD ($)
                            Pay Period: 01/02/23 to 01/15/23
                            Check Date: 01/20/23     Check #: 11628                                            Social Security                                  690.62                   1381.24
                            NET PAY ALLOCATIONS                                                                Medicare                                         161.51                    323.03
                                                                                                               Fed Income Tax     SMS                          1841.42                   3682.84
                            DESCRIPTION            THIS PERIOD ($)           YTD ($)                           CA Income Tax      SMI2 1 0                      739.71                   1479.42
                            Check Amount                      0.00           0.00                              CA Disability                                    100.25                    200.50
                            Chkg 860                       5297.85       10595.69
                            NET PAY                        5297.85       10595.69                              TOTAL                                           3533.51                   7067.03
                                                                                       DEDUCTION               DESCRIPTION                              THIS PERIOD ($)                  YTD ($)

                                                                                                               401k EE Pretax                                  2307.69                   4615.38
                                                                                                               Medical Pre-tax                                  399.42                    798.84

                                                                                                               TOTAL                                           2707.11                   5414.22




                                                                                        NET PAY                                                             THIS PERIOD ($)                YTD ($)
                                                                                                                                                                    5297.85               10595.69

                             Payrolls by Paychex, Inc.
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                                                                                  HAN TRINH
                                                                                  2128 WEST CHERRY DRIVE                                                    NON-NEGOTIABLE
                                                                                  ORANGE CA 92868




                                   NON-NEGOTIABLE




                            PERSONAL AND CHECK INFORMATION                                     EARNINGS       BASIS OF DESCRIPTION       HRS/UNITS       RATE THIS PERIOD ($) YTD HOURS        YTD ($)
                            Han Trinh                                                                           PAY
                            2128 West Cherry Drive                                                                     Salary                                       11538.47                  11538.47
                            Orange, CA 92868                                                                           Holiday               M8.0000                                M8.0000
                            Soc Sec #: xxx-xx-xxxx           Employee ID: 1031                                        Total Hours             8.0000                                 8.0000
                                                                                                                      Gross Earnings                                11538.47                  11538.47
                            Home Department: 1 LPG CA                                                                 Total Hrs Worked
                                                                                               WITHHOLDINGS           DESCRIPTION        FILING STATUS        THIS PERIOD ($)                  YTD ($)
                            Pay Period: 12/19/22 to 01/01/23
                            Check Date: 01/06/23     Check #: 11339                                                   Social Security                                 690.62                    690.62
                            NET PAY ALLOCATIONS                                                                       Medicare                                        161.52                    161.52
                                                                                                                      Fed Income Tax     SMS                         1841.42                   1841.42
                            DESCRIPTION                 THIS PERIOD ($)             YTD ($)                           CA Income Tax      SMI2 1 0                     739.71                    739.71
                            Check Amount                            0.00              0.00                            CA Disability                                   100.25                    100.25
                            Chkg 860                             5297.84           5297.84
                            NET PAY                              5297.84           5297.84                            TOTAL                                          3533.52                   3533.52
                            TIME OFF (Based on Policy Year)                                    DEDUCTION              DESCRIPTION                             THIS PERIOD ($)                  YTD ($)

                            DESCRIPTION     BEGBAL       CURR ACCRUECURR DEDUCT   AVAIL BAL                           401k EE Pretax                                 2307.69                   2307.69
                            Sick            40.00 hrs      0.00 hrs   0.00 hrs    40.00 hrs                           Medical Pre-tax                                 399.42                    399.42
                            DESCRIPTION     BEGBAL       CURR ACCRUECURR DEDUCT   AVAIL BAL
                            Vacation       175.56 hrs      6.16 hrs   0.00 hrs    181.72 hrs                          TOTAL                                          2707.11                   2707.11




                                                                                                NET PAY                                                           THIS PERIOD ($)                YTD ($)
                                                                                                                                                                          5297.84                5297.84

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                                                                                  HAN TRINH
                                                                                  2128 WEST CHERRY DRIVE                                                    NON-NEGOTIABLE
                                                                                  ORANGE CA 92868




                                   NON-NEGOTIABLE




                            PERSONAL AND CHECK INFORMATION                                     EARNINGS       BASIS OF DESCRIPTION       HRS/UNITS       RATE THIS PERIOD ($) YTD HOURS         YTD ($)
                            Han Trinh                                                                           PAY
                            2128 West Cherry Drive                                                                     Salary                                       11538.47                   167692.37
                            Orange, CA 92868                                                                           Holiday                                                  M56.0000
                            Soc Sec #: xxx-xx-xxxx           Employee ID: 1031                                        Total Hours                                                   56.0000
                                                                                                                      Gross Earnings                                11538.47                  167692.37
                            Home Department: 1 LPG CA                                                                 Total Hrs Worked
                                                                                               WITHHOLDINGS           DESCRIPTION        FILING STATUS        THIS PERIOD ($)                   YTD ($)
                            Pay Period: 12/05/22 to 12/18/22
                            Check Date: 12/23/22     Check #: 11051                                                   Social Security                                                           9114.00
                            NET PAY ALLOCATIONS                                                                       Medicare                                        161.51                    2296.66
                                                                                                                      Fed Income Tax     SMS                         2714.84                   25047.84
                            DESCRIPTION                 THIS PERIOD ($)             YTD ($)                           CA Income Tax      SMI2 1 0                     988.34                   10175.37
                            Check Amount                            0.00              0.00                            CA Disability                                                             1601.60
                            Chkg 860                             7274.36          42931.49
                            Chkg 110                                0.00          46723.49                            TOTAL                                          3864.69                   48235.47
                            NET PAY                              7274.36          89654.98 DEDUCTION                  DESCRIPTION                             THIS PERIOD ($)                   YTD ($)
                            TIME OFF (Based on Policy Year)
                                                                                                                      401k EE Pretax                                                           20500.00
                            DESCRIPTION     BEGBAL       CURR ACCRUECURR DEDUCT   AVAIL BAL                           Medical Pre-tax                                 399.42                    9301.92
                            Sick            40.00 hrs      0.00 hrs   0.00 hrs    40.00 hrs
                            DESCRIPTION     BEGBAL       CURR ACCRUECURR DEDUCT   AVAIL BAL                           TOTAL                                           399.42                   29801.92
                            Vacation       169.40 hrs      6.16 hrs   0.00 hrs    175.56 hrs




                                                                                                NET PAY                                                           THIS PERIOD ($)                  YTD ($)
                                                                                                                                                                          7274.36                89654.98

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                                                                                  HAN TRINH
                                                                                  2128 WEST CHERRY DRIVE                                                    NON-NEGOTIABLE
                                                                                  ORANGE CA 92868




                                   NON-NEGOTIABLE




                            PERSONAL AND CHECK INFORMATION                                     EARNINGS       BASIS OF DESCRIPTION       HRS/UNITS       RATE THIS PERIOD ($) YTD HOURS         YTD ($)
                            Han Trinh                                                                           PAY
                            2128 West Cherry Drive                                                                     Salary                                       11538.47                   156153.90
                            Orange, CA 92868                                                                           Holiday              M16.0000                            M56.0000
                            Soc Sec #: xxx-xx-xxxx           Employee ID: 1031                                        Total Hours            16.0000                                56.0000
                                                                                                                      Gross Earnings                                11538.47                  156153.90
                            Home Department: 1 LPG CA                                                                 Total Hrs Worked
                                                                                               WITHHOLDINGS           DESCRIPTION        FILING STATUS        THIS PERIOD ($)                   YTD ($)
                            Pay Period: 11/21/22 to 12/04/22
                            Check Date: 12/09/22     Check #: 10762                                                   Social Security                                 675.03                    9114.00
                            NET PAY ALLOCATIONS                                                                       Medicare                                        161.52                    2135.15
                                                                                                                      Fed Income Tax     SMS                         2714.84                   22333.00
                            DESCRIPTION                 THIS PERIOD ($)             YTD ($)                           CA Income Tax      SMI2 1 0                     988.34                    9187.03
                            Check Amount                            0.00              0.00                            CA Disability                                   104.39                    1601.60
                            Chkg 860                             6494.93          35657.13
                            Chkg 110                                0.00          46723.49                            TOTAL                                          4644.12                   44370.78
                            NET PAY                              6494.93          82380.62 DEDUCTION                  DESCRIPTION                             THIS PERIOD ($)                   YTD ($)
                            TIME OFF (Based on Policy Year)
                                                                                                                      401k EE Pretax                                                           20500.00
                            DESCRIPTION     BEGBAL       CURR ACCRUECURR DEDUCT   AVAIL BAL                           Medical Pre-tax                                 399.42                    8902.50
                            Sick            40.00 hrs      0.00 hrs   0.00 hrs    40.00 hrs
                            DESCRIPTION     BEGBAL       CURR ACCRUECURR DEDUCT   AVAIL BAL                           TOTAL                                           399.42                   29402.50
                            Vacation       163.24 hrs      6.16 hrs   0.00 hrs    169.40 hrs




                                                                                                NET PAY                                                           THIS PERIOD ($)                  YTD ($)
                                                                                                                                                                          6494.93                82380.62

                             Payrolls by Paychex, Inc.
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                                                                         HAN TRINH
                                                                         2128 WEST CHERRY DRIVE                                                         NON-NEGOTIABLE
                                                                         ORANGE CA 92868




                                NON-NEGOTIABLE




                            PERSONAL AND CHECK INFORMATION                             EARNINGS       BASIS OF DESCRIPTION           HRS/UNITS       RATE THIS PERIOD ($) YTD HOURS        YTD ($)
                            Han Trinh                                                                   PAY
                            2128 West Cherry Drive                                                             Salary                                           11538.47                  144615.43
                            Orange, CA 92868                                                                   Holiday                                                          M40.00
                            Soc Sec #: xxx-xx-xxxx       Employee ID: 1031                                      Total Hours                                                      40.00
                                                                                                                Gross Earnings                                  11538.47                 144615.43
                            Home Department: 1 LPG CA                                                           Total Hrs Worked
                                                                                       WITHHOLDIN               DESCRIPTION          FILING STATUS        THIS PERIOD ($)                  YTD ($)
                            Pay Period: 11/07/22 to 11/20/22                           GS
                            Check Date: 11/25/22     Check #: 10465                                             Social Security                                   690.63                   8438.97
                            NET PAY ALLOCATIONS                                                                 Medicare                                          161.52                   1973.63
                                                                                                                Fed Income Tax       SMS                         2714.84                  19618.16
                            DESCRIPTION            THIS PERIOD ($)           YTD ($)                            CA Income Tax        SMI2 0 1                     988.34                   8198.69
                            Check Amount                      0.00            0.00                              CA Disability                                     122.53                   1497.21
                            Chkg 860                       6461.19        29162.20
                            Chkg 110                          0.00        46723.49                              TOTAL                                            4677.86                  39726.66
                            NET PAY                        6461.19        75885.69 DEDUCTION                    DESCRIPTION                               THIS PERIOD ($)                  YTD ($)

                                                                                                                401k EE Pretax                                                            20500.00
                                                                                                                Medical Pre-tax                                   399.42                   8503.08

                                                                                                                TOTAL                                             399.42                  29003.08




                                                                                        NET PAY                                                               THIS PERIOD ($)                 YTD ($)
                                                                                                                                                                      6461.19               75885.69

                             Payrolls by Paychex, Inc.

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                                                                         HAN TRINH
                                                                         2128 WEST CHERRY DRIVE                                                            NON-NEGOTIABLE
                                                                         ORANGE CA 92868




                                NON-NEGOTIABLE




                            PERSONAL AND CHECK INFORMATION                             EARNINGS       BASIS OF DESCRIPTION           HRS/UNITS       RATE THIS PERIOD ($) YTD HOURS         YTD ($)
                            Han Trinh                                                                   PAY
                            2128 West Cherry Drive                                                             Salary                                           -11538.47                  133076.96
                            Orange, CA 92868                                                                   Holiday                                                           M40.00
                            Soc Sec #: xxx-xx-xxxx       Employee ID: 1031                                      Total Hours                                                       40.00
                                                                                                                Gross Earnings                                  -11538.47                 133076.96
                            Home Department: 1 LPG CA                                                           Total Hrs Worked
                                                                                       WITHHOLDIN               DESCRIPTION          FILING STATUS         THIS PERIOD ($)                  YTD ($)
                            Pay Period: 11/07/22 to 11/20/22                           GS
                            Check Date: 11/25/22     Check #: 10167                                             Social Security      Override $-690.63             -690.63                  7748.34
                                                              (VOID)                                            Medicare             Override $-161.52             -161.52                  1812.11
                                                                                                                Fed Income Tax       Override $-2,714.84          -2714.84                 16903.32
                                                                                                                CA Income Tax        Override $-988.34             -988.34                  7210.35
                            NET PAY ALLOCATIONS                                                                 CA Disability        Override $-122.53             -122.53                  1374.68

                            DESCRIPTION            THIS PERIOD ($)           YTD ($)                            TOTAL                                             -4677.86                 35048.80
                            Check Amount                       0.00           0.00 DEDUCTION                    DESCRIPTION                                THIS PERIOD ($)                  YTD ($)
                            Chkg 860                       -6461.19       22701.01
                            Chkg 110                           0.00       46723.49                              401k EE Pretax                                                             20500.00
                            NET PAY                        -6461.19       69424.50                              Medical Pre-tax                                    -399.42                  8103.66

                                                                                                                TOTAL                                              -399.42                 28603.66




                                                                                        NET PAY                                                                THIS PERIOD ($)                 YTD ($)
                                                                                                                                                                      -6461.19               69424.50

                             Payrolls by Paychex, Inc.

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                                                                         HAN TRINH
                                                                         2128 WEST CHERRY DRIVE                                                         NON-NEGOTIABLE
                                                                         ORANGE CA 92868




                                NON-NEGOTIABLE




                            PERSONAL AND CHECK INFORMATION                             EARNINGS       BASIS OF DESCRIPTION           HRS/UNITS       RATE THIS PERIOD ($) YTD HOURS        YTD ($)
                            Han Trinh                                                                   PAY
                            2128 West Cherry Drive                                                             Salary                                           11538.47                  144615.43
                            Orange, CA 92868                                                                   Holiday                                                          M40.00
                            Soc Sec #: xxx-xx-xxxx       Employee ID: 1031                                      Total Hours                                                      40.00
                                                                                                                Gross Earnings                                  11538.47                 144615.43
                            Home Department: 1 LPG CA                                                           Total Hrs Worked
                                                                                       WITHHOLDIN               DESCRIPTION          FILING STATUS        THIS PERIOD ($)                  YTD ($)
                            Pay Period: 11/07/22 to 11/20/22                           GS
                            Check Date: 11/25/22     Check #: 10167                                             Social Security                                   690.63                   8438.97
                            NET PAY ALLOCATIONS                                                                 Medicare                                          161.52                   1973.63
                                                                                                                Fed Income Tax       SMS                         2714.84                  19618.16
                            DESCRIPTION            THIS PERIOD ($)           YTD ($)                            CA Income Tax        SMI2 0 1                     988.34                   8198.69
                            Check Amount                      0.00            0.00                              CA Disability                                     122.53                   1497.21
                            Chkg 860                       6461.19        29162.20
                            Chkg 110                          0.00        46723.49                              TOTAL                                            4677.86                  39726.66
                            NET PAY                        6461.19        75885.69 DEDUCTION                    DESCRIPTION                               THIS PERIOD ($)                  YTD ($)

                                                                                                                401k EE Pretax                                                            20500.00
                                                                                                                Medical Pre-tax                                   399.42                   8503.08

                                                                                                                TOTAL                                             399.42                  29003.08




                                                                                        NET PAY                                                               THIS PERIOD ($)                 YTD ($)
                                                                                                                                                                      6461.19               75885.69

                             Payrolls by Paychex, Inc.

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                                                                                  HAN TRINH
                                                                                  2128 WEST CHERRY DRIVE                                                    NON-NEGOTIABLE
                                                                                  ORANGE CA 92868




                                   NON-NEGOTIABLE




                            PERSONAL AND CHECK INFORMATION                                     EARNINGS       BASIS OF DESCRIPTION       HRS/UNITS       RATE THIS PERIOD ($) YTD HOURS        YTD ($)
                            Han Trinh                                                                           PAY
                            2128 West Cherry Drive                                                                     Salary                                        6923.08                  133076.96
                            Orange, CA 92868                                                                           Holiday                                                      M40.00
                            Soc Sec #: xxx-xx-xxxx           Employee ID: 1031                                        Total Hours                                                    40.00
                                                                                                                      Gross Earnings                                 6923.08                 133076.96
                            Home Department: 1 LPG CA                                                                 Total Hrs Worked
                                                                                               WITHHOLDIN             DESCRIPTION        FILING STATUS        THIS PERIOD ($)                  YTD ($)
                            Pay Period: 10/24/22 to 11/06/22                                   GS
                            Check Date: 11/10/22     Check #: 9859                                                    Social Security                                 404.46                   7748.34
                            NET PAY ALLOCATIONS                                                                       Medicare                                         94.59                   1812.11
                                                                                                                      Fed Income Tax     SMS                         1209.04                  16903.32
                            DESCRIPTION                 THIS PERIOD ($)             YTD ($)                           CA Income Tax      SMI2 0 1                     516.19                   7210.35
                            Check Amount                            0.00              0.00                            CA Disability                                    71.76                   1374.68
                            Chkg 860                             4227.62          22701.01
                            Chkg 110                                0.00          46723.49                            TOTAL                                          2296.04                  35048.80
                            NET PAY                              4227.62          69424.50 DEDUCTION                  DESCRIPTION                             THIS PERIOD ($)                  YTD ($)
                            TIME OFF (Based on Policy Year)
                                                                                                                      401k EE Pretax                                                          20500.00
                            DESCRIPTION     BEGBAL       CURR ACCRUECURR DEDUCT   AVAIL BAL                           Medical Pre-tax                                 399.42                   8103.66
                            Sick            40.00 hrs      0.00 hrs   0.00 hrs    40.00 hrs
                            DESCRIPTION     BEGBAL       CURR ACCRUECURR DEDUCT   AVAIL BAL                           TOTAL                                           399.42                  28603.66
                            Vacation       150.92 hrs      6.16 hrs   0.00 hrs    157.08 hrs




                                                                                                NET PAY                                                           THIS PERIOD ($)                 YTD ($)
                                                                                                                                                                          4227.62               69424.50

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                                                                                  HAN TRINH
                                                                                  2128 WEST CHERRY DRIVE                                                    NON-NEGOTIABLE
                                                                                  ORANGE CA 92868




                                   NON-NEGOTIABLE




                            PERSONAL AND CHECK INFORMATION                                     EARNINGS       BASIS OF DESCRIPTION       HRS/UNITS       RATE THIS PERIOD ($) YTD HOURS        YTD ($)
                            Han Trinh                                                                           PAY
                            2128 West Cherry Drive                                                                     Salary                                        6923.08                  126153.88
                            Orange, CA 92868                                                                           Holiday                                                      M40.00
                            Soc Sec #: xxx-xx-xxxx           Employee ID: 1031                                        Total Hours                                                    40.00
                                                                                                                      Gross Earnings                                 6923.08                 126153.88
                            Home Department: 1 LPG CA                                                                 Total Hrs Worked
                                                                                               WITHHOLDIN             DESCRIPTION        FILING STATUS        THIS PERIOD ($)                  YTD ($)
                            Pay Period: 10/10/22 to 10/23/22                                   GS
                            Check Date: 10/28/22     Check #: 9418                                                    Social Security                                 404.47                   7343.88
                            NET PAY ALLOCATIONS                                                                       Medicare                                         94.59                   1717.52
                                                                                                                      Fed Income Tax     SMS                         1209.04                  15694.28
                            DESCRIPTION                 THIS PERIOD ($)             YTD ($)                           CA Income Tax      SMI2 0 1                     516.19                   6694.16
                            Check Amount                            0.00              0.00                            CA Disability                                    71.76                   1302.92
                            Chkg 860                             4227.61          18473.39
                            Chkg 110                                0.00          46723.49                            TOTAL                                          2296.05                  32752.76
                            NET PAY                              4227.61          65196.88 DEDUCTION                  DESCRIPTION                             THIS PERIOD ($)                  YTD ($)
                            TIME OFF (Based on Policy Year)
                                                                                                                      401k EE Pretax                                                          20500.00
                            DESCRIPTION     BEGBAL       CURR ACCRUECURR DEDUCT   AVAIL BAL                           Medical Pre-tax                                 399.42                   7704.24
                            Sick            40.00 hrs      0.00 hrs   0.00 hrs    40.00 hrs
                            DESCRIPTION     BEGBAL       CURR ACCRUECURR DEDUCT   AVAIL BAL                           TOTAL                                           399.42                  28204.24
                            Vacation       144.76 hrs      6.16 hrs   0.00 hrs    150.92 hrs




                                                                                                NET PAY                                                           THIS PERIOD ($)                 YTD ($)
                                                                                                                                                                          4227.61               65196.88

                             Payrolls by Paychex, Inc.

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                                                                         HAN TRINH
                                                                         2128 WEST CHERRY DRIVE                                                         NON-NEGOTIABLE
                                                                         ORANGE CA 92868




                                NON-NEGOTIABLE




                            PERSONAL AND CHECK INFORMATION                             EARNINGS       BASIS OF DESCRIPTION           HRS/UNITS       RATE THIS PERIOD ($) YTD HOURS        YTD ($)
                            Han Trinh                                                                   PAY
                            2128 West Cherry Drive                                                             Salary                                            6923.08                  119230.80
                            Orange, CA 92868                                                                   Holiday                                                          M40.00
                            Soc Sec #: xxx-xx-xxxx       Employee ID: 1031                                      Total Hours                                                      40.00
                                                                                                                Gross Earnings                                   6923.08                 119230.80
                            Home Department: 1 LPG CA                                                           Total Hrs Worked
                                                                                       WITHHOLDIN               DESCRIPTION          FILING STATUS        THIS PERIOD ($)                  YTD ($)
                            Pay Period: 09/26/22 to 10/09/22                           GS
                            Check Date: 10/14/22     Check #: 9049                                              Social Security                                   404.47                   6939.41
                            NET PAY ALLOCATIONS                                                                 Medicare                                           94.60                   1622.93
                                                                                                                Fed Income Tax       SMS                         1199.82                  14485.24
                            DESCRIPTION            THIS PERIOD ($)           YTD ($)                            CA Income Tax        SMI2 0 1                     512.25                   6177.97
                            Check Amount                      0.00            0.00                              CA Disability                                      71.76                   1231.16
                            Chkg 860                       4202.32        14245.78
                            Chkg 110                          0.00        46723.49                              TOTAL                                            2282.90                  30456.71
                            NET PAY                        4202.32        60969.27 DEDUCTION                    DESCRIPTION                               THIS PERIOD ($)                  YTD ($)

                                                                                                                401k EE Pretax                                     38.44                  20500.00
                                                                                                                Medical Pre-tax                                   399.42                   7304.82

                                                                                                                TOTAL                                             437.86                  27804.82




                                                                                        NET PAY                                                               THIS PERIOD ($)                 YTD ($)
                                                                                                                                                                      4202.32               60969.27

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                                                                                  HAN TRINH
                                                                                  2128 WEST CHERRY DRIVE                                                    NON-NEGOTIABLE
                                                                                  ORANGE CA 92868




                                   NON-NEGOTIABLE




                            PERSONAL AND CHECK INFORMATION                                     EARNINGS       BASIS OF DESCRIPTION       HRS/UNITS       RATE THIS PERIOD ($) YTD HOURS        YTD ($)
                            Han Trinh                                                                           PAY
                            2128 West Cherry Drive                                                                     Salary                                        6923.08                  112307.72
                            Orange, CA 92868                                                                           Holiday                                                      M40.00
                            Soc Sec #: xxx-xx-xxxx           Employee ID: 1031                                        Total Hours                                                    40.00
                                                                                                                      Gross Earnings                                 6923.08                 112307.72
                            Home Department: 1 LPG CA                                                                 Total Hrs Worked
                                                                                               WITHHOLDIN             DESCRIPTION        FILING STATUS        THIS PERIOD ($)                  YTD ($)
                            Pay Period: 09/12/22 to 09/25/22                                   GS
                            Check Date: 09/30/22     Check #: 8661                                                    Social Security                                 407.82                   6534.94
                            NET PAY ALLOCATIONS                                                                       Medicare                                         95.37                   1528.33
                                                                                                                      Fed Income Tax     SMS                          889.73                  13285.42
                            DESCRIPTION                 THIS PERIOD ($)             YTD ($)                           CA Income Tax      SMI2 0 1                     380.08                   5665.72
                            Check Amount                            0.00              0.00                            CA Disability                                    72.36                   1159.40
                            Chkg 860                             3347.83          10043.46
                            Chkg 110                                0.00          46723.49                            TOTAL                                          1845.36                  28173.81
                            NET PAY                              3347.83          56766.95 DEDUCTION                  DESCRIPTION                             THIS PERIOD ($)                  YTD ($)
                            TIME OFF (Based on Policy Year)
                                                                                                                      401k EE Pretax                                 1384.62                  20461.56
                            DESCRIPTION     BEGBAL       CURR ACCRUECURR DEDUCT   AVAIL BAL                           Medical Pre-tax                                 345.27                   6905.40
                            Sick            40.00 hrs      0.00 hrs   0.00 hrs    40.00 hrs
                            DESCRIPTION     BEGBAL       CURR ACCRUECURR DEDUCT   AVAIL BAL                           TOTAL                                          1729.89                  27366.96
                            Vacation       132.44 hrs      6.16 hrs   0.00 hrs    138.60 hrs




                                                                                                NET PAY                                                           THIS PERIOD ($)                 YTD ($)
                                                                                                                                                                          3347.83               56766.95

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                                                                                  HAN TRINH
                                                                                  2128 WEST CHERRY DRIVE                                                    NON-NEGOTIABLE
                                                                                  ORANGE CA 92868




                                   NON-NEGOTIABLE




                            PERSONAL AND CHECK INFORMATION                                     EARNINGS       BASIS OF DESCRIPTION       HRS/UNITS       RATE THIS PERIOD ($) YTD HOURS        YTD ($)
                            Han Trinh                                                                           PAY
                            2128 West Cherry Drive                                                                     Salary                                        6923.08                  105384.64
                            Orange, CA 92868                                                                           Holiday               M8.00                                  M40.00
                            Soc Sec #: xxx-xx-xxxx           Employee ID: 1031                                        Total Hours             8.00                                   40.00
                                                                                                                      Gross Earnings                                 6923.08                 105384.64
                            Home Department: 1 LPG CA                                                                 Total Hrs Worked
                                                                                               WITHHOLDIN             DESCRIPTION        FILING STATUS        THIS PERIOD ($)                  YTD ($)
                            Pay Period: 08/29/22 to 09/11/22                                   GS
                            Check Date: 09/16/22     Check #: 8262                                                    Social Security                                 407.82                   6127.12
                            NET PAY ALLOCATIONS                                                                       Medicare                                         95.38                   1432.96
                                                                                                                      Fed Income Tax     SMS                          889.73                  12395.69
                            DESCRIPTION                 THIS PERIOD ($)             YTD ($)                           CA Income Tax      SMI2 0 1                     380.08                   5285.64
                            Check Amount                            0.00              0.00                            CA Disability                                    72.36                   1087.04
                            Chkg 860                             3347.82           6695.63
                            Chkg 110                                0.00          46723.49                            TOTAL                                          1845.37                  26328.45
                            NET PAY                              3347.82          53419.12 DEDUCTION                  DESCRIPTION                             THIS PERIOD ($)                  YTD ($)
                            TIME OFF (Based on Policy Year)
                                                                                                                      401k EE Pretax                                 1384.62                  19076.94
                            DESCRIPTION     BEGBAL       CURR ACCRUECURR DEDUCT   AVAIL BAL                           Medical Pre-tax                                 345.27                   6560.13
                            Sick            40.00 hrs      0.00 hrs   0.00 hrs    40.00 hrs
                            DESCRIPTION     BEGBAL       CURR ACCRUECURR DEDUCT   AVAIL BAL                           TOTAL                                          1729.89                  25637.07
                            Vacation       126.28 hrs      6.16 hrs   0.00 hrs    132.44 hrs




                                                                                                NET PAY                                                           THIS PERIOD ($)                 YTD ($)
                                                                                                                                                                          3347.82               53419.12

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                                                                         HAN TRINH
                                                                         2128 WEST CHERRY DRIVE                                                         NON-NEGOTIABLE
                                                                         ORANGE CA 92868




                                NON-NEGOTIABLE




                            PERSONAL AND CHECK INFORMATION                             EARNINGS       BASIS OF DESCRIPTION           HRS/UNITS       RATE THIS PERIOD ($) YTD HOURS       YTD ($)
                            Han Trinh                                                                   PAY
                            2128 West Cherry Drive                                                             Salary                                            6923.08                 98461.56
                            Orange, CA 92868                                                                   Holiday                                                          M32.00
                            Soc Sec #: xxx-xx-xxxx       Employee ID: 1031                                      Total Hours                                                      32.00
                                                                                                                Gross Earnings                                   6923.08                 98461.56
                            Home Department: 1 LPG CA                                                           Total Hrs Worked
                                                                                       WITHHOLDIN               DESCRIPTION          FILING STATUS        THIS PERIOD ($)                 YTD ($)
                            Pay Period: 08/15/22 to 08/28/22                           GS
                            Check Date: 09/02/22     Check #: 7854                                              Social Security                                   407.83                  5719.30
                            NET PAY ALLOCATIONS                                                                 Medicare                                           95.38                  1337.58
                                                                                                                Fed Income Tax       SMS                          889.73                 11505.96
                            DESCRIPTION            THIS PERIOD ($)           YTD ($)                            CA Income Tax        SMI2 0 1                     380.08                  4905.56
                            Check Amount                      0.00            0.00                              CA Disability                                      72.36                  1014.68
                            Chkg 860                       3347.81         3347.81
                            Chkg 110                          0.00        46723.49                              TOTAL                                            1845.38                 24483.08
                            NET PAY                        3347.81        50071.30 DEDUCTION                    DESCRIPTION                               THIS PERIOD ($)                 YTD ($)

                                                                                                                401k EE Pretax                                   1384.62                 17692.32
                                                                                                                Medical Pre-tax                                   345.27                  6214.86

                                                                                                                TOTAL                                            1729.89                 23907.18




                                                                                        NET PAY                                                               THIS PERIOD ($)               YTD ($)
                                                                                                                                                                      3347.81              50071.30

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                                                                         HAN TRINH
                                                                         2128 WEST CHERRY DRIVE                                                         NON-NEGOTIABLE
                                                                         ORANGE CA 92868




                                NON-NEGOTIABLE




                            PERSONAL AND CHECK INFORMATION                             EARNINGS       BASIS OF DESCRIPTION           HRS/UNITS       RATE THIS PERIOD ($) YTD HOURS       YTD ($)
                            Han Trinh                                                                   PAY
                            2128 West Cherry Drive                                                             Salary                                            6923.08                 91538.48
                            Orange, CA 92868                                                                   Holiday                                                          M32.00
                            Soc Sec #: xxx-xx-xxxx       Employee ID: 1031                                      Total Hours                                                      32.00
                                                                                                                Gross Earnings                                   6923.08                 91538.48
                            Home Department: 1 LPG CA                                                           Total Hrs Worked
                                                                                       WITHHOLDIN               DESCRIPTION          FILING STATUS        THIS PERIOD ($)                 YTD ($)
                            Pay Period: 08/01/22 to 08/14/22                           GS
                            Check Date: 08/19/22     Check #: 7472                                              Social Security                                   407.82                  5311.47
                            NET PAY ALLOCATIONS                                                                 Medicare                                           95.38                  1242.20
                                                                                                                Fed Income Tax       SMS                          889.73                 10616.23
                            DESCRIPTION            THIS PERIOD ($)           YTD ($)                            CA Income Tax        SMI2 0 1                     380.08                  4525.48
                            Check Amount                      0.00            0.00                              CA Disability                                      72.36                   942.32
                            Chkg 110                       3347.82        46723.49
                            NET PAY                        3347.82        46723.49                              TOTAL                                            1845.37                 22637.70
                                                                                       DEDUCTION                DESCRIPTION                               THIS PERIOD ($)                 YTD ($)

                                                                                                                401k EE Pretax                                   1384.62                 16307.70
                                                                                                                Medical Pre-tax                                   345.27                  5869.59

                                                                                                                TOTAL                                            1729.89                 22177.29




                                                                                        NET PAY                                                               THIS PERIOD ($)               YTD ($)
                                                                                                                                                                      3347.82              46723.49

                             Payrolls by Paychex, Inc.

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                                                                                  HAN TRINH
                                                                                  2128 WEST CHERRY DRIVE                                                    NON-NEGOTIABLE
                                                                                  ORANGE CA 92868




                                   NON-NEGOTIABLE




                            PERSONAL AND CHECK INFORMATION                                     EARNINGS       BASIS OF DESCRIPTION       HRS/UNITS       RATE THIS PERIOD ($) YTD HOURS       YTD ($)
                            Han Trinh                                                                           PAY
                            2128 West Cherry Drive                                                                     Salary                                        5769.23                 84615.40
                            Orange, CA 92868                                                                           Holiday                                                      M32.00
                            Soc Sec #: xxx-xx-xxxx           Employee ID: 1031                                        Total Hours                                                    32.00
                                                                                                                      Gross Earnings                                 5769.23                 84615.40
                            Home Department: 1 LPG CA                                                                 Total Hrs Worked
                                                                                               WITHHOLDIN             DESCRIPTION        FILING STATUS        THIS PERIOD ($)                 YTD ($)
                            Pay Period: 07/18/22 to 07/31/22                                   GS
                            Check Date: 08/05/22     Check #: 7093                                                    Social Security                                 336.29                  4903.65
                            NET PAY ALLOCATIONS                                                                       Medicare                                         78.65                  1146.82
                                                                                                                      Fed Income Tax     SMS                          668.19                  9726.50
                            DESCRIPTION                 THIS PERIOD ($)             YTD ($)                           CA Income Tax      SMI2 0 1                     285.65                  4145.40
                            Check Amount                            0.00              0.00                            CA Disability                                    59.66                   869.96
                            Chkg 110                             2841.67          43375.67
                            NET PAY                              2841.67          43375.67                            TOTAL                                          1428.44                 20792.33
                            TIME OFF (Based on Policy Year)                                    DEDUCTION              DESCRIPTION                             THIS PERIOD ($)                 YTD ($)

                            DESCRIPTION     BEGBAL       CURR ACCRUECURR DEDUCT   AVAIL BAL                           401k EE Pretax                                 1153.85                 14923.08
                            Sick            40.00 hrs      0.00 hrs   0.00 hrs    40.00 hrs                           Medical Pre-tax                                 345.27                  5524.32
                            DESCRIPTION     BEGBAL       CURR ACCRUECURR DEDUCT   AVAIL BAL
                            Vacation       107.80 hrs      6.16 hrs   0.00 hrs    113.96 hrs                          TOTAL                                          1499.12                 20447.40




                                                                                                NET PAY                                                           THIS PERIOD ($)               YTD ($)
                                                                                                                                                                          2841.67              43375.67

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                                                                                  HAN TRINH
                                                                                  2128 WEST CHERRY DRIVE                                                    NON-NEGOTIABLE
                                                                                  ORANGE CA 92868




                                   NON-NEGOTIABLE




                            PERSONAL AND CHECK INFORMATION                                     EARNINGS       BASIS OF DESCRIPTION       HRS/UNITS       RATE THIS PERIOD ($) YTD HOURS       YTD ($)
                            Han Trinh                                                                           PAY
                            2128 West Cherry Drive                                                                     Salary                                        5769.23                 78846.17
                            Orange, CA 92868                                                                           Holiday               M8.00                                  M32.00
                            Soc Sec #: xxx-xx-xxxx           Employee ID: 1031                                        Total Hours             8.00                                   32.00
                                                                                                                      Gross Earnings                                 5769.23                 78846.17
                            Home Department: 1 LPG CA                                                                 Total Hrs Worked
                                                                                               WITHHOLDIN             DESCRIPTION        FILING STATUS        THIS PERIOD ($)                 YTD ($)
                            Pay Period: 07/04/22 to 07/17/22                                   GS
                            Check Date: 07/22/22     Check #: 6718                                                    Social Security                                 336.28                  4567.36
                            NET PAY ALLOCATIONS                                                                       Medicare                                         78.64                  1068.17
                                                                                                                      Fed Income Tax     SMS                          668.19                  9058.31
                            DESCRIPTION                 THIS PERIOD ($)             YTD ($)                           CA Income Tax      SMI2 0 1                     285.65                  3859.75
                            Check Amount                            0.00              0.00                            CA Disability                                    59.66                   810.30
                            Chkg 110                             2841.69          40534.00
                            NET PAY                              2841.69          40534.00                            TOTAL                                          1428.42                 19363.89
                            TIME OFF (Based on Policy Year)                                    DEDUCTION              DESCRIPTION                             THIS PERIOD ($)                 YTD ($)

                            DESCRIPTION     BEGBAL       CURR ACCRUECURR DEDUCT   AVAIL BAL                           401k EE Pretax                                 1153.85                 13769.23
                            Sick           40.00 hrs       0.00 hrs   0.00 hrs    40.00 hrs                           Medical Pre-tax                                 345.27                  5179.05
                            DESCRIPTION     BEGBAL       CURR ACCRUECURR DEDUCT   AVAIL BAL
                            Vacation       101.64 hrs      6.16 hrs   0.00 hrs    107.80 hrs                          TOTAL                                          1499.12                 18948.28




                                                                                                NET PAY                                                           THIS PERIOD ($)               YTD ($)
                                                                                                                                                                          2841.69              40534.00

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                                                                         HAN TRINH
                                                                         2128 WEST CHERRY DRIVE                                                       NON-NEGOTIABLE
                                                                         ORANGE CA 92868




                                NON-NEGOTIABLE




                            PERSONAL AND CHECK INFORMATION                             EARNINGS       BASIS OF DESCRIPTION         HRS/UNITS       RATE THIS PERIOD ($) YTD HOURS       YTD ($)
                            Han Trinh                                                                   PAY
                            2128 West Cherry Drive                                                             Salary                                          5769.23                 73076.94
                            Orange, CA 92868                                                                   Holiday                                                        M24.00
                            Soc Sec #: xxx-xx-xxxx       Employee ID: 1031                                      Total Hours                                                    24.00
                                                                                                                Gross Earnings                                 5769.23                 73076.94
                            Home Department: 1 LPG CA                                                           Total Hrs Worked
                                                                                       WITHHOLDIN               DESCRIPTION        FILING STATUS        THIS PERIOD ($)                 YTD ($)
                            Pay Period: 06/20/22 to 07/03/22                           GS
                            Check Date: 07/08/22     Check #: 6350                                              Social Security                                 336.29                  4231.08
                            NET PAY ALLOCATIONS                                                                 Medicare                                         78.65                   989.53
                                                                                                                Fed Income Tax     SMS                          668.19                  8390.12
                            DESCRIPTION            THIS PERIOD ($)           YTD ($)                            CA Income Tax      SMI2 0 1                     285.65                  3574.10
                            Check Amount                      0.00            0.00                              CA Disability                                    59.66                   750.64
                            Chkg 110                       2841.67        37692.31
                            NET PAY                        2841.67        37692.31                              TOTAL                                          1428.44                 17935.47
                                                                                       DEDUCTION                DESCRIPTION                             THIS PERIOD ($)                 YTD ($)

                                                                                                                401k EE Pretax                                 1153.85                 12615.38
                                                                                                                Medical Pre-tax                                 345.27                  4833.78

                                                                                                                TOTAL                                          1499.12                 17449.16




                                                                                        NET PAY                                                             THIS PERIOD ($)               YTD ($)
                                                                                                                                                                    2841.67              37692.31

                             Payrolls by Paychex, Inc.

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                                                                         HAN TRINH
                                                                         2128 WEST CHERRY DRIVE                                                       NON-NEGOTIABLE
                                                                         ORANGE CA 92868




                                NON-NEGOTIABLE




                            PERSONAL AND CHECK INFORMATION                             EARNINGS       BASIS OF DESCRIPTION         HRS/UNITS       RATE THIS PERIOD ($) YTD HOURS       YTD ($)
                            Han Trinh                                                                   PAY
                            2128 West Cherry Drive                                                             Salary                                          5769.23                 67307.71
                            Orange, CA 92868                                                                   Holiday                                                        M24.00
                            Soc Sec #: xxx-xx-xxxx       Employee ID: 1031                                      Total Hours                                                    24.00
                                                                                                                Gross Earnings                                 5769.23                 67307.71
                            Home Department: 1 LPG CA                                                           Total Hrs Worked
                                                                                       WITHHOLDIN               DESCRIPTION        FILING STATUS        THIS PERIOD ($)                 YTD ($)
                            Pay Period: 06/06/22 to 06/19/22                           GS
                            Check Date: 06/24/22     Check #: 5979                                              Social Security                                 336.29                  3894.79
                            NET PAY ALLOCATIONS                                                                 Medicare                                         78.65                   910.88
                                                                                                                Fed Income Tax     SMS                          668.19                  7721.93
                            DESCRIPTION            THIS PERIOD ($)           YTD ($)                            CA Income Tax      SMI2 0 1                     285.65                  3288.45
                            Check Amount                      0.00            0.00                              CA Disability                                    59.66                   690.98
                            Chkg 110                       2841.67        34850.64
                            NET PAY                        2841.67        34850.64                              TOTAL                                          1428.44                 16507.03
                                                                                       DEDUCTION                DESCRIPTION                             THIS PERIOD ($)                 YTD ($)

                                                                                                                401k EE Pretax                                 1153.85                 11461.53
                                                                                                                Medical Pre-tax                                 345.27                  4488.51

                                                                                                                TOTAL                                          1499.12                 15950.04




                                                                                        NET PAY                                                             THIS PERIOD ($)               YTD ($)
                                                                                                                                                                    2841.67              34850.64

                             Payrolls by Paychex, Inc.

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                                                                         HAN TRINH
                                                                         2128 WEST CHERRY DRIVE                                                       NON-NEGOTIABLE
                                                                         ORANGE CA 92868




                                NON-NEGOTIABLE




                            PERSONAL AND CHECK INFORMATION                             EARNINGS       BASIS OF DESCRIPTION         HRS/UNITS       RATE THIS PERIOD ($) YTD HOURS       YTD ($)
                            Han Trinh                                                                   PAY
                            2128 West Cherry Drive                                                             Salary                                          5384.62                 61538.48
                            Orange, CA 92868                                                                   Holiday                    M8.00                               M24.00
                            Soc Sec #: xxx-xx-xxxx       Employee ID: 1031                                      Total Hours                8.00                                24.00
                                                                                                                Gross Earnings                                 5384.62                 61538.48
                            Home Department: 1 LPG CA                                                           Total Hrs Worked
                                                                                       WITHHOLDIN               DESCRIPTION        FILING STATUS        THIS PERIOD ($)                 YTD ($)
                            Pay Period: 05/23/22 to 06/05/22                           GS
                            Check Date: 06/10/22     Check #: 5622                                              Social Security                                 312.43                  3558.50
                            NET PAY ALLOCATIONS                                                                 Medicare                                         73.07                   832.23
                                                                                                                Fed Income Tax     SMS                          594.35                  7053.74
                            DESCRIPTION            THIS PERIOD ($)           YTD ($)                            CA Income Tax      SMI2 0 1                     254.17                  3002.80
                            Check Amount                      0.00            0.00                              CA Disability                                    55.43                   631.32
                            Chkg 110                       2672.98        32008.97
                            NET PAY                        2672.98        32008.97                              TOTAL                                          1289.45                 15078.59
                                                                                       DEDUCTION                DESCRIPTION                             THIS PERIOD ($)                 YTD ($)

                                                                                                                401k EE Pretax                                 1076.92                 10307.68
                                                                                                                Medical Pre-tax                                 345.27                  4143.24

                                                                                                                TOTAL                                          1422.19                 14450.92




                                                                                        NET PAY                                                             THIS PERIOD ($)               YTD ($)
                                                                                                                                                                    2672.98              32008.97

                             Payrolls by Paychex, Inc.

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                                                                                 HAN TRINH
                                                                                 2128 WEST CHERRY DRIVE                                                   NON-NEGOTIABLE
                                                                                 ORANGE CA 92868




                                   NON-NEGOTIABLE




                            PERSONAL AND CHECK INFORMATION                                   EARNINGS       BASIS OF DESCRIPTION       HRS/UNITS       RATE THIS PERIOD ($) YTD HOURS       YTD ($)
                            Han Trinh                                                                         PAY
                            2128 West Cherry Drive                                                                   Salary                                        5384.62                 56153.86
                            Orange, CA 92868                                                                         Holiday                                                      M16.00
                            Soc Sec #: xxx-xx-xxxx           Employee ID: 1031                                      Total Hours                                                    16.00
                                                                                                                    Gross Earnings                                 5384.62                 56153.86
                            Home Department: 1 LPG CA                                                               Total Hrs Worked
                                                                                             WITHHOLDIN             DESCRIPTION        FILING STATUS        THIS PERIOD ($)                 YTD ($)
                            Pay Period: 05/09/22 to 05/22/22                                 GS
                            Check Date: 05/27/22     Check #: 5258                                                  Social Security                                 312.44                  3246.07
                            NET PAY ALLOCATIONS                                                                     Medicare                                         73.07                   759.16
                                                                                                                    Fed Income Tax     SMS                          594.35                  6459.39
                            DESCRIPTION                THIS PERIOD ($)             YTD ($)                          CA Income Tax      SMI2 0 1                     254.17                  2748.63
                            Check Amount                            0.00             0.00                           CA Disability                                    55.43                   575.89
                            Chkg 110                             2672.97         29335.99
                            NET PAY                              2672.97         29335.99                           TOTAL                                          1289.46                 13789.14
                            TIME OFF (Based on Policy Year)                                  DEDUCTION              DESCRIPTION                             THIS PERIOD ($)                 YTD ($)

                            DESCRIPTION     BEGBAL      CURR ACCRUECURR DEDUCT   AVAIL BAL                          401k EE Pretax                                 1076.92                  9230.76
                            Sick           40.00 hrs       0.00 hrs   0.00 hrs   40.00 hrs                          Medical Pre-tax                                 345.27                  3797.97
                            DESCRIPTION     BEGBAL      CURR ACCRUECURR DEDUCT   AVAIL BAL
                            Vacation       77.00 hrs       6.16 hrs   0.00 hrs   83.16 hrs                          TOTAL                                          1422.19                 13028.73




                                                                                              NET PAY                                                           THIS PERIOD ($)               YTD ($)
                                                                                                                                                                        2672.97              29335.99

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                                                                                 HAN TRINH
                                                                                 2128 WEST CHERRY DRIVE                                                   NON-NEGOTIABLE
                                                                                 ORANGE CA 92868




                                   NON-NEGOTIABLE




                            PERSONAL AND CHECK INFORMATION                                   EARNINGS       BASIS OF DESCRIPTION       HRS/UNITS       RATE THIS PERIOD ($) YTD HOURS       YTD ($)
                            Han Trinh                                                                         PAY
                            2128 West Cherry Drive                                                                   Salary                                        5384.62                 50769.24
                            Orange, CA 92868                                                                         Holiday                                                      M16.00
                            Soc Sec #: xxx-xx-xxxx           Employee ID: 1031                                      Total Hours                                                    16.00
                                                                                                                    Gross Earnings                                 5384.62                 50769.24
                            Home Department: 1 LPG CA                                                               Total Hrs Worked
                                                                                             WITHHOLDIN             DESCRIPTION        FILING STATUS        THIS PERIOD ($)                 YTD ($)
                            Pay Period: 04/25/22 to 05/08/22                                 GS
                            Check Date: 05/13/22     Check #: 4892                                                  Social Security                                 312.44                  2933.63
                            NET PAY ALLOCATIONS                                                                     Medicare                                         73.07                   686.09
                                                                                                                    Fed Income Tax     SMS                          594.35                  5865.04
                            DESCRIPTION                THIS PERIOD ($)             YTD ($)                          CA Income Tax      SMI2 0 1                     254.17                  2494.46
                            Check Amount                            0.00             0.00                           CA Disability                                    55.43                   520.46
                            Chkg 110                             2672.97         26663.02
                            NET PAY                              2672.97         26663.02                           TOTAL                                          1289.46                 12499.68
                            TIME OFF (Based on Policy Year)                                  DEDUCTION              DESCRIPTION                             THIS PERIOD ($)                 YTD ($)

                            DESCRIPTION     BEGBAL      CURR ACCRUECURR DEDUCT   AVAIL BAL                          401k EE Pretax                                 1076.92                  8153.84
                            Sick           40.00 hrs       0.00 hrs   0.00 hrs   40.00 hrs                          Medical Pre-tax                                 345.27                  3452.70
                            DESCRIPTION     BEGBAL      CURR ACCRUECURR DEDUCT   AVAIL BAL
                            Vacation       70.84 hrs       6.16 hrs   0.00 hrs   77.00 hrs                          TOTAL                                          1422.19                 11606.54




                                                                                              NET PAY                                                           THIS PERIOD ($)               YTD ($)
                                                                                                                                                                        2672.97              26663.02

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                                                                                 HAN TRINH
                                                                                 2128 WEST CHERRY DRIVE                                                   NON-NEGOTIABLE
                                                                                 ORANGE CA 92868




                                   NON-NEGOTIABLE




                            PERSONAL AND CHECK INFORMATION                                   EARNINGS       BASIS OF DESCRIPTION       HRS/UNITS       RATE THIS PERIOD ($) YTD HOURS       YTD ($)
                            Han Trinh                                                                         PAY
                            2128 West Cherry Drive                                                                   Salary                                        5384.62                 45384.62
                            Orange, CA 92868                                                                         Holiday                                                      M16.00
                            Soc Sec #: xxx-xx-xxxx           Employee ID: 1031                                      Total Hours                                                    16.00
                                                                                                                    Gross Earnings                                 5384.62                 45384.62
                            Home Department: 1 LPG CA                                                               Total Hrs Worked
                                                                                             WITHHOLDIN             DESCRIPTION        FILING STATUS        THIS PERIOD ($)                 YTD ($)
                            Pay Period: 04/11/22 to 04/24/22                                 GS
                            Check Date: 04/29/22     Check #: 4535                                                  Social Security                                 312.44                  2621.19
                            NET PAY ALLOCATIONS                                                                     Medicare                                         73.07                   613.02
                                                                                                                    Fed Income Tax     SMS                          594.35                  5270.69
                            DESCRIPTION                THIS PERIOD ($)             YTD ($)                          CA Income Tax      SMI2 0 1                     254.17                  2240.29
                            Check Amount                            0.00             0.00                           CA Disability                                    55.43                   465.03
                            Chkg 110                             2672.97         23990.05
                            NET PAY                              2672.97         23990.05                           TOTAL                                          1289.46                 11210.22
                            TIME OFF (Based on Policy Year)                                  DEDUCTION              DESCRIPTION                             THIS PERIOD ($)                 YTD ($)

                            DESCRIPTION     BEGBAL      CURR ACCRUECURR DEDUCT   AVAIL BAL                          401k EE Pretax                                 1076.92                  7076.92
                            Sick           40.00 hrs       0.00 hrs   0.00 hrs   40.00 hrs                          Medical Pre-tax                                 345.27                  3107.43
                            DESCRIPTION     BEGBAL      CURR ACCRUECURR DEDUCT   AVAIL BAL
                            Vacation       64.68 hrs       6.16 hrs   0.00 hrs   70.84 hrs                          TOTAL                                          1422.19                 10184.35




                                                                                              NET PAY                                                           THIS PERIOD ($)               YTD ($)
                                                                                                                                                                        2672.97              23990.05

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                                                                                 HAN TRINH
                                                                                 2128 WEST CHERRY DRIVE                                                   NON-NEGOTIABLE
                                                                                 ORANGE CA 92868




                                   NON-NEGOTIABLE




                            PERSONAL AND CHECK INFORMATION                                   EARNINGS       BASIS OF DESCRIPTION       HRS/UNITS       RATE THIS PERIOD ($) YTD HOURS       YTD ($)
                            Han Trinh                                                                         PAY
                            2128 West Cherry Drive                                                                   Salary                                        5000.00                 40000.00
                            Orange, CA 92868                                                                         Holiday                                                      M16.00
                            Soc Sec #: xxx-xx-xxxx           Employee ID: 1031                                      Total Hours                                                    16.00
                                                                                                                    Gross Earnings                                 5000.00                 40000.00
                            Home Department: 1 LPG CA                                                               Total Hrs Worked
                                                                                             WITHHOLDIN             DESCRIPTION        FILING STATUS        THIS PERIOD ($)                 YTD ($)
                            Pay Period: 03/28/22 to 04/10/22                                 GS
                            Check Date: 04/15/22     Check #: 4168                                                  Social Security                                 288.60                  2308.75
                            NET PAY ALLOCATIONS                                                                     Medicare                                         67.49                   539.95
                                                                                                                    Fed Income Tax     SMS                          525.89                  4676.34
                            DESCRIPTION                THIS PERIOD ($)             YTD ($)                          CA Income Tax      SMI2 0 1                     222.69                  1986.12
                            Check Amount                            0.00             0.00                           CA Disability                                    51.20                   409.60
                            Chkg 110                             2498.86         21317.08
                            NET PAY                              2498.86         21317.08                           TOTAL                                          1155.87                  9920.76
                            TIME OFF (Based on Policy Year)                                  DEDUCTION              DESCRIPTION                             THIS PERIOD ($)                 YTD ($)

                            DESCRIPTION     BEGBAL      CURR ACCRUECURR DEDUCT   AVAIL BAL                          401k EE Pretax                                 1000.00                  6000.00
                            Sick           40.00 hrs       0.00 hrs   0.00 hrs   40.00 hrs                          Medical Pre-tax                                 345.27                  2762.16
                            DESCRIPTION     BEGBAL      CURR ACCRUECURR DEDUCT   AVAIL BAL
                            Vacation       58.52 hrs       6.16 hrs   0.00 hrs   64.68 hrs                          TOTAL                                          1345.27                  8762.16




                                                                                              NET PAY                                                           THIS PERIOD ($)               YTD ($)
                                                                                                                                                                        2498.86              21317.08

                             Payrolls by Paychex, Inc.

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                                                                                 HAN TRINH
                                                                                 2128 WEST CHERRY DRIVE                                                   NON-NEGOTIABLE
                                                                                 ORANGE CA 92868




                                   NON-NEGOTIABLE




                            PERSONAL AND CHECK INFORMATION                                   EARNINGS       BASIS OF DESCRIPTION       HRS/UNITS       RATE THIS PERIOD ($) YTD HOURS       YTD ($)
                            Han Trinh                                                                         PAY
                            2128 West Cherry Drive                                                                   Salary                                        5000.00                 35000.00
                            Orange, CA 92868                                                                         Holiday                                                      M16.00
                            Soc Sec #: xxx-xx-xxxx           Employee ID: 1031                                      Total Hours                                                    16.00
                                                                                                                    Gross Earnings                                 5000.00                 35000.00
                            Home Department: 1 LPG CA                                                               Total Hrs Worked
                                                                                             WITHHOLDIN             DESCRIPTION        FILING STATUS        THIS PERIOD ($)                 YTD ($)
                            Pay Period: 03/14/22 to 03/27/22                                 GS
                            Check Date: 04/01/22     Check #: 3814                                                  Social Security                                 288.59                  2020.15
                            NET PAY ALLOCATIONS                                                                     Medicare                                         67.50                   472.46
                                                                                                                    Fed Income Tax     SMS                          525.89                  4150.45
                            DESCRIPTION                THIS PERIOD ($)             YTD ($)                          CA Income Tax      SMI2 0 1                     222.69                  1763.43
                            Check Amount                            0.00             0.00                           CA Disability                                    51.20                   358.40
                            Chkg 110                             2498.86         18818.22
                            NET PAY                              2498.86         18818.22                           TOTAL                                          1155.87                  8764.89
                            TIME OFF (Based on Policy Year)                                  DEDUCTION              DESCRIPTION                             THIS PERIOD ($)                 YTD ($)

                            DESCRIPTION     BEGBAL      CURR ACCRUECURR DEDUCT   AVAIL BAL                          401k EE Pretax                                 1000.00                  5000.00
                            Sick           40.00 hrs       0.00 hrs   0.00 hrs   40.00 hrs                          Medical Pre-tax                                 345.27                  2416.89
                            DESCRIPTION     BEGBAL      CURR ACCRUECURR DEDUCT   AVAIL BAL
                            Vacation       52.36 hrs       6.16 hrs   0.00 hrs   58.52 hrs                          TOTAL                                          1345.27                  7416.89




                                                                                              NET PAY                                                           THIS PERIOD ($)               YTD ($)
                                                                                                                                                                        2498.86              18818.22

                             Payrolls by Paychex, Inc.

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                                                                                 HAN TRINH
                                                                                 2128 WEST CHERRY DRIVE                                                   NON-NEGOTIABLE
                                                                                 ORANGE CA 92868




                                   NON-NEGOTIABLE




                            PERSONAL AND CHECK INFORMATION                                   EARNINGS       BASIS OF DESCRIPTION       HRS/UNITS       RATE THIS PERIOD ($) YTD HOURS       YTD ($)
                            Han Trinh                                                                         PAY
                            2128 West Cherry Drive                                                                   Salary                                        5000.00                 30000.00
                            Orange, CA 92868                                                                         Holiday                                                      M16.00
                            Soc Sec #: xxx-xx-xxxx           Employee ID: 1031                                      Total Hours                                                    16.00
                                                                                                                    Gross Earnings                                 5000.00                 30000.00
                            Home Department: 1 LPG CA                                                               Total Hrs Worked
                                                                                             WITHHOLDIN             DESCRIPTION        FILING STATUS        THIS PERIOD ($)                 YTD ($)
                            Pay Period: 02/28/22 to 03/13/22                                 GS
                            Check Date: 03/18/22     Check #: 3456                                                  Social Security                                 288.59                  1731.56
                            NET PAY ALLOCATIONS                                                                     Medicare                                         67.49                   404.96
                                                                                                                    Fed Income Tax     SMS                          525.89                  3624.56
                            DESCRIPTION                THIS PERIOD ($)             YTD ($)                          CA Income Tax      SMI2 0 1                     222.69                  1540.74
                            Check Amount                            0.00             0.00                           CA Disability                                    51.20                   307.20
                            Chkg 110                             2498.87         16319.36
                            NET PAY                              2498.87         16319.36                           TOTAL                                          1155.86                  7609.02
                            TIME OFF (Based on Policy Year)                                  DEDUCTION              DESCRIPTION                             THIS PERIOD ($)                 YTD ($)

                            DESCRIPTION     BEGBAL      CURR ACCRUECURR DEDUCT   AVAIL BAL                          401k EE Pretax                                 1000.00                  4000.00
                            Sick           40.00 hrs       0.00 hrs   0.00 hrs   40.00 hrs                          Medical Pre-tax                                 345.27                  2071.62
                            DESCRIPTION     BEGBAL      CURR ACCRUECURR DEDUCT   AVAIL BAL
                            Vacation       49.28 hrs       3.08 hrs   0.00 hrs   52.36 hrs                          TOTAL                                          1345.27                  6071.62




                                                                                              NET PAY                                                           THIS PERIOD ($)               YTD ($)
                                                                                                                                                                        2498.87              16319.36

                             Payrolls by Paychex, Inc.

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                                                                                 HAN TRINH
                                                                                 2128 WEST CHERRY DRIVE                                                   NON-NEGOTIABLE
                                                                                 ORANGE CA 92868




                                   NON-NEGOTIABLE




                            PERSONAL AND CHECK INFORMATION                                   EARNINGS       BASIS OF DESCRIPTION       HRS/UNITS       RATE THIS PERIOD ($) YTD HOURS       YTD ($)
                            Han Trinh                                                                         PAY
                            2128 West Cherry Drive                                                                   Salary                                        5000.00                 25000.00
                            Orange, CA 92868                                                                         Holiday                                                      M16.00
                            Soc Sec #: xxx-xx-xxxx           Employee ID: 1031                                      Total Hours                                                    16.00
                                                                                                                    Gross Earnings                                 5000.00                 25000.00
                            Home Department: 1 LPG CA                                                               Total Hrs Worked
                                                                                             WITHHOLDIN             DESCRIPTION        FILING STATUS        THIS PERIOD ($)                 YTD ($)
                            Pay Period: 02/14/22 to 02/27/22                                 GS
                            Check Date: 03/04/22     Check #: 3087                                                  Social Security                                 288.60                  1442.97
                            NET PAY ALLOCATIONS                                                                     Medicare                                         67.50                   337.47
                                                                                                                    Fed Income Tax     SMS                          525.89                  3098.67
                            DESCRIPTION                THIS PERIOD ($)             YTD ($)                          CA Income Tax      SMI2 0 1                     222.69                  1318.05
                            Check Amount                            0.00             0.00                           CA Disability                                    51.20                   256.00
                            Chkg 110                             2498.85         13820.49
                            NET PAY                              2498.85         13820.49                           TOTAL                                          1155.88                  6453.16
                            TIME OFF (Based on Policy Year)                                  DEDUCTION              DESCRIPTION                             THIS PERIOD ($)                 YTD ($)

                            DESCRIPTION     BEGBAL      CURR ACCRUECURR DEDUCT   AVAIL BAL                          401k EE Pretax                                 1000.00                  3000.00
                            Sick           40.00 hrs       0.00 hrs   0.00 hrs   40.00 hrs                          Medical Pre-tax                                 345.27                  1726.35
                            DESCRIPTION     BEGBAL      CURR ACCRUECURR DEDUCT   AVAIL BAL
                            Vacation       46.20 hrs       3.08 hrs   0.00 hrs   49.28 hrs                          TOTAL                                          1345.27                  4726.35




                                                                                              NET PAY                                                           THIS PERIOD ($)               YTD ($)
                                                                                                                                                                        2498.85              13820.49

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                                                                                 HAN TRINH
                                                                                 2128 WEST CHERRY DRIVE                                                   NON-NEGOTIABLE
                                                                                 ORANGE CA 92868




                                   NON-NEGOTIABLE




                            PERSONAL AND CHECK INFORMATION                                   EARNINGS       BASIS OF DESCRIPTION       HRS/UNITS       RATE THIS PERIOD ($) YTD HOURS       YTD ($)
                            Han Trinh                                                                         PAY
                            2128 West Cherry Drive                                                                   Salary                                        5000.00                 20000.00
                            Orange, CA 92868                                                                         Holiday                                                      M16.00
                            Soc Sec #: xxx-xx-xxxx           Employee ID: 1031                                      Total Hours                                                    16.00
                                                                                                                    Gross Earnings                                 5000.00                 20000.00
                            Home Department: 1 LPG CA                                                               Total Hrs Worked
                                                                                             WITHHOLDIN             DESCRIPTION        FILING STATUS        THIS PERIOD ($)                 YTD ($)
                            Pay Period: 01/31/22 to 02/13/22                                 GS
                            Check Date: 02/18/22     Check #: 2744                                                  Social Security                                 288.59                  1154.37
                            NET PAY ALLOCATIONS                                                                     Medicare                                         67.49                   269.97
                                                                                                                    Fed Income Tax     SMS                          525.89                  2572.78
                            DESCRIPTION                THIS PERIOD ($)             YTD ($)                          CA Income Tax      SMI2 0 1                     222.69                  1095.36
                            Check Amount                            0.00             0.00                           CA Disability                                    51.20                   204.80
                            Chkg 110                             2498.87         11321.64
                            NET PAY                              2498.87         11321.64                           TOTAL                                          1155.86                  5297.28
                            TIME OFF (Based on Policy Year)                                  DEDUCTION              DESCRIPTION                             THIS PERIOD ($)                 YTD ($)

                            DESCRIPTION     BEGBAL      CURR ACCRUECURR DEDUCT   AVAIL BAL                          401k EE Pretax                                 1000.00                  2000.00
                            Sick           40.00 hrs       0.00 hrs   0.00 hrs   40.00 hrs                          Medical Pre-tax                                 345.27                  1381.08
                            DESCRIPTION     BEGBAL      CURR ACCRUECURR DEDUCT   AVAIL BAL
                            Vacation       43.12 hrs       3.08 hrs   0.00 hrs   46.20 hrs                          TOTAL                                          1345.27                  3381.08




                                                                                              NET PAY                                                           THIS PERIOD ($)               YTD ($)
                                                                                                                                                                        2498.87              11321.64

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                                                                                 HAN TRINH
                                                                                 2128 WEST CHERRY DRIVE                                                   NON-NEGOTIABLE
                                                                                 ORANGE CA 92868




                                   NON-NEGOTIABLE




                            PERSONAL AND CHECK INFORMATION                                   EARNINGS       BASIS OF DESCRIPTION       HRS/UNITS       RATE THIS PERIOD ($) YTD HOURS       YTD ($)
                            Han Trinh                                                                         PAY
                            2128 West Cherry Drive                                                                   Salary                                        5000.00                 15000.00
                            Orange, CA 92868                                                                         Holiday                                                      M16.00
                            Soc Sec #: xxx-xx-xxxx           Employee ID: 1031                                      Total Hours                                                    16.00
                                                                                                                    Gross Earnings                                 5000.00                 15000.00
                            Home Department: 1 LPG CA                                                               Total Hrs Worked
                                                                                             WITHHOLDIN             DESCRIPTION        FILING STATUS        THIS PERIOD ($)                 YTD ($)
                            Pay Period: 01/17/22 to 01/30/22                                 GS
                            Check Date: 02/04/22     Check #: 2414                                                  Social Security                                 288.59                   865.78
                            NET PAY ALLOCATIONS                                                                     Medicare                                         67.49                   202.48
                                                                                                                    Fed Income Tax     SMS                          525.89                  2046.89
                            DESCRIPTION                THIS PERIOD ($)             YTD ($)                          CA Income Tax      SMI2 0 1                     222.69                   872.67
                            Check Amount                            0.00             0.00                           CA Disability                                    51.20                   153.60
                            Chkg 110                             2498.87          8822.77
                            NET PAY                              2498.87          8822.77                           TOTAL                                          1155.86                  4141.42
                            TIME OFF (Based on Policy Year)                                  DEDUCTION              DESCRIPTION                             THIS PERIOD ($)                 YTD ($)

                            DESCRIPTION     BEGBAL      CURR ACCRUECURR DEDUCT   AVAIL BAL                          401k EE Pretax                                 1000.00                  1000.00
                            Sick           40.00 hrs       0.00 hrs   0.00 hrs   40.00 hrs                          Medical Pre-tax                                 345.27                  1035.81
                            DESCRIPTION     BEGBAL      CURR ACCRUECURR DEDUCT   AVAIL BAL
                            Vacation       40.04 hrs       3.08 hrs   0.00 hrs   43.12 hrs                          TOTAL                                          1345.27                  2035.81




                                                                                              NET PAY                                                           THIS PERIOD ($)               YTD ($)
                                                                                                                                                                        2498.87               8822.77

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                                                                                 HAN TRINH
                                                                                 2128 WEST CHERRY DRIVE                                                   NON-NEGOTIABLE
                                                                                 ORANGE CA 92868




                                   NON-NEGOTIABLE




                            PERSONAL AND CHECK INFORMATION                                   EARNINGS       BASIS OF DESCRIPTION       HRS/UNITS       RATE THIS PERIOD ($) YTD HOURS       YTD ($)
                            Han Trinh                                                                         PAY
                            2128 West Cherry Drive                                                                   Salary                                        5000.00                 10000.00
                            Orange, CA 92868                                                                         Holiday                                                      M16.00
                            Soc Sec #: xxx-xx-xxxx           Employee ID: 1031                                      Total Hours                                                    16.00
                                                                                                                    Gross Earnings                                 5000.00                 10000.00
                            Home Department: 1 LPG CA                                                               Total Hrs Worked
                                                                                             WITHHOLDIN             DESCRIPTION        FILING STATUS        THIS PERIOD ($)                 YTD ($)
                            Pay Period: 01/03/22 to 01/16/22                                 GS
                            Check Date: 01/21/22     Check #: 2074                                                  Social Security                                 288.60                   577.19
                            NET PAY ALLOCATIONS                                                                     Medicare                                         67.50                   134.99
                                                                                                                    Fed Income Tax     SMS                          760.50                  1521.00
                            DESCRIPTION                THIS PERIOD ($)             YTD ($)                          CA Income Tax      SMI2 0 1                     324.99                   649.98
                            Check Amount                            0.00             0.00                           CA Disability                                    51.20                   102.40
                            Chkg 110                             3161.94          6323.90
                            NET PAY                              3161.94          6323.90                           TOTAL                                          1492.79                  2985.56
                            TIME OFF (Based on Policy Year)                                  DEDUCTION              DESCRIPTION                             THIS PERIOD ($)                 YTD ($)

                            DESCRIPTION     BEGBAL      CURR ACCRUECURR DEDUCT   AVAIL BAL                          Medical Pre-tax                                 345.27                   690.54
                            Sick           40.00 hrs       0.00 hrs   0.00 hrs   40.00 hrs
                            DESCRIPTION     BEGBAL      CURR ACCRUECURR DEDUCT   AVAIL BAL                          TOTAL                                           345.27                   690.54
                            Vacation       38.50 hrs       1.54 hrs   0.00 hrs   40.04 hrs




                                                                                              NET PAY                                                           THIS PERIOD ($)               YTD ($)
                                                                                                                                                                        3161.94               6323.90

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                                                                         HAN TRINH
                                                                         2128 WEST CHERRY DRIVE                                                        NON-NEGOTIABLE
                                                                         ORANGE CA 92868




                                NON-NEGOTIABLE




                            PERSONAL AND CHECK INFORMATION                             EARNINGS       BASIS OF DESCRIPTION         HRS/UNITS       RATE THIS PERIOD ($) YTD HOURS      YTD ($)
                            Han Trinh                                                                   PAY
                            2128 West Cherry Drive                                                             Salary                                          -5000.00                5000.00
                            Orange, CA 92868                                                                   Holiday                    M-8.00                              M16.00
                            Soc Sec #: xxx-xx-xxxx       Employee ID: 1031                                      Total Hours                -8.00                               16.00
                                                                                                                Gross Earnings                                 -5000.00                5000.00
                            Home Department: 1 LPG CA                                                           Total Hrs Worked
                                                                                       WITHHOLDIN               DESCRIPTION        FILING STATUS        THIS PERIOD ($)                YTD ($)
                            Pay Period: 01/03/22 to 01/16/22                           GS
                            Check Date: 01/21/22     Check #: 1749                                              Social Security    Override $-288.60            -288.60                 288.59
                                                              (VOID)                                            Medicare           Override $-67.50              -67.50                  67.49
                                                                                                                Fed Income Tax     Override $-760.50            -760.50                 760.50
                                                                                                                CA Income Tax      Override $-324.99            -324.99                 324.99
                            NET PAY ALLOCATIONS                                                                 CA Disability      Override $-51.20              -51.20                  51.20

                            DESCRIPTION            THIS PERIOD ($)           YTD ($)                            TOTAL                                          -1492.79                1492.77
                            Check Amount                       0.00             0.00 DEDUCTION                  DESCRIPTION                             THIS PERIOD ($)                YTD ($)
                            Chkg 110                       -3161.94          3161.96
                            NET PAY                        -3161.94          3161.96                            Medical Pre-tax                                 -345.27                 345.27

                                                                                                                TOTAL                                           -345.27                 345.27




                                                                                        NET PAY                                                             THIS PERIOD ($)              YTD ($)
                                                                                                                                                                   -3161.94              3161.96

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                                                                                 HAN TRINH
                                                                                 2128 WEST CHERRY DRIVE                                                   NON-NEGOTIABLE
                                                                                 ORANGE CA 92868




                                   NON-NEGOTIABLE




                            PERSONAL AND CHECK INFORMATION                                   EARNINGS       BASIS OF DESCRIPTION       HRS/UNITS       RATE THIS PERIOD ($) YTD HOURS       YTD ($)
                            Han Trinh                                                                         PAY
                            2128 West Cherry Drive                                                                   Salary                                        5000.00                 10000.00
                            Orange, CA 92868                                                                         Holiday               M8.00                                  M24.00
                            Soc Sec #: xxx-xx-xxxx           Employee ID: 1031                                      Total Hours             8.00                                   24.00
                                                                                                                    Gross Earnings                                 5000.00                 10000.00
                            Home Department: 1 LPG CA                                                               Total Hrs Worked
                                                                                             WITHHOLDIN             DESCRIPTION        FILING STATUS        THIS PERIOD ($)                 YTD ($)
                            Pay Period: 01/03/22 to 01/16/22                                 GS
                            Check Date: 01/21/22     Check #: 1749                                                  Social Security                                 288.60                   577.19
                            NET PAY ALLOCATIONS                                                                     Medicare                                         67.50                   134.99
                                                                                                                    Fed Income Tax     SMS                          760.50                  1521.00
                            DESCRIPTION                THIS PERIOD ($)             YTD ($)                          CA Income Tax      SMI2 0 1                     324.99                   649.98
                            Check Amount                            0.00             0.00                           CA Disability                                    51.20                   102.40
                            Chkg 110                             3161.94          6323.90
                            NET PAY                              3161.94          6323.90                           TOTAL                                          1492.79                  2985.56
                            TIME OFF (Based on Policy Year)                                  DEDUCTION              DESCRIPTION                             THIS PERIOD ($)                 YTD ($)

                            DESCRIPTION     BEGBAL      CURR ACCRUECURR DEDUCT   AVAIL BAL                          Medical Pre-tax                                 345.27                   690.54
                            Sick           40.00 hrs       0.00 hrs   0.00 hrs   40.00 hrs
                            DESCRIPTION     BEGBAL      CURR ACCRUECURR DEDUCT   AVAIL BAL                          TOTAL                                           345.27                   690.54
                            Vacation       38.50 hrs       1.54 hrs   0.00 hrs   40.04 hrs




                                                                                              NET PAY                                                           THIS PERIOD ($)               YTD ($)
                                                                                                                                                                        3161.94               6323.90

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                                                                                 HAN TRINH
                                                                                 2128 WEST CHERRY DRIVE                                                   NON-NEGOTIABLE
                                                                                 ORANGE CA 92868




                                   NON-NEGOTIABLE




                            PERSONAL AND CHECK INFORMATION                                   EARNINGS       BASIS OF DESCRIPTION       HRS/UNITS       RATE THIS PERIOD ($) YTD HOURS      YTD ($)
                            Han Trinh                                                                         PAY
                            2128 West Cherry Drive                                                                   Salary                                        5000.00                 5000.00
                            Orange, CA 92868                                                                         Holiday              M16.00                                  M16.00
                            Soc Sec #: xxx-xx-xxxx           Employee ID: 1031                                      Total Hours            16.00                                   16.00
                                                                                                                    Gross Earnings                                 5000.00                 5000.00
                            Home Department: 1 LPG CA                                                               Total Hrs Worked
                                                                                             WITHHOLDIN             DESCRIPTION        FILING STATUS        THIS PERIOD ($)                YTD ($)
                            Pay Period: 12/20/21 to 01/02/22                                 GS
                            Check Date: 01/07/22     Check #: 1424                                                  Social Security                                 288.59                  288.59
                            NET PAY ALLOCATIONS                                                                     Medicare                                         67.49                   67.49
                                                                                                                    Fed Income Tax     SMS                          760.50                  760.50
                            DESCRIPTION                THIS PERIOD ($)             YTD ($)                          CA Income Tax      SMI2 0 1                     324.99                  324.99
                            Check Amount                            0.00             0.00                           CA Disability                                    51.20                   51.20
                            Chkg 110                             3161.96          3161.96
                            NET PAY                              3161.96          3161.96                           TOTAL                                          1492.77                 1492.77
                            TIME OFF (Based on Policy Year)                                  DEDUCTION              DESCRIPTION                             THIS PERIOD ($)                YTD ($)

                            DESCRIPTION     BEGBAL      CURR ACCRUECURR DEDUCT   AVAIL BAL                          Medical Pre-tax                                 345.27                  345.27
                            Sick           40.00 hrs       1.54 hrs   0.00 hrs   1.54 hrs
                            DESCRIPTION     BEGBAL      CURR ACCRUECURR DEDUCT   AVAIL BAL                          TOTAL                                           345.27                  345.27
                            Vacation       36.96 hrs       1.54 hrs   0.00 hrs   38.50 hrs




                                                                                              NET PAY                                                           THIS PERIOD ($)              YTD ($)
                                                                                                                                                                        3161.96              3161.96

                             Payrolls by Paychex, Inc.

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                                                                                 HAN TRINH
                                                                                 2128 WEST CHERRY DRIVE                                                   NON-NEGOTIABLE
                                                                                 ORANGE CA 92868




                                   NON-NEGOTIABLE




                            PERSONAL AND CHECK INFORMATION                                   EARNINGS       BASIS OF DESCRIPTION       HRS/UNITS       RATE THIS PERIOD ($) YTD HOURS        YTD ($)
                            Han Trinh                                                                         PAY
                            2128 West Cherry Drive                                                                   Regular                                                      926.80     17997.85
                            Orange, CA 92868                                                                         Meal Penalty                                                   8.00       161.52
                            Soc Sec #: xxx-xx-xxxx           Employee ID: 1031                                       Salary                                        5000.00                   56538.42
                                                                                                                     Double Time                                               359.39        14204.75
                            Home Department: 1 LPG CA                                                                Overtime                                                  721.74        21178.05
                                                                                                                     Holiday                                                    16.00          300.00
                            Pay Period: 12/06/21 to 12/19/21                                                         Holiday                                                  M16.00
                            Check Date: 12/24/21     Check #: 1102                                                  Total Hours                                               2047.93
                            NET PAY ALLOCATIONS                                                                     Gross Earnings                                 5000.00                 110380.59
                                                                                                                    Total Hrs Worked
                            DESCRIPTION                THIS PERIOD ($)             YTD ($)   WITHHOLDIN             DESCRIPTION        FILING STATUS        THIS PERIOD ($)                  YTD ($)
                            Check Amount                            0.00         32813.39 GS
                            Chkg 110                             3140.10         39703.24                           Social Security                                 288.60                   6668.38
                            NET PAY                              3140.10         72516.63                           Medicare                                         67.49                   1559.54
                            TIME OFF (Based on Policy Year)                                                         Fed Income Tax     SMS                          771.33                  17859.32
                                                                                                                    CA Income Tax      SMI2 0 1                     331.35                   7659.95
                            DESCRIPTION     BEGBAL      CURR ACCRUECURR DEDUCT   AVAIL BAL                          CA Disability                                    55.86                   1290.65
                            Sick           40.00 hrs       0.00 hrs   0.00 hrs   40.00 hrs
                            DESCRIPTION     BEGBAL      CURR ACCRUECURR DEDUCT   AVAIL BAL                          TOTAL                                          1514.63                  35037.84
                            Vacation       35.42 hrs       1.54 hrs   0.00 hrs   36.96 hrs   DEDUCTION              DESCRIPTION                             THIS PERIOD ($)                  YTD ($)

                                                                                                                    Medical Pre-tax                                 345.27                   2826.12

                                                                                                                    TOTAL                                           345.27                   2826.12




                                                                                              NET PAY                                                           THIS PERIOD ($)                 YTD ($)
                                                                                                                                                                        3140.10               72516.63

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                                                                                 HAN TRINH
                                                                                 2128 WEST CHERRY DRIVE                                              NON-NEGOTIABLE
                                                                                 ORANGE CA 92868




                                   NON-NEGOTIABLE




                            PERSONAL AND CHECK INFORMATION                                    EARNINGS       DESCRIPTION        HRS/UNITS       RATE THIS PERIOD ($) YTD HOURS         YTD ($)
                            Han Trinh
                            2128 West Cherry Drive                                                           Regular                                                        926.80    17997.85
                            Orange, CA 92868                                                                 Meal Penalty                                                     8.00      161.52
                            Soc Sec #: xxx-xx-xxxx           Employee ID: 1031                               Salary                                         5000.00                   51538.42
                                                                                                             Double Time                                                 359.39       14204.75
                            Home Department: 1 LPG CA                                                        Overtime                                                    721.74       21178.05
                                                                                                             Holiday                                                      16.00         300.00
                            Pay Period: 11/22/21 to 12/05/21                                                 Holiday               M16.00                               M16.00
                            Check Date: 12/10/21     Check #: 5818                                           Total Hours            16.00                               2047.93
                            NET PAY ALLOCATIONS                                                              Gross Earnings                                 5000.00                  105380.59
                                                                                                             Total Hrs Worked
                            DESCRIPTION                THIS PERIOD ($)             YTD ($)    WITHHOLDINGS   DESCRIPTION        FILING STATUS        THIS PERIOD ($)                   YTD ($)
                            Check Amount                            0.00         32813.39
                            Chkg 110                             3140.10         36563.14                    Social Security                                 288.59                    6379.78
                            NET PAY                              3140.10         69376.53                    Medicare                                         67.50                    1492.05
                            TIME OFF (Based on Policy Year)                                                  Fed Income Tax     SMS                          771.33                   17087.99
                                                                                                             CA Income Tax      SMI2 0 1                     331.35                    7328.60
                            DESCRIPTION     BEGBAL      CURR ACCRUECURR DEDUCT   AVAIL BAL                   CA Disability                                    55.86                    1234.79
                            Sick           40.00 hrs       0.00 hrs   0.00 hrs   40.00 hrs
                            DESCRIPTION     BEGBAL      CURR ACCRUECURR DEDUCT   AVAIL BAL                   TOTAL                                          1514.63                   33523.21
                            Vacation       33.88 hrs       1.54 hrs   0.00 hrs   35.42 hrs    DEDUCTIONS     DESCRIPTION                             THIS PERIOD ($)                   YTD ($)

                                                                                                             Medical Pre-tax                                 345.27                    2480.85

                                                                                                             TOTAL                                           345.27                    2480.85




                                                                                              NET PAY                                                     THIS PERIOD ($)               YTD ($)
                                                                                                                                                                  3140.10              69376.53

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                                                                                 HAN TRINH
                                                                                 2128 WEST CHERRY DRIVE                                              NON-NEGOTIABLE
                                                                                 ORANGE CA 92868




                                   NON-NEGOTIABLE




                            PERSONAL AND CHECK INFORMATION                                    EARNINGS       DESCRIPTION        HRS/UNITS       RATE THIS PERIOD ($) YTD HOURS         YTD ($)
                            Han Trinh
                            2128 West Cherry Drive                                                           Regular                                                        926.80    17997.85
                            Orange, CA 92868                                                                 Meal Penalty                                                     8.00      161.52
                            Soc Sec #: xxx-xx-xxxx           Employee ID: 1031                               Salary                                         5000.00                   46538.42
                                                                                                             Double Time                                                 359.39       14204.75
                            Home Department: 1 LPG CA                                                        Overtime                                                    721.74       21178.05
                                                                                                             Holiday                                                      16.00         300.00
                            Pay Period: 11/08/21 to 11/21/21                                                 Total Hours                                                2031.93
                            Check Date: 11/26/21     Check #: 5496                                           Gross Earnings                                 5000.00                  100380.59
                            NET PAY ALLOCATIONS                                                              Total Hrs Worked
                                                                                              WITHHOLDINGS   DESCRIPTION        FILING STATUS        THIS PERIOD ($)                   YTD ($)
                            DESCRIPTION                THIS PERIOD ($)             YTD ($)
                            Check Amount                            0.00         32813.39                    Social Security                                 288.59                    6091.19
                            Chkg 110                             3140.11         33423.04                    Medicare                                         67.49                    1424.55
                            NET PAY                              3140.11         66236.43                    Fed Income Tax     SMS                          771.33                   16316.66
                            TIME OFF (Based on Policy Year)                                                  CA Income Tax      SMI2 0 1                     331.35                    6997.25
                                                                                                             CA Disability                                    55.86                    1178.93
                            DESCRIPTION     BEGBAL      CURR ACCRUECURR DEDUCT   AVAIL BAL
                            Sick           40.00 hrs       0.00 hrs   0.00 hrs   40.00 hrs                   TOTAL                                          1514.62                   32008.58
                            DESCRIPTION     BEGBAL      CURR ACCRUECURR DEDUCT   AVAIL BAL    DEDUCTIONS     DESCRIPTION                             THIS PERIOD ($)                   YTD ($)
                            Vacation       32.34 hrs       1.54 hrs   0.00 hrs   33.88 hrs
                                                                                                             Medical Pre-tax                                 345.27                    2135.58

                                                                                                             TOTAL                                           345.27                    2135.58




                                                                                              NET PAY                                                     THIS PERIOD ($)               YTD ($)
                                                                                                                                                                  3140.11              66236.43

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                                                                                 HAN TRINH
                                                                                 2128 WEST CHERRY DRIVE                                              NON-NEGOTIABLE
                                                                                 ORANGE CA 92868




                                   NON-NEGOTIABLE




                            PERSONAL AND CHECK INFORMATION                                    EARNINGS       DESCRIPTION        HRS/UNITS       RATE THIS PERIOD ($) YTD HOURS        YTD ($)
                            Han Trinh
                            2128 West Cherry Drive                                                           Regular                                                        926.80   17997.85
                            Orange, CA 92868                                                                 Meal Penalty                                                     8.00     161.52
                            Soc Sec #: xxx-xx-xxxx           Employee ID: 1031                               Salary                                         4615.38                  41538.42
                                                                                                             Double Time                                                 359.39      14204.75
                            Home Department: 1 LPG CA                                                        Overtime                                                    721.74      21178.05
                                                                                                             Holiday                                                      16.00        300.00
                            Pay Period: 10/25/21 to 11/07/21                                                 Total Hours                                                2031.93
                            Check Date: 11/12/21     Check #: 5201                                           Gross Earnings                                 4615.38                  95380.59
                            NET PAY ALLOCATIONS                                                              Total Hrs Worked
                                                                                              WITHHOLDINGS   DESCRIPTION        FILING STATUS        THIS PERIOD ($)                  YTD ($)
                            DESCRIPTION                THIS PERIOD ($)             YTD ($)
                            Check Amount                            0.00         32813.39                    Social Security                                 264.75                   5802.60
                            Chkg 110                             2921.18         30282.93                    Medicare                                         61.92                   1357.06
                            NET PAY                              2921.18         63096.32                    Fed Income Tax     SMS                          679.02                  15545.33
                            TIME OFF (Based on Policy Year)                                                  CA Income Tax      SMI2 0 1                     292.00                   6665.90
                                                                                                             CA Disability                                    51.24                   1123.07
                            DESCRIPTION     BEGBAL      CURR ACCRUECURR DEDUCT   AVAIL BAL
                            Sick           40.00 hrs       0.00 hrs   0.00 hrs   40.00 hrs                   TOTAL                                          1348.93                  30493.96
                            DESCRIPTION     BEGBAL      CURR ACCRUECURR DEDUCT   AVAIL BAL    DEDUCTIONS     DESCRIPTION                             THIS PERIOD ($)                  YTD ($)
                            Vacation       30.80 hrs       1.54 hrs   0.00 hrs   32.34 hrs
                                                                                                             Medical Pre-tax                                 345.27                   1790.31

                                                                                                             TOTAL                                           345.27                   1790.31




                                                                                              NET PAY                                                     THIS PERIOD ($)              YTD ($)
                                                                                                                                                                  2921.18             63096.32

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                                                                                 HAN TRINH
                                                                                 2128 WEST CHERRY DRIVE                                              NON-NEGOTIABLE
                                                                                 ORANGE CA 92868




                                   NON-NEGOTIABLE




                            PERSONAL AND CHECK INFORMATION                                    EARNINGS       DESCRIPTION        HRS/UNITS       RATE THIS PERIOD ($) YTD HOURS        YTD ($)
                            Han Trinh
                            2128 West Cherry Drive                                                           Regular                                                        926.80   17997.85
                            Orange, CA 92868                                                                 Meal Penalty                                                     8.00     161.52
                            Soc Sec #: xxx-xx-xxxx           Employee ID: 1031                               Salary                                         4615.38                  36923.04
                                                                                                             Double Time                                                 359.39      14204.75
                                                                                                             Overtime                                                    721.74      21178.05
                            Pay Period: 10/11/21 to 10/24/21                                                 Holiday                                                      16.00        300.00
                            Check Date: 10/29/21     Check #: 858                                            Total Hours                                                2031.93
                            NET PAY ALLOCATIONS                                                              Gross Earnings                                 4615.38                  90765.21
                                                                                                             Total Hrs Worked
                            DESCRIPTION                THIS PERIOD ($)             YTD ($)    WITHHOLDINGS   DESCRIPTION        FILING STATUS        THIS PERIOD ($)                  YTD ($)
                            Check Amount                            0.00         32813.39
                            Chkg 110                             2921.19         27361.75                    Social Security                                 264.75                   5537.85
                            NET PAY                              2921.19         60175.14                    Medicare                                         61.91                   1295.14
                            TIME OFF (Based on Policy Year)                                                  Fed Income Tax     SMS                          679.02                  14866.31
                                                                                                             CA Income Tax      SMI2 0 1                     292.00                   6373.90
                            DESCRIPTION     BEGBAL      CURR ACCRUECURR DEDUCT   AVAIL BAL                   CA Disability                                    51.24                   1071.83
                            Sick           40.00 hrs       0.00 hrs   0.00 hrs   40.00 hrs
                            DESCRIPTION     BEGBAL      CURR ACCRUECURR DEDUCT   AVAIL BAL                   TOTAL                                          1348.92                  29145.03
                            Vacation       29.26 hrs       1.54 hrs   0.00 hrs   30.80 hrs    DEDUCTIONS     DESCRIPTION                             THIS PERIOD ($)                  YTD ($)

                                                                                                             Medical Pre-tax                                 345.27                   1445.04

                                                                                                             TOTAL                                           345.27                   1445.04




                                                                                              NET PAY                                                     THIS PERIOD ($)              YTD ($)
                                                                                                                                                                  2921.19             60175.14

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                                                                                 HAN TRINH
                                                                                 2128 WEST CHERRY DRIVE                                              NON-NEGOTIABLE
                                                                                 ORANGE CA 92868




                                   NON-NEGOTIABLE




                            PERSONAL AND CHECK INFORMATION                                    EARNINGS       DESCRIPTION        HRS/UNITS       RATE THIS PERIOD ($) YTD HOURS    YTD ($)
                            Han Trinh
                            2128 West Cherry Drive                                                           Regular                                                    926.80   17997.85
                            Orange, CA 92868                                                                 Meal Penalty                                                 8.00     161.52
                            Soc Sec #: xxx-xx-xxxx           Employee ID: 1031                               Salary                                         4615.38              32307.66
                                                                                                             Double Time                                                359.39   14204.75
                                                                                                             Overtime                                                   721.74   21178.05
                            Pay Period: 09/27/21 to 10/10/21                                                 Holiday                                                     16.00     300.00
                            Check Date: 10/15/21     Check #: 580                                            Total Hours                                               2031.93
                            NET PAY ALLOCATIONS                                                              Gross Earnings                                 4615.38              86149.83
                                                                                                             Total Hrs Worked
                            DESCRIPTION                THIS PERIOD ($)             YTD ($)    WITHHOLDINGS   DESCRIPTION        FILING STATUS        THIS PERIOD ($)              YTD ($)
                            Check Amount                            0.00         32813.39
                            Chkg 110                             2921.19         24440.56                    Social Security                                  264.74              5273.10
                            NET PAY                              2921.19         57253.95                    Medicare                                          61.92              1233.23
                            TIME OFF (Based on Policy Year)                                                  Fed Income Tax     SMS                           679.02             14187.29
                                                                                                             CA Income Tax      SMI2 0 1                      292.00              6081.90
                            DESCRIPTION     BEGBAL      CURR ACCRUECURR DEDUCT   AVAIL BAL                   CA Disability                                     51.24              1020.59
                            Sick           40.00 hrs       0.00 hrs   0.00 hrs   40.00 hrs
                            DESCRIPTION     BEGBAL      CURR ACCRUECURR DEDUCT   AVAIL BAL                   TOTAL                                          1348.92              27796.11
                            Vacation       27.72 hrs       1.54 hrs   0.00 hrs   29.26 hrs    DEDUCTIONS     DESCRIPTION                             THIS PERIOD ($)              YTD ($)

                                                                                                             Medical Pre-tax                                  345.27              1099.77

                                                                                                             TOTAL                                            345.27              1099.77




                                                                                              NET PAY                                                THIS PERIOD ($)               YTD ($)
                                                                                                                                                            2921.19               57253.95

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                                                                                 HAN TRINH
                                                                                 2128 WEST CHERRY DRIVE                                              NON-NEGOTIABLE
                                                                                 ORANGE CA 92868




                                   NON-NEGOTIABLE




                            PERSONAL AND CHECK INFORMATION                                    EARNINGS       DESCRIPTION        HRS/UNITS       RATE THIS PERIOD ($) YTD HOURS    YTD ($)
                            Han Trinh
                            2128 West Cherry Drive                                                           Regular                                                    926.80   17997.85
                            Orange, CA 92868                                                                 Meal Penalty                                                 8.00     161.52
                            Soc Sec #: xxx-xx-xxxx           Employee ID: 1031                               Salary                                         4615.38              27692.28
                                                                                                             Double Time                                                359.39   14204.75
                                                                                                             Overtime                                                   721.74   21178.05
                            Pay Period: 09/13/21 to 09/26/21                                                 Holiday                                                     16.00     300.00
                            Check Date: 10/01/21     Check #: 365                                            Total Hours                                               2031.93
                            NET PAY ALLOCATIONS                                                              Gross Earnings                                 4615.38              81534.45
                                                                                                             Total Hrs Worked
                            DESCRIPTION                THIS PERIOD ($)             YTD ($)    WITHHOLDINGS   DESCRIPTION        FILING STATUS        THIS PERIOD ($)              YTD ($)
                            Check Amount                            0.00         32813.39
                            Chkg 110                             3089.09         21519.37                    Social Security                                  283.04              5008.36
                            NET PAY                              3089.09         54332.76                    Medicare                                          66.19              1171.31
                            TIME OFF (Based on Policy Year)                                                  Fed Income Tax     SMS                           749.81             13508.27
                                                                                                             CA Income Tax      SMI2 0 1                      322.17              5789.90
                            DESCRIPTION     BEGBAL      CURR ACCRUECURR DEDUCT   AVAIL BAL                   CA Disability                                     54.78               969.35
                            Sick           39.56 hrs       0.44 hrs   0.00 hrs   40.00 hrs
                            DESCRIPTION     BEGBAL      CURR ACCRUECURR DEDUCT   AVAIL BAL                   TOTAL                                          1475.99              26447.19
                            Vacation       26.18 hrs       1.54 hrs   0.00 hrs   27.72 hrs    DEDUCTIONS     DESCRIPTION                             THIS PERIOD ($)              YTD ($)

                                                                                                             Medical Pre-tax                                   50.30               754.50

                                                                                                             TOTAL                                             50.30               754.50




                                                                                              NET PAY                                                THIS PERIOD ($)               YTD ($)
                                                                                                                                                            3089.09               54332.76

                             Payrolls by Paychex, Inc.

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                                                                                 HAN TRINH
                                                                                 2128 WEST CHERRY DRIVE                                              NON-NEGOTIABLE
                                                                                 ORANGE CA 92868




                                   NON-NEGOTIABLE




                            PERSONAL AND CHECK INFORMATION                                    EARNINGS       DESCRIPTION        HRS/UNITS       RATE THIS PERIOD ($) YTD HOURS    YTD ($)
                            Han Trinh
                            2128 West Cherry Drive                                                           Regular                                                    926.80   17997.85
                            Orange, CA 92868                                                                 Meal Penalty                                                 8.00     161.52
                            Soc Sec #: xxx-xx-xxxx           Employee ID: 1031                               Salary                                         4615.38              23076.90
                                                                                                             Double Time                                                359.39   14204.75
                                                                                                             Overtime                                                   721.74   21178.05
                            Pay Period: 08/30/21 to 09/12/21                                                 Holiday                                                     16.00     300.00
                            Check Date: 09/17/21     Check #: 164                                            Total Hours                                               2031.93
                            NET PAY ALLOCATIONS                                                              Gross Earnings                                 4615.38              76919.07
                                                                                                             Total Hrs Worked
                            DESCRIPTION                THIS PERIOD ($)             YTD ($)    WITHHOLDINGS   DESCRIPTION        FILING STATUS        THIS PERIOD ($)              YTD ($)
                            Check Amount                            0.00         32813.39
                            Chkg 110                             3089.09         18430.28                    Social Security                                  283.03              4725.32
                            NET PAY                              3089.09         51243.67                    Medicare                                          66.20              1105.12
                            TIME OFF (Based on Policy Year)                                                  Fed Income Tax     SMS                           749.81             12758.46
                                                                                                             CA Income Tax      SMI2 0 1                      322.17              5467.73
                            DESCRIPTION     BEGBAL      CURR ACCRUECURR DEDUCT   AVAIL BAL                   CA Disability                                     54.78               914.57
                            Sick           38.02 hrs       1.54 hrs   0.00 hrs   39.56 hrs
                            DESCRIPTION     BEGBAL      CURR ACCRUECURR DEDUCT   AVAIL BAL                   TOTAL                                          1475.99              24971.20
                            Vacation       24.64 hrs       1.54 hrs   0.00 hrs   26.18 hrs    DEDUCTIONS     DESCRIPTION                             THIS PERIOD ($)              YTD ($)

                                                                                                             Medical Pre-tax                                   50.30               704.20

                                                                                                             TOTAL                                             50.30               704.20




                                                                                              NET PAY                                                THIS PERIOD ($)               YTD ($)
                                                                                                                                                            3089.09               51243.67

                             Payrolls by Paychex, Inc.

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                                                                                 HAN TRINH
                                                                                 2128 WEST CHERRY DRIVE                                              NON-NEGOTIABLE
                                                                                 ORANGE CA 92868




                                   NON-NEGOTIABLE




                            PERSONAL AND CHECK INFORMATION                                    EARNINGS       DESCRIPTION        HRS/UNITS       RATE THIS PERIOD ($) YTD HOURS    YTD ($)
                            Han Trinh
                            2128 West Cherry Drive                                                           Regular                                                    926.80   17997.85
                            Orange, CA 92868                                                                 Meal Penalty                                                 8.00     161.52
                            Soc Sec #: xxx-xx-xxxx           Employee ID: 1031                               Salary                                         4615.38              18461.52
                                                                                                             Double Time                                                359.39   14204.75
                                                                                                             Overtime                                                   721.74   21178.05
                            Pay Period: 08/16/21 to 08/29/21                                                 Holiday                                                     16.00     300.00
                            Check Date: 09/03/21     Check #: 10886                                          Total Hours                                               2031.93
                            NET PAY ALLOCATIONS                                                              Gross Earnings                                 4615.38              72303.69
                                                                                                             Total Hrs Worked
                            DESCRIPTION                THIS PERIOD ($)             YTD ($)    WITHHOLDINGS   DESCRIPTION        FILING STATUS        THIS PERIOD ($)              YTD ($)
                            Check Amount                            0.00         32813.39
                            Chkg 110                             3089.09         15341.19                    Social Security                                  283.04              4442.29
                            NET PAY                              3089.09         48154.58                    Medicare                                          66.19              1038.92
                            TIME OFF (Based on Policy Year)                                                  Fed Income Tax     SMS                           749.81             12008.65
                                                                                                             CA Income Tax      SMI2 0 1                      322.17              5145.56
                            DESCRIPTION     BEGBAL      CURR ACCRUECURR DEDUCT   AVAIL BAL                   CA Disability                                     54.78               859.79
                            Sick           36.48 hrs       1.54 hrs   0.00 hrs   38.02 hrs
                            DESCRIPTION     BEGBAL      CURR ACCRUECURR DEDUCT   AVAIL BAL                   TOTAL                                          1475.99              23495.21
                            Vacation       23.10 hrs       1.54 hrs   0.00 hrs   24.64 hrs    DEDUCTIONS     DESCRIPTION                             THIS PERIOD ($)              YTD ($)

                                                                                                             Medical Pre-tax                                   50.30               653.90

                                                                                                             TOTAL                                             50.30               653.90




                                                                                              NET PAY                                                THIS PERIOD ($)               YTD ($)
                                                                                                                                                            3089.09               48154.58

                             Payrolls by Paychex, Inc.

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                                                                                 HAN TRINH
                                                                                 2128 WEST CHERRY DRIVE                                              NON-NEGOTIABLE
                                                                                 ORANGE CA 92868




                                   NON-NEGOTIABLE




                            PERSONAL AND CHECK INFORMATION                                    EARNINGS       DESCRIPTION        HRS/UNITS       RATE THIS PERIOD ($) YTD HOURS    YTD ($)
                            Han Trinh
                            2128 West Cherry Drive                                                           Regular                                                    926.80   17997.85
                            Orange, CA 92868                                                                 Meal Penalty                                                 8.00     161.52
                            Soc Sec #: xxx-xx-xxxx           Employee ID: 1031                               Salary                                         4615.38              13846.14
                                                                                                             Double Time                                                359.39   14204.75
                                                                                                             Overtime                                                   721.74   21178.05
                            Pay Period: 08/02/21 to 08/15/21                                                 Holiday                                                     16.00     300.00
                            Check Date: 08/20/21     Check #: 10696                                          Total Hours                                               2031.93
                            NET PAY ALLOCATIONS                                                              Gross Earnings                                 4615.38              67688.31
                                                                                                             Total Hrs Worked
                            DESCRIPTION                THIS PERIOD ($)             YTD ($)    WITHHOLDINGS   DESCRIPTION        FILING STATUS        THIS PERIOD ($)              YTD ($)
                            Check Amount                            0.00         32813.39
                            Chkg 110                             3089.09         12252.10                    Social Security                                  283.03              4159.25
                            NET PAY                              3089.09         45065.49                    Medicare                                          66.20               972.73
                            TIME OFF (Based on Policy Year)                                                  Fed Income Tax     SMS                           749.81             11258.84
                                                                                                             CA Income Tax      SMI2 0 1                      322.17              4823.39
                            DESCRIPTION     BEGBAL      CURR ACCRUECURR DEDUCT   AVAIL BAL                   CA Disability                                     54.78               805.01
                            Sick           36.48 hrs       1.54 hrs   0.00 hrs   36.48 hrs
                            DESCRIPTION     BEGBAL      CURR ACCRUECURR DEDUCT   AVAIL BAL                   TOTAL                                          1475.99              22019.22
                            Vacation       23.10 hrs       1.54 hrs   0.00 hrs   23.10 hrs    DEDUCTIONS     DESCRIPTION                             THIS PERIOD ($)              YTD ($)

                                                                                                             Medical Pre-tax                                   50.30               603.60

                                                                                                             TOTAL                                             50.30               603.60




                                                                                              NET PAY                                                THIS PERIOD ($)               YTD ($)
                                                                                                                                                            3089.09               45065.49

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                                                                         HAN TRINH
                                                                         2128 WEST CHERRY DRIVE                                                     NON-NEGOTIABLE
                                                                         ORANGE CA 92868




                                NON-NEGOTIABLE




                            PERSONAL AND CHECK INFORMATION                              EARNINGS            DESCRIPTION        HRS/UNITS       RATE THIS PERIOD ($) YTD HOURS    YTD ($)
                            Han Trinh
                            2128 West Cherry Drive                                                          Regular                                                    926.80   17997.85
                            Orange, CA 92868                                                                Meal Penalty                                                 8.00     161.52
                            Soc Sec #: xxx-xx-xxxx       Employee ID: 1031                                  Salary                                         4615.38               9230.76
                                                                                                            Double Time                                                359.39   14204.75
                                                                                                            Overtime                                                   721.74   21178.05
                            Pay Period: 07/19/21 to 08/01/21                                                Holiday                                                     16.00     300.00
                            Check Date: 08/06/21     Check #: 10513                                         Total Hours                                               2031.93
                            NET PAY ALLOCATIONS                                                             Gross Earnings                                 4615.38              63072.93
                                                                                                            Total Hrs Worked
                            DESCRIPTION            THIS PERIOD ($)           YTD ($)    WITHHOLDINGS        DESCRIPTION        FILING STATUS        THIS PERIOD ($)              YTD ($)
                            Check Amount                      0.00        32813.39
                            Chkg 110                       3089.09         9163.01                          Social Security                                  283.04              3876.22
                            NET PAY                        3089.09        41976.40                          Medicare                                          66.19               906.53
                                                                                                            Fed Income Tax     SMS                           749.81             10509.03
                                                                                                            CA Income Tax      SMI2 0 1                      322.17              4501.22
                                                                                                            CA Disability                                     54.78               750.23

                                                                                                            TOTAL                                          1475.99              20543.23
                                                                                        DEDUCTIONS          DESCRIPTION                             THIS PERIOD ($)              YTD ($)

                                                                                                            Medical Pre-tax                                   50.30               553.30

                                                                                                            TOTAL                                             50.30               553.30




                                                                                        NET PAY                                                     THIS PERIOD ($)               YTD ($)
                                                                                                                                                           3089.09               41976.40

                             Payrolls by Paychex, Inc.

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                                                                            HAN TRINH
                                                                            2128 WEST CHERRY DRIVE                                                   NON-NEGOTIABLE
                                                                            ORANGE CA 92868




                                   NON-NEGOTIABLE




                            PERSONAL AND CHECK INFORMATION                                 EARNINGS         DESCRIPTION        HRS/UNITS       RATE THIS PERIOD ($) YTD HOURS     YTD ($)
                            Han Trinh
                            2128 West Cherry Drive                                                          Regular                                                     926.80   17997.85
                            Orange, CA 92868                                                                Meal Penalty                                                  8.00     161.52
                            Soc Sec #: xxx-xx-xxxx          Employee ID: 1031                               Salary                                          4615.38               4615.38
                                                                                                            Double Time                                                 359.39   14204.75
                                                                                                            Overtime                                                    721.74   21178.05
                            Pay Period: 07/05/21 to 07/18/21                                                Holiday                                                      16.00     300.00
                            Check Date: 07/23/21     Check #: 10331                                         Total Hours                                                2031.93
                            NET PAY ALLOCATIONS                                                             Gross Earnings                                  4615.38              58457.55
                                                                                                            Total Hrs Worked
                            DESCRIPTION                THIS PERIOD ($)          YTD ($)    WITHHOLDINGS     DESCRIPTION        FILING STATUS         THIS PERIOD ($)              YTD ($)
                            Check Amount                          0.00      32813.39
                            Chkg 110                           3089.10       6073.92                        Social Security                                   283.03              3593.18
                            NET PAY                            3089.10      38887.31                        Medicare                                           66.19               840.34
                            TIME OFF (Based on Policy Year)                                                 Fed Income Tax     SMS                            749.81              9759.22
                                                                                                            CA Income Tax      SMI2 0 1                       322.17              4179.05
                            DESCRIPTION    AMTTAKEN      TOTAL BAL                                          CA Disability                                      54.78               695.45
                            Vacation        0.00 hrs     18.48 hrs
                            DESCRIPTION    AMTTAKEN      TOTAL BAL                                          TOTAL                                           1475.98              19067.24
                            Sick            0.00 hrs     36.48 hrs                         DEDUCTIONS       DESCRIPTION                              THIS PERIOD ($)              YTD ($)

                                                                                                            Medical Pre-tax                                    50.30               503.00

                                                                                                            TOTAL                                              50.30               503.00




                                                                                           NET PAY                                                   THIS PERIOD ($)               YTD ($)
                                                                                                                                                            3089.10               38887.31

                             Payrolls by Paychex, Inc.

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                                                                          HAN TRINH
                                                                          2128 WEST CHERRY DRIVE                                                       NON-NEGOTIABLE
                                                                          ORANGE CA 92868




                                NON-NEGOTIABLE




                            PERSONAL AND CHECK INFORMATION                               EARNINGS           DESCRIPTION        HRS/UNITS       RATE THIS PERIOD ($) YTD HOURS       YTD ($)
                            Han Trinh
                            2128 West Cherry Drive                                                          Regular                 79.80    20.1900          1611.16     926.80   17997.85
                            Orange, CA 92868                                                                Meal Penalty             8.00    20.1900           161.52       8.00     161.52
                            Soc Sec #: Missing            Employee ID: 1031                                 Overtime                42.55    30.2850          1288.63     721.74   21178.05
                                                                                                            Double Time             29.95    40.3800          1209.38     359.39   14204.75
                                                                                                            Holiday                  8.00    20.1900           161.52      16.00     300.00
                            Pay Period: 06/21/21 to 07/04/21                                                Total Hours            168.30                                2031.93
                            Check Date: 07/09/21     Check #: 10148                                         Gross Earnings                                    4432.21              53842.17
                            NET PAY ALLOCATIONS                                                             Total Hrs Worked       160.30
                                                                                         WITHHOLDINGS       DESCRIPTION        FILING STATUS           THIS PERIOD ($)              YTD ($)
                            DESCRIPTION           THIS PERIOD ($)             YTD ($)
                            Check Amount                       0.00       32813.39                          Social Security                                     271.68              3310.15
                            Chkg 110                        2984.82        2984.82                          Medicare                                             63.54               774.15
                            NET PAY                         2984.82       35798.21                          Fed Income Tax     SMS                              705.85              9009.41
                                                                                                            CA Income Tax      SMI2 0 1                         303.44              3856.88
                                                                                                            CA Disability                                        52.58               640.67

                                                                                                            TOTAL                                             1397.09              17591.26
                                                                                         DEDUCTIONS         DESCRIPTION                                THIS PERIOD ($)              YTD ($)

                                                                                                            Medical Pre-tax                                      50.30               452.70

                                                                                                            TOTAL                                                50.30               452.70




                                                                                         NET PAY                                                       THIS PERIOD ($)               YTD ($)
                                                                                                                                                              2984.82               35798.21

                             Payrolls by Paychex, Inc.

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                                                                         PHUONG TRINH
                                                                         419 SE 2ND STREET                                                              NON-NEGOTIABLE
                                                                         APT. 2608
                                                                         FORT LAUDERDALE FL 33303




                                NON-NEGOTIABLE




                            PERSONAL AND CHECK INFORMATION                            EARNINGS        BASIS OF DESCRIPTION           HRS/UNITS       RATE THIS PERIOD ($) YTD HOURS     YTD ($)
                            Phuong Trinh                                                                PAY
                            419 SE 2nd Street                                                                  Salary                                            -9615.39              48076.95
                            Apt. 2608                                                                           Total Hours
                            Fort Lauderdale,FL 33303                                                            Gross Earnings                                   -9615.39              48076.95
                            Soc Sec #: xxx-xx-xxxx Employee ID: 1032                                            Total Hrs Worked

                            Home Department: 1 LPG CA                                                           Dir Dep Reimb                                                            500.00
                                                                                                                REIMB & OTHER PAYMENTS                                                   500.00
                            Pay Period: 02/27/23 to 03/12/23                          WITHHOLDIN                DESCRIPTION          FILING STATUS        THIS PERIOD ($)               YTD ($)
                            Check Date: 03/17/23     Check #: Unknown                 GS
                            NET PAY ALLOCATIONS                                                                 Social Security      $-591.19                     -591.19               2955.96
                                                                                                                Medicare             $-138.26                     -138.26                691.31
                            DESCRIPTION            THIS PERIOD ($)          YTD ($)                             Fed Income Tax       $-1,826.69                  -1826.69               9133.45
                            Check Amount                  -6224.28       -18672.83                              CA Income Tax        SMI2 1 0 No
                            Chkg 643                          0.00        50294.21
                            NET PAY                       -6224.28        31621.38                              TOTAL                                            -2556.14              12780.72
                                                                                      DEDUCTION                 DESCRIPTION                               THIS PERIOD ($)               YTD ($)

                                                                                                                401k EE Pretax                                    -750.00               3750.00
                                                                                                                Medical Pre-tax                                    -80.05                400.25
                                                                                                                PostTx EE healt                                     -4.92                 24.60

                                                                                                                TOTAL                                             -834.97               4174.85




                                                                                       NET PAY                                                                THIS PERIOD ($)             YTD ($)
                                                                                                                                                                     -6224.28            31621.38

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                                                                         PHUONG TRINH
                                                                         419 SE 2ND STREET                                                           NON-NEGOTIABLE
                                                                         APT. 2608
                                                                         FORT LAUDERDALE FL 33303




                                NON-NEGOTIABLE




                            PERSONAL AND CHECK INFORMATION                           EARNINGS        BASIS OF DESCRIPTION         HRS/UNITS       RATE THIS PERIOD ($) YTD HOURS     YTD ($)
                            Phuong Trinh                                                               PAY
                            419 SE 2nd Street                                                                 Salary                                          9615.39               57692.34
                            Apt. 2608                                                                          Total Hours
                            Fort Lauderdale,FL 33303                                                           Gross Earnings                                 9615.39               57692.34
                            Soc Sec #: xxx-xx-xxxx Employee ID: 1032                                           Total Hrs Worked

                            Home Department: 1 LPG CA                                                          Dir Dep Reimb                                                          500.00
                                                                                                               REIMB & OTHER PAYMENTS                                                 500.00
                            Pay Period: 02/27/23 to 03/12/23                         WITHHOLDIN                DESCRIPTION        FILING STATUS        THIS PERIOD ($)               YTD ($)
                            Check Date: 03/17/23     Check #: 13142                  GS
                            NET PAY ALLOCATIONS                                                                Social Security                                 591.19                3547.15
                                                                                                               Medicare                                        138.26                 829.57
                            DESCRIPTION            THIS PERIOD ($)         YTD ($)                             Fed Income Tax     SMS                         1826.69               10960.14
                            Check Amount                     0.00        -12448.55                             CA Income Tax      SMI2 1 0 No
                            Chkg 643                      6224.28         50294.21
                            NET PAY                       6224.28         37845.66                             TOTAL                                          2556.14               15336.86
                                                                                     DEDUCTION                 DESCRIPTION                             THIS PERIOD ($)               YTD ($)

                                                                                                               401k EE Pretax                                  750.00                4500.00
                                                                                                               Medical Pre-tax                                  80.05                 480.30
                                                                                                               PostTx EE healt                                   4.92                  29.52

                                                                                                               TOTAL                                           834.97                5009.82




                                                                                      NET PAY                                                              THIS PERIOD ($)             YTD ($)
                                                                                                                                                                  6224.28             37845.66

                             Payrolls by Paychex, Inc.
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                                                                         PHUONG TRINH
                                                                         419 SE 2ND STREET                                                           NON-NEGOTIABLE
                                                                         APT. 2608
                                                                         FORT LAUDERDALE FL 33303




                                NON-NEGOTIABLE




                            PERSONAL AND CHECK INFORMATION                           EARNINGS        BASIS OF DESCRIPTION         HRS/UNITS       RATE THIS PERIOD ($) YTD HOURS     YTD ($)
                            Phuong Trinh                                                               PAY
                            419 SE 2nd Street                                                                 Salary                                          9615.39               48076.95
                            Apt. 2608                                                                          Total Hours
                            Fort Lauderdale,FL 33303                                                           Gross Earnings                                 9615.39               48076.95
                            Soc Sec #: xxx-xx-xxxx Employee ID: 1032                                           Total Hrs Worked

                            Home Department: 1 LPG CA                                                          Dir Dep Reimb                                                          500.00
                                                                                                               REIMB & OTHER PAYMENTS                                                 500.00
                            Pay Period: 02/13/23 to 02/26/23                         WITHHOLDINGS              DESCRIPTION        FILING STATUS        THIS PERIOD ($)               YTD ($)
                            Check Date: 03/03/23     Check #: 13034
                            NET PAY ALLOCATIONS                                                                Social Security                                 591.20                2955.96
                                                                                                               Medicare                                        138.26                 691.31
                            DESCRIPTION            THIS PERIOD ($)         YTD ($)                             Fed Income Tax     SMS                         1826.69                9133.45
                            Check Amount                     0.00        -12448.55                             CA Income Tax      SMI2 1 0 No
                            Chkg 643                      6224.27         44069.93
                            NET PAY                       6224.27         31621.38                             TOTAL                                          2556.15               12780.72
                                                                                     DEDUCTION                 DESCRIPTION                             THIS PERIOD ($)               YTD ($)

                                                                                                               401k EE Pretax                                  750.00                3750.00
                                                                                                               Medical Pre-tax                                  80.05                 400.25
                                                                                                               PostTx EE healt                                   4.92                  24.60

                                                                                                               TOTAL                                           834.97                4174.85




                                                                                      NET PAY                                                              THIS PERIOD ($)             YTD ($)
                                                                                                                                                                   6224.27            31621.38

                             Payrolls by Paychex, Inc.
                            0942 1607-7926 Litigation Practice Group PC DBA • 17542 17th St Ste 100 • Tustin CA 92780 • (949) 715-0648
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                                                                         PHUONG TRINH
                                                                         419 SE 2ND STREET                                                              NON-NEGOTIABLE
                                                                         APT. 2608
                                                                         FORT LAUDERDALE FL 33303




                                NON-NEGOTIABLE




                            PERSONAL AND CHECK INFORMATION                           EARNINGS        BASIS OF DESCRIPTION         HRS/UNITS       RATE THIS PERIOD ($) YTD HOURS      YTD ($)
                            Phuong Trinh                                                               PAY
                            419 SE 2nd Street                                                                 Salary                                           -9615.39              38461.56
                            Apt. 2608                                                                          Total Hours
                            Fort Lauderdale,FL 33303                                                           Gross Earnings                                  -9615.39              38461.56
                            Soc Sec #: xxx-xx-xxxx Employee ID: 1032                                           Total Hrs Worked

                            Home Department: 1 LPG CA                                                          Dir Dep Reimb                                                           500.00
                                                                                                               REIMB & OTHER PAYMENTS                                                  500.00
                            Pay Period: 02/13/23 to 03/26/23                         WITHHOLDINGS              DESCRIPTION        FILING STATUS         THIS PERIOD ($)               YTD ($)
                            Check Date: 03/03/23     Check #: 12868
                                                              (VOID)                                           Social Security    Override $-591.20             -591.20               2364.76
                                                                                                               Medicare           Override $-138.26             -138.26                553.05
                                                                                                               Fed Income Tax     Override $-1,826.69          -1826.69               7306.76
                                                                                                               CA Income Tax      SMI2 1 0 No

                            NET PAY ALLOCATIONS                                                                TOTAL                                           -2556.15              10224.57
                                                                                     DEDUCTION                 DESCRIPTION                              THIS PERIOD ($)               YTD ($)
                            DESCRIPTION            THIS PERIOD ($)         YTD ($)
                            Check Amount                      0.00       -12448.55                             401k EE Pretax                                   -750.00               3000.00
                            Chkg 643                      -6224.27        37845.66                             Medical Pre-tax                                   -80.05                320.20
                            NET PAY                       -6224.27        25397.11                             PostTx EE healt                                    -4.92                 19.68

                                                                                                               TOTAL                                            -834.97               3339.88




                                                                                      NET PAY                                                               THIS PERIOD ($)             YTD ($)
                                                                                                                                                                   -6224.27            25397.11

                             Payrolls by Paychex, Inc.
                            0942 1607-7926 Litigation Practice Group PC DBA • 17542 17th St Ste 100 • Tustin CA 92780 • (949) 715-0648
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Payrolls by Paychex, Inc.




                                                                         PHUONG TRINH
                                                                         419 SE 2ND STREET                                                           NON-NEGOTIABLE
                                                                         APT. 2608
                                                                         FORT LAUDERDALE FL 33303




                                NON-NEGOTIABLE




                            PERSONAL AND CHECK INFORMATION                           EARNINGS        BASIS OF DESCRIPTION         HRS/UNITS       RATE THIS PERIOD ($) YTD HOURS     YTD ($)
                            Phuong Trinh                                                               PAY
                            419 SE 2nd Street                                                                 Salary                                          9615.39               48076.95
                            Apt. 2608                                                                          Total Hours
                            Fort Lauderdale,FL 33303                                                           Gross Earnings                                 9615.39               48076.95
                            Soc Sec #: xxx-xx-xxxx Employee ID: 1032                                           Total Hrs Worked

                            Home Department: 1 LPG CA                                                          Dir Dep Reimb                                                          500.00
                                                                                                               REIMB & OTHER PAYMENTS                                                 500.00
                            Pay Period: 02/13/23 to 03/26/23                         WITHHOLDINGS              DESCRIPTION        FILING STATUS        THIS PERIOD ($)               YTD ($)
                            Check Date: 03/03/23     Check #: 12868
                            NET PAY ALLOCATIONS                                                                Social Security                                 591.20                2955.96
                                                                                                               Medicare                                        138.26                 691.31
                            DESCRIPTION            THIS PERIOD ($)         YTD ($)                             Fed Income Tax     SMS                         1826.69                9133.45
                            Check Amount                     0.00        -12448.55                             CA Income Tax      SMI2 1 0 No
                            Chkg 643                      6224.27         44069.93
                            NET PAY                       6224.27         31621.38                             TOTAL                                          2556.15               12780.72
                                                                                     DEDUCTION                 DESCRIPTION                             THIS PERIOD ($)               YTD ($)

                                                                                                               401k EE Pretax                                  750.00                3750.00
                                                                                                               Medical Pre-tax                                  80.05                 400.25
                                                                                                               PostTx EE healt                                   4.92                  24.60

                                                                                                               TOTAL                                           834.97                4174.85




                                                                                      NET PAY                                                              THIS PERIOD ($)             YTD ($)
                                                                                                                                                                   6224.27            31621.38

                             Payrolls by Paychex, Inc.
                            0942 1607-7926 Litigation Practice Group PC DBA • 17542 17th St Ste 100 • Tustin CA 92780 • (949) 715-0648
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Payrolls by Paychex, Inc.




                                                                                  PHUONG TRINH
                                                                                  419 SE 2ND STREET                                                         NON-NEGOTIABLE
                                                                                  APT. 2608
                                                                                  FORT LAUDERDALE FL 33303




                                   NON-NEGOTIABLE




                            PERSONAL AND CHECK INFORMATION                                     EARNINGS       BASIS OF DESCRIPTION       HRS/UNITS       RATE THIS PERIOD ($) YTD HOURS     YTD ($)
                            Phuong Trinh                                                                        PAY
                            419 SE 2nd Street                                                                          Salary                                        9615.39               38461.56
                            Apt. 2608                                                                                 Total Hours
                            Fort Lauderdale,FL 33303                                                                  Gross Earnings                                 9615.39               38461.56
                            Soc Sec #: xxx-xx-xxxx Employee ID: 1032                                                  Total Hrs Worked

                            Home Department: 1 LPG CA                                                                 Dir Dep Reimb                                                          500.00
                                                                                                                      REIMB & OTHER PAYMENTS                                                 500.00
                            Pay Period: 01/30/23 to 02/12/23                                   WITHHOLDINGS           DESCRIPTION        FILING STATUS        THIS PERIOD ($)               YTD ($)
                            Check Date: 02/17/23     Check #: 12690
                            NET PAY ALLOCATIONS                                                                       Social Security                                 591.19                2364.76
                                                                                                                      Medicare                                        138.26                 553.05
                            DESCRIPTION                 THIS PERIOD ($)             YTD ($)                           Fed Income Tax     SMS                         1826.69                7306.76
                            Check Amount                            0.00          -12448.55                           CA Income Tax      SMI2 1 0 No
                            Chkg 643                             6224.28           37845.66
                            NET PAY                              6224.28           25397.11                           TOTAL                                          2556.14               10224.57
                            TIME OFF (Based on Policy Year)                                    DEDUCTION              DESCRIPTION                             THIS PERIOD ($)               YTD ($)

                            DESCRIPTION     BEGBAL       CURR ACCRUECURR DEDUCT   AVAIL BAL                           401k EE Pretax                                  750.00                3000.00
                            Sick            40.00 hrs      0.00 hrs   0.00 hrs    40.00 hrs                           Medical Pre-tax                                  80.05                 320.20
                            DESCRIPTION     BEGBAL       CURR ACCRUECURR DEDUCT   AVAIL BAL                           PostTx EE healt                                   4.92                  19.68
                            Vacation       206.35 hrs      6.16 hrs   0.00 hrs    212.51 hrs
                                                                                                                      TOTAL                                           834.97                3339.88




                                                                                                NET PAY                                                           THIS PERIOD ($)             YTD ($)
                                                                                                                                                                          6224.28            25397.11

                             Payrolls by Paychex, Inc.
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Payrolls by Paychex, Inc.




                                                                         PHUONG TRINH
                                                                         419 SE 2ND STREET                                                           NON-NEGOTIABLE
                                                                         APT. 2608
                                                                         FORT LAUDERDALE FL 33303




                                NON-NEGOTIABLE




                            PERSONAL AND CHECK INFORMATION                           EARNINGS        BASIS OF DESCRIPTION         HRS/UNITS       RATE THIS PERIOD ($) YTD HOURS     YTD ($)
                            Phuong Trinh                                                               PAY
                            419 SE 2nd Street                                                                 Salary                                                                28846.17
                            Apt. 2608                                                                          Total Hours
                            Fort Lauderdale,FL 33303                                                           Gross Earnings                                                       28846.17
                            Soc Sec #: xxx-xx-xxxx Employee ID: 1032                                           Total Hrs Worked

                            Home Department: 1 LPG CA                                                          Dir Dep Reimb                                   500.00                 500.00
                                                                                                               REIMB & OTHER PAYMENTS                          500.00                 500.00
                            Pay Period: 02/06/23 to 02/19/23                         WITHHOLDINGS              DESCRIPTION        FILING STATUS        THIS PERIOD ($)               YTD ($)
                            Check Date: 02/10/23     Check #: 12487
                            NET PAY ALLOCATIONS                                                                Social Security                                                       1773.57
                                                                                                               Medicare                                                               414.79
                            DESCRIPTION            THIS PERIOD ($)         YTD ($)                             Fed Income Tax     SMS                                                5480.07
                            Check Amount                     0.00        -12448.55                             CA Income Tax      SMI2 1 0 No
                            Chkg 643                       500.00         31621.38
                            NET PAY                        500.00         19172.83                             TOTAL                                                                 7668.43
                                                                                     DEDUCTION                 DESCRIPTION                             THIS PERIOD ($)               YTD ($)

                                                                                                               401k EE Pretax                                                        2250.00
                                                                                                               Medical Pre-tax                                                        240.15
                                                                                                               PostTx EE healt                                                         14.76

                                                                                                               TOTAL                                                                 2504.91




                                                                                      NET PAY                                                              THIS PERIOD ($)             YTD ($)
                                                                                                                                                                    500.00            19172.83

                             Payrolls by Paychex, Inc.
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                                                                         PHUONG TRINH
                                                                         419 SE 2ND STREET                                                           NON-NEGOTIABLE
                                                                         APT. 2608
                                                                         FORT LAUDERDALE FL 33303




                                NON-NEGOTIABLE




                            PERSONAL AND CHECK INFORMATION                           EARNINGS        BASIS OF DESCRIPTION         HRS/UNITS       RATE THIS PERIOD ($) YTD HOURS     YTD ($)
                            Phuong Trinh                                                               PAY
                            419 SE 2nd Street                                                                 Salary                                          9615.39               28846.17
                            Apt. 2608                                                                          Total Hours
                            Fort Lauderdale,FL 33303                                                           Gross Earnings                                 9615.39               28846.17
                            Soc Sec #: xxx-xx-xxxx Employee ID: 1032                                           Total Hrs Worked
                                                                                     WITHHOLDINGS              DESCRIPTION        FILING STATUS        THIS PERIOD ($)               YTD ($)
                            Home Department: 1 LPG CA
                                                                                                               Social Security                                 591.19                1773.57
                            Pay Period: 01/16/23 to 01/29/23                                                   Medicare                                        138.27                 414.79
                            Check Date: 02/03/23     Check #: 12252                                            Fed Income Tax     SMS                         1826.69                5480.07
                            NET PAY ALLOCATIONS                                                                CA Income Tax      SMI2 1 0 No

                            DESCRIPTION            THIS PERIOD ($)         YTD ($)                             TOTAL                                          2556.15                7668.43
                            Check Amount                     0.00        -12448.55 DEDUCTION                   DESCRIPTION                             THIS PERIOD ($)               YTD ($)
                            Chkg 643                      6224.27         31121.38
                            NET PAY                       6224.27         18672.83                             401k EE Pretax                                  750.00                2250.00
                                                                                                               Medical Pre-tax                                  80.05                 240.15
                                                                                                               PostTx EE healt                                   4.92                  14.76

                                                                                                               TOTAL                                           834.97                2504.91




                                                                                      NET PAY                                                              THIS PERIOD ($)             YTD ($)
                                                                                                                                                                   6224.27            18672.83

                             Payrolls by Paychex, Inc.
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                                                                         PHUONG TRINH
                                                                         419 SE 2ND STREET                                                             NON-NEGOTIABLE
                                                                         APT. 2608
                                                                         FORT LAUDERDALE FL 33303




                                NON-NEGOTIABLE




                            PERSONAL AND CHECK INFORMATION                           EARNINGS        BASIS OF DESCRIPTION         HRS/UNITS       RATE THIS PERIOD ($) YTD HOURS     YTD ($)
                            Phuong Trinh                                                               PAY
                            419 SE 2nd Street                                                                 Salary                                          9615.39               19230.78
                            Apt. 2608                                                                          Total Hours
                            Fort Lauderdale,FL 33303                                                           Gross Earnings                                 9615.39               19230.78
                            Soc Sec #: xxx-xx-xxxx Employee ID: 1032                                           Total Hrs Worked
                                                                                     WITHHOLDINGS              DESCRIPTION        FILING STATUS        THIS PERIOD ($)               YTD ($)
                            Home Department: 1 LPG CA
                                                                                                               Social Security    Override $591.19             591.19                1182.38
                            Pay Period: 01/16/23 to 01/29/23                                                   Medicare           Override $138.27             138.27                 276.52
                            Check Date: 02/03/23     Check #:                                                  Fed Income Tax     Override $1,826.69          1826.69                3653.38
                            NET PAY ALLOCATIONS                                                                CA Income Tax      SMI2 1 0 No

                            DESCRIPTION            THIS PERIOD ($)         YTD ($)                             TOTAL                                          2556.15                5112.28
                            Check Amount                     0.00        -12448.55 DEDUCTION                   DESCRIPTION                             THIS PERIOD ($)               YTD ($)
                            Chkg 643                      6224.27         24897.11
                            NET PAY                       6224.27         12448.56                             401k EE Pretax                                  750.00                1500.00
                                                                                                               Medical Pre-tax                                  80.05                 160.10
                                                                                                               PostTx EE healt                                   4.92                   9.84

                                                                                                               TOTAL                                           834.97                1669.94




                                                                                      NET PAY                                                              THIS PERIOD ($)             YTD ($)
                                                                                                                                                                   6224.27            12448.56

                             Payrolls by Paychex, Inc.
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Payrolls by Paychex, Inc.




                                                                         PHUONG TRINH
                                                                         419 SE 2ND STREET                                                              NON-NEGOTIABLE
                                                                         APT. 2608
                                                                         FORT LAUDERDALE FL 33303




                                NON-NEGOTIABLE




                            PERSONAL AND CHECK INFORMATION                           EARNINGS        BASIS OF DESCRIPTION         HRS/UNITS       RATE THIS PERIOD ($) YTD HOURS     YTD ($)
                            Phuong Trinh                                                               PAY
                            419 SE 2nd Street                                                                 Salary                                           -9615.39              9615.39
                            Apt. 2608                                                                          Total Hours
                            Fort Lauderdale,FL 33303                                                           Gross Earnings                                  -9615.39              9615.39
                            Soc Sec #: xxx-xx-xxxx Employee ID: 1032                                           Total Hrs Worked
                                                                                     WITHHOLDINGS              DESCRIPTION        FILING STATUS         THIS PERIOD ($)              YTD ($)
                            Home Department: 1 LPG CA
                                                                                                               Social Security    Override $-591.19             -591.19               591.19
                            Pay Period: 01/16/23 to 01/29/23                                                   Medicare           Override $-138.26             -138.26               138.25
                            Check Date: 02/03/23     Check #: 12042                                            Fed Income Tax     Override $-1,826.69          -1826.69              1826.69
                                                              (VOID)                                           CA Income Tax      SMI2 1 0 No

                                                                                                               TOTAL                                           -2556.14              2556.13
                                                                                     DEDUCTION                 DESCRIPTION                              THIS PERIOD ($)              YTD ($)

                            NET PAY ALLOCATIONS                                                                401k EE Pretax                                   -750.00               750.00
                                                                                                               Medical Pre-tax                                   -80.05                80.05
                            DESCRIPTION            THIS PERIOD ($)         YTD ($)                             PostTx EE healt                                    -4.92                 4.92
                            Check Amount                      0.00       -12448.55
                            Chkg 643                      -6224.28        18672.84                             TOTAL                                            -834.97               834.97
                            NET PAY                       -6224.28         6224.29




                                                                                      NET PAY                                                               THIS PERIOD ($)            YTD ($)
                                                                                                                                                                   -6224.28            6224.29

                             Payrolls by Paychex, Inc.
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                                                                         PHUONG TRINH
                                                                         419 SE 2ND STREET                                                              NON-NEGOTIABLE
                                                                         APT. 2608
                                                                         FORT LAUDERDALE FL 33303




                                NON-NEGOTIABLE




                            PERSONAL AND CHECK INFORMATION                           EARNINGS        BASIS OF DESCRIPTION         HRS/UNITS       RATE THIS PERIOD ($) YTD HOURS      YTD ($)
                            Phuong Trinh                                                               PAY
                            419 SE 2nd Street                                                                 Salary                                           -9615.39              19230.78
                            Apt. 2608                                                                          Total Hours
                            Fort Lauderdale,FL 33303                                                           Gross Earnings                                  -9615.39              19230.78
                            Soc Sec #: xxx-xx-xxxx Employee ID: 1032                                           Total Hrs Worked
                                                                                     WITHHOLDINGS              DESCRIPTION        FILING STATUS         THIS PERIOD ($)               YTD ($)
                            Home Department: 1 LPG CA
                                                                                                               Social Security    Override $-591.19             -591.19               1182.38
                            Pay Period: 01/16/23 to 01/29/23                                                   Medicare           Override $-138.27             -138.27                276.51
                            Check Date: 02/03/23     Check #: 11933                                            Fed Income Tax     Override $-1,826.69          -1826.69               3653.38
                                                              (VOID)                                           CA Income Tax      SMI2 1 0 No

                                                                                                               TOTAL                                           -2556.15               5112.27
                                                                                     DEDUCTION                 DESCRIPTION                              THIS PERIOD ($)               YTD ($)

                            NET PAY ALLOCATIONS                                                                401k EE Pretax                                   -750.00               1500.00
                                                                                                               Medical Pre-tax                                   -80.05                160.10
                            DESCRIPTION            THIS PERIOD ($)         YTD ($)                             PostTx EE healt                                    -4.92                  9.84
                            Check Amount                      0.00       -6224.27
                            Chkg 643                      -6224.27       18672.84                              TOTAL                                            -834.97               1669.94
                            NET PAY                       -6224.27       12448.57




                                                                                      NET PAY                                                               THIS PERIOD ($)             YTD ($)
                                                                                                                                                                   -6224.27            12448.57

                             Payrolls by Paychex, Inc.
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                                                                         PHUONG TRINH
                                                                         419 SE 2ND STREET                                                              NON-NEGOTIABLE
                                                                         APT. 2608
                                                                         FORT LAUDERDALE FL 33303




                                NON-NEGOTIABLE




                            PERSONAL AND CHECK INFORMATION                           EARNINGS        BASIS OF DESCRIPTION         HRS/UNITS       RATE THIS PERIOD ($) YTD HOURS      YTD ($)
                            Phuong Trinh                                                               PAY
                            419 SE 2nd Street                                                                 Salary                                           -9615.39              28846.17
                            Apt. 2608                                                                          Total Hours
                            Fort Lauderdale,FL 33303                                                           Gross Earnings                                  -9615.39              28846.17
                            Soc Sec #: xxx-xx-xxxx Employee ID: 1032                                           Total Hrs Worked
                                                                                     WITHHOLDINGS              DESCRIPTION        FILING STATUS         THIS PERIOD ($)               YTD ($)
                            Home Department: 1 LPG CA
                                                                                                               Social Security    Override $-591.19             -591.19               1773.57
                            Pay Period: 01/16/23 to 01/29/23                                                   Medicare           Override $-138.27             -138.27                414.78
                            Check Date: 02/03/23     Check #: 11933                                            Fed Income Tax     Override $-1,826.69          -1826.69               5480.07
                                                              (VOID)                                           CA Income Tax      SMI2 1 0 No

                                                                                                               TOTAL                                           -2556.15               7668.42
                                                                                     DEDUCTION                 DESCRIPTION                              THIS PERIOD ($)               YTD ($)

                            NET PAY ALLOCATIONS                                                                401k EE Pretax                                   -750.00               2250.00
                                                                                                               Medical Pre-tax                                   -80.05                240.15
                            DESCRIPTION            THIS PERIOD ($)         YTD ($)                             PostTx EE healt                                    -4.92                 14.76
                            Check Amount                      0.00           0.00
                            Chkg 643                      -6224.27       18672.84                              TOTAL                                            -834.97               2504.91
                            NET PAY                       -6224.27       18672.84




                                                                                      NET PAY                                                               THIS PERIOD ($)             YTD ($)
                                                                                                                                                                   -6224.27            18672.84

                             Payrolls by Paychex, Inc.
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                                                                         PHUONG TRINH
                                                                         419 SE 2ND STREET                                                           NON-NEGOTIABLE
                                                                         APT. 2608
                                                                         FORT LAUDERDALE FL 33303




                                NON-NEGOTIABLE




                            PERSONAL AND CHECK INFORMATION                           EARNINGS        BASIS OF DESCRIPTION         HRS/UNITS       RATE THIS PERIOD ($) YTD HOURS     YTD ($)
                            Phuong Trinh                                                               PAY
                            419 SE 2nd Street                                                                 Salary                                          9615.39               38461.56
                            Apt. 2608                                                                          Total Hours
                            Fort Lauderdale,FL 33303                                                           Gross Earnings                                 9615.39               38461.56
                            Soc Sec #: xxx-xx-xxxx Employee ID: 1032                                           Total Hrs Worked
                                                                                     WITHHOLDINGS              DESCRIPTION        FILING STATUS        THIS PERIOD ($)               YTD ($)
                            Home Department: 1 LPG CA
                                                                                                               Social Security                                 591.19                2364.76
                            Pay Period: 01/16/23 to 01/29/23                                                   Medicare                                        138.26                 553.05
                            Check Date: 02/03/23     Check #: 12042                                            Fed Income Tax     SMS                         1826.69                7306.76
                            NET PAY ALLOCATIONS                                                                CA Income Tax      SMI2 1 0 No

                            DESCRIPTION            THIS PERIOD ($)         YTD ($)                             TOTAL                                          2556.14               10224.57
                            Check Amount                     0.00            0.00 DEDUCTION                    DESCRIPTION                             THIS PERIOD ($)               YTD ($)
                            Chkg 643                      6224.28        24897.11
                            NET PAY                       6224.28        24897.11                              401k EE Pretax                                  750.00                3000.00
                                                                                                               Medical Pre-tax                                  80.05                 320.20
                                                                                                               PostTx EE healt                                   4.92                  19.68

                                                                                                               TOTAL                                           834.97                3339.88




                                                                                      NET PAY                                                              THIS PERIOD ($)             YTD ($)
                                                                                                                                                                   6224.28            24897.11

                             Payrolls by Paychex, Inc.
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                                                                                  PHUONG TRINH
                                                                                  419 SE 2ND STREET                                                         NON-NEGOTIABLE
                                                                                  APT. 2608
                                                                                  FORT LAUDERDALE FL 33303




                                   NON-NEGOTIABLE




                            PERSONAL AND CHECK INFORMATION                                     EARNINGS       BASIS OF DESCRIPTION       HRS/UNITS       RATE THIS PERIOD ($) YTD HOURS     YTD ($)
                            Phuong Trinh                                                                        PAY
                            419 SE 2nd Street                                                                          Salary                                        9615.39               28846.17
                            Apt. 2608                                                                                 Total Hours
                            Fort Lauderdale,FL 33303                                                                  Gross Earnings                                 9615.39               28846.17
                            Soc Sec #: xxx-xx-xxxx Employee ID: 1032                                                  Total Hrs Worked
                                                                                               WITHHOLDINGS           DESCRIPTION        FILING STATUS        THIS PERIOD ($)               YTD ($)
                            Home Department: 1 LPG CA
                                                                                                                      Social Security                                 591.19                1773.57
                            Pay Period: 01/16/23 to 01/29/23                                                          Medicare                                        138.27                 414.79
                            Check Date: 02/03/23     Check #: 11933                                                   Fed Income Tax     SMS                         1826.69                5480.07
                            NET PAY ALLOCATIONS                                                                       CA Income Tax      SMI2 1 0 No

                            DESCRIPTION                 THIS PERIOD ($)             YTD ($)                           TOTAL                                          2556.15                7668.43
                            Check Amount                            0.00              0.00 DEDUCTION                  DESCRIPTION                             THIS PERIOD ($)               YTD ($)
                            Chkg 643                             6224.27          18672.83
                            NET PAY                              6224.27          18672.83                            401k EE Pretax                                  750.00                2250.00
                            TIME OFF (Based on Policy Year)                                                           Medical Pre-tax                                  80.05                 240.15
                                                                                                                      PostTx EE healt                                   4.92                  14.76
                            DESCRIPTION     BEGBAL       CURR ACCRUECURR DEDUCT   AVAIL BAL
                            Sick            40.00 hrs      0.00 hrs   0.00 hrs    40.00 hrs                           TOTAL                                           834.97                2504.91
                            DESCRIPTION     BEGBAL       CURR ACCRUECURR DEDUCT   AVAIL BAL
                            Vacation       200.19 hrs      6.16 hrs   0.00 hrs    206.35 hrs




                                                                                                NET PAY                                                           THIS PERIOD ($)             YTD ($)
                                                                                                                                                                          6224.27            18672.83

                             Payrolls by Paychex, Inc.
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                                                                         PHUONG TRINH
                                                                         419 SE 2ND STREET                                                           NON-NEGOTIABLE
                                                                         APT. 4608
                                                                         FORT LAUDERDALE FL 33303




                                NON-NEGOTIABLE




                            PERSONAL AND CHECK INFORMATION                           EARNINGS        BASIS OF DESCRIPTION         HRS/UNITS       RATE THIS PERIOD ($) YTD HOURS     YTD ($)
                            Phuong Trinh                                                               PAY
                            419 SE 2nd Street                                                                 Salary                                          9615.39               19230.78
                            Apt. 4608                                                                          Total Hours
                            Fort Lauderdale,FL 33303                                                           Gross Earnings                                 9615.39               19230.78
                            Soc Sec #: xxx-xx-xxxx Employee ID: 1032                                           Total Hrs Worked
                                                                                     WITHHOLDINGS              DESCRIPTION        FILING STATUS        THIS PERIOD ($)               YTD ($)
                            Home Department: 1 LPG CA
                                                                                                               Social Security                                 591.19                1182.38
                            Pay Period: 01/02/23 to 01/15/23                                                   Medicare                                        138.26                 276.52
                            Check Date: 01/20/23     Check #: 11629                                            Fed Income Tax     SMS                         1826.69                3653.38
                            NET PAY ALLOCATIONS                                                                CA Income Tax      SMI2 1 0 No

                            DESCRIPTION            THIS PERIOD ($)         YTD ($)                             TOTAL                                          2556.14                5112.28
                            Check Amount                     0.00            0.00 DEDUCTION                    DESCRIPTION                             THIS PERIOD ($)               YTD ($)
                            Chkg 643                      6224.28        12448.56
                            NET PAY                       6224.28        12448.56                              401k EE Pretax                                  750.00                1500.00
                                                                                                               Medical Pre-tax                                  80.05                 160.10
                                                                                                               PostTx EE healt                                   4.92                   9.84

                                                                                                               TOTAL                                           834.97                1669.94




                                                                                      NET PAY                                                              THIS PERIOD ($)             YTD ($)
                                                                                                                                                                   6224.28            12448.56

                             Payrolls by Paychex, Inc.
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                                                                                  PHUONG TRINH
                                                                                  419 SE 2ND STREET                                                         NON-NEGOTIABLE
                                                                                  APT. 4608
                                                                                  FORT LAUDERDALE FL 33303




                                   NON-NEGOTIABLE




                            PERSONAL AND CHECK INFORMATION                                     EARNINGS       BASIS OF DESCRIPTION       HRS/UNITS       RATE THIS PERIOD ($) YTD HOURS    YTD ($)
                            Phuong Trinh                                                                        PAY
                            419 SE 2nd Street                                                                          Salary                                        9615.39               9615.39
                            Apt. 4608                                                                                 Total Hours
                            Fort Lauderdale,FL 33303                                                                  Gross Earnings                                 9615.39               9615.39
                            Soc Sec #: xxx-xx-xxxx Employee ID: 1032                                                  Total Hrs Worked
                                                                                               WITHHOLDINGS           DESCRIPTION        FILING STATUS        THIS PERIOD ($)              YTD ($)
                            Home Department: 1 LPG CA
                                                                                                                      Social Security                                 591.19                591.19
                            Pay Period: 12/19/22 to 01/01/23                                                          Medicare                                        138.26                138.26
                            Check Date: 01/06/23     Check #: 11340                                                   Fed Income Tax     SMS                         1826.69               1826.69
                            NET PAY ALLOCATIONS                                                                       CA Income Tax      SMI2 1 0 No

                            DESCRIPTION                 THIS PERIOD ($)             YTD ($)                           TOTAL                                          2556.14               2556.14
                            Check Amount                            0.00              0.00 DEDUCTION                  DESCRIPTION                             THIS PERIOD ($)              YTD ($)
                            Chkg 643                             6224.28           6224.28
                            NET PAY                              6224.28           6224.28                            401k EE Pretax                                  750.00                750.00
                            TIME OFF (Based on Policy Year)                                                           Medical Pre-tax                                  80.05                 80.05
                                                                                                                      PostTx EE healt                                   4.92                  4.92
                            DESCRIPTION     BEGBAL       CURR ACCRUECURR DEDUCT   AVAIL BAL
                            Sick            40.00 hrs      0.00 hrs   0.00 hrs    40.00 hrs                           TOTAL                                           834.97                834.97
                            DESCRIPTION     BEGBAL       CURR ACCRUECURR DEDUCT   AVAIL BAL
                            Vacation       187.87 hrs      6.16 hrs   0.00 hrs    194.03 hrs




                                                                                                NET PAY                                                           THIS PERIOD ($)            YTD ($)
                                                                                                                                                                          6224.28            6224.28

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                                                                                  PHUONG TRINH
                                                                                  419 SE 2ND STREET                                                             NON-NEGOTIABLE
                                                                                  APT. 4608
                                                                                  FORT LAUDERDALE FL 33303




                                   NON-NEGOTIABLE




                            PERSONAL AND CHECK INFORMATION                                     EARNINGS        BASIS OF DESCRIPTION          HRS/UNITS       RATE THIS PERIOD ($) YTD HOURS      YTD ($)
                            Phuong Trinh                                                                         PAY
                            419 SE 2nd Street                                                                           Salary                                           9615.39                215923.03
                            Apt. 4608                                                                                     Total Hours
                            Fort Lauderdale,FL 33303                                                                      Gross Earnings                                 9615.39               215923.03
                            Soc Sec #: xxx-xx-xxxx Employee ID: 1032                                                      Total Hrs Worked
                                                                                               OTHER                      DESCRIPTION                             THIS PERIOD ($)                YTD ($)
                            Home Department: 1 LPG CA                                          Do not increase Net Pay
                                                                                                                          401k ER                                                                1453.84
                            Pay Period: 12/05/22 to 12/18/22                                   WITHHOLDINGS               DESCRIPTION        FILING STATUS        THIS PERIOD ($)                YTD ($)
                            Check Date: 12/23/22     Check #: 11052
                            NET PAY ALLOCATIONS                                                                           Social Security                                                        9114.00
                                                                                                                          Medicare                                        224.08                 3217.58
                            DESCRIPTION                 THIS PERIOD ($)              YTD ($)                              Fed Income Tax     SMS                         1891.60                38248.92
                            Check Amount                            0.00               0.00                               CA Income Tax      SMI2 1 0 No                                        13327.92
                            Chkg 643                             6664.74          128474.39                               CA Disability                                                          1601.60
                            NET PAY                              6664.74          128474.39
                            TIME OFF (Based on Policy Year)                                                               TOTAL                                          2115.68                65510.02
                                                                                               DEDUCTION                  DESCRIPTION                             THIS PERIOD ($)                YTD ($)
                            DESCRIPTION     BEGBAL       CURR ACCRUECURR DEDUCT    AVAIL BAL
                            Sick            40.00 hrs      0.00 hrs   0.00 hrs     40.00 hrs                              401k EE Pretax                                  750.00                19500.00
                            DESCRIPTION     BEGBAL       CURR ACCRUECURR DEDUCT    AVAIL BAL                              Medical Pre-tax                                  80.05                 2409.10
                            Vacation       181.71 hrs      6.16 hrs   0.00 hrs    187.87 hrs                              PostTx EE healt                                   4.92                   29.52

                                                                                                                          TOTAL                                           834.97                21938.62




                                                                                                NET PAY                                                               THIS PERIOD ($)               YTD ($)
                                                                                                                                                                              6664.74            128474.39

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                                                                                  PHUONG TRINH
                                                                                  419 SE 2ND STREET                                                             NON-NEGOTIABLE
                                                                                  APT. 4608
                                                                                  FORT LAUDERDALE FL 33303




                                   NON-NEGOTIABLE




                            PERSONAL AND CHECK INFORMATION                                     EARNINGS        BASIS OF DESCRIPTION          HRS/UNITS       RATE THIS PERIOD ($) YTD HOURS      YTD ($)
                            Phuong Trinh                                                                         PAY
                            419 SE 2nd Street                                                                           Salary                                           8307.69                206307.64
                            Apt. 4608                                                                                     Total Hours
                            Fort Lauderdale,FL 33303                                                                      Gross Earnings                                 8307.69               206307.64
                            Soc Sec #: xxx-xx-xxxx Employee ID: 1032                                                      Total Hrs Worked
                                                                                               OTHER                      DESCRIPTION                             THIS PERIOD ($)                YTD ($)
                            Home Department: 1 LPG CA                                          Do not increase Net Pay
                                                                                                                          401k ER                                                                1453.84
                            Pay Period: 11/21/22 to 12/04/22                                   WITHHOLDINGS               DESCRIPTION        FILING STATUS        THIS PERIOD ($)                YTD ($)
                            Check Date: 12/09/22     Check #: 10763
                            NET PAY ALLOCATIONS                                                                           Social Security                                                        9114.00
                                                                                                                          Medicare                                        155.11                 2993.50
                            DESCRIPTION                 THIS PERIOD ($)              YTD ($)                              Fed Income Tax     SMS                         1473.13                36357.32
                            Check Amount                            0.00               0.00                               CA Income Tax      SMI2 1 0 No                                        13327.92
                            Chkg 643                             5844.48          121809.65                               CA Disability                                                          1601.60
                            NET PAY                              5844.48          121809.65
                            TIME OFF (Based on Policy Year)                                                               TOTAL                                          1628.24                63394.34
                                                                                               DEDUCTION                  DESCRIPTION                             THIS PERIOD ($)                YTD ($)
                            DESCRIPTION     BEGBAL       CURR ACCRUECURR DEDUCT    AVAIL BAL
                            Sick            40.00 hrs      0.00 hrs   0.00 hrs     40.00 hrs                              401k EE Pretax                                  750.00                18750.00
                            DESCRIPTION     BEGBAL       CURR ACCRUECURR DEDUCT    AVAIL BAL                              Medical Pre-tax                                  80.05                 2329.05
                            Vacation       175.55 hrs      6.16 hrs   0.00 hrs    181.71 hrs                              PostTx EE healt                                   4.92                   24.60

                                                                                                                          TOTAL                                           834.97                21103.65




                                                                                                NET PAY                                                               THIS PERIOD ($)               YTD ($)
                                                                                                                                                                              5844.48            121809.65

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                                                                         PHUONG TRINH
                                                                         419 SE 2ND STREET                                                              NON-NEGOTIABLE
                                                                         APT. 4608
                                                                         FORT LAUDERDALE FL 33303




                                NON-NEGOTIABLE




                            PERSONAL AND CHECK INFORMATION                            EARNINGS        BASIS OF DESCRIPTION           HRS/UNITS       RATE THIS PERIOD ($) YTD HOURS      YTD ($)
                            Phuong Trinh                                                                PAY
                            419 SE 2nd Street                                                                  Salary                                            8307.69                197999.95
                            Apt. 4608                                                                            Total Hours
                            Fort Lauderdale,FL 33303                                                             Gross Earnings                                  8307.69               197999.95
                            Soc Sec #: xxx-xx-xxxx Employee ID: 1032                                             Total Hrs Worked
                                                                                      OTHER                      DESCRIPTION                              THIS PERIOD ($)                YTD ($)
                            Home Department: 1 LPG CA                                 Do not increase Net Pay
                                                                                                                 401k ER                                                                 1453.84
                            Pay Period: 11/07/22 to 11/20/22                          WITHHOLDIN                 DESCRIPTION         FILING STATUS        THIS PERIOD ($)                YTD ($)
                            Check Date: 11/25/22     Check #: 10466                   GS
                            NET PAY ALLOCATIONS                                                                  Social Security                                                         9114.00
                                                                                                                 Medicare                                         119.30                 2838.39
                            DESCRIPTION            THIS PERIOD ($)          YTD ($)                              Fed Income Tax      SMS                         1473.13                34884.19
                            Check Amount                     0.00             0.00                               CA Income Tax       SMI2 0 1 No                                        13327.92
                            Chkg 643                      5880.29        115965.17                               CA Disability                                                           1601.60
                            NET PAY                       5880.29        115965.17
                                                                                                                 TOTAL                                           1592.43                61766.10
                                                                                      DEDUCTION                  DESCRIPTION                              THIS PERIOD ($)                YTD ($)

                                                                                                                 401k EE Pretax                                   750.00                18000.00
                                                                                                                 Medical Pre-tax                                   80.05                 2249.00
                                                                                                                 PostTx EE healt                                    4.92                   19.68

                                                                                                                 TOTAL                                            834.97                20268.68




                                                                                       NET PAY                                                                THIS PERIOD ($)               YTD ($)
                                                                                                                                                                      5880.29            115965.17

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                                                                         PHUONG TRINH
                                                                         419 SE 2ND STREET                                                                 NON-NEGOTIABLE
                                                                         APT. 4608
                                                                         FORT LAUDERDALE FL 33303




                                NON-NEGOTIABLE




                            PERSONAL AND CHECK INFORMATION                            EARNINGS        BASIS OF DESCRIPTION           HRS/UNITS       RATE THIS PERIOD ($) YTD HOURS       YTD ($)
                            Phuong Trinh                                                                PAY
                            419 SE 2nd Street                                                                  Salary                                             -8307.69               189692.26
                            Apt. 4608                                                                            Total Hours
                            Fort Lauderdale,FL 33303                                                             Gross Earnings                                   -8307.69              189692.26
                            Soc Sec #: xxx-xx-xxxx Employee ID: 1032                                             Total Hrs Worked
                                                                                      OTHER                      DESCRIPTION                               THIS PERIOD ($)                YTD ($)
                            Home Department: 1 LPG CA                                 Do not increase Net Pay
                                                                                                                 401k ER                                                                  1453.84
                            Pay Period: 11/07/22 to 11/20/22                          WITHHOLDIN                 DESCRIPTION         FILING STATUS         THIS PERIOD ($)                YTD ($)
                            Check Date: 11/25/22     Check #: 10168                   GS
                                                              (VOID)                                             Social Security                                                          9114.00
                                                                                                                 Medicare            Override $-119.30             -119.30                2719.09
                            NET PAY ALLOCATIONS                                                                  Fed Income Tax      Override $-1,473.13          -1473.13               33411.06
                                                                                                                 CA Income Tax       SMI2 0 1 No                                         13327.92
                            DESCRIPTION            THIS PERIOD ($)          YTD ($)                              CA Disability                                                            1601.60
                            Check Amount                      0.00            0.00
                            Chkg 643                      -5880.29       110084.88                               TOTAL                                            -1592.43               60173.67
                            NET PAY                       -5880.29       110084.88 DEDUCTION                     DESCRIPTION                               THIS PERIOD ($)                YTD ($)

                                                                                                                 401k EE Pretax                                    -750.00               17250.00
                                                                                                                 Medical Pre-tax                                    -80.05                2168.95
                                                                                                                 PostTx EE healt                                     -4.92                  14.76

                                                                                                                 TOTAL                                             -834.97               19433.71




                                                                                       NET PAY                                                                 THIS PERIOD ($)               YTD ($)
                                                                                                                                                                      -5880.29            110084.88

                             Payrolls by Paychex, Inc.

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                                                                         PHUONG TRINH
                                                                         419 SE 2ND STREET                                                              NON-NEGOTIABLE
                                                                         APT. 4608
                                                                         FORT LAUDERDALE FL 33303




                                NON-NEGOTIABLE




                            PERSONAL AND CHECK INFORMATION                            EARNINGS        BASIS OF DESCRIPTION           HRS/UNITS       RATE THIS PERIOD ($) YTD HOURS      YTD ($)
                            Phuong Trinh                                                                PAY
                            419 SE 2nd Street                                                                  Salary                                            8307.69                197999.95
                            Apt. 4608                                                                            Total Hours
                            Fort Lauderdale,FL 33303                                                             Gross Earnings                                  8307.69               197999.95
                            Soc Sec #: xxx-xx-xxxx Employee ID: 1032                                             Total Hrs Worked
                                                                                      OTHER                      DESCRIPTION                              THIS PERIOD ($)                YTD ($)
                            Home Department: 1 LPG CA                                 Do not increase Net Pay
                                                                                                                 401k ER                                                                 1453.84
                            Pay Period: 11/07/22 to 11/20/22                          WITHHOLDIN                 DESCRIPTION         FILING STATUS        THIS PERIOD ($)                YTD ($)
                            Check Date: 11/25/22     Check #: 10168                   GS
                            NET PAY ALLOCATIONS                                                                  Social Security                                                         9114.00
                                                                                                                 Medicare                                         119.30                 2838.39
                            DESCRIPTION            THIS PERIOD ($)          YTD ($)                              Fed Income Tax      SMS                         1473.13                34884.19
                            Check Amount                     0.00             0.00                               CA Income Tax       SMI2 0 1 No                                        13327.92
                            Chkg 643                      5880.29        115965.17                               CA Disability                                                           1601.60
                            NET PAY                       5880.29        115965.17
                                                                                                                 TOTAL                                           1592.43                61766.10
                                                                                      DEDUCTION                  DESCRIPTION                              THIS PERIOD ($)                YTD ($)

                                                                                                                 401k EE Pretax                                   750.00                18000.00
                                                                                                                 Medical Pre-tax                                   80.05                 2249.00
                                                                                                                 PostTx EE healt                                    4.92                   19.68

                                                                                                                 TOTAL                                            834.97                20268.68




                                                                                       NET PAY                                                                THIS PERIOD ($)               YTD ($)
                                                                                                                                                                      5880.29            115965.17

                             Payrolls by Paychex, Inc.

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Payrolls by Paychex, Inc.




                                                                                  PHUONG TRINH
                                                                                  419 SE 2ND STREET                                                             NON-NEGOTIABLE
                                                                                  APT. 4608
                                                                                  FORT LAUDERDALE FL 33303




                                   NON-NEGOTIABLE




                            PERSONAL AND CHECK INFORMATION                                     EARNINGS        BASIS OF DESCRIPTION          HRS/UNITS       RATE THIS PERIOD ($) YTD HOURS      YTD ($)
                            Phuong Trinh                                                                         PAY
                            419 SE 2nd Street                                                                           Salary                                           8307.69                189692.26
                            Apt. 4608                                                                                     Total Hours
                            Fort Lauderdale,FL 33303                                                                      Gross Earnings                                 8307.69               189692.26
                            Soc Sec #: xxx-xx-xxxx Employee ID: 1032                                                      Total Hrs Worked
                                                                                               OTHER                      DESCRIPTION                             THIS PERIOD ($)                YTD ($)
                            Home Department: 1 LPG CA                                          Do not increase Net Pay
                                                                                                                          401k ER                                                                1453.84
                            Pay Period: 10/24/22 to 11/06/22                                   WITHHOLDIN                 DESCRIPTION        FILING STATUS        THIS PERIOD ($)                YTD ($)
                            Check Date: 11/10/22     Check #: 9860                             GS
                            NET PAY ALLOCATIONS                                                                           Social Security                                                        9114.00
                                                                                                                          Medicare                                        119.30                 2719.09
                            DESCRIPTION                 THIS PERIOD ($)              YTD ($)                              Fed Income Tax     SMS                         1473.13                33411.06
                            Check Amount                            0.00               0.00                               CA Income Tax      SMI2 0 1 No                                        13327.92
                            Chkg 643                             5880.29          110084.88                               CA Disability                                                          1601.60
                            NET PAY                              5880.29          110084.88
                            TIME OFF (Based on Policy Year)                                                               TOTAL                                          1592.43                60173.67
                                                                                               DEDUCTION                  DESCRIPTION                             THIS PERIOD ($)                YTD ($)
                            DESCRIPTION     BEGBAL       CURR ACCRUECURR DEDUCT    AVAIL BAL
                            Sick            40.00 hrs      0.00 hrs   0.00 hrs     40.00 hrs                              401k EE Pretax                                  750.00                17250.00
                            DESCRIPTION     BEGBAL       CURR ACCRUECURR DEDUCT    AVAIL BAL                              Medical Pre-tax                                  80.05                 2168.95
                            Vacation       163.23 hrs      6.16 hrs   0.00 hrs    169.39 hrs                              PostTx EE healt                                   4.92                   14.76

                                                                                                                          TOTAL                                           834.97                19433.71




                                                                                                NET PAY                                                               THIS PERIOD ($)               YTD ($)
                                                                                                                                                                              5880.29            110084.88

                             Payrolls by Paychex, Inc.

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Payrolls by Paychex, Inc.




                                                                                  PHUONG TRINH
                                                                                  2128 W CHERRY DRIVE                                                           NON-NEGOTIABLE
                                                                                  ORANGE CA 92868




                                   NON-NEGOTIABLE




                            PERSONAL AND CHECK INFORMATION                                     EARNINGS        BASIS OF DESCRIPTION          HRS/UNITS       RATE THIS PERIOD ($) YTD HOURS      YTD ($)
                            Phuong Trinh                                                                         PAY
                            2128 W Cherry Drive                                                                         Salary                                           8307.69                181384.57
                            Orange, CA 92868                                                                              Total Hours
                            Soc Sec #: xxx-xx-xxxx           Employee ID: 1032                                            Gross Earnings                                 8307.69               181384.57
                                                                                                                          Total Hrs Worked
                            Home Department: 1 LPG CA                                          OTHER                      DESCRIPTION                             THIS PERIOD ($)                YTD ($)
                                                                                               Do not increase Net Pay
                            Pay Period: 10/10/22 to 10/23/22                                                              401k ER                                                                1453.84
                            Check Date: 10/28/22     Check #: 9419                             WITHHOLDIN                 DESCRIPTION        FILING STATUS        THIS PERIOD ($)                YTD ($)
                            NET PAY ALLOCATIONS                                                GS
                                                                                                                          Social Security                                                        9114.00
                            DESCRIPTION                 THIS PERIOD ($)              YTD ($)                              Medicare                                        119.30                 2599.79
                            Check Amount                            0.00               0.00                               Fed Income Tax     SMS                         1473.13                31937.93
                            Chkg 643                             5266.51          104204.59                               CA Income Tax      SMI2 0 1                     613.78                13327.92
                            NET PAY                              5266.51          104204.59                               CA Disability                                                          1601.60
                            TIME OFF (Based on Policy Year)
                                                                                                                          TOTAL                                          2206.21                58581.24
                            DESCRIPTION     BEGBAL       CURR ACCRUECURR DEDUCT    AVAIL BAL   DEDUCTION                  DESCRIPTION                             THIS PERIOD ($)                YTD ($)
                            Sick            40.00 hrs      0.00 hrs   0.00 hrs     40.00 hrs
                            DESCRIPTION     BEGBAL       CURR ACCRUECURR DEDUCT    AVAIL BAL                              401k EE Pretax                                  750.00                16500.00
                            Vacation       157.07 hrs      6.16 hrs   0.00 hrs    163.23 hrs                              Medical Pre-tax                                  80.05                 2088.90
                                                                                                                          PostTx EE healt                                   4.92                    9.84

                                                                                                                          TOTAL                                           834.97                18598.74




                                                                                                NET PAY                                                               THIS PERIOD ($)               YTD ($)
                                                                                                                                                                              5266.51            104204.59

                             Payrolls by Paychex, Inc.

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Payrolls by Paychex, Inc.




                                                                         PHUONG TRINH
                                                                         2128 W CHERRY DRIVE                                                            NON-NEGOTIABLE
                                                                         ORANGE CA 92868




                                NON-NEGOTIABLE




                            PERSONAL AND CHECK INFORMATION                             EARNINGS        BASIS OF DESCRIPTION          HRS/UNITS       RATE THIS PERIOD ($) YTD HOURS      YTD ($)
                            Phuong Trinh                                                                 PAY
                            2128 W Cherry Drive                                                                 Salary                                           8307.69                173076.88
                            Orange, CA 92868                                                                      Total Hours
                            Soc Sec #: xxx-xx-xxxx       Employee ID: 1032                                        Gross Earnings                                 8307.69               173076.88
                                                                                                                  Total Hrs Worked
                            Home Department: 1 LPG CA                                  OTHER                      DESCRIPTION                             THIS PERIOD ($)                YTD ($)
                                                                                       Do not increase Net Pay
                            Pay Period: 09/26/22 to 10/09/22                                                      401k ER                                                                1453.84
                            Check Date: 10/14/22     Check #: 9050                     WITHHOLDIN                 DESCRIPTION        FILING STATUS        THIS PERIOD ($)                YTD ($)
                            NET PAY ALLOCATIONS                                        GS
                                                                                                                  Social Security                                                        9114.00
                            DESCRIPTION            THIS PERIOD ($)           YTD ($)                              Medicare                                        119.30                 2480.49
                            Check Amount                      0.00            0.00                                Fed Income Tax     SMS                         1473.13                30464.80
                            Chkg 643                       5266.51        98938.08                                CA Income Tax      SMI2 0 1                     613.78                12714.14
                            NET PAY                        5266.51        98938.08                                CA Disability                                                          1601.60

                                                                                                                  TOTAL                                          2206.21                56375.03
                                                                                       DEDUCTION                  DESCRIPTION                             THIS PERIOD ($)                YTD ($)

                                                                                                                  401k EE Pretax                                  750.00                15750.00
                                                                                                                  Medical Pre-tax                                  80.05                 2008.85
                                                                                                                  PostTx EE healt                                   4.92                    4.92

                                                                                                                  TOTAL                                           834.97                17763.77




                                                                                        NET PAY                                                               THIS PERIOD ($)               YTD ($)
                                                                                                                                                                      5266.51             98938.08

                             Payrolls by Paychex, Inc.

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                                                                                  PHUONG TRINH
                                                                                  2128 W CHERRY DRIVE                                                           NON-NEGOTIABLE
                                                                                  ORANGE CA 92868




                                   NON-NEGOTIABLE




                            PERSONAL AND CHECK INFORMATION                                     EARNINGS        BASIS OF DESCRIPTION          HRS/UNITS       RATE THIS PERIOD ($) YTD HOURS      YTD ($)
                            Phuong Trinh                                                                         PAY
                            2128 W Cherry Drive                                                                         Salary                                           8307.69                164769.19
                            Orange, CA 92868                                                                              Total Hours
                            Soc Sec #: xxx-xx-xxxx           Employee ID: 1032                                            Gross Earnings                                 8307.69               164769.19
                                                                                                                          Total Hrs Worked
                            Home Department: 1 LPG CA                                          OTHER                      DESCRIPTION                             THIS PERIOD ($)                YTD ($)
                                                                                               Do not increase Net Pay
                            Pay Period: 09/12/22 to 09/25/22                                                              401k ER                                                                1453.84
                            Check Date: 09/30/22     Check #: 8662                             WITHHOLDIN                 DESCRIPTION        FILING STATUS        THIS PERIOD ($)                YTD ($)
                            NET PAY ALLOCATIONS                                                GS
                                                                                                                          Social Security                                                        9114.00
                            DESCRIPTION                 THIS PERIOD ($)             YTD ($)                               Medicare                                        119.07                 2361.19
                            Check Amount                            0.00              0.00                                Fed Income Tax     SMS                         1467.89                28991.67
                            Chkg 643                             5262.19          93671.57                                CA Income Tax      SMI2 0 1                     612.10                12100.36
                            NET PAY                              5262.19          93671.57                                CA Disability                                                          1601.60
                            TIME OFF (Based on Policy Year)
                                                                                                                          TOTAL                                          2199.06                54168.82
                            DESCRIPTION     BEGBAL       CURR ACCRUECURR DEDUCT   AVAIL BAL    DEDUCTION                  DESCRIPTION                             THIS PERIOD ($)                YTD ($)
                            Sick            40.00 hrs      0.00 hrs   0.00 hrs    40.00 hrs
                            DESCRIPTION     BEGBAL       CURR ACCRUECURR DEDUCT   AVAIL BAL                               401k EE Pretax                                  750.00                15000.00
                            Vacation       144.75 hrs      6.16 hrs   0.00 hrs    150.91 hrs                              Medical Pre-tax                                  96.44                 1928.80

                                                                                                                          TOTAL                                           846.44                16928.80




                                                                                                NET PAY                                                               THIS PERIOD ($)               YTD ($)
                                                                                                                                                                              5262.19             93671.57

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                                                                                  PHUONG TRINH
                                                                                  2128 W CHERRY DRIVE                                                           NON-NEGOTIABLE
                                                                                  ORANGE CA 92868




                                   NON-NEGOTIABLE




                            PERSONAL AND CHECK INFORMATION                                     EARNINGS        BASIS OF DESCRIPTION          HRS/UNITS       RATE THIS PERIOD ($) YTD HOURS      YTD ($)
                            Phuong Trinh                                                                         PAY
                            2128 W Cherry Drive                                                                         Salary                                           8307.69                156461.50
                            Orange, CA 92868                                                                              Total Hours
                            Soc Sec #: xxx-xx-xxxx           Employee ID: 1032                                            Gross Earnings                                 8307.69               156461.50
                                                                                                                          Total Hrs Worked
                            Home Department: 1 LPG CA                                          OTHER                      DESCRIPTION                             THIS PERIOD ($)                YTD ($)
                                                                                               Do not increase Net Pay
                            Pay Period: 08/29/22 to 09/11/22                                                              401k ER                                                                1453.84
                            Check Date: 09/16/22     Check #: 8263                             WITHHOLDIN                 DESCRIPTION        FILING STATUS        THIS PERIOD ($)                YTD ($)
                            NET PAY ALLOCATIONS                                                GS
                                                                                                                          Social Security                                  36.09                 9114.00
                            DESCRIPTION                 THIS PERIOD ($)             YTD ($)                               Medicare                                        119.06                 2242.12
                            Check Amount                            0.00              0.00                                Fed Income Tax     SMS                         1467.89                27523.78
                            Chkg 643                             5226.11          88409.38                                CA Income Tax      SMI2 0 1                     612.10                11488.26
                            NET PAY                              5226.11          88409.38                                CA Disability                                                          1601.60
                            TIME OFF (Based on Policy Year)
                                                                                                                          TOTAL                                          2235.14                51969.76
                            DESCRIPTION     BEGBAL       CURR ACCRUECURR DEDUCT   AVAIL BAL    DEDUCTION                  DESCRIPTION                             THIS PERIOD ($)                YTD ($)
                            Sick            40.00 hrs      0.00 hrs   0.00 hrs    40.00 hrs
                            DESCRIPTION     BEGBAL       CURR ACCRUECURR DEDUCT   AVAIL BAL                               401k EE Pretax                                  750.00                14250.00
                            Vacation       138.59 hrs      6.16 hrs   0.00 hrs    144.75 hrs                              Medical Pre-tax                                  96.44                 1832.36

                                                                                                                          TOTAL                                           846.44                16082.36




                                                                                                NET PAY                                                               THIS PERIOD ($)               YTD ($)
                                                                                                                                                                              5226.11             88409.38

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                                                                         PHUONG TRINH
                                                                         2128 W CHERRY DRIVE                                                            NON-NEGOTIABLE
                                                                         ORANGE CA 92868




                                NON-NEGOTIABLE




                            PERSONAL AND CHECK INFORMATION                             EARNINGS        BASIS OF DESCRIPTION          HRS/UNITS       RATE THIS PERIOD ($) YTD HOURS      YTD ($)
                            Phuong Trinh                                                                 PAY
                            2128 W Cherry Drive                                                                 Salary                                           8307.69                148153.81
                            Orange, CA 92868                                                                      Total Hours
                            Soc Sec #: xxx-xx-xxxx       Employee ID: 1032                                        Gross Earnings                                 8307.69               148153.81
                                                                                                                  Total Hrs Worked
                            Home Department: 1 LPG CA                                  OTHER                      DESCRIPTION                             THIS PERIOD ($)                YTD ($)
                                                                                       Do not increase Net Pay
                            Pay Period: 08/15/22 to 08/28/22                                                      401k ER                                                                1453.84
                            Check Date: 09/02/22     Check #: 7855                     WITHHOLDIN                 DESCRIPTION        FILING STATUS        THIS PERIOD ($)                YTD ($)
                            NET PAY ALLOCATIONS                                        GS
                                                                                                                  Social Security                                 509.10                 9077.91
                            DESCRIPTION            THIS PERIOD ($)           YTD ($)                              Medicare                                        119.06                 2123.06
                            Check Amount                      0.00            0.00                                Fed Income Tax     SMS                         1467.89                26055.89
                            Chkg 643                       4671.71        83183.27                                CA Income Tax      SMI2 0 1                     612.10                10876.16
                            NET PAY                        4671.71        83183.27                                CA Disability                                    81.39                 1601.60

                                                                                                                  TOTAL                                          2789.54                49734.62
                                                                                       DEDUCTION                  DESCRIPTION                             THIS PERIOD ($)                YTD ($)

                                                                                                                  401k EE Pretax                                  750.00                13500.00
                                                                                                                  Medical Pre-tax                                  96.44                 1735.92

                                                                                                                  TOTAL                                           846.44                15235.92




                                                                                        NET PAY                                                               THIS PERIOD ($)               YTD ($)
                                                                                                                                                                      4671.71             83183.27

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                                                                         PHUONG TRINH
                                                                         2128 W CHERRY DRIVE                                                            NON-NEGOTIABLE
                                                                         ORANGE CA 92868




                                NON-NEGOTIABLE




                            PERSONAL AND CHECK INFORMATION                             EARNINGS        BASIS OF DESCRIPTION          HRS/UNITS       RATE THIS PERIOD ($) YTD HOURS      YTD ($)
                            Phuong Trinh                                                                 PAY
                            2128 W Cherry Drive                                                                 Salary                                           8307.69                139846.12
                            Orange, CA 92868                                                                      Total Hours
                            Soc Sec #: xxx-xx-xxxx       Employee ID: 1032                                        Gross Earnings                                 8307.69               139846.12
                                                                                                                  Total Hrs Worked
                            Home Department: 1 LPG CA                                  OTHER                      DESCRIPTION                             THIS PERIOD ($)                YTD ($)
                                                                                       Do not increase Net Pay
                            Pay Period: 08/01/22 to 08/14/22                                                      401k ER                                                                1453.84
                            Check Date: 08/19/22     Check #: 7473                     WITHHOLDIN                 DESCRIPTION        FILING STATUS        THIS PERIOD ($)                YTD ($)
                            NET PAY ALLOCATIONS                                        GS
                                                                                                                  Social Security                                 509.10                 8568.81
                            DESCRIPTION            THIS PERIOD ($)           YTD ($)                              Medicare                                        119.07                 2004.00
                            Check Amount                      0.00            0.00                                Fed Income Tax     SMS                         1467.89                24588.00
                            Chkg 643                       4662.77        78511.56                                CA Income Tax      SMI2 0 1                     612.10                10264.06
                            NET PAY                        4662.77        78511.56                                CA Disability                                    90.32                 1520.21

                                                                                                                  TOTAL                                          2798.48                46945.08
                                                                                       DEDUCTION                  DESCRIPTION                             THIS PERIOD ($)                YTD ($)

                                                                                                                  401k EE Pretax                                  750.00                12750.00
                                                                                                                  Medical Pre-tax                                  96.44                 1639.48

                                                                                                                  TOTAL                                           846.44                14389.48




                                                                                        NET PAY                                                               THIS PERIOD ($)               YTD ($)
                                                                                                                                                                      4662.77             78511.56

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                                                                                  PHUONG TRINH
                                                                                  2128 W CHERRY DRIVE                                                           NON-NEGOTIABLE
                                                                                  ORANGE CA 92868




                                   NON-NEGOTIABLE




                            PERSONAL AND CHECK INFORMATION                                     EARNINGS        BASIS OF DESCRIPTION          HRS/UNITS       RATE THIS PERIOD ($) YTD HOURS      YTD ($)
                            Phuong Trinh                                                                         PAY
                            2128 W Cherry Drive                                                                         Salary                                           8307.69                131538.43
                            Orange, CA 92868                                                                              Total Hours
                            Soc Sec #: xxx-xx-xxxx           Employee ID: 1032                                            Gross Earnings                                 8307.69               131538.43
                                                                                                                          Total Hrs Worked
                            Home Department: 1 LPG CA                                          OTHER                      DESCRIPTION                             THIS PERIOD ($)                YTD ($)
                                                                                               Do not increase Net Pay
                            Pay Period: 07/18/22 to 07/31/22                                                              401k ER                                                                1453.84
                            Check Date: 08/05/22     Check #: 7094                             WITHHOLDIN                 DESCRIPTION        FILING STATUS        THIS PERIOD ($)                YTD ($)
                            NET PAY ALLOCATIONS                                                GS
                                                                                                                          Social Security                                 509.09                 8059.71
                            DESCRIPTION                 THIS PERIOD ($)             YTD ($)                               Medicare                                        119.06                 1884.93
                            Check Amount                            0.00              0.00                                Fed Income Tax     SMS                         1467.89                23120.11
                            Chkg 643                             4662.79          73848.79                                CA Income Tax      SMI2 0 1                     612.10                 9651.96
                            NET PAY                              4662.79          73848.79                                CA Disability                                    90.32                 1429.89
                            TIME OFF (Based on Policy Year)
                                                                                                                          TOTAL                                          2798.46                44146.60
                            DESCRIPTION     BEGBAL       CURR ACCRUECURR DEDUCT   AVAIL BAL    DEDUCTION                  DESCRIPTION                             THIS PERIOD ($)                YTD ($)
                            Sick            40.00 hrs      0.00 hrs   0.00 hrs    40.00 hrs
                            DESCRIPTION     BEGBAL       CURR ACCRUECURR DEDUCT   AVAIL BAL                               401k EE Pretax                                  750.00                12000.00
                            Vacation       120.11 hrs      6.16 hrs   0.00 hrs    126.27 hrs                              Medical Pre-tax                                  96.44                 1543.04

                                                                                                                          TOTAL                                           846.44                13543.04




                                                                                                NET PAY                                                               THIS PERIOD ($)               YTD ($)
                                                                                                                                                                              4662.79             73848.79

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                                                                                  PHUONG TRINH
                                                                                  2128 W CHERRY DRIVE                                                           NON-NEGOTIABLE
                                                                                  ORANGE CA 92868




                                   NON-NEGOTIABLE




                            PERSONAL AND CHECK INFORMATION                                     EARNINGS        BASIS OF DESCRIPTION          HRS/UNITS       RATE THIS PERIOD ($) YTD HOURS      YTD ($)
                            Phuong Trinh                                                                         PAY
                            2128 W Cherry Drive                                                                         Salary                                           8307.69                123230.74
                            Orange, CA 92868                                                                              Total Hours
                            Soc Sec #: xxx-xx-xxxx           Employee ID: 1032                                            Gross Earnings                                 8307.69               123230.74
                                                                                                                          Total Hrs Worked
                            Home Department: 1 LPG CA                                          OTHER                      DESCRIPTION                             THIS PERIOD ($)                YTD ($)
                                                                                               Do not increase Net Pay
                            Pay Period: 07/04/22 to 07/17/22                                                              401k ER                                                                1453.84
                            Check Date: 07/22/22     Check #: 6719                             WITHHOLDIN                 DESCRIPTION        FILING STATUS        THIS PERIOD ($)                YTD ($)
                            NET PAY ALLOCATIONS                                                GS
                                                                                                                          Social Security                                 509.10                 7550.62
                            DESCRIPTION                 THIS PERIOD ($)             YTD ($)                               Medicare                                        119.06                 1765.87
                            Check Amount                            0.00              0.00                                Fed Income Tax     SMS                         1467.89                21652.22
                            Chkg 643                             4662.78          69186.00                                CA Income Tax      SMI2 0 1                     612.10                 9039.86
                            NET PAY                              4662.78          69186.00                                CA Disability                                    90.32                 1339.57
                            TIME OFF (Based on Policy Year)
                                                                                                                          TOTAL                                          2798.47                41348.14
                            DESCRIPTION     BEGBAL       CURR ACCRUECURR DEDUCT   AVAIL BAL    DEDUCTION                  DESCRIPTION                             THIS PERIOD ($)                YTD ($)
                            Sick           40.00 hrs       0.00 hrs   0.00 hrs    40.00 hrs
                            DESCRIPTION     BEGBAL       CURR ACCRUECURR DEDUCT   AVAIL BAL                               401k EE Pretax                                  750.00                11250.00
                            Vacation       113.95 hrs      6.16 hrs   0.00 hrs    120.11 hrs                              Medical Pre-tax                                  96.44                 1446.60

                                                                                                                          TOTAL                                           846.44                12696.60




                                                                                                NET PAY                                                               THIS PERIOD ($)               YTD ($)
                                                                                                                                                                              4662.78             69186.00

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                                                                         PHUONG TRINH
                                                                         2128 W CHERRY DRIVE                                                            NON-NEGOTIABLE
                                                                         ORANGE CA 92868




                                NON-NEGOTIABLE




                            PERSONAL AND CHECK INFORMATION                             EARNINGS        BASIS OF DESCRIPTION          HRS/UNITS       RATE THIS PERIOD ($) YTD HOURS      YTD ($)
                            Phuong Trinh                                                                 PAY
                            2128 W Cherry Drive                                                                 Salary                                           8307.69                114923.05
                            Orange, CA 92868                                                                      Total Hours
                            Soc Sec #: xxx-xx-xxxx       Employee ID: 1032                                        Gross Earnings                                 8307.69               114923.05
                                                                                                                  Total Hrs Worked
                            Home Department: 1 LPG CA                                  OTHER                      DESCRIPTION                             THIS PERIOD ($)                YTD ($)
                                                                                       Do not increase Net Pay
                            Pay Period: 06/20/22 to 07/03/22                                                      401k ER                                                                1453.84
                            Check Date: 07/08/22     Check #: 6351                     WITHHOLDIN                 DESCRIPTION        FILING STATUS        THIS PERIOD ($)                YTD ($)
                            NET PAY ALLOCATIONS                                        GS
                                                                                                                  Social Security                                 509.10                 7041.52
                            DESCRIPTION            THIS PERIOD ($)           YTD ($)                              Medicare                                        119.07                 1646.81
                            Check Amount                      0.00            0.00                                Fed Income Tax     SMS                         1467.89                20184.33
                            Chkg 643                       4662.77        64523.22                                CA Income Tax      SMI2 0 1                     612.10                 8427.76
                            NET PAY                        4662.77        64523.22                                CA Disability                                    90.32                 1249.25

                                                                                                                  TOTAL                                          2798.48                38549.67
                                                                                       DEDUCTION                  DESCRIPTION                             THIS PERIOD ($)                YTD ($)

                                                                                                                  401k EE Pretax                                  750.00                10500.00
                                                                                                                  Medical Pre-tax                                  96.44                 1350.16

                                                                                                                  TOTAL                                           846.44                11850.16




                                                                                        NET PAY                                                               THIS PERIOD ($)               YTD ($)
                                                                                                                                                                      4662.77             64523.22

                             Payrolls by Paychex, Inc.

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                                                                         PHUONG TRINH
                                                                         2128 W CHERRY DRIVE                                                            NON-NEGOTIABLE
                                                                         ORANGE CA 92868




                                NON-NEGOTIABLE




                            PERSONAL AND CHECK INFORMATION                             EARNINGS        BASIS OF DESCRIPTION          HRS/UNITS       RATE THIS PERIOD ($) YTD HOURS      YTD ($)
                            Phuong Trinh                                                                 PAY
                            2128 W Cherry Drive                                                                 Salary                                           8307.69                106615.36
                            Orange, CA 92868                                                                      Total Hours
                            Soc Sec #: xxx-xx-xxxx       Employee ID: 1032                                        Gross Earnings                                 8307.69               106615.36
                                                                                                                  Total Hrs Worked
                            Home Department: 1 LPG CA                                  OTHER                      DESCRIPTION                             THIS PERIOD ($)                YTD ($)
                                                                                       Do not increase Net Pay
                            Pay Period: 06/06/22 to 06/19/22                                                      401k ER                                                                1453.84
                            Check Date: 06/24/22     Check #: 5980                     WITHHOLDIN                 DESCRIPTION        FILING STATUS        THIS PERIOD ($)                YTD ($)
                            NET PAY ALLOCATIONS                                        GS
                                                                                                                  Social Security                                 509.10                 6532.42
                            DESCRIPTION            THIS PERIOD ($)           YTD ($)                              Medicare                                        119.06                 1527.74
                            Check Amount                      0.00            0.00                                Fed Income Tax     SMS                         1467.89                18716.44
                            Chkg 643                       4662.78        59860.45                                CA Income Tax      SMI2 0 1                     612.10                 7815.66
                            NET PAY                        4662.78        59860.45                                CA Disability                                    90.32                 1158.93

                                                                                                                  TOTAL                                          2798.47                35751.19
                                                                                       DEDUCTION                  DESCRIPTION                             THIS PERIOD ($)                YTD ($)

                                                                                                                  401k EE Pretax                                  750.00                 9750.00
                                                                                                                  Medical Pre-tax                                  96.44                 1253.72

                                                                                                                  TOTAL                                           846.44                11003.72




                                                                                        NET PAY                                                               THIS PERIOD ($)               YTD ($)
                                                                                                                                                                      4662.78             59860.45

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                                                                         PHUONG TRINH
                                                                         2128 W CHERRY DRIVE                                                            NON-NEGOTIABLE
                                                                         ORANGE CA 92868




                                NON-NEGOTIABLE




                            PERSONAL AND CHECK INFORMATION                             EARNINGS        BASIS OF DESCRIPTION          HRS/UNITS       RATE THIS PERIOD ($) YTD HOURS     YTD ($)
                            Phuong Trinh                                                                 PAY
                            2128 W Cherry Drive                                                                 Salary                                           8307.69               98307.67
                            Orange, CA 92868                                                                      Total Hours
                            Soc Sec #: xxx-xx-xxxx       Employee ID: 1032                                        Gross Earnings                                 8307.69               98307.67
                                                                                                                  Total Hrs Worked
                            Home Department: 1 LPG CA                                  OTHER                      DESCRIPTION                             THIS PERIOD ($)               YTD ($)
                                                                                       Do not increase Net Pay
                            Pay Period: 05/23/22 to 06/05/22                                                      401k ER                                                               1453.84
                            Check Date: 06/10/22     Check #: 5623                     WITHHOLDIN                 DESCRIPTION        FILING STATUS        THIS PERIOD ($)               YTD ($)
                            NET PAY ALLOCATIONS                                        GS
                                                                                                                  Social Security                                 509.09                6023.32
                            DESCRIPTION            THIS PERIOD ($)           YTD ($)                              Medicare                                        119.06                1408.68
                            Check Amount                      0.00            0.00                                Fed Income Tax     SMS                         1467.89               17248.55
                            Chkg 643                       4662.79        55197.67                                CA Income Tax      SMI2 0 1                     612.10                7203.56
                            NET PAY                        4662.79        55197.67                                CA Disability                                    90.32                1068.61

                                                                                                                  TOTAL                                          2798.46               32952.72
                                                                                       DEDUCTION                  DESCRIPTION                             THIS PERIOD ($)               YTD ($)

                                                                                                                  401k EE Pretax                                  750.00                9000.00
                                                                                                                  Medical Pre-tax                                  96.44                1157.28

                                                                                                                  TOTAL                                           846.44               10157.28




                                                                                        NET PAY                                                               THIS PERIOD ($)             YTD ($)
                                                                                                                                                                      4662.79            55197.67

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                                                                                 PHUONG TRINH
                                                                                 2128 W CHERRY DRIVE                                                          NON-NEGOTIABLE
                                                                                 ORANGE CA 92868




                                   NON-NEGOTIABLE




                            PERSONAL AND CHECK INFORMATION                                   EARNINGS        BASIS OF DESCRIPTION          HRS/UNITS       RATE THIS PERIOD ($) YTD HOURS     YTD ($)
                            Phuong Trinh                                                                       PAY
                            2128 W Cherry Drive                                                                       Salary                                           8307.69               89999.98
                            Orange, CA 92868                                                                            Total Hours
                            Soc Sec #: xxx-xx-xxxx           Employee ID: 1032                                          Gross Earnings                                 8307.69               89999.98
                                                                                                                        Total Hrs Worked
                            Home Department: 1 LPG CA                                        OTHER                      DESCRIPTION                             THIS PERIOD ($)               YTD ($)
                                                                                             Do not increase Net Pay
                            Pay Period: 05/09/22 to 05/22/22                                                            401k ER                                                               1453.84
                            Check Date: 05/27/22     Check #: 5259                           WITHHOLDIN                 DESCRIPTION        FILING STATUS        THIS PERIOD ($)               YTD ($)
                            NET PAY ALLOCATIONS                                              GS
                                                                                                                        Social Security                                 509.10                5514.23
                            DESCRIPTION                THIS PERIOD ($)             YTD ($)                              Medicare                                        119.07                1289.62
                            Check Amount                            0.00             0.00                               Fed Income Tax     SMS                         1467.89               15780.66
                            Chkg 643                             4662.77         50534.88                               CA Income Tax      SMI2 0 1                     612.10                6591.46
                            NET PAY                              4662.77         50534.88                               CA Disability                                    90.32                 978.29
                            TIME OFF (Based on Policy Year)
                                                                                                                        TOTAL                                          2798.48               30154.26
                            DESCRIPTION     BEGBAL      CURR ACCRUECURR DEDUCT   AVAIL BAL   DEDUCTION                  DESCRIPTION                             THIS PERIOD ($)               YTD ($)
                            Sick           40.00 hrs       0.00 hrs   0.00 hrs   40.00 hrs
                            DESCRIPTION     BEGBAL      CURR ACCRUECURR DEDUCT   AVAIL BAL                              401k EE Pretax                                  750.00                8250.00
                            Vacation       89.31 hrs       6.16 hrs   0.00 hrs   95.47 hrs                              Medical Pre-tax                                  96.44                1060.84

                                                                                                                        TOTAL                                           846.44                9310.84




                                                                                              NET PAY                                                               THIS PERIOD ($)             YTD ($)
                                                                                                                                                                            4662.77            50534.88

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                                                                                 PHUONG TRINH
                                                                                 2128 W CHERRY DRIVE                                                          NON-NEGOTIABLE
                                                                                 ORANGE CA 92868




                                   NON-NEGOTIABLE




                            PERSONAL AND CHECK INFORMATION                                   EARNINGS        BASIS OF DESCRIPTION          HRS/UNITS       RATE THIS PERIOD ($) YTD HOURS     YTD ($)
                            Phuong Trinh                                                                       PAY
                            2128 W Cherry Drive                                                                       Salary                                           8307.69               81692.29
                            Orange, CA 92868                                                                            Total Hours
                            Soc Sec #: xxx-xx-xxxx           Employee ID: 1032                                          Gross Earnings                                 8307.69               81692.29
                                                                                                                        Total Hrs Worked
                            Home Department: 1 LPG CA                                        OTHER                      DESCRIPTION                             THIS PERIOD ($)               YTD ($)
                                                                                             Do not increase Net Pay
                            Pay Period: 04/25/22 to 05/08/22                                                            401k ER                                                               1453.84
                            Check Date: 05/13/22     Check #: 4893                           WITHHOLDIN                 DESCRIPTION        FILING STATUS        THIS PERIOD ($)               YTD ($)
                            NET PAY ALLOCATIONS                                              GS
                                                                                                                        Social Security                                 509.10                5005.13
                            DESCRIPTION                THIS PERIOD ($)             YTD ($)                              Medicare                                        119.06                1170.55
                            Check Amount                            0.00             0.00                               Fed Income Tax     SMS                         1467.89               14312.77
                            Chkg 643                             4662.78         45872.11                               CA Income Tax      SMI2 0 1                     612.10                5979.36
                            NET PAY                              4662.78         45872.11                               CA Disability                                    90.32                 887.97
                            TIME OFF (Based on Policy Year)
                                                                                                                        TOTAL                                          2798.47               27355.78
                            DESCRIPTION     BEGBAL      CURR ACCRUECURR DEDUCT   AVAIL BAL   DEDUCTION                  DESCRIPTION                             THIS PERIOD ($)               YTD ($)
                            Sick           40.00 hrs       0.00 hrs   0.00 hrs   40.00 hrs
                            DESCRIPTION     BEGBAL      CURR ACCRUECURR DEDUCT   AVAIL BAL                              401k EE Pretax                                  750.00                7500.00
                            Vacation       83.15 hrs       6.16 hrs   0.00 hrs   89.31 hrs                              Medical Pre-tax                                  96.44                 964.40

                                                                                                                        TOTAL                                           846.44                8464.40




                                                                                              NET PAY                                                               THIS PERIOD ($)             YTD ($)
                                                                                                                                                                            4662.78            45872.11

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                                                                                 PHUONG TRINH
                                                                                 2128 W CHERRY DRIVE                                                          NON-NEGOTIABLE
                                                                                 ORANGE CA 92868




                                   NON-NEGOTIABLE




                            PERSONAL AND CHECK INFORMATION                                   EARNINGS        BASIS OF DESCRIPTION          HRS/UNITS       RATE THIS PERIOD ($) YTD HOURS     YTD ($)
                            Phuong Trinh                                                                       PAY
                            2128 W Cherry Drive                                                                       Salary                                           8307.69               73384.60
                            Orange, CA 92868                                                                            Total Hours
                            Soc Sec #: xxx-xx-xxxx           Employee ID: 1032                                          Gross Earnings                                 8307.69               73384.60
                                                                                                                        Total Hrs Worked
                            Home Department: 1 LPG CA                                        OTHER                      DESCRIPTION                             THIS PERIOD ($)               YTD ($)
                                                                                             Do not increase Net Pay
                            Pay Period: 04/11/22 to 04/24/22                                                            401k ER                                                               1453.84
                            Check Date: 04/29/22     Check #: 4536                           WITHHOLDIN                 DESCRIPTION        FILING STATUS        THIS PERIOD ($)               YTD ($)
                            NET PAY ALLOCATIONS                                              GS
                                                                                                                        Social Security                                 509.10                4496.03
                            DESCRIPTION                THIS PERIOD ($)             YTD ($)                              Medicare                                        119.06                1051.49
                            Check Amount                            0.00             0.00                               Fed Income Tax     SMS                         1467.89               12844.88
                            Chkg 643                             4662.78         41209.33                               CA Income Tax      SMI2 0 1                     612.10                5367.26
                            NET PAY                              4662.78         41209.33                               CA Disability                                    90.32                 797.65
                            TIME OFF (Based on Policy Year)
                                                                                                                        TOTAL                                          2798.47               24557.31
                            DESCRIPTION     BEGBAL      CURR ACCRUECURR DEDUCT   AVAIL BAL   DEDUCTION                  DESCRIPTION                             THIS PERIOD ($)               YTD ($)
                            Sick           40.00 hrs       0.00 hrs   0.00 hrs   40.00 hrs
                            DESCRIPTION     BEGBAL      CURR ACCRUECURR DEDUCT   AVAIL BAL                              401k EE Pretax                                  750.00                6750.00
                            Vacation       76.99 hrs       6.16 hrs   0.00 hrs   83.15 hrs                              Medical Pre-tax                                  96.44                 867.96

                                                                                                                        TOTAL                                           846.44                7617.96




                                                                                              NET PAY                                                               THIS PERIOD ($)             YTD ($)
                                                                                                                                                                            4662.78            41209.33

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                                                                                 PHUONG TRINH
                                                                                 2128 W CHERRY DRIVE                                                          NON-NEGOTIABLE
                                                                                 ORANGE CA 92868




                                   NON-NEGOTIABLE




                            PERSONAL AND CHECK INFORMATION                                   EARNINGS        BASIS OF DESCRIPTION          HRS/UNITS       RATE THIS PERIOD ($) YTD HOURS     YTD ($)
                            Phuong Trinh                                                                       PAY
                            2128 W Cherry Drive                                                                       Salary                                           8307.69               65076.91
                            Orange, CA 92868                                                                            Total Hours
                            Soc Sec #: xxx-xx-xxxx           Employee ID: 1032                                          Gross Earnings                                 8307.69               65076.91
                                                                                                                        Total Hrs Worked
                            Home Department: 1 LPG CA                                        OTHER                      DESCRIPTION                             THIS PERIOD ($)               YTD ($)
                                                                                             Do not increase Net Pay
                            Pay Period: 03/28/22 to 04/10/22                                                            401k ER                                                               1453.84
                            Check Date: 04/15/22     Check #: 4169                           WITHHOLDIN                 DESCRIPTION        FILING STATUS        THIS PERIOD ($)               YTD ($)
                            NET PAY ALLOCATIONS                                              GS
                                                                                                                        Social Security                                 509.09                3986.93
                            DESCRIPTION                THIS PERIOD ($)             YTD ($)                              Medicare                                        119.06                 932.43
                            Check Amount                            0.00             0.00                               Fed Income Tax     SMS                         1467.89               11376.99
                            Chkg 643                             4662.79         36546.55                               CA Income Tax      SMI2 0 1                     612.10                4755.16
                            NET PAY                              4662.79         36546.55                               CA Disability                                    90.32                 707.33
                            TIME OFF (Based on Policy Year)
                                                                                                                        TOTAL                                          2798.46               21758.84
                            DESCRIPTION     BEGBAL      CURR ACCRUECURR DEDUCT   AVAIL BAL   DEDUCTION                  DESCRIPTION                             THIS PERIOD ($)               YTD ($)
                            Sick           40.00 hrs       0.00 hrs   0.00 hrs   40.00 hrs
                            DESCRIPTION     BEGBAL      CURR ACCRUECURR DEDUCT   AVAIL BAL                              401k EE Pretax                                  750.00                6000.00
                            Vacation       70.83 hrs       6.16 hrs   0.00 hrs   76.99 hrs                              Medical Pre-tax                                  96.44                 771.52

                                                                                                                        TOTAL                                           846.44                6771.52




                                                                                              NET PAY                                                               THIS PERIOD ($)             YTD ($)
                                                                                                                                                                            4662.79            36546.55

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                                                                                 PHUONG TRINH
                                                                                 2128 W CHERRY DRIVE                                                          NON-NEGOTIABLE
                                                                                 ORANGE CA 92868




                                   NON-NEGOTIABLE




                            PERSONAL AND CHECK INFORMATION                                   EARNINGS        BASIS OF DESCRIPTION          HRS/UNITS       RATE THIS PERIOD ($) YTD HOURS     YTD ($)
                            Phuong Trinh                                                                       PAY
                            2128 W Cherry Drive                                                                       Salary                                           8307.69               56769.22
                            Orange, CA 92868                                                                            Total Hours
                            Soc Sec #: xxx-xx-xxxx           Employee ID: 1032                                          Gross Earnings                                 8307.69               56769.22
                                                                                                                        Total Hrs Worked
                            Home Department: 1 LPG CA                                        OTHER                      DESCRIPTION                             THIS PERIOD ($)               YTD ($)
                                                                                             Do not increase Net Pay
                            Pay Period: 03/14/22 to 03/27/22                                                            401k ER                                                               1453.84
                            Check Date: 04/01/22     Check #: 3815                           WITHHOLDIN                 DESCRIPTION        FILING STATUS        THIS PERIOD ($)               YTD ($)
                            NET PAY ALLOCATIONS                                              GS
                                                                                                                        Social Security                                 509.10                3477.84
                            DESCRIPTION                THIS PERIOD ($)             YTD ($)                              Medicare                                        119.07                 813.37
                            Check Amount                            0.00             0.00                               Fed Income Tax     SMS                         1467.89                9909.10
                            Chkg 643                             4662.77         31883.76                               CA Income Tax      SMI2 0 1                     612.10                4143.06
                            NET PAY                              4662.77         31883.76                               CA Disability                                    90.32                 617.01
                            TIME OFF (Based on Policy Year)
                                                                                                                        TOTAL                                          2798.48               18960.38
                            DESCRIPTION     BEGBAL      CURR ACCRUECURR DEDUCT   AVAIL BAL   DEDUCTION                  DESCRIPTION                             THIS PERIOD ($)               YTD ($)
                            Sick           40.00 hrs       0.00 hrs   0.00 hrs   40.00 hrs
                            DESCRIPTION     BEGBAL      CURR ACCRUECURR DEDUCT   AVAIL BAL                              401k EE Pretax                                  750.00                5250.00
                            Vacation       64.67 hrs       6.16 hrs   0.00 hrs   70.83 hrs                              Medical Pre-tax                                  96.44                 675.08

                                                                                                                        TOTAL                                           846.44                5925.08




                                                                                              NET PAY                                                               THIS PERIOD ($)             YTD ($)
                                                                                                                                                                            4662.77            31883.76

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Payrolls by Paychex, Inc.




                                                                                 PHUONG TRINH
                                                                                 2128 W CHERRY DRIVE                                                          NON-NEGOTIABLE
                                                                                 ORANGE CA 92868




                                   NON-NEGOTIABLE




                            PERSONAL AND CHECK INFORMATION                                   EARNINGS        BASIS OF DESCRIPTION          HRS/UNITS       RATE THIS PERIOD ($) YTD HOURS     YTD ($)
                            Phuong Trinh                                                                       PAY
                            2128 W Cherry Drive                                                                       Salary                                           8307.69               48461.53
                            Orange, CA 92868                                                                            Total Hours
                            Soc Sec #: xxx-xx-xxxx           Employee ID: 1032                                          Gross Earnings                                 8307.69               48461.53
                                                                                                                        Total Hrs Worked
                            Home Department: 1 LPG CA                                        OTHER                      DESCRIPTION                             THIS PERIOD ($)               YTD ($)
                                                                                             Do not increase Net Pay
                            Pay Period: 02/28/22 to 03/13/22                                                            401k ER                                         249.23                1453.84
                            Check Date: 03/18/22     Check #: 3457                           WITHHOLDIN                 DESCRIPTION        FILING STATUS        THIS PERIOD ($)               YTD ($)
                            NET PAY ALLOCATIONS                                              GS
                                                                                                                        Social Security                                 509.10                2968.74
                            DESCRIPTION                THIS PERIOD ($)             YTD ($)                              Medicare                                        119.06                 694.30
                            Check Amount                            0.00             0.00                               Fed Income Tax     SMS                         1467.89                8441.21
                            Chkg 643                             4662.78         27220.99                               CA Income Tax      SMI2 0 1                     612.10                3530.96
                            NET PAY                              4662.78         27220.99                               CA Disability                                    90.32                 526.69
                            TIME OFF (Based on Policy Year)
                                                                                                                        TOTAL                                          2798.47               16161.90
                            DESCRIPTION     BEGBAL      CURR ACCRUECURR DEDUCT   AVAIL BAL   DEDUCTION                  DESCRIPTION                             THIS PERIOD ($)               YTD ($)
                            Sick           40.00 hrs       0.00 hrs   0.00 hrs   40.00 hrs
                            DESCRIPTION     BEGBAL      CURR ACCRUECURR DEDUCT   AVAIL BAL                              401k EE Pretax                                  750.00                4500.00
                            Vacation       61.59 hrs       3.08 hrs   0.00 hrs   64.67 hrs                              Medical Pre-tax                                  96.44                 578.64

                                                                                                                        TOTAL                                           846.44                5078.64




                                                                                              NET PAY                                                               THIS PERIOD ($)             YTD ($)
                                                                                                                                                                            4662.78            27220.99

                             Payrolls by Paychex, Inc.

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Payrolls by Paychex, Inc.




                                                                                 PHUONG TRINH
                                                                                 2128 W CHERRY DRIVE                                                          NON-NEGOTIABLE
                                                                                 ORANGE CA 92868




                                   NON-NEGOTIABLE




                            PERSONAL AND CHECK INFORMATION                                   EARNINGS        BASIS OF DESCRIPTION          HRS/UNITS       RATE THIS PERIOD ($) YTD HOURS     YTD ($)
                            Phuong Trinh                                                                       PAY
                            2128 W Cherry Drive                                                                       Salary                                           8307.69               40153.84
                            Orange, CA 92868                                                                            Total Hours
                            Soc Sec #: xxx-xx-xxxx           Employee ID: 1032                                          Gross Earnings                                 8307.69               40153.84
                                                                                                                        Total Hrs Worked
                            Home Department: 1 LPG CA                                        OTHER                      DESCRIPTION                             THIS PERIOD ($)               YTD ($)
                                                                                             Do not increase Net Pay
                            Pay Period: 02/14/22 to 02/27/22                                                            401k ER                                         249.23                1204.61
                            Check Date: 03/04/22     Check #: 3088                           WITHHOLDIN                 DESCRIPTION        FILING STATUS        THIS PERIOD ($)               YTD ($)
                            NET PAY ALLOCATIONS                                              GS
                                                                                                                        Social Security                                 509.10                2459.64
                            DESCRIPTION                THIS PERIOD ($)             YTD ($)                              Medicare                                        119.06                 575.24
                            Check Amount                            0.00             0.00                               Fed Income Tax     SMS                         1467.89                6973.32
                            Chkg 643                             4662.78         22558.21                               CA Income Tax      SMI2 0 1                     612.10                2918.86
                            NET PAY                              4662.78         22558.21                               CA Disability                                    90.32                 436.37
                            TIME OFF (Based on Policy Year)
                                                                                                                        TOTAL                                          2798.47               13363.43
                            DESCRIPTION     BEGBAL      CURR ACCRUECURR DEDUCT   AVAIL BAL   DEDUCTION                  DESCRIPTION                             THIS PERIOD ($)               YTD ($)
                            Sick           40.00 hrs       0.00 hrs   0.00 hrs   40.00 hrs
                            DESCRIPTION     BEGBAL      CURR ACCRUECURR DEDUCT   AVAIL BAL                              401k EE Pretax                                  750.00                3750.00
                            Vacation       58.51 hrs       3.08 hrs   0.00 hrs   61.59 hrs                              Medical Pre-tax                                  96.44                 482.20

                                                                                                                        TOTAL                                           846.44                4232.20




                                                                                              NET PAY                                                               THIS PERIOD ($)             YTD ($)
                                                                                                                                                                            4662.78            22558.21

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                                                                                 PHUONG TRINH
                                                                                 2128 W CHERRY DRIVE                                                          NON-NEGOTIABLE
                                                                                 ORANGE CA 92868




                                   NON-NEGOTIABLE




                            PERSONAL AND CHECK INFORMATION                                   EARNINGS        BASIS OF DESCRIPTION          HRS/UNITS       RATE THIS PERIOD ($) YTD HOURS     YTD ($)
                            Phuong Trinh                                                                       PAY
                            2128 W Cherry Drive                                                                       Salary                                           8307.69               31846.15
                            Orange, CA 92868                                                                            Total Hours
                            Soc Sec #: xxx-xx-xxxx           Employee ID: 1032                                          Gross Earnings                                 8307.69               31846.15
                                                                                                                        Total Hrs Worked
                            Home Department: 1 LPG CA                                        OTHER                      DESCRIPTION                             THIS PERIOD ($)               YTD ($)
                                                                                             Do not increase Net Pay
                            Pay Period: 01/31/22 to 02/13/22                                                            401k ER                                         249.23                 955.38
                            Check Date: 02/18/22     Check #: 2745                           WITHHOLDIN                 DESCRIPTION        FILING STATUS        THIS PERIOD ($)               YTD ($)
                            NET PAY ALLOCATIONS                                              GS
                                                                                                                        Social Security                                 509.09                1950.54
                            DESCRIPTION                THIS PERIOD ($)             YTD ($)                              Medicare                                        119.07                 456.18
                            Check Amount                            0.00             0.00                               Fed Income Tax     SMS                         1467.89                5505.43
                            Chkg 643                             4662.78         17895.43                               CA Income Tax      SMI2 0 1                     612.10                2306.76
                            NET PAY                              4662.78         17895.43                               CA Disability                                    90.32                 346.05
                            TIME OFF (Based on Policy Year)
                                                                                                                        TOTAL                                          2798.47               10564.96
                            DESCRIPTION     BEGBAL      CURR ACCRUECURR DEDUCT   AVAIL BAL   DEDUCTION                  DESCRIPTION                             THIS PERIOD ($)               YTD ($)
                            Sick           40.00 hrs       0.00 hrs   0.00 hrs   40.00 hrs
                            DESCRIPTION     BEGBAL      CURR ACCRUECURR DEDUCT   AVAIL BAL                              401k EE Pretax                                  750.00                3000.00
                            Vacation       55.43 hrs       3.08 hrs   0.00 hrs   58.51 hrs                              Medical Pre-tax                                  96.44                 385.76

                                                                                                                        TOTAL                                           846.44                3385.76




                                                                                              NET PAY                                                               THIS PERIOD ($)             YTD ($)
                                                                                                                                                                            4662.78            17895.43

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                                                                                 PHUONG TRINH
                                                                                 2128 W CHERRY DRIVE                                                          NON-NEGOTIABLE
                                                                                 ORANGE CA 92868




                                   NON-NEGOTIABLE




                            PERSONAL AND CHECK INFORMATION                                   EARNINGS        BASIS OF DESCRIPTION          HRS/UNITS       RATE THIS PERIOD ($) YTD HOURS     YTD ($)
                            Phuong Trinh                                                                       PAY
                            2128 W Cherry Drive                                                                       Salary                                           8307.69               23538.46
                            Orange, CA 92868                                                                            Total Hours
                            Soc Sec #: xxx-xx-xxxx           Employee ID: 1032                                          Gross Earnings                                 8307.69               23538.46
                                                                                                                        Total Hrs Worked
                            Home Department: 1 LPG CA                                        OTHER                      DESCRIPTION                             THIS PERIOD ($)               YTD ($)
                                                                                             Do not increase Net Pay
                            Pay Period: 01/17/22 to 01/30/22                                                            401k ER                                         249.23                 706.15
                            Check Date: 02/04/22     Check #: 2415                           WITHHOLDIN                 DESCRIPTION        FILING STATUS        THIS PERIOD ($)               YTD ($)
                            NET PAY ALLOCATIONS                                              GS
                                                                                                                        Social Security                                 509.10                1441.45
                            DESCRIPTION                THIS PERIOD ($)             YTD ($)                              Medicare                                        119.06                 337.11
                            Check Amount                            0.00             0.00                               Fed Income Tax     SMS                         1467.89                4037.54
                            Chkg 643                             4662.78         13232.65                               CA Income Tax      SMI2 0 1                     612.10                1694.66
                            NET PAY                              4662.78         13232.65                               CA Disability                                    90.32                 255.73
                            TIME OFF (Based on Policy Year)
                                                                                                                        TOTAL                                          2798.47                7766.49
                            DESCRIPTION     BEGBAL      CURR ACCRUECURR DEDUCT   AVAIL BAL   DEDUCTION                  DESCRIPTION                             THIS PERIOD ($)               YTD ($)
                            Sick           40.00 hrs       0.00 hrs   0.00 hrs   40.00 hrs
                            DESCRIPTION     BEGBAL      CURR ACCRUECURR DEDUCT   AVAIL BAL                              401k EE Pretax                                  750.00                2250.00
                            Vacation       52.35 hrs       3.08 hrs   0.00 hrs   55.43 hrs                              Medical Pre-tax                                  96.44                 289.32

                                                                                                                        TOTAL                                           846.44                2539.32




                                                                                              NET PAY                                                               THIS PERIOD ($)             YTD ($)
                                                                                                                                                                            4662.78            13232.65

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                                                                                 PHUONG TRINH
                                                                                 2128 W CHERRY DRIVE                                                          NON-NEGOTIABLE
                                                                                 ORANGE CA 92868




                                   NON-NEGOTIABLE




                            PERSONAL AND CHECK INFORMATION                                   EARNINGS        BASIS OF DESCRIPTION          HRS/UNITS       RATE THIS PERIOD ($) YTD HOURS     YTD ($)
                            Phuong Trinh                                                                       PAY
                            2128 W Cherry Drive                                                                       Salary                                           8307.69               15230.77
                            Orange, CA 92868                                                                            Total Hours
                            Soc Sec #: xxx-xx-xxxx           Employee ID: 1032                                          Gross Earnings                                 8307.69               15230.77
                                                                                                                        Total Hrs Worked
                            Home Department: 1 LPG CA                                        OTHER                      DESCRIPTION                             THIS PERIOD ($)               YTD ($)
                                                                                             Do not increase Net Pay
                            Pay Period: 01/03/22 to 01/16/22                                                            401k ER                                         249.23                 456.92
                            Check Date: 01/21/22     Check #: 2075                           WITHHOLDIN                 DESCRIPTION        FILING STATUS        THIS PERIOD ($)               YTD ($)
                            NET PAY ALLOCATIONS                                              GS
                                                                                                                        Social Security                                 509.10                 932.35
                            DESCRIPTION                THIS PERIOD ($)             YTD ($)                              Medicare                                        119.06                 218.05
                            Check Amount                            0.00             0.00                               Fed Income Tax     SMS                         1467.89                2569.65
                            Chkg 643                             4662.78          8569.87                               CA Income Tax      SMI2 0 1                     612.10                1082.56
                            NET PAY                              4662.78          8569.87                               CA Disability                                    90.32                 165.41
                            TIME OFF (Based on Policy Year)
                                                                                                                        TOTAL                                          2798.47                4968.02
                            DESCRIPTION     BEGBAL      CURR ACCRUECURR DEDUCT   AVAIL BAL   DEDUCTION                  DESCRIPTION                             THIS PERIOD ($)               YTD ($)
                            Sick           40.00 hrs       0.00 hrs   0.00 hrs   40.00 hrs
                            DESCRIPTION     BEGBAL      CURR ACCRUECURR DEDUCT   AVAIL BAL                              401k EE Pretax                                  750.00                1500.00
                            Vacation       49.27 hrs       3.08 hrs   0.00 hrs   52.35 hrs                              Medical Pre-tax                                  96.44                 192.88

                                                                                                                        TOTAL                                           846.44                1692.88




                                                                                              NET PAY                                                               THIS PERIOD ($)             YTD ($)
                                                                                                                                                                            4662.78             8569.87

                             Payrolls by Paychex, Inc.

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                                                                         PHUONG TRINH
                                                                         2128 W CHERRY DRIVE                                                               NON-NEGOTIABLE
                                                                         ORANGE CA 92868




                                NON-NEGOTIABLE




                            PERSONAL AND CHECK INFORMATION                             EARNINGS        BASIS OF DESCRIPTION          HRS/UNITS       RATE THIS PERIOD ($) YTD HOURS     YTD ($)
                            Phuong Trinh                                                                 PAY
                            2128 W Cherry Drive                                                                 Salary                                            -8307.69              6923.08
                            Orange, CA 92868                                                                      Total Hours
                            Soc Sec #: xxx-xx-xxxx       Employee ID: 1032                                        Gross Earnings                                  -8307.69              6923.08
                                                                                                                  Total Hrs Worked
                            Home Department: 1 LPG CA                                  OTHER                      DESCRIPTION                              THIS PERIOD ($)              YTD ($)
                                                                                       Do not increase Net Pay
                            Pay Period: 01/03/22 to 01/16/22                                                      401k ER                                          -249.23               207.69
                            Check Date: 01/21/22     Check #: 1750                     WITHHOLDIN                 DESCRIPTION        FILING STATUS         THIS PERIOD ($)              YTD ($)
                                                              (VOID)                   GS
                                                                                                                  Social Security    Override $-509.10             -509.10               423.25
                                                                                                                  Medicare           Override $-119.06             -119.06                98.99
                            NET PAY ALLOCATIONS                                                                   Fed Income Tax     Override $-1,467.89          -1467.89              1101.76
                                                                                                                  CA Income Tax      Override $-612.10             -612.10               470.46
                            DESCRIPTION            THIS PERIOD ($)           YTD ($)                              CA Disability      Override $-90.32               -90.32                75.09
                            Check Amount                       0.00             0.00
                            Chkg 643                       -4662.78          3907.09                              TOTAL                                           -2798.47              2169.55
                            NET PAY                        -4662.78          3907.09 DEDUCTION                    DESCRIPTION                              THIS PERIOD ($)              YTD ($)

                                                                                                                  401k EE Pretax                                   -750.00               750.00
                                                                                                                  Medical Pre-tax                                   -96.44                96.44

                                                                                                                  TOTAL                                            -846.44               846.44




                                                                                        NET PAY                                                                THIS PERIOD ($)            YTD ($)
                                                                                                                                                                      -4662.78            3907.09

                             Payrolls by Paychex, Inc.

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                                                                                 PHUONG TRINH
                                                                                 2128 W CHERRY DRIVE                                                          NON-NEGOTIABLE
                                                                                 ORANGE CA 92868




                                   NON-NEGOTIABLE




                            PERSONAL AND CHECK INFORMATION                                   EARNINGS        BASIS OF DESCRIPTION          HRS/UNITS       RATE THIS PERIOD ($) YTD HOURS     YTD ($)
                            Phuong Trinh                                                                       PAY
                            2128 W Cherry Drive                                                                       Salary                                           8307.69               15230.77
                            Orange, CA 92868                                                                            Total Hours
                            Soc Sec #: xxx-xx-xxxx           Employee ID: 1032                                          Gross Earnings                                 8307.69               15230.77
                                                                                                                        Total Hrs Worked
                            Home Department: 1 LPG CA                                        OTHER                      DESCRIPTION                             THIS PERIOD ($)               YTD ($)
                                                                                             Do not increase Net Pay
                            Pay Period: 01/03/22 to 01/16/22                                                            401k ER                                         249.23                 456.92
                            Check Date: 01/21/22     Check #: 1750                           WITHHOLDIN                 DESCRIPTION        FILING STATUS        THIS PERIOD ($)               YTD ($)
                            NET PAY ALLOCATIONS                                              GS
                                                                                                                        Social Security                                 509.10                 932.35
                            DESCRIPTION                THIS PERIOD ($)             YTD ($)                              Medicare                                        119.06                 218.05
                            Check Amount                            0.00             0.00                               Fed Income Tax     SMS                         1467.89                2569.65
                            Chkg 643                             4662.78          8569.87                               CA Income Tax      SMI2 0 1                     612.10                1082.56
                            NET PAY                              4662.78          8569.87                               CA Disability                                    90.32                 165.41
                            TIME OFF (Based on Policy Year)
                                                                                                                        TOTAL                                          2798.47                4968.02
                            DESCRIPTION     BEGBAL      CURR ACCRUECURR DEDUCT   AVAIL BAL   DEDUCTION                  DESCRIPTION                             THIS PERIOD ($)               YTD ($)
                            Sick           40.00 hrs       0.00 hrs   0.00 hrs   40.00 hrs
                            DESCRIPTION     BEGBAL      CURR ACCRUECURR DEDUCT   AVAIL BAL                              401k EE Pretax                                  750.00                1500.00
                            Vacation       49.27 hrs       3.08 hrs   0.00 hrs   52.35 hrs                              Medical Pre-tax                                  96.44                 192.88

                                                                                                                        TOTAL                                           846.44                1692.88




                                                                                              NET PAY                                                               THIS PERIOD ($)             YTD ($)
                                                                                                                                                                            4662.78             8569.87

                             Payrolls by Paychex, Inc.

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                                                                                 PHUONG TRINH
                                                                                 2128 W CHERRY DRIVE                                                          NON-NEGOTIABLE
                                                                                 ORANGE CA 92868




                                   NON-NEGOTIABLE




                            PERSONAL AND CHECK INFORMATION                                   EARNINGS        BASIS OF DESCRIPTION          HRS/UNITS       RATE THIS PERIOD ($) YTD HOURS    YTD ($)
                            Phuong Trinh                                                                       PAY
                            2128 W Cherry Drive                                                                       Salary                                           6923.08               6923.08
                            Orange, CA 92868                                                                            Total Hours
                            Soc Sec #: xxx-xx-xxxx           Employee ID: 1032                                          Gross Earnings                                 6923.08               6923.08
                                                                                                                        Total Hrs Worked
                            Home Department: 1 LPG CA                                        OTHER                      DESCRIPTION                             THIS PERIOD ($)              YTD ($)
                                                                                             Do not increase Net Pay
                            Pay Period: 12/20/21 to 01/02/22                                                            401k ER                                         207.69                207.69
                            Check Date: 01/07/22     Check #: 1425                           WITHHOLDIN                 DESCRIPTION        FILING STATUS        THIS PERIOD ($)              YTD ($)
                            NET PAY ALLOCATIONS                                              GS
                                                                                                                        Social Security                                 423.25                423.25
                            DESCRIPTION                THIS PERIOD ($)             YTD ($)                              Medicare                                         98.99                 98.99
                            Check Amount                            0.00             0.00                               Fed Income Tax     SMS                         1101.76               1101.76
                            Chkg 643                             3907.09          3907.09                               CA Income Tax      SMI2 0 1                     470.46                470.46
                            NET PAY                              3907.09          3907.09                               CA Disability                                    75.09                 75.09
                            TIME OFF (Based on Policy Year)
                                                                                                                        TOTAL                                          2169.55               2169.55
                            DESCRIPTION     BEGBAL      CURR ACCRUECURR DEDUCT   AVAIL BAL   DEDUCTION                  DESCRIPTION                             THIS PERIOD ($)              YTD ($)
                            Sick           40.00 hrs       1.54 hrs   0.00 hrs   1.54 hrs
                            DESCRIPTION     BEGBAL      CURR ACCRUECURR DEDUCT   AVAIL BAL                              401k EE Pretax                                  750.00                750.00
                            Vacation       46.19 hrs       3.08 hrs   0.00 hrs   49.27 hrs                              Medical Pre-tax                                  96.44                 96.44

                                                                                                                        TOTAL                                           846.44                846.44




                                                                                              NET PAY                                                               THIS PERIOD ($)            YTD ($)
                                                                                                                                                                            3907.09            3907.09

                             Payrolls by Paychex, Inc.

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                                                                                 PHUONG TRINH
                                                                                 2128 W CHERRY DRIVE                                                           NON-NEGOTIABLE
                                                                                 ORANGE CA 92868




                                   NON-NEGOTIABLE




                            PERSONAL AND CHECK INFORMATION                                    EARNINGS        BASIS OF DESCRIPTION          HRS/UNITS       RATE THIS PERIOD ($) YTD HOURS      YTD ($)
                            Phuong Trinh                                                                        PAY
                            2128 W Cherry Drive                                                                        Regular                                                                  71769.26
                            Orange, CA 92868                                                                           Salary                                           6923.08                 90000.04
                            Soc Sec #: xxx-xx-xxxx           Employee ID: 1032                                           Total Hours
                                                                                                                         Gross Earnings                                 6923.08               161769.30
                            Home Department: 1 LPG CA                                                                    Total Hrs Worked
                                                                                              OTHER                      DESCRIPTION                             THIS PERIOD ($)                YTD ($)
                            Pay Period: 12/06/21 to 12/19/21                                  Do not increase Net Pay
                            Check Date: 12/24/21     Check #: 1103                                                       401k ER                                         207.69                 1038.45
                            NET PAY ALLOCATIONS                                               WITHHOLDIN                 DESCRIPTION        FILING STATUS        THIS PERIOD ($)                YTD ($)
                                                                                              GS
                            DESCRIPTION                THIS PERIOD ($)              YTD ($)                              Social Security                                                        8853.60
                            Check Amount                            0.00          47377.49                               Medicare                                         98.99                 2327.97
                            Chkg 643                             4388.25          55604.04                               Fed Income Tax     SMS                         1112.59                28263.98
                            NET PAY                              4388.25         102981.53                               CA Income Tax      SMI2 0 1                     476.81                12082.75
                            TIME OFF (Based on Policy Year)                                                              CA Disability                                                          1539.58

                            DESCRIPTION     BEGBAL      CURR ACCRUECURR DEDUCT    AVAIL BAL                              TOTAL                                          1688.39                53067.88
                            Sick           40.00 hrs       0.00 hrs   0.00 hrs    40.00 hrs   DEDUCTION                  DESCRIPTION                             THIS PERIOD ($)                YTD ($)
                            DESCRIPTION     BEGBAL      CURR ACCRUECURR DEDUCT    AVAIL BAL
                            Vacation       43.11 hrs       3.08 hrs   0.00 hrs    46.19 hrs                              401k EE Pretax                                  750.00                 4500.00
                                                                                                                         Medical Pre-tax                                  96.44                 1219.89

                                                                                                                         TOTAL                                           846.44                 5719.89




                                                                                               NET PAY                                                               THIS PERIOD ($)               YTD ($)
                                                                                                                                                                             4388.25            102981.53

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                                                                                 PHUONG TRINH
                                                                                 2128 W CHERRY DRIVE                                                      NON-NEGOTIABLE
                                                                                 ORANGE CA 92868




                                   NON-NEGOTIABLE




                            PERSONAL AND CHECK INFORMATION                                    EARNINGS            DESCRIPTION        HRS/UNITS       RATE THIS PERIOD ($) YTD HOURS       YTD ($)
                            Phuong Trinh
                            2128 W Cherry Drive                                                                   Regular                                                               71769.26
                            Orange, CA 92868                                                                      Salary                                         6923.08                83076.96
                            Soc Sec #: xxx-xx-xxxx           Employee ID: 1032                                    Total Hours
                                                                                                                  Gross Earnings                                 6923.08                154846.22
                            Home Department: 1 LPG CA                                                             Total Hrs Worked
                                                                                              OTHER ITEMS            DESCRIPTION                          THIS PERIOD ($)                 YTD ($)
                            Pay Period: 11/22/21 to 12/05/21                                  Do not increase Net Pay
                            Check Date: 12/10/21     Check #: 5819                                                401k ER                                         207.69                   830.76
                            NET PAY ALLOCATIONS                                               WITHHOLDINGS        DESCRIPTION        FILING STATUS        THIS PERIOD ($)                 YTD ($)

                            DESCRIPTION                THIS PERIOD ($)             YTD ($)                        Social Security                                                         8853.60
                            Check Amount                            0.00         47377.49                         Medicare                                         98.99                  2228.98
                            Chkg 643                             4388.25         51215.79                         Fed Income Tax     SMS                         1112.59                 27151.39
                            NET PAY                              4388.25         98593.28                         CA Income Tax      SMI2 0 1                     476.81                 11605.94
                            TIME OFF (Based on Policy Year)                                                       CA Disability                                                           1539.58

                            DESCRIPTION     BEGBAL      CURR ACCRUECURR DEDUCT   AVAIL BAL                        TOTAL                                          1688.39                 51379.49
                            Sick           40.00 hrs       0.00 hrs   0.00 hrs   40.00 hrs    DEDUCTIONS          DESCRIPTION                             THIS PERIOD ($)                 YTD ($)
                            DESCRIPTION     BEGBAL      CURR ACCRUECURR DEDUCT   AVAIL BAL
                            Vacation       40.03 hrs       3.08 hrs   0.00 hrs   43.11 hrs                        401k EE Pretax                                  750.00                  3750.00
                                                                                                                  Medical Pre-tax                                  96.44                  1123.45

                                                                                                                  TOTAL                                           846.44                  4873.45




                                                                                              NET PAY                                                          THIS PERIOD ($)             YTD ($)
                                                                                                                                                                       4388.25            98593.28

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                                                                                 PHUONG TRINH
                                                                                 2128 W CHERRY DRIVE                                                      NON-NEGOTIABLE
                                                                                 ORANGE CA 92868




                                   NON-NEGOTIABLE




                            PERSONAL AND CHECK INFORMATION                                    EARNINGS            DESCRIPTION        HRS/UNITS       RATE THIS PERIOD ($) YTD HOURS       YTD ($)
                            Phuong Trinh
                            2128 W Cherry Drive                                                                   Regular                                                               71769.26
                            Orange, CA 92868                                                                      Salary                                         6923.08                76153.88
                            Soc Sec #: xxx-xx-xxxx           Employee ID: 1032                                    Total Hours
                                                                                                                  Gross Earnings                                 6923.08                147923.14
                            Home Department: 1 LPG CA                                                             Total Hrs Worked
                                                                                              OTHER ITEMS            DESCRIPTION                          THIS PERIOD ($)                 YTD ($)
                            Pay Period: 11/08/21 to 11/21/21                                  Do not increase Net Pay
                            Check Date: 11/26/21     Check #: 5497                                                401k ER                                         207.69                   623.07
                            NET PAY ALLOCATIONS                                               WITHHOLDINGS        DESCRIPTION        FILING STATUS        THIS PERIOD ($)                 YTD ($)

                            DESCRIPTION                THIS PERIOD ($)             YTD ($)                        Social Security                                 169.29                  8853.60
                            Check Amount                            0.00         47377.49                         Medicare                                         98.98                  2129.99
                            Chkg 643                             4218.97         46827.54                         Fed Income Tax     SMS                         1112.59                 26038.80
                            NET PAY                              4218.97         94205.03                         CA Income Tax      SMI2 0 1                     476.81                 11129.13
                            TIME OFF (Based on Policy Year)                                                       CA Disability                                                           1539.58

                            DESCRIPTION     BEGBAL      CURR ACCRUECURR DEDUCT   AVAIL BAL                        TOTAL                                          1857.67                 49691.10
                            Sick           40.00 hrs       0.00 hrs   0.00 hrs   40.00 hrs    DEDUCTIONS          DESCRIPTION                             THIS PERIOD ($)                 YTD ($)
                            DESCRIPTION     BEGBAL      CURR ACCRUECURR DEDUCT   AVAIL BAL
                            Vacation       38.49 hrs       1.54 hrs   0.00 hrs   40.03 hrs                        401k EE Pretax                                  750.00                  3000.00
                                                                                                                  Medical Pre-tax                                  96.44                  1027.01

                                                                                                                  TOTAL                                           846.44                  4027.01




                                                                                              NET PAY                                                          THIS PERIOD ($)             YTD ($)
                                                                                                                                                                       4218.97            94205.03

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                                                                                 PHUONG TRINH
                                                                                 2128 W CHERRY DRIVE                                                      NON-NEGOTIABLE
                                                                                 ORANGE CA 92868




                                   NON-NEGOTIABLE




                            PERSONAL AND CHECK INFORMATION                                    EARNINGS            DESCRIPTION        HRS/UNITS       RATE THIS PERIOD ($) YTD HOURS       YTD ($)
                            Phuong Trinh
                            2128 W Cherry Drive                                                                   Regular                                                               71769.26
                            Orange, CA 92868                                                                      Salary                                         6923.08                69230.80
                            Soc Sec #: xxx-xx-xxxx           Employee ID: 1032                                    Total Hours
                                                                                                                  Gross Earnings                                 6923.08                141000.06
                            Home Department: 1 LPG CA                                                             Total Hrs Worked
                                                                                              OTHER ITEMS            DESCRIPTION                          THIS PERIOD ($)                 YTD ($)
                            Pay Period: 10/25/21 to 11/07/21                                  Do not increase Net Pay
                            Check Date: 11/12/21     Check #: 5202                                                401k ER                                         207.69                   415.38
                            NET PAY ALLOCATIONS                                               WITHHOLDINGS        DESCRIPTION        FILING STATUS        THIS PERIOD ($)                 YTD ($)

                            DESCRIPTION                THIS PERIOD ($)             YTD ($)                        Social Security                                 423.25                  8684.31
                            Check Amount                            0.00         47377.49                         Medicare                                         98.99                  2031.01
                            Chkg 643                             3965.00         42608.57                         Fed Income Tax     SMS                         1112.59                 24926.21
                            NET PAY                              3965.00         89986.06                         CA Income Tax      SMI2 0 1                     476.81                 10652.32
                            TIME OFF (Based on Policy Year)                                                       CA Disability                                                           1539.58

                            DESCRIPTION     BEGBAL      CURR ACCRUECURR DEDUCT   AVAIL BAL                        TOTAL                                          2111.64                 47833.43
                            Sick           40.00 hrs       0.00 hrs   0.00 hrs   40.00 hrs    DEDUCTIONS          DESCRIPTION                             THIS PERIOD ($)                 YTD ($)
                            DESCRIPTION     BEGBAL      CURR ACCRUECURR DEDUCT   AVAIL BAL
                            Vacation       36.95 hrs       1.54 hrs   0.00 hrs   38.49 hrs                        401k EE Pretax                                  750.00                  2250.00
                                                                                                                  Medical Pre-tax                                  96.44                   930.57

                                                                                                                  TOTAL                                           846.44                  3180.57




                                                                                              NET PAY                                                          THIS PERIOD ($)             YTD ($)
                                                                                                                                                                       3965.00            89986.06

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                                                                                 PHUONG TRINH
                                                                                 2128 W CHERRY DRIVE                                                      NON-NEGOTIABLE
                                                                                 ORANGE CA 92868




                                   NON-NEGOTIABLE




                            PERSONAL AND CHECK INFORMATION                                    EARNINGS            DESCRIPTION        HRS/UNITS       RATE THIS PERIOD ($) YTD HOURS       YTD ($)
                            Phuong Trinh
                            2128 W Cherry Drive                                                                   Regular                                                               71769.26
                            Orange, CA 92868                                                                      Salary                                         6923.08                62307.72
                            Soc Sec #: xxx-xx-xxxx           Employee ID: 1032                                    Total Hours
                                                                                                                  Gross Earnings                                 6923.08                134076.98
                                                                                                                  Total Hrs Worked
                            Pay Period: 10/11/21 to 10/24/21                                  OTHER ITEMS            DESCRIPTION                          THIS PERIOD ($)                 YTD ($)
                            Check Date: 10/29/21     Check #: 859                             Do not increase Net Pay
                            NET PAY ALLOCATIONS                                                                   401k ER                                         207.69                   207.69
                                                                                              WITHHOLDINGS        DESCRIPTION        FILING STATUS        THIS PERIOD ($)                 YTD ($)
                            DESCRIPTION                THIS PERIOD ($)             YTD ($)
                            Check Amount                            0.00         47377.49                         Social Security                                 423.25                  8261.06
                            Chkg 643                             3942.40         38643.57                         Medicare                                         98.98                  1932.02
                            NET PAY                              3942.40         86021.06                         Fed Income Tax     SMS                         1112.59                 23813.62
                            TIME OFF (Based on Policy Year)                                                       CA Income Tax      SMI2 0 1                     476.81                 10175.51
                                                                                                                  CA Disability                                    22.61                  1539.58
                            DESCRIPTION     BEGBAL      CURR ACCRUECURR DEDUCT   AVAIL BAL
                            Sick           40.00 hrs       0.00 hrs   0.00 hrs   40.00 hrs                        TOTAL                                          2134.24                 45721.79
                            DESCRIPTION     BEGBAL      CURR ACCRUECURR DEDUCT   AVAIL BAL    DEDUCTIONS          DESCRIPTION                             THIS PERIOD ($)                 YTD ($)
                            Vacation       35.41 hrs       1.54 hrs   0.00 hrs   36.95 hrs
                                                                                                                  401k EE Pretax                                  750.00                  1500.00
                                                                                                                  Medical Pre-tax                                  96.44                   834.13

                                                                                                                  TOTAL                                           846.44                  2334.13




                                                                                              NET PAY                                                          THIS PERIOD ($)             YTD ($)
                                                                                                                                                                       3942.40            86021.06

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                                                                                 PHUONG TRINH
                                                                                 2128 W CHERRY DRIVE                                                 NON-NEGOTIABLE
                                                                                 ORANGE CA 92868




                                   NON-NEGOTIABLE




                            PERSONAL AND CHECK INFORMATION                                    EARNINGS       DESCRIPTION        HRS/UNITS       RATE THIS PERIOD ($) YTD HOURS     YTD ($)
                            Phuong Trinh
                            2128 W Cherry Drive                                                              Regular                                                             71769.26
                            Orange, CA 92868                                                                 Salary                                         6923.08              55384.64
                            Soc Sec #: xxx-xx-xxxx           Employee ID: 1032                               Total Hours
                                                                                                             Gross Earnings                                 6923.08              127153.90
                                                                                                             Total Hrs Worked
                            Pay Period: 09/27/21 to 10/10/21                                  WITHHOLDINGS   DESCRIPTION        FILING STATUS        THIS PERIOD ($)               YTD ($)
                            Check Date: 10/15/21     Check #: 581
                            NET PAY ALLOCATIONS                                                              Social Security                                 423.26                7837.81
                                                                                                             Medicare                                         98.99                1833.04
                            DESCRIPTION                THIS PERIOD ($)             YTD ($)                   Fed Income Tax     SMS                         1112.59               22701.03
                            Check Amount                            0.00         47377.49                    CA Income Tax      SMI2 0 1                     476.81                9698.70
                            Chkg 643                             3883.07         34701.17                    CA Disability                                    81.92                1516.97
                            NET PAY                              3883.07         82078.66
                            TIME OFF (Based on Policy Year)                                                  TOTAL                                          2193.57               43587.55
                                                                                              DEDUCTIONS     DESCRIPTION                             THIS PERIOD ($)               YTD ($)
                            DESCRIPTION     BEGBAL      CURR ACCRUECURR DEDUCT   AVAIL BAL
                            Sick           40.00 hrs       0.00 hrs   0.00 hrs   40.00 hrs                   401k EE Pretax                                   750.00                750.00
                            DESCRIPTION     BEGBAL      CURR ACCRUECURR DEDUCT   AVAIL BAL                   Medical Pre-tax                                   96.44                737.69
                            Vacation       33.87 hrs       1.54 hrs   0.00 hrs   35.41 hrs
                                                                                                             TOTAL                                            846.44               1487.69




                                                                                              NET PAY                                                THIS PERIOD ($)                YTD ($)
                                                                                                                                                            3883.07                82078.66

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                                                                                 PHUONG TRINH
                                                                                 2128 W CHERRY DRIVE                                                 NON-NEGOTIABLE
                                                                                 ORANGE CA 92868




                                   NON-NEGOTIABLE




                            PERSONAL AND CHECK INFORMATION                                    EARNINGS       DESCRIPTION        HRS/UNITS       RATE THIS PERIOD ($) YTD HOURS     YTD ($)
                            Phuong Trinh
                            2128 W Cherry Drive                                                              Regular                                                             71769.26
                            Orange, CA 92868                                                                 Salary                                         6923.08              48461.56
                            Soc Sec #: xxx-xx-xxxx           Employee ID: 1032                               Total Hours
                                                                                                             Gross Earnings                                 6923.08              120230.82
                                                                                                             Total Hrs Worked
                            Pay Period: 09/13/21 to 09/26/21                                  WITHHOLDINGS   DESCRIPTION        FILING STATUS        THIS PERIOD ($)               YTD ($)
                            Check Date: 10/01/21     Check #: 366
                            NET PAY ALLOCATIONS                                                              Social Security                                 426.58                7414.55
                                                                                                             Medicare                                         99.77                1734.05
                            DESCRIPTION                THIS PERIOD ($)             YTD ($)                   Fed Income Tax     SMS                         1309.82               21588.44
                            Check Amount                            0.00         47377.49                    CA Income Tax      SMI2 0 1                     559.02                9221.89
                            Chkg 643                             4402.58         30818.10                    CA Disability                                    82.56                1435.05
                            NET PAY                              4402.58         78195.59
                            TIME OFF (Based on Policy Year)                                                  TOTAL                                          2477.75               41393.98
                                                                                              DEDUCTIONS     DESCRIPTION                             THIS PERIOD ($)               YTD ($)
                            DESCRIPTION     BEGBAL      CURR ACCRUECURR DEDUCT   AVAIL BAL
                            Sick           40.00 hrs       0.00 hrs   0.00 hrs   40.00 hrs                   Medical Pre-tax                                   42.75                641.25
                            DESCRIPTION     BEGBAL      CURR ACCRUECURR DEDUCT   AVAIL BAL
                            Vacation       32.33 hrs       1.54 hrs   0.00 hrs   33.87 hrs                   TOTAL                                             42.75                641.25




                                                                                              NET PAY                                                THIS PERIOD ($)                YTD ($)
                                                                                                                                                            4402.58                78195.59

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                                                                                 PHUONG TRINH
                                                                                 2128 W CHERRY DRIVE                                                 NON-NEGOTIABLE
                                                                                 ORANGE CA 92868




                                   NON-NEGOTIABLE




                            PERSONAL AND CHECK INFORMATION                                    EARNINGS       DESCRIPTION        HRS/UNITS       RATE THIS PERIOD ($) YTD HOURS     YTD ($)
                            Phuong Trinh
                            2128 W Cherry Drive                                                              Regular                                                             71769.26
                            Orange, CA 92868                                                                 Salary                                         6923.08              41538.48
                            Soc Sec #: xxx-xx-xxxx           Employee ID: 1032                               Total Hours
                                                                                                             Gross Earnings                                 6923.08              113307.74
                                                                                                             Total Hrs Worked
                            Pay Period: 08/30/21 to 09/12/21                                  WITHHOLDINGS   DESCRIPTION        FILING STATUS        THIS PERIOD ($)               YTD ($)
                            Check Date: 09/17/21     Check #: 165
                            NET PAY ALLOCATIONS                                                              Social Security                                 426.58                6987.97
                                                                                                             Medicare                                         99.76                1634.28
                            DESCRIPTION                THIS PERIOD ($)             YTD ($)                   Fed Income Tax     SMS                         1309.82               20278.62
                            Check Amount                            0.00         47377.49                    CA Income Tax      SMI2 0 1                     559.02                8662.87
                            Chkg 643                             4402.59         26415.52                    CA Disability                                    82.56                1352.49
                            NET PAY                              4402.59         73793.01
                            TIME OFF (Based on Policy Year)                                                  TOTAL                                          2477.74               38916.23
                                                                                              DEDUCTIONS     DESCRIPTION                             THIS PERIOD ($)               YTD ($)
                            DESCRIPTION     BEGBAL      CURR ACCRUECURR DEDUCT   AVAIL BAL
                            Sick           40.00 hrs       0.00 hrs   0.00 hrs   40.00 hrs                   Medical Pre-tax                                   42.75                598.50
                            DESCRIPTION     BEGBAL      CURR ACCRUECURR DEDUCT   AVAIL BAL
                            Vacation       30.79 hrs       1.54 hrs   0.00 hrs   32.33 hrs                   TOTAL                                             42.75                598.50




                                                                                              NET PAY                                                THIS PERIOD ($)                YTD ($)
                                                                                                                                                            4402.59                73793.01

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                                                                                 PHUONG TRINH
                                                                                 2128 W CHERRY DRIVE                                                 NON-NEGOTIABLE
                                                                                 ORANGE CA 92868




                                   NON-NEGOTIABLE




                            PERSONAL AND CHECK INFORMATION                                    EARNINGS       DESCRIPTION        HRS/UNITS       RATE THIS PERIOD ($) YTD HOURS     YTD ($)
                            Phuong Trinh
                            2128 W Cherry Drive                                                              Regular                                                             71769.26
                            Orange, CA 92868                                                                 Salary                                         6923.08              34615.40
                            Soc Sec #: xxx-xx-xxxx           Employee ID: 1032                               Total Hours
                                                                                                             Gross Earnings                                 6923.08              106384.66
                                                                                                             Total Hrs Worked
                            Pay Period: 08/16/21 to 08/29/21                                  WITHHOLDINGS   DESCRIPTION        FILING STATUS        THIS PERIOD ($)               YTD ($)
                            Check Date: 09/03/21     Check #: 10887
                            NET PAY ALLOCATIONS                                                              Social Security                                 426.58                6561.39
                                                                                                             Medicare                                         99.77                1534.52
                            DESCRIPTION                THIS PERIOD ($)             YTD ($)                   Fed Income Tax     SMS                         1309.82               18968.80
                            Check Amount                            0.00         47377.49                    CA Income Tax      SMI2 0 1                     559.02                8103.85
                            Chkg 643                             4402.58         22012.93                    CA Disability                                    82.56                1269.93
                            NET PAY                              4402.58         69390.42
                            TIME OFF (Based on Policy Year)                                                  TOTAL                                          2477.75               36438.49
                                                                                              DEDUCTIONS     DESCRIPTION                             THIS PERIOD ($)               YTD ($)
                            DESCRIPTION     BEGBAL      CURR ACCRUECURR DEDUCT   AVAIL BAL
                            Sick           40.00 hrs       0.00 hrs   0.00 hrs   40.00 hrs                   Medical Pre-tax                                   42.75                555.75
                            DESCRIPTION     BEGBAL      CURR ACCRUECURR DEDUCT   AVAIL BAL
                            Vacation       29.25 hrs       1.54 hrs   0.00 hrs   30.79 hrs                   TOTAL                                             42.75                555.75




                                                                                              NET PAY                                                THIS PERIOD ($)                YTD ($)
                                                                                                                                                            4402.58                69390.42

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                                                                                                                                                                                            Payrolls by Paychex, Inc.
                                   17542 17th St Ste 100                                     Main
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                                   Tustin CA 92780-1981
Payrolls by Paychex, Inc.




                                                                                 PHUONG TRINH
                                                                                 2128 W CHERRY DRIVE                                                 NON-NEGOTIABLE
                                                                                 ORANGE CA 92868




                                   NON-NEGOTIABLE




                            PERSONAL AND CHECK INFORMATION                                    EARNINGS       DESCRIPTION        HRS/UNITS       RATE THIS PERIOD ($) YTD HOURS    YTD ($)
                            Phuong Trinh
                            2128 W Cherry Drive                                                              Regular                                                             71769.26
                            Orange, CA 92868                                                                 Salary                                         6923.08              27692.32
                            Soc Sec #: xxx-xx-xxxx           Employee ID: 1032                               Total Hours
                                                                                                             Gross Earnings                                 6923.08              99461.58
                                                                                                             Total Hrs Worked
                            Pay Period: 08/02/21 to 08/15/21                                  WITHHOLDINGS   DESCRIPTION        FILING STATUS        THIS PERIOD ($)              YTD ($)
                            Check Date: 08/20/21     Check #: 10697
                            NET PAY ALLOCATIONS                                                              Social Security                                 426.58               6134.81
                                                                                                             Medicare                                         99.76               1434.75
                            DESCRIPTION                THIS PERIOD ($)             YTD ($)                   Fed Income Tax     SMS                         1309.82              17658.98
                            Check Amount                            0.00         47377.49                    CA Income Tax      SMI2 0 1                     559.02               7544.83
                            Chkg 643                             4402.59         17610.35                    CA Disability                                    82.56               1187.37
                            NET PAY                              4402.59         64987.84
                            TIME OFF (Based on Policy Year)                                                  TOTAL                                          2477.74              33960.74
                                                                                              DEDUCTIONS     DESCRIPTION                             THIS PERIOD ($)              YTD ($)
                            DESCRIPTION     BEGBAL      CURR ACCRUECURR DEDUCT   AVAIL BAL
                            Sick           40.00 hrs       0.00 hrs   0.00 hrs   40.00 hrs                   Medical Pre-tax                                   42.75               513.00
                            DESCRIPTION     BEGBAL      CURR ACCRUECURR DEDUCT   AVAIL BAL
                            Vacation       29.25 hrs       1.54 hrs   0.00 hrs   29.25 hrs                   TOTAL                                             42.75               513.00




                                                                                              NET PAY                                                THIS PERIOD ($)               YTD ($)
                                                                                                                                                            4402.59               64987.84

                             Payrolls by Paychex, Inc.

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Payrolls by Paychex, Inc.




                                                                         PHUONG TRINH
                                                                         2128 W CHERRY DRIVE                                                        NON-NEGOTIABLE
                                                                         ORANGE CA 92868




                                NON-NEGOTIABLE




                            PERSONAL AND CHECK INFORMATION                              EARNINGS            DESCRIPTION        HRS/UNITS       RATE THIS PERIOD ($) YTD HOURS    YTD ($)
                            Phuong Trinh
                            2128 W Cherry Drive                                                             Regular                                                             71769.26
                            Orange, CA 92868                                                                Salary                                         6923.08              20769.24
                            Soc Sec #: xxx-xx-xxxx       Employee ID: 1032                                  Total Hours
                                                                                                            Gross Earnings                                 6923.08              92538.50
                                                                                                            Total Hrs Worked
                            Pay Period: 07/19/21 to 08/01/21                            WITHHOLDINGS        DESCRIPTION        FILING STATUS        THIS PERIOD ($)              YTD ($)
                            Check Date: 08/06/21     Check #: 10514
                            NET PAY ALLOCATIONS                                                             Social Security                                 426.58               5708.23
                                                                                                            Medicare                                         99.77               1334.99
                            DESCRIPTION            THIS PERIOD ($)           YTD ($)                        Fed Income Tax     SMS                         1309.82              16349.16
                            Check Amount                      0.00        47377.49                          CA Income Tax      SMI2 0 1                     559.02               6985.81
                            Chkg 643                       4402.58        13207.76                          CA Disability                                    82.56               1104.81
                            NET PAY                        4402.58        60585.25
                                                                                                            TOTAL                                          2477.75              31483.00
                                                                                        DEDUCTIONS          DESCRIPTION                             THIS PERIOD ($)              YTD ($)

                                                                                                            Medical Pre-tax                                   42.75               470.25

                                                                                                            TOTAL                                             42.75               470.25




                                                                                        NET PAY                                                     THIS PERIOD ($)               YTD ($)
                                                                                                                                                           4402.58               60585.25

                             Payrolls by Paychex, Inc.

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                                   100 Spectrum Center Dr                                 Main
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                                   STE 900
                                   Irvine CA 92618-4974
Payrolls by Paychex, Inc.




                                                                            PHUONG TRINH
                                                                            2128 W CHERRY DRIVE                                                      NON-NEGOTIABLE
                                                                            ORANGE CA 92868




                                   NON-NEGOTIABLE




                            PERSONAL AND CHECK INFORMATION                                 EARNINGS         DESCRIPTION        HRS/UNITS       RATE THIS PERIOD ($) YTD HOURS    YTD ($)
                            Phuong Trinh
                            2128 W Cherry Drive                                                             Regular                                                             71769.26
                            Orange, CA 92868                                                                Salary                                          6923.08             13846.16
                            Soc Sec #: xxx-xx-xxxx          Employee ID: 1032                               Total Hours
                                                                                                            Gross Earnings                                  6923.08             85615.42
                                                                                                            Total Hrs Worked
                            Pay Period: 07/05/21 to 07/18/21                               WITHHOLDINGS     DESCRIPTION        FILING STATUS         THIS PERIOD ($)             YTD ($)
                            Check Date: 07/23/21     Check #: 10332
                            NET PAY ALLOCATIONS                                                             Social Security                                  426.58              5281.65
                                                                                                            Medicare                                          99.76              1235.22
                            DESCRIPTION                THIS PERIOD ($)          YTD ($)                     Fed Income Tax     SMS                          1309.82             15039.34
                            Check Amount                          0.00      47377.49                        CA Income Tax      SMI2 0 1                      559.02              6426.79
                            Chkg 643                           4402.59       8805.18                        CA Disability                                     82.56              1022.25
                            NET PAY                            4402.59      56182.67
                            TIME OFF (Based on Policy Year)                                                 TOTAL                                           2477.74             29005.25
                                                                                           DEDUCTIONS       DESCRIPTION                              THIS PERIOD ($)             YTD ($)
                            DESCRIPTION    AMTTAKEN      TOTAL BAL
                            Vacation        0.00 hrs     24.63 hrs                                          Medical Pre-tax                                    42.75              427.50
                            DESCRIPTION    AMTTAKEN      TOTAL BAL
                            Sick            0.00 hrs     42.48 hrs                                          TOTAL                                              42.75              427.50




                                                                                           NET PAY                                                   THIS PERIOD ($)              YTD ($)
                                                                                                                                                            4402.59              56182.67

                             Payrolls by Paychex, Inc.

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                                 100 Spectrum Center Dr                                 Main
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                                 STE 900
                                 Irvine CA 92618-4974
Payrolls by Paychex, Inc.




                                                                          PHUONG TRINH
                                                                          2128 W CHERRY DRIVE                                                        NON-NEGOTIABLE
                                                                          ORANGE CA 92868




                                NON-NEGOTIABLE




                            PERSONAL AND CHECK INFORMATION                               EARNINGS           DESCRIPTION        HRS/UNITS       RATE THIS PERIOD ($) YTD HOURS    YTD ($)
                            Phuong Trinh
                            2128 W Cherry Drive                                                             Regular                                                             71769.26
                            Orange, CA 92868                                                                Salary                                          6923.08              6923.08
                            Soc Sec #: Missing            Employee ID: 1032                                 Total Hours
                                                                                                            Gross Earnings                                  6923.08             78692.34
                                                                                                            Total Hrs Worked
                            Pay Period: 06/21/21 to 07/04/21                             WITHHOLDINGS       DESCRIPTION        FILING STATUS         THIS PERIOD ($)             YTD ($)
                            Check Date: 07/09/21     Check #: 10149
                            NET PAY ALLOCATIONS                                                             Social Security                                  426.58              4855.07
                                                                                                            Medicare                                          99.76              1135.46
                            DESCRIPTION           THIS PERIOD ($)             YTD ($)                       Fed Income Tax     SMS                          1309.82             13729.52
                            Check Amount                       0.00       47377.49                          CA Income Tax      SMI2 0 1                      559.02              5867.77
                            Chkg 643                        4402.59        4402.59                          CA Disability                                     82.56               939.69
                            NET PAY                         4402.59       51780.08
                                                                                                            TOTAL                                           2477.74             26527.51
                                                                                         DEDUCTIONS         DESCRIPTION                              THIS PERIOD ($)             YTD ($)

                                                                                                            Medical Pre-tax                                    42.75              384.75

                                                                                                            TOTAL                                              42.75              384.75




                                                                                         NET PAY                                                     THIS PERIOD ($)              YTD ($)
                                                                                                                                                            4402.59              51780.08

                             Payrolls by Paychex, Inc.

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  From:           K. P. March
  To:             "Alina Mamlyuk"
  Subject:        RE: To alina Mamlyuk of Marshack Hays firm, cc attys Ed Hays from KPMarch, bky LF: Confirming received your
                  below email, but it is MISSING some things. Please REPLY to confirm you will do as last 2 paragraphs of my
                  below email request. Thx.
  Date:           Monday, March 4, 2024 3:07:25 PM
  Attachments:    Phuong Trinh- LPG Paystubs all from start through last paychex paystub received.pdf
                  Han Trinh- LPG Paystubs all from start to last paystub received from Paychex.pdf


 030424

 To Alina Mamlyuk from KPMarch, Bky LF

 As I told you in our “meet and confer” meeting, Han and jayde trinh were W-2 employees of LPG.
 Yes, they were performing essential services for LPG, but their performing essential services for LPG
 does NOT make them insiders of LPG. You have no evidence that they were insiders, because They
 were NOT insiders. They were never officers, directors or equityholders of LPG.

 I pointed out, last week, that Trustee Marshack, as Chapter 11 Trustee, can access all Paychex
 paystubs, that Paychex issued to Han Trinh and Jayde Trinh, and to all other LPG W-2 employess,
 each time Paychex issued and employee a W-2 paychecks.   So demanding Han/Jayde produce
 documents that Trustee can access is unnecessary and is an improper imposition on Han/Jayde.
 Despite that, I had Han/Jayde collect as many of their LPG Paychex paystubs as they could, and those
 are attached, as pdf files, one of Han’s Paychex paystubs, and one of Jayde’s Paychex paystubs. Plus
 Trustee can access the W-2s for all LPG employees. I need Phuong (aka Jayde) Trinh’s W-2 Forms for
 the time she worked as W-2 employee at LPG. Please SEND. Federal law required LPG to deliver
 those LPG 2023 year W-2 forms to Jayde Trinh, and other LPG employees. Jayde’s is LATE. Send
 now please.

 Please REPLY to confirm receipt.

 KPMarch




 Kathleen P. March, Esq.
 The Bankruptcy Law Firm, PC
 10524 W. Pico Blvd, Suite 212
 Los Angeles, CA 90064
 Phone: 310-559-9224
 Fax: 310-559-9133
 E-mail: kmarch@BKYLAWFIRM.com
 Website: www.BKYLAWFIRM.com
 "Have a former bankruptcy judge for your personal bankruptcy attorney"



 From: Alina Mamlyuk <amamlyuk@marshackhays.com>
 Sent: Monday, March 4, 2024 1:08 PM
 To: K. P. March <kmarch@bkylawfirm.com>


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  From:          K. P. March
  To:            "Alina Mamlyuk"
  Cc:            "Ed Hays"; "Layla Buchanan"
  Subject:       Alina Mamlyuk Esq of MarshackHays firm, from KPMarch, Esq., Bky LF for Han Trinh: Please read below
                 RESPONSE to your 2/12/24 at 7:46pm email. Please REPLY to confirm receipt. Please email my firm the 4 items
                 of discovery my firm requests. Thx
  Date:          Wednesday, February 14, 2024 12:15:09 PM
  Attachments:   Exhibit B to Han Decl items that Han owned that disappeared 110823 resaved 021324.pdf
                 paychex paystubs for Han and Jayde showing accruing vacation hours.pdf



 021424

 To Alina Mamlyuk, Esq of MarshackHays firm, counsel for Trustee Marshack, cc to
 MarshackHays attys Ed Hays and Layla Buchanan

 From KPMarch, Esq. of The Bankruptcy Law Firm, PC, counsel for Han Trinh on Han’s Motion
 for allowance and payment of administrative claim [dkt.674], counsel for Phuong (aka Jayde)
 Trinh on Jayde’s Motionfor allowance and payment of administrative claim [dkt.675] and
 counsel for Greyson Law Center PC on Greyson’s Motion [dkt.676]:

 Atty Mamlyuk:

 This email responds to your 2/12/24 at 7:46pm email regarding the Motion for allowance and
 payment of administrative claim [dkt.674] filed by our law firm, for our firm’s client Han Trinh.

 I see on the California State Bar website that you are an attorney, CA Bar #284154. Why are
 you so coy about your status, in your email? Are you employed by Trustee Marshack’s law
 firm, MarshackHays? Reply and tell my firm please. I find it is helpful to be clear about whom
 my firm is dealing with.

 Your email is in error in saying that Han’s [dkt.674] Motion does not provide any evidence for
 how Han’s administrative claim is calculated. Han’s [dkt.674] Motion, and Han’s Declaration
 thereto, are extremely clear as to how the $136,280.56 salary that LPG owes Han, for Han’s
 essential 11 weeks of post-petition work for LPG, is calculated.

 But let me recap that calculation for you: See ¶8 of Han’s Declaration, and see Paychex
 paystub that is Exhibit A to Han’s Declaration. The Paychex paystub states that Han was being
 paid gross earnings of $11,538.47 per 2 week pay period (see top right box on Exhibit A). That
 is gross pay of $5,769.23 per week, as ¶8 of Han’s Declaration states. Han attests Han did 11
 weeks of essential work for LPG, post-petition, from 3/20/23 to 6/2/23 (¶7 Han Decl).
 $5,769.23 per week x 11 weeks = $63,461.54 salary that LPG owes Han for that postpetition
 work, which is an administrative claim per 11 USC §503(b)(1)(A)(i).

 In addition, as Han’s administrative claim Motion explains, and as Han’s Declaration (¶22


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 explains) she is entitled, per CA Labor Code §203(a), to be paid penalties for late Pay totaling
 $34,615.38 in late pay penalties.

 In addition, as Han’s administrative claim Motion explains, and as Han’s Declaration explains,
 Han is entitled, per CA Labor Code § 227.3, to be paid for 264.88 hours of vacation time Han
 had accrued, but had not taken, as of 6/2/23. That vacation pay totals $38,203.64, and is
 calculated correctly in Han’s Dkt.674 claim, and in Han’s Declaration (¶23).

 You ask for evidence (in addition to Han’s Declaration, and Jayde Trinh’s Declaration) that Han
 and Jayde were accruing vacation pay while employed at LPG.

 Han has searched, and now been able to locate two earlier Paychex pay stubs, one for each of
 Han and Jayde, which I am attaching as Exhibit A hereto, and which show that Han and Jayde
 were each accruing vacation pay while employed at LPG, at the rate of 6.16 hours of vacation
 time, for each 2 week pay period. I believe that is the statutory rate of accrual, for a business
 in Tustin, Ca, where LPG was located. Han’s Declaration (¶23) attests that Han and Jayde
 were each accruing vacation hours at the rate of 6.16 hours of vacation time, for each 2 week
 pay period.. The 2 paychex paystubs that I am attaching as Exhibit A, show this. My firm’s
 understanding is that all LPG W-2 employees accrued vacation hours at this same 6.16 hours
 of vacation time, for each 2 week pay period.

 I note that Paychex was LPG’s payroll processing company, and therefore, that Trustee
 Marshack can ask Paychex to supply Trustee Marshack with the Paychex paystubs, for Han and
 Jayde Trinh, for the several years each was employed by LPG. Please do so, and please send
 my firm copies of all those paystubs. Thx in advance.

 Han’s [dkt.674] Motion, p. 12, adds up the $63,461.54 + $34,615.38 +$38,203.64 =
 $136,280.56 postpetition salary, late pay penalties and payment for accrued vacation not
 taken.

 In addition, the LPG owes Han $14,433.56 for items that disappeared from Han’s locked office
 at Greyson’s office, after Trustee Marshack’s attorneys (Dinsmore & Sholl aka Celentino firm
 and its field agents, on 6/2/23, locked Greyson out of its office. I apologize, but the list of
 items Han had paid for personally, which “disappeared” from Han’s locked office, Exhibit B,
 does not seem to be attached to the Dkt.674 Motion, so I am attaching it now.

 As regards to your email requesting my firm to provide you/MarshackHays, with a copy of
 Han’s employment contract with LPG, Han does not have a copy, but LPG has a copy of Han’s
 employment contract, fully signed by Han and LPG LPG also has a copy of Phuong (aka
 Jayde) Trinh’s employment contract, fully signed by Jayde and LPG.



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 Han and LPG signed that written contract when Han was first hired by LPG, and each time Han
 got a raise thereafter, Han signed a sheet for the LPG HR department, verifying the specific
 raise. Ditto for Jayde Trinh.

 Judge Clarkson continued the hearing on all the administrative claim motions so that the
 parties could exchange discovery. Therefore, please email my firm the following:

   1. LPG’s copy of Han’s employment contract, signed by Han and by LPG.
      Also, please email my firm the series of sheets that Han signed for LPG’s
      HR department, each time Han received a raise from LPG, verifying the
      amount of Han’s new salary.
   2. Please also please email my firm LPG’s copy of Phuong (aka “Jayde”
      Trinh’s employment contract, signed by Jayde and by LPG. Like Han,
      Jayde signed a sheet for LPG’s HR department, verifying Jayde’s new
      salary, each time Jayde got a raise from LPG. Please email my firm all
      those receipts.
   3. LPG kept an employee file on each LPG employee. Please email my firm
      the full employee file which LPG kept on Han, and the full employee file
      which LPG kept on Jayde.
   4. All paychex paystubs for Han and Jayde Trinh, for all the years they were
      employed by LPG; and
   5. LPG’s W-2 forms for 2023 year for each of Han and Jayde Trinh.
 Thanks in advance for emailing my firm 1, 2,3, 4 and 5.

 At the time that Han Trinh, and Jayde Trinh, performed the 11 weeks of post-petition work for
 LPG, they were the only LPG employees who were doing the work they did for LPG, and who
 could continue doing that work for LPG. Their work was essential (as Han’s Declaration ¶11
 and 12 explains; see also Jayde’s Declaration), because Han and Jayde were the only LPG
 employees administering LPG’s 28,000 active litigation files. Those 28,000 active litigation
 files could not be managed, without Han and Jayde’s work.

 As regards your question about why Han’s salary was increased over the years, LPG increased
 Han’s salary, as Han’s duties at LPG increased. Ditto with Jayde. Han’s salary was
 incrementally increased to $300,000 per year (as shown on Paychex paystub that is Exhibit A
 to Han’s [dkt.674] administrative claim motion. The increase of Han’s salary to $300,000 per
 year was because by then, Han and Jayde, together, were administering the whole LPG
 attorney network.

 Han was not paid more than Jayde, because a part of Jayde’s compensation was that LPG
 contracted to repay Jayde’s student loans from law school, before those loans came due,
 which LPG did pay. When LPG’s repaying Jayde’s student loans from law school is taken into
 account, Jayde was paid more than Han.


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 However, as the Paychex paystubs that are Exhibit A to Han’s administrative motion claim,
 and are Exhibit A to Jayde’s administrative motion claim, show clearly Han and Jayde’s W-2
 salaries, and as those are issued by LPG’s payroll processing company, Paychex, there is no
 legal basis for Trustee Marshack, or you, or MarshackHays to object to (aka second guess)
 those salary amounts.

 Please REPLY to confirm receipt.

 Please email my firm 1, 2, 3, 4 and 5.

 I trust this email answers your questions, and that MarshackHays will now file a short
 pleading with the BankruptcyCcourt, stating that MarshackHays has examined Han and Jayde
 Trinh’s Motions for allowance and payment of administrative claims, and agrees those should
 be granted as filed. My firm requests MarshackHays to promptly do so, because there is no
 valid reason to oppose Han’s or Jayde’s administrative claim motions. Please REPLY to confirm
 MarshackHays will now do that, promptly. Thank you in advance.

 KPMarch


 Kathleen P. March, Esq.
 The Bankruptcy Law Firm, PC
 10524 W. Pico Blvd, Suite 212
 Los Angeles, CA 90064
 Phone: 310-559-9224
 Fax: 310-559-9133
 E-mail: kmarch@BKYLAWFIRM.com
 Website: www.BKYLAWFIRM.com
 "Have a former bankruptcy judge for your personal bankruptcy attorney"



 From: Alina Mamlyuk <amamlyuk@marshackhays.com>
 Sent: Monday, February 12, 2024 7:46 PM
 To: kmarch@BKYLAWFIRM.com
 Cc: Ed Hays <EHays@MarshackHays.com>; Layla Buchanan <LBuchanan@marshackhays.com>
 Subject: RE: LPG Dk. No. 674; Han Trinh’s Administrative Claim

 Good evening, Ms. March—

 My name is Alina Mamlyuk, I am handling the administrative claim motions filed in In re: Litigation
 Practice Group, P.C., Case No. 8:23-bk-10571-SC on behalf of the Trustee, Richard Marshack. Your
 client, Han Trinh (“Han,” to differentiate from Jayde Trinh), filed an administrative claim as Dk. No.
 674 (“Han Admin Claim” / “Motion”) in the amount of $136,280.56 and I am following up with you
 regarding some questions we have and documents we need to begin verifying the claim.


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 Other than a copy of a paystub for a single check #13033, the Motion did not provide any evidence
 for your calculation of Han’s admin claim. Can you please provide a copy of an employment
 agreement that states Han’s duties, her salary, her vacation vesting schedule and the basis for her
 nearly ten-fold salary increase from $17.31/hr to $300,000/yr in the span of two and a half years
 employment at LPG? It appears that your other client, Jayde Trinh, who is a CA licensed attorney
 and who alleges to have performed nearly identical duties as Han, was making 20% less than Han
 and I am hoping you can provide any evidence that would explain such a drastic difference in the
 employment agreement/reviews/pay bump documentation. This large check was cut to Han on the
 eve of LPG’s filing its bankruptcy petition. Han’s declaration attached to Dk. No. 822, states that
 “Jayde and I work for a living. We are young and are not financially well off,” which appears to
 indicate that the sudden and extreme pay bump was recent. For how many periods did Han receive
 paychecks comparable to check #13033 attached to Han’s admin claim motion?

 Likewise, there is no evidence outside of Han’s declaration regarding the vested vacation portion of
 Han’s claim ($38,203.64)—the paycheck stub has no vacation time indicated at all. Please forward
 any employment agreement that states how 264.88 hours were vested.  

 Looking forward to working together and getting some clarity in resolving this claim.

 Thank you,

 Alina Mamlyuk
 949-333-7777




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 1   Kathleen P. March, Esq., (CA SBN 80366)
     THE BANKRUPTCY LAW FIRM, PC
 2   10524 W. Pico Blvd, Suite 212, LA, CA 90064
 3   Phone: 310-559-9224;      Fax: 310-559-9133
     Email: kmarch@BKYLAWFIRM.com
 4   Counsel for Phuong (aka Jayde) Trinh on Jayde’s [dkt.645]
 5   Motion for Allowance & Payment of Admin.
     Claim, and on this Request to Produce Docs
 6

 7                         UNITED STATES BANKRUPTCY COURT
 8         OF THE CENTRAL DISTRICT OF CALIFORNIA— SANTA ANA DIV.
 9

10                                    Bankruptcy Case No. 8:23-bk-10571-SC
      In re                           Chapter 11
11

12    LITIGATION                      ADMINISTRATIVE CLAIMANT PHUONG (AKA
      PRACTICE
13                                    JAYDE) TRINH’S, FRBP RULE 7034 [FRCP RULE
      GROUP, PC
14                                    34] AND FRBP RULE 9014 [CONTESTED
      Debtor.
15                                    MATTERS] REQUESTS FOR PRODUCTION OF
16                                    DOCUMENTS, PROPOUNDED TO RICHARD
17                                    MARSHACK, CHAPTER 11 TRUSTEE
18                                    What: Requests for Production of Documents
19                                    What Set: Set ONE
20                                    Propounded to: Richard Marshack, Chapter 11
                                      Trustee
21
                                      Propounded by: Phuong (aka Jayde) Trinh, Movant
22
                                      on Jayde Trinh’s Motion [dkt.675] for allowance and
23
                                      payment of administrative claim, a contested matter,
24
                                      where Trustee is represented by Trustee’s Law Firm,
25
                                      Marshack Hays Wood LLP
26

27
     Phuong (aka Jayde) Trinh’s Requests for Production of Documents, Set ONE, propounded to
28   Chapter 11 Trustee Richard Marshack, to his attorneys of record Mashack Hays Wood LLP,
     regarding Jayde Trinh’s Motion [dkt.675] for Allowance and Payment of Administrative Claim, a
     contested matter                                                                     245
                                                      1
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 1          Pursuant to Federal Rules of Bankruptcy Procedure (“FRBP”) Rule 9014
 2   (contested matters) and pursuant to FRBP Rule 7034 (Requests for Production), which
 3   incorporates FRCP Rule 34, Phuong (aka Jayde) Trinh, movant on Jayde Trinh’s
 4   Motion [dkt.675 in LPG main bankruptcy case docket] for allowance and payment of
 5   administrative claim—which Motion is a contested matter in which discovery may be
 6   taken-- requests that Chapter 11 Trustee Richard Marshack--by Trustee’s law firm
 7   (Marshack Hays Wood LLP), which represents Trustee Marshack regarding Jayde
 8   Trinh’s administrative claim Motion [dkt.675] :
 9          (1) produce the documents requested herein, and
10          (2) serve a written Response to this Request for Production, as required by
11   FRCP Rule 34(b)(2)(A) and (B) (incorporated into FRBP Rule 7034).
12          Both the documents here requested, and the written Response, are required to be
13   served on Jayde Trinh’s counsel, listed on page 1 supra, within 30 days after this
14   Request to Produce is served by email on Trustee Marshack’s attorneys who have
15   communicated with Jayde Trinh’s counsel regarding Jayde Trinh’s [dkt.675] Motion,
16   and who are D.Edward Hays, Layla Buchanan, and Alina Mamlyuk, Esq. of Marshack
17   Hays Wood LLP law firm. All are being served by email, as e-file/e-serve attorneys,
18   plus are being served by Federal Express next day delivery, as Trustee Marshack’s
19   counsel of record.
20          Documents requested are required to be served by placing the documents in
21   Dropbox and sending an invitation to view said documents to counsel for Phuong (aka
22
     Jayde) Trinh (The Bankruptcy Law Firm, P.C. by Kathleen P. March, Esq.,to
23
     kmarch@bkylawfirm.com). Alternatively, the documents can be produced in paper
24
     form, by delivering them to The Bankruptcy Law Firm, PC, within the 30 days after
25
     this Request to Produce Documents is served.
26

27   //
     Phuong (aka Jayde) Trinh’s Requests for Production of Documents, Set ONE, propounded to
28   Chapter 11 Trustee Richard Marshack, to his attorneys of record Mashack Hays Wood LLP,
     regarding Jayde Trinh’s Motion [dkt.675] for Allowance and Payment of Administrative Claim, a
     contested matter                                                                     246
                                                      2
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 1   TRUSTEE MARSHACK IS REQUESTED TO PRODUCE THE
 2   FOLLOWING:
 3

 4

 5   REQUEST NO. 1: Produce to Phuong (aka Jayde) Trinh’s counsel, LPG’s copy of
 6
     Phuong (aka Jayde) Trinh’s employment contract, signed by Phuong (aka Jayde)
 7
     Trinh and by Litigation Processing Group (“LPG”).
 8

 9

10
     REQUEST NO. 2: Produce to Phuong (aka Jayde) Trinh’s counsel, each sheet which
11
     Phuong (aka Jayde) Trinh signed for LPG’s HR department, each time Phuong (aka
12

13   Jayde) Trinh received a raise from LPG, verifying the amount of Phuong (aka Jayde)
14
     Trinh’s new salary.
15

16

17   REQUEST NO. 3: Produce to Phuong (aka Jayde) Trinh’s counsel, the full
18
     employee file which LPG kept on Phuong (aka Jayde) Trinh, during the time Phuong
19
     (aka Jayde) Trinh was employed by LPG.
20

21

22   REQUEST NO.4: Produce to Phuong (aka Jayde) Trinh’s counsel, copies of all
23
     paystubs, which payroll processing company “Paychex” delivered to Phuong (aka
24

25   Jayde) Trinh, along with each LPG paycheck which “Paychex” delivered to Phuong
26   (aka Jayde) Trinh, for all the years Phuong (aka Jayde) Trinh was employed by LPG;
27
     Phuong (aka Jayde) Trinh’s Requests for Production of Documents, Set ONE, propounded to
28   Chapter 11 Trustee Richard Marshack, to his attorneys of record Mashack Hays Wood LLP,
     regarding Jayde Trinh’s Motion [dkt.675] for Allowance and Payment of Administrative Claim, a
     contested matter                                                                     247
                                                      3
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 1

 2   REQUEST NO.5: Produce to Phuong (aka Jayde) Trinh’s counsel copies of the W-2
 3
     forms which LPG sent, or caused to be sent, to Phuong (aka Jayde) Trinh, for each
 4

 5   year that Phuong (aka Jayde) Trinh was employed by LPG.
 6

 7
     Dated: February 29, 2024           THE BANKRUPTCY LAW FIRM, PC
 8
                                        ___/s/ Kathleen P. March___________
 9
                                        By Kathleen P. March, Esq. Counsel for Phuong (aka
10                                      Jayde) Trinh on Jayde’s [dkt.675] Motion for
                                        Allowance & Payment of Admin.Claim, and on this
11
                                        Request to Produce Docs
12

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27
     Phuong (aka Jayde) Trinh’s Requests for Production of Documents, Set ONE, propounded to
28   Chapter 11 Trustee Richard Marshack, to his attorneys of record Mashack Hays Wood LLP,
     regarding Jayde Trinh’s Motion [dkt.675] for Allowance and Payment of Administrative Claim, a
     contested matter                                                                     248
                                                      4
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                                         PROOF OF SERVICE OF DOCUMENT
I am over the age of 18 and not a party to this bankruptcy case or adversary proceeding. My business address is:
10524 W. Pico Blvd., Ste. 212, Los Angeles, CA 90064

A true and correct copy of the foregoing document entitled (specify):

ADMINISTRATIVE CLAIMANT PHOUNG (AKA JAYDE) TRINH’S, FRBP RULE
7034 [FRCP RULE 34] AND FRBP RULE 9014 [CONTESTED MATTERS] REQUESTS
FOR PRODUCTION OF DOCUMENTS, PROPOUNDED TO RICHARD MARSHACK,
CHAPTER 11 TRUSTEE
will be served or was served in the manner stated below:

1. TO BE SERVED BY THE COURT VIA NOTICE OF ELECTRONIC FILING (NEF): Pursuant to controlling General
Orders and LBR, the foregoing document will be served by the court via NEF and hyperlink to the document. On (date)
_________ I checked the CM/ECF docket for this bankruptcy case or adversary proceeding and determined that the
following persons are on the Electronic Mail Notice List to receive NEF transmission at the email addresses stated below:

                                                                                            Service information continued on attached page

2. SERVED BY UNITED STATES MAIL:
On (date) ____________, I served the following persons and/or entities at the last known addresses in this bankruptcy
case or adversary proceeding by placing a true and correct copy thereof in a sealed envelope in the United States mail,
first class, postage prepaid, and addressed as follows. Listing the judge here constitutes a declaration that mailing to the
judge will be completed no later than 24 hours after the document is filed.


                                                                                            Service information continued on attached page

3. SERVED BY PERSONAL DELIVERY, OVERNIGHT MAIL, FACSIMILE TRANSMISSION OR EMAIL (state method
for each person or entity served): Pursuant to F.R.Civ.P. 5 and/or controlling LBR, on (date) ___2/29/24___, I served the
following persons and/or entities by personal delivery, overnight mail service, or (for those who consented in writing to
such service method), by facsimile transmission and/or email as follows. Listing the judge here constitutes a declaration
that personal delivery on, or overnight mail to, the judge will be completed no later than 24 hours after the document is
filed.

By FedEx Express Overnight, to go out 3/1/24, to Marshack Hays Wood, Attn: D. Edward Hays, Esq., 870 Roosevelt,
Irvine, CA 92620

By email, to Alina Mamlyuk, Esq., amamlyuk@marshackhays.com
By email, to Edward Hays, Esq., ehays@marshackhays.com
By email, to Layla Buchanan, Esq., lbuchanan@marshackhays.com

                                                                                            Service information continued on attached page

I declare under penalty of perjury under the laws of the United States that the foregoing is true and correct.

 2/29/24                      Kathleen P. March                                                 /s/ Kathleen P. March
 Date                           Printed Name                                                    Signature




            This form is mandatory. It has been approved for use by the United States Bankruptcy Court for the Central District of California.


June 2012                                                                                           F 9013-3.1.PROOF.SERVICE
                                                                                                                      249
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                        EXHIBIT G




                                                                            250
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 1   Kathleen P. March, Esq., (CA SBN 80366)
     THE BANKRUPTCY LAW FIRM, PC
 2   10524 W. Pico Blvd, Suite 212, LA, CA 90064
 3   Phone: 310-559-9224;      Fax: 310-559-9133
     Email: kmarch@BKYLAWFIRM.com
 4   Counsel for Han Trinh on Han’s [dkt.674]
 5   Motion for Allowance & Payment of Admin.
     Claim, and on this Request to Produce Docs
 6

 7                        UNITED STATES BANKRUPTCY COURT
 8           OF THE CENTRAL DISTRICT OF CALIFORNIA— SANTA ANA DIV.
 9

10                                  Bankruptcy Case No. 8:23-bk-10571-SC
     In re                          Chapter 11
11

12   LITIGATION                     ADMINISTRATIVE CLAIMANT HAN TRINH’S,
     PRACTICE
13                                  FRBP RULE 7034 [FRCP RULE 34] AND FRBP
     GROUP, PC
14                                  RULE 9014 [CONTESTED MATTERS] REQUESTS
     Debtor.
15                                  FOR PRODUCTION OF DOCUMENTS,
16                                  PROPOUNDED TO RICHARD MARSHACK,
17                                  CHAPTER 11 TRUSTEE
18                                  What: Requests for Production of Documents
19                                  What Set: Set ONE
20                                  Propounded to: Richard Marshack, Chapter 11
                                    Trustee
21
                                    Propounded by: Han Trinh, Movant on Han Trinh’s
22
                                    Motion [dkt.674] for allowance and payment of
23
                                    administrative claim, a contested matter, where Trustee
24
                                    is represented by Trustee’s Law Firm, Marshack Hays
25
                                    Wood LLP
26

27

28    Han Trinh’s Requests for Production of Documents, Set ONE, propounded to Chapter 11 Trustee
       Richard Marshack, to his attorneys of record Mashack Hays Wood LLP, regarding Han Trinh’s
         Motion [dkt.674] for Allowance and Payment of Administrative Claim, a contested 251
                                                                                         matter
                                                     1
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 1             Pursuant to Federal Rules of Bankruptcy Procedure (“FRBP”) Rule 9014
 2   (contested matters) and pursuant to FRBP Rule 7034 (Requests for Production), which
 3   incorporates FRCP Rule 34, Han Trinh, movant on Han Trinh’s Motion [dkt.674 in
 4   LPG main bankruptcy case docket] for allowance and payment of administrative
 5   claim—which Motion is a contested matter in which discovery may be taken--
 6   requests that Chapter 11 Trustee Richard Marshack--by Trustee’s law firm (Marshack
 7   Hays Wood LLP), which represents Trustee Marshack regarding Han Trinh’s
 8   administrative claim Motion [dkt.674] :
 9             (1) produce the documents requested herein, and
10             (2) serve a written Response to this Request for Production, as required by
11   FRCP Rule 34(b)(2)(A) and (B) (incorporated into FRBP Rule 7034).
12              Both the documents here requested, and the written Response, are required to
13   be served on Han Trinh’s counsel, listed on page 1 supra, within 30 days after this
14   Request to Produce is served by email on Trustee Marshack’s attorneys who have
15   communicated with Han Trinh’s counsel regarding Han Trinh’s [dkt.674] Motion, and
16   who are D.Edward Hays, Layla Buchanan, and Alina Mamlyuk, Esq. of Marshack
17   Hays Wood LLP law firm. All are being served by email, as e-file/e-serve attorneys,
18   plus are being served by Federal Express next day delivery, as Trustee Marshack’s
19   counsel of record.
20             Documents requested are required to be served by placing the documents in
21   Dropbox and sending an invitation to view said documents to counsel for Han Trinh
22
     (The Bankruptcy Law Firm, P.C. by Kathleen P. March, Esq.,to
23
     kmarch@bkylawfirm.com). Alternatively, the documents can be produced in paper
24
     form, by delivering them to The Bankruptcy Law Firm, PC, within the 30 days after
25
     this Request to Produce Documents is served.
26

27   //

28        Han Trinh’s Requests for Production of Documents, Set ONE, propounded to Chapter 11 Trustee
           Richard Marshack, to his attorneys of record Mashack Hays Wood LLP, regarding Han Trinh’s
             Motion [dkt.674] for Allowance and Payment of Administrative Claim, a contested 252
                                                                                             matter
                                                         2
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 1   TRUSTEE MARSHACK IS REQUESTED TO PRODUCE THE
 2   FOLLOWING:
 3

 4

 5   REQUEST NO. 1: Produce to Han Trinh’s counsel, LPG’s copy of Han’s
 6
     employment contract, signed by Han and by Litigation Processing Group (“LPG”).
 7

 8

 9   REQUEST NO. 2: Produce to Han Trinh’s counsel, each sheet which Han Trinh
10
     signed for LPG’s HR department, each time Han Trinh received a raise from LPG,
11
     verifying the amount of Han’s new salary.
12

13

14
     REQUEST NO. 3: Produce to Han Trinh’s counsel, the full employee file which
15
     LPG kept on Han Trinh, during the time Han Trinh was employed by LPG.
16

17

18   REQUEST NO.4: Produce to Han Trinh’s counsel, copies of all paystubs, which
19
     payroll processing company “Paychex” delivered to Han Trinh, along with each LPG
20

21   paycheck which “Paychex” delivered to Han Trinh, for all the years Han Trinh was

22   employed by LPG;
23

24

25   REQUEST NO.5: Produce to Han Trinh’s counsel copies of the W-2 forms which
26   LPG sent, or caused to be sent, to Han Trinh, for each year that Han Trinh was
27

28    Han Trinh’s Requests for Production of Documents, Set ONE, propounded to Chapter 11 Trustee
       Richard Marshack, to his attorneys of record Mashack Hays Wood LLP, regarding Han Trinh’s
         Motion [dkt.674] for Allowance and Payment of Administrative Claim, a contested 253
                                                                                         matter
                                                     3
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 1   employed by LPG.
 2

 3   Dated: February 29, 2024          THE BANKRUPTCY LAW FIRM, PC
 4                                     ___/s/ Kathleen P. March___________
 5                                     By Kathleen P. March, Esq. Counsel for Han Trinh on
 6                                     Han’s [dkt.674] Motion for Allowance & Payment of
                                       Admin.Claim, and on this Request to Produce Docs
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28    Han Trinh’s Requests for Production of Documents, Set ONE, propounded to Chapter 11 Trustee
       Richard Marshack, to his attorneys of record Mashack Hays Wood LLP, regarding Han Trinh’s
         Motion [dkt.674] for Allowance and Payment of Administrative Claim, a contested 254
                                                                                         matter
                                                     4
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                                         PROOF OF SERVICE OF DOCUMENT
I am over the age of 18 and not a party to this bankruptcy case or adversary proceeding. My business address is:
10524 W. Pico Blvd., Ste. 212, Los Angeles, CA 90064

A true and correct copy of the foregoing document entitled (specify):

ADMINISTRATIVE CLAIMANT HAN TRINH’S, FRBP RULE 7034 [FRCP RULE 34]
AND FRBP RULE 9014 [CONTESTED MATTERS] REQUESTS FOR PRODUCTION
OF DOCUMENTS, PROPOUNDED TO RICHARD MARSHACK, CHAPTER 11
TRUSTEE
will be served or was served in the manner stated below:

1. TO BE SERVED BY THE COURT VIA NOTICE OF ELECTRONIC FILING (NEF): Pursuant to controlling General
Orders and LBR, the foregoing document will be served by the court via NEF and hyperlink to the document. On (date)
_________ I checked the CM/ECF docket for this bankruptcy case or adversary proceeding and determined that the
following persons are on the Electronic Mail Notice List to receive NEF transmission at the email addresses stated below:

                                                                                            Service information continued on attached page

2. SERVED BY UNITED STATES MAIL:
On (date) ____________, I served the following persons and/or entities at the last known addresses in this bankruptcy
case or adversary proceeding by placing a true and correct copy thereof in a sealed envelope in the United States mail,
first class, postage prepaid, and addressed as follows. Listing the judge here constitutes a declaration that mailing to the
judge will be completed no later than 24 hours after the document is filed.


                                                                                            Service information continued on attached page

3. SERVED BY PERSONAL DELIVERY, OVERNIGHT MAIL, FACSIMILE TRANSMISSION OR EMAIL (state method
for each person or entity served): Pursuant to F.R.Civ.P. 5 and/or controlling LBR, on (date) ___2/29/24___, I served the
following persons and/or entities by personal delivery, overnight mail service, or (for those who consented in writing to
such service method), by facsimile transmission and/or email as follows. Listing the judge here constitutes a declaration
that personal delivery on, or overnight mail to, the judge will be completed no later than 24 hours after the document is
filed.

By FedEx Express Overnight, to go out 3/1/24, to Marshack Hays Wood, Attn: D. Edward Hays, Esq., 870 Roosevelt,
Irvine, CA 92620

By email, to Alina Mamlyuk, Esq., amamlyuk@marshackhays.com
By email, to Edward Hays, Esq., ehays@marshackhays.com
By email, to Layla Buchanan, Esq., lbuchanan@marshackhays.com

                                                                                            Service information continued on attached page

I declare under penalty of perjury under the laws of the United States that the foregoing is true and correct.

 2/29/24                      Kathleen P. March                                                 /s/ Kathleen P. March
 Date                           Printed Name                                                    Signature




            This form is mandatory. It has been approved for use by the United States Bankruptcy Court for the Central District of California.


June 2012                                                                                           F 9013-3.1.PROOF.SERVICE
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                        EXHIBIT H




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  From:          K. P. March
  To:            "Alina Mamlyuk"
  Cc:            "Ed Hays"
  Subject:       To Trustee Marshack Atty Alina Mamlyuk of Marshack Hays firm, from KPMarch Esq of Bky LF, counsel to Han
                 and Jayde Trinh on their dkt.674 and 675 admin claim motions. Please read and reply. Thx.
  Date:          Thursday, April 4, 2024 6:25:36 PM


 040424


 To Trustee Marshack Atty Alina Mamlyuk of Marshack Hays firm, from KPMarch Esq of
 Bky LF, counsel to Han and Jayde Trinh on their dkt.674 and 675 admin claim motions
 Atty Mamlyuk:
 Your below email is WRONG on your supposed facts, and your accusatory tone is improper,
 particularly as what you say is WRONG on the supposed facts.
 Directly contrary to what your below email states, Han Trinh and Jayde Trinh, each
 continued, until 6/2/23, to do their same administration work (Han) and administration and
 legal work (atty Jayde) for LPG, which each of them had done for LPG, for over 2 years, and
 are entitled to be paid their LPG salaries for doing that work. Not only did they continue with
 their job duties but took on more and whatever was needed for any LPG or former LPG client
 that contacted LPG directly. Han testified in her deposition taken on 3/20/24 that Han worked
 from 01/29/2021 to 06/02/2023.
 There are numerous LPG emails and LPG call logs establishing that Han and Jayde continued
 to do necessary work administering all and any work that LPG required, up to 6/2/23. Again,
 despite the evidence that you received, there are still emails that will show that Han and Jayde
 were continuing to actively administer LPG files for the benefit of LPG. In addition, multiple
 former LPG attorneys, LPG’s outside counsel, and other employees would be able to verify
 ongoing communications with both Han and Jayde re LPG files and LPG itself up until
 6/2/2023. Han and Jayde do not have access to those emails, at present, because those emails
 are part of the emails/data seized in the 6/2/23 Lockouts and seizures. Dinsmore firm and its
 field agents have all those emails, because it was Dinsmore firm and its field agents that seized
 computers, emails, and data on 6/2/23.
 Until sometime in April 2023, Han and Jayde didn’t know LPG had filed bankruptcy on
 3/20/23. As Han’s Declaration to admin claim attests, “Around the first week of April 2023,
 Tony Diab and attorney Daniel March of LPG-- who had been in charge of LPG during the
 years Jayde and I had worked for LPG-- told me that LPG had filed bankruptcy, and that Diab
 and Dan March would continue to be in charge of LPG, now that LPG had filed bankruptcy.
 They told me that Jayde and I and the other LPG W-2 employees that were left should
 continue working for LPG, that LPG would keep running for a year, and that attorney Dan
 March and Diab would have the bankruptcy court approve LPG paying the salaries of me,
 Jayde, and the other remaining employees of LPG. I kept working for LPG, based on Tony
 Diab’s telling me that Diab and attorney Dan March of LPG would get the Bankruptcy Court
 to approve LPG paying the salaries of me, Jayde, and the other LPG W-2 employees.”
 Han and Jayde didn’t know that Marshack had been appointed as Chapter 11 Trustee to run
 LPG, until 6/2/23, and didn’t know that Marshacks’ special counsel, the Dinsmore firm, had,
 on 5/25/23 filed a sealed adversary proceeding complaint, and a sealed Motion for dkt.13
 Lockout and Preliminary Injunction Order, got that granted at an ex parte hearing on 5/26/23,
 with no notice to any defendants (Including no notice to defendants Greyson Law Center PC,

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 Han or Jayde, or to any other of the many persons/entities named as defendants in that
 adversary proceeding).


 Han and Jayde’s work continuing to administer the 28,000 LPG active litigation files, until
 6/2/23, not only benefited LPG, it was essential work, as Han and Jayde’s Declarations to
 their administrative claim motions explain. There were a few people left at LPG to do that
 essential work which Han and Jayde did, including answering questions for those 28,000
 clients, assigning attorneys to defend clients who were sued in state court suits, helping clients
 contact/stay connected with the attorneys defending those of the clients who were being sued
 in state court suits, etc.
   
 If they had not done that work, LPG could not carry on its business. But for Han and Jayde
 administering the 28,000 files, those files would have been in disarray, instead of being kept
 serviced until 6/2/23.


 Han’s Decl, paragraph 11 attests: “In our 2 plus years as LPG employees, to and including
 6/2/23, Jayde and I were essential employees of LPG, because Jayde and I were the LPG
 employees who administered approximately 28,000 active litigation files of LPG clients,
 including hiring, managing, assigning, and monitoring performance of attorneys to represent
 LPG clients, for clients whose matters were not resolved short of lawsuits. Jayde and I were
 the only LPG employees administering LPG’s 28,000 active litigation files. Without us
 administering LPG’s 28,000 active litigation files, LPG could not carry on its business.”


 Trustee Marshack would not have been able to sell LPG’s clients/client files to Morning Law,
 for the multiple millions of dollars Morning Law agreed to pay, if those 28,000 of LPG active
 litigation files were in disarray, not serviced since the 3/20/23 date LPG filed bankruptcy.
 Due to Han and Jayde’s continuing to administer those 28,000 LPG client files, up to 6/2/23,
  Marshack was able, in July 2023 [once Marshack and Phoenix/Carss/Tan stipulated to the
 avoidance of the client files, which had been transferred to Phoenix, but which, by avoidance”
 were returned to LPG] to sell LPG’s clients/files in the Bankruptcy Court sale Motion, where
 Morning Law bought them for multiple millions of dollars.


 6/2/23 was the date on which the Dinsmore firm and its field agents performed the Lockout of
 Greyson Law Center, PC, from Greyson’s office, seizing computers and data. 6/2/23 date was
 the first date on which Dinsmore firm attorney Christopher Celentino, or any other attorney or
 field agent of Trustee Marshack, ever communicated with Han Trinh, or Jayde Trinh in any
 way. On 6/2/23 Tony Diab received a phone call from Celentino, and conferenced Han Trinh
 into that call, as Han Trinh’s dkt.674 admins Motion explains. That was the first that Han
 found out what it meant that Marshack had been appointed as Trustee over LPG and that
 Trustee by Dinsmore firm, had moved for and obtained, by sealed ex parte Motion, the dkt.13
 Lockout & Preliminary Injunction Order that was executed on Greyson’s, Phoenix’s and other
 defendants’ offices, on 6/2/23. 6/2/23 is the date that Han and Jayde ceased any and all work
 for LPG.




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 As Han testified in her 3/20/24 deposition, and as Scott Eadie’s Declaration filed by my firm
 on 4/2/24 attests, Greyson Law Center, PC was incorporated on 5/12/23, with the California
 Secretary of State, and is wholly owned by Scott Eadie, Esq., who is Greyson’s managing
 attorney. Yes, Jayde and Han did work for Greyson from 5/1/23 onward, but as Greyson had
 very few clients, that did not take much time, so Han and Jayde were able to continue
 administering work for LPG, up to 6/2/23, and are entitled to be paid by the LPG bankruptcy
 estate for doing so.
 Though Trustee Marshack, as LPG’s trustee, has access to all LPG Paychex documents, Han
 Trinh produced all Han’s Paychex paystubs that Han was able to access, on 3/15/24, before
 Han’s 3/20/24 deposition. As Han explained in her 3/20/24 deposition, Han’s W-2 form from
 LPG for 2023 year shows Han did NOT receive any extra paycheck. Rather, there was a
 Paychex payroll which was supposed to be funded but did not get paid because it was not
 funded by LPG. My firm, as counsel for Han, produced Han’s W-2 form from LPG for 2023,
 on 3/15/24, before Han’s 3/20/24 deposition. That W-2 shows there was no “overpayment to
 Han”. My firm, for Han, also produced Han’s bank account records, on 3/15/24, before Han’s
 3/20/24 deposition, which show all the payments from LPG. To help you understand there
 was no double payment, or over payment, because there was one missed payment, see the
 following: Pink circles are dates that LPG should have processed and paid payroll. Purple
 lines are dates that employees, including Han, received actual payroll payment in their bank
 account.




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 It is disingenuous (and false, twice) that your below email states: “The fact that the Trinhs
 were not LPG employees conclusively defeats their administrative claim motions” , when, on
  3/21/24, you signed your declaration to your firm’s pleading, for Trustee Marshack [dkt.1054
 in main LPG bky case], which pleading states, at p. 4, line 21 3t seq, that ’Trustee obtained
 authorization to pay compensation to the employees who had been servicing the client files
 until they could be sold”, even though the 4 administrative claimants in question did NOT
 work for LPG, but rather, worked respectively, for Maverick Management – the processing
 company for Phoenix Law and an alter ego of LPG. Therefore, not being an employee of LPG
 is NOT fatal. But here, the Trinhs continued to do essential work directly for LPG—not for
 some other entity—up to 6/2/23, and they are entitled to be paid for that work. Do you not
 read your own pleadings? Or do you hope my firm does not read your firm’s pleadings?


 For all reasons stated in Han’s [dkt.674] and Jayde’s [dkt.675] administrative claim motions,
 and for all reasons stated here, those motions are meritorious, and will NOT be withdrawn.
 Rather than Trustee, by your firm, opposing those Motions, Trustee should be thanking the
 Trinhs for their administration of the 28,000 LPG active litigation files, up to 6/2/23, that
 allowed Trustee to sell those files to Morning Law Firm many millions of dollars. Now that
 this email has clarified things for you, your firm should file a STATEMENT OF NON-
 OPPOSITION to Han Trinh’s and Jayde Trinh’s administrative claim motions, and my firm
 requests that you do that.


 Please REPLY to confirm receipt. of this email and do please email my firm whatever
 documents your below email is talking about, which you say you will send my firm.
 PS: My firm duly served Han Trinh’s Requests to Produce Documents on your firm on
 2/29/24, and duly served Jayde Trinh’s Request to Produce Documents on your firm, on
 2/29/24, as Trustee’s counsel on the Motions for allowance and payment of administrative
 claims. My firm served those by email, on you atty Mamlyuk, and by mail on Marshack
 Hays, on 2/29/24. Copies are attached for your convenience. Written Responses were due 30
 days after service. No written Responses to the 2 Requests to Produce Documents have been
 served on my firm, by email, or by mail. The written Responses and document production are
 overdue. Because both are overdue, all objections are waived. Please therefore promptly,
 email my firm written Responses of Trustee Marshack, to both Han’s, and Jayde’s Requests to
 Produce Documents, and promptly produce the requested documents.   Please REPLY to
 confirm your firm will do this. Thx.
 KPMarch




 Kathleen P. March, Esq.
 The Bankruptcy Law Firm, PC
 10524 W. Pico Blvd, Suite 212
 Los Angeles, CA 90064
 Phone: 310-559-9224
 Fax: 310-559-9133
 E-mail: kmarch@BKYLAWFIRM.com


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 1          PHUONG JAYDE TRINH DECLARATION TO THIS REPLY
 2          I, PHUONG JAYDE TRINH (aka “Jayde”), declare:
 3
 4      1. My administrative claim Motion [dkt675] filed 11/17/24, requests that LPG’s
 5
            bankruptcy estate pay me my Litigation Practice Group PC (“LPG”) salary, for
 6
 7          the 11 weeks of essential work I did for LPG, from 3/20/23 to 6/2/23.
 8      2. I have read Trustee Marshack’s Opposition (“OPP”) [dkt.1103] filed 4/11/24.
 9
            That OPP alleges I am not entitled to be paid my salary by LPG’s bankruptcy
10
11          estate, for that 11 weeks of essential work I did for LPG, from 3/20/23 to
12          6/2/23, and that I am not entitled to be paid the vacation pay that I accrued
13
            before 3/20/23, the date on which LPG filed bankruptcy . I disagree, because
14
15          my accrued vacation pay was not due until I ceased to be employed by LPG,
16
            which was months post-petition. Many of my and Han’s LPG paychex
17
            paystubs, attached to March decl, show we are accruing vacation pay.
18
19      3. We accrued vacation at 6.16 hours per 2 week pay period. Even if only the
20
            vacation pay that Han and I accrued, from 3/20/23 to 6/2/23, was ordered paid,
21
            that would be 33.88 hours vacation pay accrued during that period, for Han,
22
23          which is $4,878.72 for Han at Han’s salary; and would be 33.88 hours vacation
24
            pay accrued during that period, for Jayde, which is $4,065.60 for Jayde at
25
            Jayde’s salary.
26
27
28
     ________________________________________________________________________________________________
     REPLY OF PHUONG JAYDE TRINH (“JAYDE”), TO TRUSTEE MARSHACK’S OPPOSITION TO
     JAYDES’S MOTION [DKT.675] FOR ALLOWANCE AND PAYMENT OF ADMINISTRATIVE CLAIM PER
     11 U.S.C. §503(b)(1)(A); REPLY DECL. OF JAYDE TRINH; DECLS. OF TONY DIAB, HAN TRINH,  262
     KATHLEEN P. MARCH, ESQ., AND MULTIPLE ADDITIONAL DECLARANTS, AS ATTACHED                       1
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 1      4. OPP is error, in alleging I was not a W-2 employee of LPG from 3/20/23
 2          through 6/2/23 (date of Lockouts). I was an LPG W02 employee that whole
 3
            time.
 4
 5      5. LPG’s payroll processor, Paychex, shows that as of 6/2/23, LPG had 5 active
 6          employees: Daniel March, Olga Esquivel, Han Trinh, Phuong Trinh (me) and
 7
            Carl Wuestehouse. That Paycheck printout is an Exhibit to Han Trinh’s
 8
 9          Declaration to this Reply. That same Han Trinh Declaration is also attached to
10          Han’s Reply to Trustee’s OPPOSITION to Han’s Motion [dkt.674] for
11
            allowance and payment of administrative claim.
12
13      6. I did send the email to Tony Diab and Daniel March on 3/21/23 that is attached
14
            to OPP, saying that my assistant (Mona) and I are no longer employed by LPG.
15
            I sent that email because I was very frustrated at how difficult it was to get
16
17          answers from either Dan March, Esq., who was my direct boss at LPG, or Tony
18
            Diab, so that I can respond to client and attorney questions that I was being
19
            asked to answer, during a very stressful time at LPG.
20
21      7. Immediately after I sent that email, Tony Diab called me and asked me to keep
22
            working for LPG, and asked that Mona Montiero (my assistant) also keep
23
            working for LPG. I agreed, and by later that same day, 3/21/23, I was back
24
25          doing LPG’s work. Tony Diab’s Declaration to this Reply attests to this.
26
        8. I continued working for LPG, as a W-2 employee until 6/2/23.
27
28
     ________________________________________________________________________________________________
     REPLY OF PHUONG JAYDE TRINH (“JAYDE”), TO TRUSTEE MARSHACK’S OPPOSITION TO
     JAYDES’S MOTION [DKT.675] FOR ALLOWANCE AND PAYMENT OF ADMINISTRATIVE CLAIM PER
     11 U.S.C. §503(b)(1)(A); REPLY DECL. OF JAYDE TRINH; DECLS. OF TONY DIAB, HAN TRINH,  263
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 1      9. There is an email attached to OPP, dated 3/21/23, where I am responding to one
 2          of LPG’s attorneys defending LPG clients in state court cases.
 3
        10.Attached as Exhibit A to my herein Declaration are documents showing I was
 4
 5          working after 3/21/23.
 6      11. I do not have access to LPG’s phone logs, or to LPG’s email. LPG’s phone
 7
            logs and email would show that I, continued to work for LPG, until the 6/2/23
 8
 9          lockouts, where Trustee and his attorneys took control of everything.
10      12. LPG’s procedure, in 2022 and 2023 was to send written Termination slips, to
11
            employees who are terminated, either because LPG terminates the employee or
12
13          because the employee quits. Examples of LPG Termination slips are attached
14
            to Han’s Declaration hereto. I never received a termination slip from LPG.
15
        13. I was employed by Greyson Law Center, PC (“Greyson”), during part of the
16
17          time from 3/20/23 to 6/2/23, but as Greyson only had 48 client files, as of
18
            6/2/23, working for Greyson left me plenty of time to continue doing my
19
            essential work for LPG, particularly as I was able to work nights and weekends,
20
21          as needed.
22
        14. I did at least 40 hours of work for LPG each week, from 3/20/23 through
23
            6/2/23. But because I was a salaried W-2 employee at LPG, I did not keep
24
25          daily time records of what work I did for LPG each day. None of LPG’s
26
            salaried employees were required to do that.
27
28
     ________________________________________________________________________________________________
     REPLY OF PHUONG JAYDE TRINH (“JAYDE”), TO TRUSTEE MARSHACK’S OPPOSITION TO
     JAYDES’S MOTION [DKT.675] FOR ALLOWANCE AND PAYMENT OF ADMINISTRATIVE CLAIM PER
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 1      15. Because I was responsible for a wide range of tasks, varying each day, and
 2          because I oversaw the entire team of local counsel attorneys and their staffs, no
 3
            day was the same so there was no “typicality”.
 4
 5      16. I have not received my 2023 W-2 form from LPG, though by law, LPG was
 6          required to send me that W-2 form for the year 2023 by February 2024.
 7
        17.My attorneys, The Bankruptcy Law Firm, PC, by Kathleen P. March, Esq., sent
 8
 9          an email to Alina Mamlyuk Esq of Trustee’s Marshack Hays firm, telling her
10          that LPG was overdue sending me my 2023 W-2 form, and to please send it.
11
            (See March’s Declaration). Getting nothing from Mamlyuk, March’s firm on
12
13          2/29/24, served Trustee Marshack (by serving his firm, Marshack Hays, with a
14
            Request to Produce documents, which including asking Trustee to produce my
15
            2023 year W-2 form from LPG. See March Decl hereto that nothing was
16
17          produced, even when March sent Mamlyuk an email reminding Mamlyuk that
18
            Trustee was overdue serving his Response and producing documents.
19
        18. LPG, which at its height had over 400 employees, had very few employees left
20
21          during the 3/20/23 to 6/2/23 period. I was only a W-2 salaried employee at
22
            LPG, nothing more. I was never an officer, director or shareholder of LPG.
23
            OPP is in error, in saying I am an insiders of LPG. I do NOT meet the
24
25          definition of insiders in Bankruptcy Code 11 USC §101(31), which I have read.
26
            LPG was managed by Tony Diab and by LPG Managing Attorney Daniel
27
28          March, Esq., never by me. Han and I never managed LPG at any time.
     ________________________________________________________________________________________________
     REPLY OF PHUONG JAYDE TRINH (“JAYDE”), TO TRUSTEE MARSHACK’S OPPOSITION TO
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 1      19. I never participated, in any way, in transferring LPG client files to other Law
 2          Firms or in transferring LPG money anywhere. Nor did LPG send any LPG
 3
            client files, or LPG money, to Greyson Law Center PC. The present Greyson
 4
 5          Law Center, PC was not incorporated until 5/12/23, and did not exist in any
 6          form at the time LPG was transferring LPG client files, and LPG money, to
 7
            other Law Firms, in January-February 2023.
 8
 9      20.OPP (p.9, lines 21-25 is totally in error where it alleges (citing nothing): “There
10          was simply no more work at LPG”, because LPG had transferred its files to
11
            other law firms. The reality is opposite to OPP’s “There was simply no more
12
13          work at LPG” no-evidence allegation. My team and I had more work to do,
14
            from 3/20/23 to 6/2/23, than before 3/20/23, because there were significantly
15
            increased communications to LPG, by both clients and by the “local counsel”
16
17          attorneys defending clients in state court suits across the US, as a result of (1)
18
            LPG having transferred LPG’s files to other law firms (2) LPG filing
19
            bankruptcy on 3/20/23, (3) the erroneous “double pulls” from clients (ie,
20
21          drawing double money out of client’s bank accounts or credit cards, (4) clients
22
            and attorneys emailed and phoned LPG, saying they could not reach anyone at
23
            Oakstone or Phoenix, and (5) if the clients and local counsel had been able to
24
25          reach anyone at Oakstone or Phoenix, the people at Oakstone and Phoenix
26
            didn’t know enough about the clients/lawsuits against clients, to answer the
27
28          questions that were then asked to me and Han at LPG, and (6) people from
     ________________________________________________________________________________________________
     REPLY OF PHUONG JAYDE TRINH (“JAYDE”), TO TRUSTEE MARSHACK’S OPPOSITION TO
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 1          Oakstone and Phoenix phoned and emailed me and Han, asking us to help them,
 2          because they lacked information.
 3
        21. There was no one left at LPG to do the work that Han and I, and our assistants,
 4
 5          did from 3/20/23 to 6/2/23. Dan March didn’t know the files or issues well
 6          enough to answer the inquires we answered from 3/20/23 to 6/2/23, and
 7
            seemingly didn’t have time to do so.
 8
 9      22. For all 6 of these reasons, nothing could be further from the truth than OPP’s
10          “simply no more work at LPG” unsupported allegation. All 6 of these things
11
            that I listed immediately supra resulted in there being a larger volume of
12
13          communications that I and my assistants, and Han and her assistants, had to
14
            respond to, between 3/20/23 and 6/2/24, than the volume of communications we
15
            had to respond to, before 3/20/23.
16
17      23. LPG benefitted from the work that I did, because my work -- fielding all the
18
            client and attorney communications from 3/20/23 to 6/2/23, kept the LPG’s
19
            client base from falling apart -- which allowed Trustee Marshack to sell the
20
21          LPG client files, in July 2023, for many millions of dollars, to Morning Law.
22
            Tony Diab’s Declaration signed 4/14/24, to Han and my REPLIES to
23
            OPPs,attests to this.
24
25      24. Because my post-petition work was essential (no one else to do it), was done at
26
            LPG’s request, and because our work benefitted LPG (which sold the client
27
28          files for many millions of dollars in July 2023), I would be entitled to be paid
     ________________________________________________________________________________________________
     REPLY OF PHUONG JAYDE TRINH (“JAYDE”), TO TRUSTEE MARSHACK’S OPPOSITION TO
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 1          on a quantum meruit basis, for that work, even if I had not been a LPG W-2
 2          employee, which I was. The most accurate measure of the quantum meruit
 3
            value would be my W-2 salary.
 4
 5      25. Dan March worked from his office down the street from LPG’s Tustin office,
 6          and was hardly ever at LPG’s Tustin office.
 7
        26. LPG was equipped so that employees, including Han and I, and our assistants,
 8
 9          could work remotely. We all worked at LPG’s Tustin office some of the time,
10          and we all worked remotely some of the time, from 3/20/23 to 6/2/23. When
11
            LPG was evicted from its Tustin office at the end of May 2023, everyone had to
12
13          work remotely, as LPG no longer had its Tustin office.
14
        27. I continued on as a W-2 employee of LPG from 3/20/23 to 6/2/23, because
15
            Tony Diab told me and Han, on or around early April 2023, that LPG had filed
16
17          bankruptcy, but that Diab would get the Bankruptcy Court to authorize LPG to
18
            pay my salary.
19
        28. I had no part in making the decision that LPG would file bankruptcy, and I did
20
21          not find out LPG had filed bankruptcy until on or around the beginning of April
22
            2023, after LPG had already filed bankruptcy. I was still attempting to have
23
            LPG pay bills as late as March 15th. If I was aware that LPG was going to file
24
25          bankruptcy, less than a week later, I would have had no incentive to have LPG
26
            pay those bills, since filing bankruptcy would cause a stay on such payments
27
28          anyhow. See Exhibit B.
     ________________________________________________________________________________________________
     REPLY OF PHUONG JAYDE TRINH (“JAYDE”), TO TRUSTEE MARSHACK’S OPPOSITION TO
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 1      29. On or around January-February 2023, Diab had told me and Han that LPG was
 2          going to “wind up” operating, which would take around a year. Diab didn’t say
 3
            anything about LPG filing bankruptcy. When Diab said that, and at all times,
 4
 5          my focus was on protecting the clients and the employees of LPG. See Exhibit
 6          C (where Diab uses wind up term to both me and Han and text from me to Han
 7
            referencing same).
 8
 9      30. I believe that LPG had already transferred the majority of LPG’s client files to
10          other law firms before I knew those transfers had occurred. However, since
11
            Diab had told me on or around January 2023, that LPG was going to wind up, I
12
13          did not think there was anything unusual or incorrect about LPG transferring
14
            LPG’s client files to other law firms for servicing, because with LPG winding
15
            up, the client files would have to be transferred to other law firms to service the
16
17          clients. As far as I knew, that would be the only option due to LPG winding up
18
            (aka ceasing operations). See Exhibit 47, p.107 to Alex Rubin [dkt.1099]
19
            Declaration dated 1/26/23 from LPG managing attorney Daniel March, to
20
21          Oakstone Law Group (“OLG”), a law firm that the letter says 15,585 LPG
22
            client files are being transferred to, for servicing, and that “OLG shall collect
23
            client payments and remit the sum of 20% of revenue collected to LPG as
24
25          compensation to LPG”.
26
        31. I never signed an employment contract with OLG agreeing to be its managing
27
28          attorney, nor did I receive any compensation from OLG. Although I tentatively
     ________________________________________________________________________________________________
     REPLY OF PHUONG JAYDE TRINH (“JAYDE”), TO TRUSTEE MARSHACK’S OPPOSITION TO
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 1          agreed to be “interim” managing attorney at Oakstone, after further
 2          consideration, I ultimately declined to accept. See Exhibit D (oakstone
 3
            secretary of state)
 4
 5      32. Contrary to Dearwester’s declaration, I never owned the i8 car referenced in
 6          Jane Dearwester’s Declaration, nor did I ever tell Jane that I did. In total, I used
 7
            the i8 for no more than 14 days. As far as I recall, numerous others used the i8
 8
 9          as well, and for longer periods of time than myself (see Mallory McCarthy dec).
10          Further, as referenced therein, Diab was not funding a “luxurious lifestyle” for
11
            me. I have only ever attended one conference in Vegas. Two were in Colorado
12
13          and one was San Diego. I flew commercial and/or drove. Tony Diab never
14
            attended any of these conferences. LPG funded the basics – transportation,
15
            hotel, food, and registration for the conferences. Any activities that could be
16
17          construed as even remotely “lavish” would have been paid by other third-parties
18
            in attendance at the conference. In addition, the ONE Vegas conference was
19
            also attended by three other attorneys at LPG. These conferences were not
20
21          created by LPG, they were industry-wide events attended by dozens if not
22
            hundreds of entities. See McCarthy Dec.
23
        33. Again, contrary to Dearwester’s declaration, at all pertinent times, I was
24
25          licensed to practice law in the State of California. Prior to passing the California
26
            Bar, I was provisionally licensed by CalBar on 12/2/2020. A provisionally
27
28          licensed attorney is able to practice as any licensed attorney would as long as
     ________________________________________________________________________________________________
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 1          they were under the supervision of a licensed attorney. Moreover, this fact was
 2          displayed on LPG’s website. See Exhibit E.
 3
        I declare under penalty of perjury that the foregoing is true and correct and that this
 4
 5   Declaration is executed at Houston, Texas on April__17__, 2024.
 6                             _______________________
 7
                               PHUONG JAYDE TRINH
 8
 9
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28
     ________________________________________________________________________________________________
     REPLY OF PHUONG JAYDE TRINH (“JAYDE”), TO TRUSTEE MARSHACK’S OPPOSITION TO
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     KATHLEEN P. MARCH, ESQ., AND MULTIPLE ADDITIONAL DECLARANTS, AS ATTACHED                       10
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                        Exhibit A




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                        Exhibit B




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                        Exhibit C



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                        Exhibit D



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                        Exhibit E



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Kathleen P. March, Esq., (CA SBN 80366)
THE BANKRUPTCY LAW FIRM, PC
10524 W. Pico Blvd, Suite 212, LA, CA 90064
Phone: 310-559-9224;      Fax: 310-559-9133
Email: kmarch@BKYLAWFIRM.com
Counsel for Greyson Law Center PC


                    UNITED STATES BANKRUPTCY COURT
     OF THE CENTRAL DISTRICT OF CALIFORNIA—SANTA ANA DIV.
                             Bankruptcy Case No. 8:23-bk-10571-SC
                             Chapter 11
 In re
                             DECLARATION OF ATTORNEY DENISE
                             MIKRUT, ESQ. IN SUPPORT OF GREYSON
LITIGATION
PRACTICE                     LAW CENTER PC’S MOTION FOR
GROUP, PC
                             ADMINISTATIVE CLAIM


                             This Declaration relates to Greyson Law Center PC’s
Debtor.
                             Motion for Administrative Claim [dkt.676 in LPG main
                             bankruptcy case docket], which is set for hearing by
                             Bankruptcy Judge Scott Clarkson on:
                             Date: April 25, 2024
                             Time: 11:00 a.m.
                             Place: Courtroom of Bankruptcy Judge Scott Clarkson,
                             by Zoom or in person at:
                             411 West Fourth Street, Courtroom 5C
                             Santa Ana, CA 92701-4593




                DECLARATION OF DENISE MIKRUT, ESQ.

         I, DENISE MIKRUT, ESQ., declare and state as follows:




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      1.       This Declaration is being submitted in support of the Motion [dkt.676]

of Greyson Law Center, PC (“Greyson”), which moves the Bankruptcy Court to

issue an Order granting and allowing payment of Greyson’s administrative claim

submitted in the bankruptcy case of Debtor Litigation Practice Group, PC (“LPG”).

      2.       I am a licensed attorney in the States of Nevada and Arizona. I was

employed by LPG as a W2 attorney, from November 2021 to February 2023 to

represent LPG clients in the States of Nevada and Arizona.

      3.        Beginning around February 2023, I became aware that the business

operations of LPG were suspect. This was evidenced by the failure of LPG to

issue paychecks when due. Paychecks began to be issued late and were received

approximately six to seven days late for each pay period beginning in late January

2023 and continuing in February 2023.

      4.       At a Zoom meeting held in February 2023, Han Trinh and Jayde Trinh,

who were also employed by LPG at that time, informed the LPG attorneys that

LPG was having financial issues and they were unsure about the reliability of

issuance of paychecks on a regular basis moving forward. The reason(s) for the

collapse of LPG were not disclosed and no one appeared to know exactly what had

caused the financial situation at LPG to deteriorate in such a quick manner.

      5.       That which was disclosed at the February Zoom meeting by Han and

Jayde was that Tony Diab and LPG managing attorney Daniel March, Esq. had




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           2
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told them that LPG would be winding down its operations and moving the LPG

client files to other firms. One of these entities was another law firm, Oakstone

Law Group. Han and Jayde also informed us they would continue doing work for

LPG to assist LPG with LPG’s obligations in winding up its operations.

      6.         Upon information and belief, I received an employment offer letter

from Oakstone Law Group on or around February 18, 2023.

      7.       Because it was represented that LPG would be forwarding client files to

Oakstone, and many of these clients would need attorney assistance with either

settlement of debts or litigation of debt cases, I believed I had no chose but to

accept the employment offer letter from Oakstone in order to continue to work

with open client matters. My start date was on or around 02/20/2023. In addition,

because LPG was essentially “going out of business”, it became clear that my

employment relationship with LPG would end.

      8.        My work for Oakstone was very short-term and only lasted about a

month. However, during this time, I was in regular contact with either Han or

Jayde for assistance with issues related to the LPG clients and the transfer of client

files from LPG to Oakstone for servicing. Upon information and belief, Han and

Jayde were still working for LPG during this time. In addition, although the client

files were being transferred to Oakstone for serving, Oakstone did not have any

staff in place to service clients or their concerns or questions regarding the transfer




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or what would happen with the client accounts.

      9.        At some point in after March or April 2023, the LPG files that had been

transferred to Oakstone were transferred to Phoenix Law. At this point, I only had

access to information for clients for which I was in the midst of doing work. If

existing clients needed help resolving issues for which I had no answers, I directed

these clients to contact either Phoenix Law or LPG. Upon information and belief,

Han and Jayde were still working at LPG at this time, trying to assist “former”

LPG clients.

      10.         During this “transition” time, the LPG clients who were served with

debt collection lawsuits found themselves in a bind. To my knowledge, Phoenix

Law did not have any attorneys to handle these matters and its only attorney-

employee was Ty Carss, Esq., who was only licensed in California.

      11.        My employment relationship with Greyson Law Center began on or

around 03/27/2023.

      12.          I was eager to be employed as a W-2 employee of Greyson Law

Center because I believed it would enable me to continue to help former LPG

clients whose files had been transferred numerous times within a short period of

time and whose needs I believed were being overlooked and/or neglected.

      13.        Upon information and belief, me, along with the other attorneys that

had agreed to work for the Greyson Law Center were informed that the startup




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funding for Greyson Law Center was being financed by Eng Taing. However, near

the end of April 2023, Scott Eadie, Jayde Trinh, and Han Trinh held an emergency

attorney meeting and told us “local counsel” attorneys that Eng Taing and his

people pulled out their investments and support of Greyson Law Center.

      14.         At that same meeting, Scott Eadie, Jayde Trinh, and Han Trinh

brainstormed with us on how Greyson could survive without financial support

from Eng Taing. None of us could afford to without getting paid.

`     15.        Most of the attorneys that had done work for Phoenix Law directly

stated at the meeting that they did not want to continue working for Phoenix Law

under the current circumstances because of the slow pay/no pay problem. Given

our options at the time, I, and the other attorneys at the meeting, agreed to be

employed by Greyson, as W-2 employees. The plan was that Greyson Law Center

as a firm would employ attorneys for hire. Greyson would enter into contractual

relationship with Phoenix whereby Phoenix Law would assign consumer debt

litigation cases to Greyson, and in turn, Greyson would assign an attorney to

represent the consumer/client in the applicable jurisdiction. Attorneys would then

work with the clients directly with the goal of resolving the client’s litigation case.

Phoenix would pay Greyson an agreed-upon sum per case file assigned, and said

payments would enable Greyson to pay its attorneys.

      16.       Upon information and belief, Greyson and Phoenix Law did enter into




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a contractual agreement whereby Phoenix agreed to pay Greyson the sum of

$2,000 per each litigation case assigned. If this arrangement would have been

allowed to continue, it is my belief it would have permitted continuity of service to

former LPG clients without causing the delays and interruptions in service to

clients that resulted.

       17. Moreover, because of the pending LPG bankruptcy case, I was told by

Ty Carss that Phoenix Law could not hire or otherwise contract with attorneys in

the various states to assist former LPG clients transferred to Phoenix Law because

he could not obtain authorization from the bankruptcy court and/or the bankruptcy

trustee assigned to the LPG case to pay attorneys for case assignments. Without a

promise of payment, it was foreseeable that former LPG attorneys, such as me,

would not take on work for which they might not be compensated.

       I declare under penalty of perjury that to the best of my knowledge, the

foregoing Declaration is true and correct.


DATED this 15th day of April, 2024.          /s/Denise Mikrut, Esq.
                                             DENISE MIKRUT, ESQ.




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 1    Kathleen P. March, Esq., (CA SBN 80366)
      THE BANKRUPTCY LAW FIRM, PC
 2    10524 W. Pico Blvd, Suite 212, LA, CA 90064
 3    Phone: 310-559-9224; Fax: 310-559-9133
      Email: kmarch@BKYLAWFIRM.com
 4    Counsel for Greyson Law Center PC
 5
 6                                 UNITED STATES BANKRUPTCY COURT

 7                  OF THE CENTRAL DISTRICT OF CALIFORNIA—SANTA ANA DIV.

 8
     In re                                                Bankruptcy Case No. 8:23-bk-10571-SC
 9                                                        Chapter 11
10
     LITIGATION PRACTICE GROUP, PC                        DECLARATION OF ATTORNEY
11                                                        COLLIN O. DONNER IN SUPPORT OF
                  Debtor.                                 GREYSON LAW CENTER PC’S MOTION
12                                                        FOR ADMINISTRATIVE CLAIM
13
                                                          This Declaration relates to Greyson Law Center
14                                                        PC’s Motion for Administrative Claim [dkt.676
                                                          in LPG main bankruptcy case docket], which is
15                                                        set for hearing by Bankruptcy Judge Scott
16                                                        Clarkson on:
                                                          Date: April 25, 2024
17                                                        Time: 11:00 a.m.
                                                          Place: Courtroom of Bankruptcy Judge Scott
18                                                        Clarkson, by Zoom or in person at:
                                                          411 West Fourth Street, Courtroom 5C
19                                                        Santa Ana, CA 92701-4593
20
21
                        DECLARATION OF ATTORNEY COLLIN O. DONNER
22
23 I, Collin O. Donner, declare:
             1.       I am an attorney duly admitted to practice law in the State of Louisiana and the United
24
     States District Court for the Western District of Louisiana.
25
             2.       I make this Declaration regarding the Motion [dkt.676] of Greyson Law Center, PC
26
     (“Greyson”), which moves the Bankruptcy Court to grant Greyson allowance and payment of Greyson’s
27 administrative claim, to be paid to Greyson by the bankruptcy estate of bankruptcy debtor Litigation
28 Practice Group, PC (“LPG”).
             3.       I was employed by LPG, as a W2 attorney, from May 2022, until Mid-February 2023.

      ———————————————————————————————————————————————
      _________________________________________________________________________________________________
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                 DECLARATION OF ATTORNEY COLLIN O. DONNER                         1
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 1           4.       The stability of LPG began to waver in February 2023, as pay was consistently delayed
 2 by six to seven days for each pay period that month.
 3           5.       During a routine meeting prior to my separation from the firm, Han Trinh, and Jayde

 4 Trinh candidly informed LPG attorneys that the payment issues were unlikely to improve. They
     expressed concerns about LPG's financial status, indicating that payroll would continue to be
 5
     unpredictable and problematic.
 6
             6.       Han and Jayde disclosed that they had been informed by Tony Diab and Daniel March
 7
     that LPG would be winding up and encouraged us to seek alternative employment opportunities. They
 8 mentioned a potential job opening at Oakstone, a new firm that would be taking over representation of
 9 SOME former LPG clients (emphasis added).
10           7.       Han and Jayde informed the attorneys that they decided to stay behind at LPG to assist
11 with the wind up process.
12           8.       On or about February 18, 2023, I received an employment offer letter from Oakstone,

13 which I accepted, with a start date of February 20, 2023. I made a personal choice to join Oakstone, as
     it seemed like the best option given the circumstances.
14
             9.       I transitioned to Oakstone Law Group smoothly but encountered challenges due to the
15
     lack of operational structure within the firm. This led me to reach out to Han and Jayde at LPG on
16
     numerous occasions for guidance and support, as I was unable to locate and/or access former LPG client
17 files. Nonetheless, If I had not chosen to be employed by Oakstone, I still would have resigned from
18 LPG for the reasons stated above.
19           10.      During my tenure at Oakstone, my ability to effectively represent former LPG clients
20 with active lawsuits was hindered because only a small portion of Louisiana LPG files were transferred
21 to Oakstone. The vast majority of my active LPG files were transferred to PHX.
22           11.      After several demands from Jayde, myself, and other former LPG attorneys, we were
     provided login credentials to PHX’s cloud-based server where the client files were being stored.
23
     Unfortunately, most of the client files were missing information due to the hurried and ineffective
24
     porting of data, further hindering my ability to service former clients.
25
             12.      After some time at Oakstone, it was shared in multiple team meetings that Oakstone
26 was clearly failing.
27         13.       On or around March 23, 2023, I received an offer letter from Ms. Harris of Greyson,
28 via email from onboarding@greysonpc.com.


      ———————————————————————————————————————————————
      _________________________________________________________________________________________________
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                 DECLARATION OF ATTORNEY COLLIN O. DONNER                         2
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 1           14.      I chose to accept the employment offer from Greyson and my start date was on or
 2 around March 27, 2023.
 3           15.      If I had not chosen to join Greyson, I still would have resigned from Oakstone.

 4           16.      Despite their active roles assisting with LPG’s wind up, Han and Jayde were helpful in
     setting up Greyson. However, to the best of my knowledge, they didn’t officially join Greyson as
 5
     employees sometime in April 2023.
 6
             17.      In late April 2023, an emergency attorney meeting was held by Scott Eadie, Jayde
 7
     Trinh, and Han Trinh, where it was revealed that Eng Taing and his associates had withdrawn their
 8 investments and support from Greyson. This prompted discussions on how Greyson would sustain itself
 9 without financial backing.
10           18.      During the meeting, Greyson’s attorneys raised concerns about accepting new lawsuits
11 as the clients were remitting attorney's fees to a different law firm – PHX. Some attorneys shared that
12 they were offered new cases by PHX (and other unknown entities) ranging from $800 to $2,500 per
13 lawsuit but payment was either delayed or non-existent. It was then decided that Greyson would invoice
     PHX $2,000 per lawsuit for the work done on behalf of former LPG clients.
14
             19.      Furthermore, it was noted that PHX was not paying Greyson attorneys who were
15
     actively litigating matters involving LPG clients that had been transferred to PHX. This raised concerns
16
     about fairness and remuneration for the work being done. Moving forward, Greyson aimed to ensure
17 proper compensation for the legal services provided.
18         20.    In conclusion, my choice in transitioning as an employee from LPG to Oakstone and
19 eventually to Greyson was a challenging yet necessary journey. Despite the uncertainties and financial
20 setbacks, the commitment to serving clients and upholding professional standards remained paramount.
21 The decisions made were driven by a dedication to legal excellence and ethical practice, ensuring that
22 the interests of clients were always the top priority.
23
             I declare under penalty of perjury under the laws of the United States of America that the
24
     foregoing is true and correct, and that this Declaration is executed by me on April 16, 2024.
25
26
27
28                                          ——————————————————————
                                                  Collin O. Donner

      ———————————————————————————————————————————————
      _________________________________________________________________________________________________
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                 DECLARATION OF ATTORNEY COLLIN O. DONNER                         3
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 1   Kathleen P. March, Esq., (CA SBN 80366)
 2   THE BANKRUPTCY LAW FIRM, PC
     10524 W. Pico Blvd, Suite 212, LA, CA 90064
 3   Phone: 310-559-9224;      Fax: 310-559-9133
 4   Email: kmarch@BKYLAWFIRM.com
     Counsel for Greyson Law Center PC
 5
 6
 7                           UNITED STATES BANKRUPTCY COURT

 8          OF THE CENTRAL DISTRICT OF CALIFORNIA—SANTA ANA DIV.

 9                                     Bankruptcy Case No. 8:23-bk-10571-SC
                                       Chapter 11
10     In re
11                                     DECLARATION OF ATTORNEY ISRAEL
12                                     OROZCO REGARDING WORKING FOR
      LITIGATION
13    PRACTICE                         GREYSON LAW CENTER PC
14    GROUP, PC
                                       This Declaration relates to Greyson Law Center PC’s
15                                     Motion for Administrative Claim [dkt.676 in LPG main
                                       bankruptcy case docket], which is set for hearing by
16                                     Bankruptcy Judge Scott Clarkson on:
      Debtor.
17                                     Date: April 25, 2024
                                       Time: 11:00 a.m.
18                                     Place: Courtroom of Bankruptcy Judge Scott Clarkson,
                                       by Zoom or in person at:
19                                     411 West Fourth Street, Courtroom 5C
20                                     Santa Ana, CA 92701-4593
21
22
                      DECLARATION OF ATTORNEY ISRAEL OROZCO
23
24             I, Israel Orozco, declare:
25
               1.    I am an attorney at law, duly licensed to practice law under the laws of the
26
27   State of California, as well as in the Central District of California.
28             2.    I make this Declaration regarding the Motion [dkt.676] of Greyson Law


     ———————————————————————————————————————————————
     _________________________________________________________________________________________________
                                                                                           326
                DECLARATION OF ATTORNEY ISRAEL OROZCO                         1
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 1   Center, PC (“Greyson”), which moves the Bankruptcy Court to grant Greyson allowance
 2
     and payment of Greyson’s administrative claim, to be paid to Greyson by the bankruptcy
 3
 4   estate of bankruptcy debtor Litigation Practice Group, PC (“LPG”).
 5
            3.     From August 2021 to February 2023, I was employed by LPG, as a W-2
 6
 7   salaried attorney providing legal representation to LPG’s clients.

 8          4.     On or around late January 2023 to February 2023, LPG experienced
 9
     difficulty paying me on time, on multiple occasions, and was also unable to provide me
10
11   with a substitute business credit card to be used for legal expenses. In order for me to
12
     properly continue legal representation of LPG’s clients, I was forced to use personal
13
14   credit cards for legal expenses. I continued to do so on Daniel S. March’s (“March”)

15   representation to me that LPG was expected to continue running its operations for
16
     approximately a year as it was winding up. This representation was made to me by Mr.
17
18   March at a meeting that occurred on February 8, 2023.
19
            5.     Given the financial difficulties that LPG was experiencing around late
20
21   January 2023 to February 2023, it was Mr. March, during that February 8, 2023 meeting,

22   who stated that it would be best for me to consider employment elsewhere, despite also
23
     stating that LPG would continue to operate for approximately a year. In that meeting,
24
25   Mr. March informed me that Scott Eadie was to be the managing attorney at a new law
26
     firm (Oakstone), which would be taking over representation of some of the LPG clients,
27
28   and that LPG would still be able to continue representation of LPG clients.



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                DECLARATION OF ATTORNEY ISRAEL OROZCO                         2
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 1          6.     This aforementioned information from my meeting with Mr. March was
 2
     later reiterated by Han and Jayde as they had also been informed by Tony Diab and Mr.
 3
 4   March that LPG would be winding up, which would take around a year.
 5
            7.      Han and Jayde told the other attorneys and me that they would continue
 6
 7   doing work for LPG to assist LPG wind up. The continued assistance of Han and Jayde

 8   became crucial as my caseload was drastically increased in February 2023. Specifically,
 9
     a separate part of LPG’s practice area involved claims brought by client’s against
10
11   creditors and/or debt collectors under the FDCPA, or under Rosenthal.
12
            8.     A former employee and attorney for LPG, Richard Meier, was the lead
13
14   attorney in this practice area and was operated by two other LPG attorneys: Ms. Ina

15   Meier, and Mr. Anthony Diehl. However, Mr. Meier abruptly left the firm on February
16
     9, 2023, providing only three days’ notice that he was leaving. I was informed by Mr.
17
18   Meier of his resignation by email on February 9, 2023. Attached hereto as Exhibit “A”
19
     is a true and correct copy of the email I received from Mr. Meier on February 9, 2023.
20
21          9.     Ms. Ina Meier abruptly left a short time before Mr. Meier. Mr. Diehl, left

22   LPG on February 24, 2023, providing notice of his resignation on February 22, 2023.
23
     After these three attorneys left, I was the only attorney in LPG’s California office in
24
25   Tustin to handle these FDCPA and Rosenthal matters, alongside other local counsel for
26
     LPG in other states.
27
28


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                DECLARATION OF ATTORNEY ISRAEL OROZCO                         3
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 1          10.    At the time of his departure in early February, Mr. Meier did not leave a
 2
     comprehensive list of clients. Anthony Diehl and I were the only two attorneys in LPG’s
 3
 4   Tustin office handling these matters. It was Jayde Trinh that pressed Mr. Meier to
 5
     provide that list of clients. It was not until February 15, 2023, that Mr. Meier sent LPG
 6
 7   a zip-file containing the list of FDCPA clients that was requested. The email also

 8   included a list of cases that required substitution of attorneys. Attached hereto as Exhibit
 9
     “B” is a true and correct copy of the email received from Mr. Meier on February 15,
10
11   2023 (redacted in part to protect client confidentiality).
12
            11.    I had a close and professional relationship with Mr. Meier at LPG and
13
14   consider him a trusted and respected colleague overall. But the manner in which he

15   abruptly departed LPG provided very little notice for the remaining attorneys working
16
     on these cases to effectively do so, and very little to no notice to the clients where
17
18   substitution of attorneys was needed.
19
            12.    I believe that no one felt the brunt pressure of having the caseload of Mr.
20
21   Meier and Ms. Ina Meier more than Mr. Anthony Diehl. Mr. Diehl worked solely on

22   FDCPA/Rosenthal matters. We attempted to help Mr. Diehl identify and spread out his
23
     workload. At Han and Jayde’s suggestion, I directed my then LPG paralegal, Ms.
24
25   Vanessa Buchner, to help assist Mr. Diehl with his caseload, specifically Rosenthal
26
     matters as Ms. Buchner was able to file legal pleadings and motions in state courts. The
27
28   remaining legal assistants that were originally part of the FDCPA team did not have the



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                DECLARATION OF ATTORNEY ISRAEL OROZCO                         4
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 1   ability or were not trained to file legal documents.
 2
            13.    On February 22, 2023, Mr. Diehl tendered his resignation, which took
 3
 4   effect on February 24, 2023. During the month of February 2023, Han, Jayde, and I did
 5
     what we could in order to help LPG and Mr. Diehl continue the effective representation
 6
 7   of these clients.

 8          14.    On April 11, 2024, the Chapter 11 Trustee filed the First Supplemental
 9
     Declaration of Alex Rubin. Dkt. 1099. At paragraph 10, Mr. Rubin incorporates as an
10
11   attachment “Exhibit 30” an email string “with Jayde Trinh, Israel Orozco and Han
12
     regarding notice of shutting down LPG and laughing at attorneys resigning as a result
13
14   last dated February 23, 2023[.]” This is not true.

15          15.    No one was laughing at anyone as Mr. Rubin erroneously states. That
16
     email string begins with Ms. Rocio Prado-Garcia tendering her resignation on February
17
18   22, 2023, to be effective on February 24, 2023. Ms. Prado was one of the legal assistants
19
     within the FDCPA department.
20
21          16.    Anthony Diehl also announced his resignation on February 22, 2023, to be

22   effective on February 24, 2023. Mr. Diehl, despite the enormous workload he was
23
     handling, was willing to stay at LPG on the condition that LPG increase his salary,
24
25   substantially. LPG refused his salary increase. Mr. Diehl’s salary request at that time
26
     was not for the most part unreasonable, in part, because he did have to manage a heavier
27
28   caseload that resulted from the departures of Mr. Meier and Ms. Ina Meier. However,

     what was being laughed at in “Exhibit 30” of Mr. Rubin’s aforementioned declaration
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                DECLARATION OF ATTORNEY ISRAEL OROZCO                         5
 Case 8:23-bk-10571-SC      Doc 1124 Filed 04/18/24 Entered 04/18/24 19:48:10             Desc
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 1   concerned the amount of salary increase requested by Mr. Diehl that was based on his
 2
     stance that only he could and should manage the entire FDCPA/Rosenthal caseload.
 3
 4   LPG was unwilling to agree to his demand as LPG was attempting to lessen Mr. Diehl’s
 5
     caseload by distributing it amongst other willing attorneys, me included.
 6
 7          17.    There were multiple local counsel for LPG that were capable in assisting

 8   Mr. Diehl, including myself, with the FDCPA/Rosenthal caseload, and Mr. Diehl wanted
 9
     full control over the FDCPA/Rosenthal caseload. As stated earlier, I relied on the
10
11   representation of Mr. March that LPG was able to continue to operate for approximately
12
     a year as it was winding up.
13
14          18.    Han, Jayde, and I did everything we could to assist Mr. Diehl with his

15   caseload. I witnessed first-hand the tremendous distress Mr. Diehl was facing in
16
     February 2023. To state that we were laughing at attorneys resigning is simply untrue.
17
18          19.    On or around February 18, 2023, I received an employment offer letter
19
     from Oakstone Law Group. I made the decision on my own to accept employment from
20
21   Oakstone as this would allow me to better represent LPG clients as LPG was winding

22   up, and because of LPG’s financial problems, which made it uncertain that LPG would
23
     be able to meet its financial obligations to me.
24
25          20.    Deciding to accept employment at Oakstone, I was able to continue to
26
     work on cases of LPG clients assigned to me, because those client’s files had been sent
27
28   to Oakstone to service, with the further understanding, from representations made to me



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                DECLARATION OF ATTORNEY ISRAEL OROZCO                         6
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 1   by Mr. March, that LPG was able to continue client representation in this manner.
 2
            21.     During my brief tenure at Oakstone, I relied on Han and Jayde, at LPG, to
 3
 4   get their help regarding issues concerning LPG clients that LPG had sent to Oakstone
 5
     for servicing, because Oakstone appeared to be wanting of the proper procedures to
 6
 7   effectively communicate with clients.

 8          22.    The consumer clients that I was assigned to represent were originally LPG
 9
     clients, some of whom were then moved by LPG to Oakstone for servicing, and then,
10
11   when Oakstone was failing, moved to Phoenix for servicing, which had already received
12
     other LPG files. I later came to learn that some of these clients had also been moved to
13
14   Consumer Legal Group. To the best of my knowledge, Phoenix had few to no attorneys

15   to effectively represent LPG clients. I was never notified by either Phoenix or Consumer
16
     Legal Group that their attorneys would take over client representation and that a
17
18   substitution of attorney was forthcoming. I continued to represent LPG clients under
19
     LPG, as I had been directed by Mr. March to do.
20
21          23.    I never worked for Phoenix, in any capacity, nor was I ever approached

22   with an employment offer from Phoenix. After client files were sent from Oakstone to
23
     Phoenix, which was the firm collecting clients payments, local counsel attorneys and I
24
25   were the ones continuing doing the work and representing clients. Though client files
26
     were moved to Phoenix, I did not know who to contact at Phoenix for compensation
27
28   resulting from my continued representation of LPG clients, nor did Phoenix reach out to



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                DECLARATION OF ATTORNEY ISRAEL OROZCO                         7
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 1   me to discuss compensation. Yet, I continued representing these clients.
 2
            24.     On or around March 23, 2023, I received an offer letter from Greyson Law
 3
 4   Center from Ms. Harris of Greyson, by email from onboarding@greysonpc.com. The
 5
     offer letter was dated March 21, 2023. I received it on March 23, 2023, and signed it on
 6
 7   March 24, 2023.

 8          25.    As stated above, I made the decision on my own to accept employment
 9
     from Greyson Law Center as this would allow me to continue to represent LPG clients.
10
11          26.    I was not forced, coerced, or felt compelled to accept employment at
12
     Greyson. I accepted employment at Greyson, which at that point I understood was being
13
14   financed by Eng Taing. It was my choice to accept employment at Greyson as this would

15   allow me to continue representing LPG clients. I could have gone elsewhere.
16
            27.    Around this same time, on or about March 18, 2023, I was approached by
17
18   a representative of another law firm, Elite Legal Practice (“Elite”), based out of Las
19
     Vegas, Nevada, to consider joining their firm. On March 22, 2023, I accepted to meet
20
21   with the principal of Elite in Nevada and was provided an airplane ticket for my

22   transportation.
23
            28.    When I arrived at Elite’s office, Mr. Meier was also present and already
24
25   employed by Elite, along with one of his personal assistants that had worked with Mr.
26
     Meier in the FDCPA/Rosenthal department at the LPG office in Tustin. Other former
27
28   LPG employees were also present as they had decided to accept employment with Elite.



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                DECLARATION OF ATTORNEY ISRAEL OROZCO                         8
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 1          29.    My interview went well and was productive. Days later, towards the end
 2
     of March 2023 or early April 2023, I was offered an employment offer to join Elite. The
 3
 4   salary and benefits were competitive and indulging. Even so, I decided not to accept
 5
     employment at Elite. I instead weighed my options and decided to remain at Greyson.
 6
 7          30.    Near the end of April 2023, Scott Eadie, Jayde Trinh, and Han Trinh held

 8   an emergency attorney meeting and told us, local counsel attorneys, that Eng Taing and
 9
     his team pulled out their investments and support of Greyson Law Center.
10
11          31.    I, and some of the other attorneys reported that we had had trouble getting
12
     paid—either late pay, or no pay (in my case I had not been paid) for work performed for
13
14   LPG clients that had been moved to Phoenix.

15          32.     As Greyson had agreed to hire us as attorneys, on a W-2 basis, it was
16
     understood that Greyson would then try to contract with Phoenix so that local counsel
17
18   will be paid for the legal services we had been performing for LPG clients that had been
19
     moved to Phoenix. It became known that Phoenix had very few or no attorneys of their
20
21   own to handle the caseload that all local counsel at Greyson was servicing.

22          I declare under penalty of perjury that the foregoing is true and correct, and that
23
     this Declaration is executed by me at Brea, California, on April 17, 2024.
24
25
26                                      ————————————
27                                         ISRAEL OROZCO, ESQ.
28


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                DECLARATION OF ATTORNEY ISRAEL OROZCO                         9
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                        Exhibit “A”




                                                                            335
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Subject: California cases
Date: Thursday, February 9, 2023 at 7:12:48 AM Paciﬁc Standard Time
From: Richard Meier
To:      Israel Orozco

Israel,

As you know, today is my last day. Please ask Mars to ﬁle a subs9tu9on of counsel for all the Rosenthal
ﬁled cases in my name to put you on them. Each case should se@le pre@y quickly without a lot of work
(think De Lima). I am available for advice at

It has been an honor working with you...I mean that. You have a bright career ahead of you.

Best regards, Richard




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                        Exhibit “B”




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 1   Kathleen P. March, Esq., (CA SBN 80366)
 2   THE BANKRUPTCY LAW FIRM, PC
     10524 W. Pico Blvd, Suite 212, LA, CA 90064
 3   Phone: 310-559-9224;      Fax: 310-559-9133
 4   Email: kmarch@BKYLAWFIRM.com
     Counsel for Greyson Law Center PC
 5
 6
 7                          UNITED STATES BANKRUPTCY COURT

 8         OF THE CENTRAL DISTRICT OF CALIFORNIA—SANTA ANA DIV.

 9                                    Bankruptcy Case No. 8:23-bk-10571-SC
                                      Chapter 11
10     In re
11                                    DECLARATION OF ATTORNEY GEORGE
12                                    CHAMBERLAIN REGARDING WORKING FOR
      LITIGATION
13    PRACTICE                        GREYSON LAW CENTER PC
14    GROUP, PC
                                      This Declaration relates to Greyson Law Center PC’s
15                                    Motion for Administrative Claim [dkt.676 in LPG main
                                      bankruptcy case docket], which is set for hearing by
16                                    Bankruptcy Judge Scott Clarkson on:
      Debtor.
17                                    Date: April 25, 2024
                                      Time: 11:00 a.m.
18                                    Place: Courtroom of Bankruptcy Judge Scott Clarkson,
                                      by Zoom or in person at:
19                                    411 West Fourth Street, Courtroom 5C
20                                    Santa Ana, CA 92701-4593
21
22
                     DECLARATION OF ATTORNEY GEORGE CHAMBERLAIN
23
24             I, George Chamberlain, declare:
25
               1.    I make this Declaration regarding the Motion [dkt.676] of Greyson Law
26
27   Center, PC ("Greyson"), which moves the Bankruptcy Court to grant Greyson
28   allowance and payment of Greyson's administrative claim, to be paid to Greyson by the


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                DECLARATION OF ATTORNEY GEORGE CHAMBERLAIN                            1
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 1   bankruptcy estate of bankruptcy debtor Litigation Practice Group, PC ("LPG").
 2
            2.     I was employed by LPG, as a W2 attorney, from the summer of 2022 to
 3
 4   the winter of 2023.
 5
            3.     LPG experienced financial instability beginning in February 2023,
 6
 7   resulting in delayed employee compensation for several pay periods during the winter

 8   months of the same year.
 9
            4.     Han Trinh and Jayde Trinh, who were also employed by LPG at that
10
11   time, advised me and other LPG attorneys, in a meeting, that the situation at LPG
12
     would most likely not improve and that payroll would most likely continue being late
13
14   due to LPG's financial issues.

15          5.     Han and Jayde informed us that Tony Diab and LPG managing attorney
16
     Daniel March, Esq. had advised them that LPG would begin the process of shutting
17
18   down, which would take around a year, and that we were encouraged to seek
19
     employment elsewhere. They also mentioned a job opportunity with a new law firm,
20
21   Oakstone, which would be taking over representation of some LPG clients, as

22   Oakstone was better equipped to service these clients given LPG's current condition.
23
            6.     Han and Jayde told us they would continue doing work for LPG to assist
24
25   with the shutdown process.
26
            7.      I received an employment offer letter from Oakstone Law Group in or
27
28   around February 2023.

            8.     Even if I had not chosen to be employed by Oakstone, I still would have
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     _________________________________________________________________________________________________
                DECLARATION OF ATTORNEY GEORGE CHAMBERLAIN                            2
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 1   resigned from LPG due to its financial problems.
 2
            9.     Additionally, had I not joined Oakstone, I would not have been able to
 3
 4   continue working on the cases of the LPG clients assigned to me, as those clients' files
 5
     had been transferred to Oakstone for servicing.
 6
 7          10.    During my employment with Oakstone, I had to contact Han and/or

 8   Jayde at LPG to seek their assistance regarding issues concerning the LPG clients that
 9
     LPG had sent to Oakstone for servicing, as Oakstone lacked personnel to address such
10
11   queries.
12
            11.    In or around March 2023 I received an offer letter from Greyson Law
13
14   Center from Ms. Harris of Greyson, by email from onboarding@greysonpc.com with

15   all the onboarding information
16
            12.     I chose to accept the employment offer letter from Greyson Law Center
17
18   and my start date was in or around March 2023.
19
            13.     I was not forced or coerced; I was eager to be employed as a W-2
20
21   employee of Greyson Law Center.

22          14.    However, near the end of April 2023, Scott Eadie, Jayde Trinh, and Han
23
     Trinh held an emergency attorney meeting and informed certain attorneys that Eng
24
25   Taing and his associates had withdrawn their investments and support for Greyson
26
     Law Center.
27
28          15.    During that same meeting, Scott Eadie, Jayde Trinh, and Han Trinh

     brainstormed with us on how Greyson could survive without financial support from
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                DECLARATION OF ATTORNEY GEORGE CHAMBERLAIN                            3
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 1   Eng Taing.
 2
            16.    In that same meeting, Scott Eadie, Jayde Trinh, and Han Trinh discussed
 3
 4   strategy addressing the survival of Greyson without financial support from Eng Taing.
 5
            17.     Upon information and belief, Greyson agreed to hire attorneys who
 6
 7   wished to be employed by them on a W-2 basis with Phoenix paying Greyson $2,000

 8   per case for each state court case we appeared in to defend consumer clients for
 9
     Phoenix.
10
11          18.    Upon information and belief, the $2,000 per case figure was based on
12
     some attorneys reporting that they were supposed to be paid approximately $800 to
13
14   $2,500 per state court lawsuit they appeared in to defend consumer clients by law firms

15   they worked for, such as Phoenix Law and Consumer Legal Group.
16
            I declare under penalty of perjury that the foregoing is true and correct, and that
17
18   this Declaration is executed by me in Charleston, West Virginia, on April 16, 2024.
19
20
21                                         ————————————
                                           GEORGE CHAMBERLAIN
22
23
24
25
26
27
28


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                DECLARATION OF ATTORNEY GEORGE CHAMBERLAIN                            4
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 1   Kathleen P. March, Esq., (CA SBN 80366)
 2   THE BANKRUPTCY LAW FIRM, PC
     10524 W. Pico Blvd, Suite 212, LA, CA 90064
 3   Phone: 310-559-9224;      Fax: 310-559-9133
 4   Email: kmarch@BKYLAWFIRM.com
     Counsel for Greyson Law Center PC
 5
 6
 7                          UNITED STATES BANKRUPTCY COURT

 8         OF THE CENTRAL DISTRICT OF CALIFORNIA—SANTA ANA DIV.

 9                                    Bankruptcy Case No. 8:23-bk-10571-SC
                                      Chapter 11
10     In re
11                                    DECLARATION OF ATTORNEY Haley
12                                    Simmoneau
      LITIGATION
13    PRACTICE                        REGARDING WORKING FOR GREYSON LAW
14    GROUP, PC
                                      CENTER PC
15                                    This Declaration relates to Greyson Law Center PC’s
16                                    Motion for Administrative Claim [dkt.676 in LPG main
      Debtor.                         bankruptcy case docket], which is set for hearing by
17                                    Bankruptcy Judge Scott Clarkson on:
                                      Date: April 25, 2024
18                                    Time: 11:00 a.m.
19                                    Place: Courtroom of Bankruptcy Judge Scott Clarkson,
                                      by Zoom or in person at:
20                                    411 West Fourth Street, Courtroom 5C
21                                    Santa Ana, CA 92701-4593
22
23
24                   DECLARATION OF ATTORNEY HALEY SIMMONEAU

25             I, Haley Simmoneau, declare:
26
               1.    I make this Declaration regarding the Motion [dkt.676] of Greyson Law
27
28   Center, PC (“Greyson”), which moves the Bankruptcy Court to grant Greyson

     allowance and payment of Greyson’s administrative claim, to be paid to Greyson by
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                DECLARATION OF ATTORNEY HALEY SIMMONEAU                           1
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 1   the bankruptcy estate of bankruptcy debtor Litigation Practice Group, PC (“LPG”).
 2
            2.      I was employed by LPG, as a W2 attorney, from June 2022 to February
 3
 4   2023. In addition to my employment, I was permitted to hire 2 Paralegals and a Legal
 5
     Assistant under LPG.
 6
 7          3.      LPG became unstable by February 2023. Pay was received

 8   approximately six to seven days late for each pay period in February 2023.
 9
            4.     Due to the tardiness of pay and need for staff, I personally had to front
10
11   money for staff that were paid late.
12
            5.     Han Trinh, LPG Administrator, and Jayde Trinh, LPG General Counsel,
13
14   informed myself and other LPG attorneys, in an attorney meeting, that the situation at

15   LPG would most likely not improve and that payroll will most likely continue being
16
     late due to LPG’s financial issues.
17
18          6.     Han and Jayde let us all know during this meeting that Tony Diab and
19
     LPG managing attorney Daniel March, Esq. had told them that LPG would be winding
20
21   up, which would take around a year, and that we were encouraged to seek employment

22   elsewhere. Han and Jayde informed us there was a job opportunity with a new law
23
     firm, Oakstone Law Group (“Oakstone”) which would be taking over representation of
24
25   some of the LPG clients, because Oakstone was better equipped to service the LPG
26
     clients due to LPG’s present condition. My caseload was sizeable as I was in charge of
27
28   Oklahoma and Texas and the attorneys for those states had either quit or been

     previously terminated.
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                                                                                           353
                DECLARATION OF ATTORNEY HALEY SIMMONEAU                           2
 Case 8:23-bk-10571-SC      Doc 1124 Filed 04/18/24 Entered 04/18/24 19:48:10             Desc
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 1          7.      Han and Jayde informed us they would continue doing work for LPG to
 2
     assist LPG with LPG’s winding up and they would attempt to be available to assist
 3
 4   with any LPG related issues.
 5
            8.      I received an employment offer letter from Oakstone Law Group on or
 6
 7   around February 18, 2023. I willingly chose to accept the employment offer letter from

 8   Oakstone and my start date was on or around February 20, 2023.
 9
            9.     If I had not chosen to be employed by Oakstone, I still would have had to
10
11   resign from LPG, because of the failure of LPG to continually miss W-2 salary to
12
     myself and my staff. The financial problems at LPG was a deciding factor in my
13
14   decision to accept the Oakstone job offer.

15          10.    In addition, had I not gone to Oakstone, I could not have continued to
16
     work on the cases of the LPG clients assigned to me due to lack of payment on these
17
18   files, many of the client’s files had been sent to Oakstone to service, and the expense to
19
     withdraw from the number of files assigned to me would bankrupt myself.
20
21          11.     During my employment with Oakstone, I had to repeatedly contact Han

22   and Jayde, at LPG, to get their help regarding issues concerning the LPG clients that
23
     LPG had sent to Oakstone for servicing, because Oakstone had no one to answer such
24
25   questions. Han and Jayde also assisted in allowing myself and staff to maintain access
26
     to LPG systems or email in order to properly service these clients.
27
28          12.    At this time not all files were transferred to another firm and some files

     were transferred to many other firms, Phoenix Law Group (“Phoenix”) and Consumer
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                DECLARATION OF ATTORNEY HALEY SIMMONEAU                           3
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 1   Law Group (“CLG”) . While working for Oakstone, I continued to service non-
 2
     Oakstone files from LPG as well with no compensation for this.
 3
 4          13.     Later, we were informed that any LPG files maintained at Oakstone
 5
     were transferred from Oakstone, to Phoenix, for servicing, because Oakstone was
 6
 7   failing. When the cases went to Phoenix, I still had to repeatedly contact Han and

 8   Jayde at LPG, to get their help regarding issues concerning the LPG clients that were
 9
     now at Phoenix, because I couldn’t reach anyone at Phoenix who could answer my
10
11   questions, and I needed my questions answered, to represent my clients effectively.
12
            14.    The consumer clients who were defendants in those state court suits were
13
14   originally LPG clients, who were then moved by LPG to Oakstone for servicing, and

15   then, when Oakstone was failing, were moved to Phoenix for servicing.
16
            15.    To my knowledge, Phoenix didn’t have any attorneys to do that state
17
18   court defense work, except for Ty Carss, Esq., who couldn’t possibly do all that work,
19
     and couldn’t represent consumer clients in states other than the state where Carss was
20
21   admitted to practice law.

22          16.    I did not work directly for Phoenix as either a W-2 employee or an
23
     independent contractor. I attempted to contact Phoenix regarding continuing to service
24
25   the Phoenix Clients. No response was received. I received no pay from Phoenix at all
26
     for work defending those lawsuits. I paid my staff directly for their services with no
27
28   response from Phoenix Law about pay, so that the clients would not be left with no

     representation. This placed a substantial financial burden on myself however, the LPG
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                DECLARATION OF ATTORNEY HALEY SIMMONEAU                           4
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 1   clients were put through a harrowing situation, and I could not in good conscience
 2
     abandon them. I had a duty to continue representation until Courts released me from
 3
 4   my obligation or I was able to resolve their case in some way.
 5
            17.     Phoenix was collecting clients’ payments while local counsel attorneys
 6
 7   were the ones doing the work for the clients. Without pay directly from Phoenix or

 8   another alternative, I could not continue to work on these LPG files.
 9
            18.    In March 2023, I was informed of a possible job with Greyson Law
10
11   Center (“Greyson”). I expressed interest in this, as my staff and I had no steady
12
     income. I was informed that Eng Taing, a wealthy investor, was financing this firm and
13
14   no financial issues would come up. It was my understanding that Scott Eadie was the

15   Owner/Managing Attorney, and that Han Trinh would assist him in getting things set
16
     up. We were informed that Jayde and Han would eventually be joining us at Greyson
17
18   Law Center, should we receive an offer their and accept it.
19
            19.     On or around March 23, 2023, I received an offer letter from Greyson
20
21   Law Center from Ms. Harris of Greyson, by email

22   from onboarding@greysonpc.com with all the onboarding information.
23
            20.     I chose to accept the employment offer letter from Greyson and my start
24
25   date was on or around March 27, 2023.
26
            21.     I had limited amount of time and money to continue to dedicate to LPG
27
28   files with no pay. With no response from Phoenix or CLG, whose LPG files I had been

     servicing, I had to make a decision quickly. Again, staff was being paid by myself,
     ———————————————————————————————————————————————
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                                                                                           356
                DECLARATION OF ATTORNEY HALEY SIMMONEAU                           5
 Case 8:23-bk-10571-SC      Doc 1124 Filed 04/18/24 Entered 04/18/24 19:48:10             Desc
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 1   personally, if their pay was late or did not arrive at all.
 2
            22.      I was not forced or coerced, I was eager to be employed as a W-2
 3
 4   employee of Greyson Law Center, which at that point I understood was being financed
 5
     by Eng Taing.
 6
 7          23.    However, near the end of April 2023, Scott Eadie, Jayde Trinh, and Han

 8   Trinh held an emergency attorney meeting and informed us “local counsel” attorneys
 9
     that Eng Taing and his people pulled out their investments and support of Greyson
10
11   Law Center.
12
            24.    In that same meeting, Scott Eadie, Jayde Trinh, and Han Trinh
13
14   brainstormed with us on how Greyson could survive without financial support from

15   Eng Taing. None of us wanted to work without getting paid.
16
            25.    Many attorneys reported that they had had trouble getting paid--either
17
18   late pay, or no pay--for work done for Phoenix Law. I informed everyone that I had no
19
     response from Phoenix and that at this point they could substitute counsel in for the
20
21   files they had. Most of the attorneys that had done work for Phoenix directly, said they

22   did not want to continue working for Phoenix directly, because of the slow pay/no pay
23
     problem. I agreed with several attorneys that it would be better to be an employee of
24
25   Greyson and have Greyson reach out directly to Phoenix in order to contract with
26
     them to pay Greyson to supply Greyson attorneys to appear in state court suits, for
27
28   Phoenix, to defend consumer clients being sued for alleged debts owed to the creditors

     suing those consumer clients in state court suits. Phoenix would pay Greyson, and that
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                                                                                           357
                DECLARATION OF ATTORNEY HALEY SIMMONEAU                           6
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 1   would enable Greyson to pay us our W-2 Greyson salaries, from what Phoenix paid
 2
     Greyson.
 3
 4          26.     Greyson agreed to hire attorneys us attorneys, who wished to be hired by
 5
     Greyson, on a W-2 basis, and agreed that Greyson would then try to contract with
 6
 7   Phoenix, for Phoenix to pay Greyson $2,000 per case, for each state court case we

 8   appeared in, defending consumer defendant clients for Phoenix.
 9
            27.    The $2,000 per case figure was because some of the attorneys said they
10
11   were supposed to be paid approximately $800 to $2,500, per state court lawsuit they
12
     appeared in to defend consumer clients in, by Law Firms they did work for (Phoenix
13
14   Law, Consumer Legal Group, and other outside firms).

15          I declare under penalty of perjury that the foregoing is true and correct, and that
16
     this Declaration is executed by me at Oklahoma City, Oklahoma on April 15, 2024.
17
18
19
20
21                                                     ————————————
                                                       HALEY SIMMONEAU, ESQ.
22                                                     Licensed in OK, TX, & DC
23                                                     PO BOX 1310
                                                       Mustang, OK 73064
24                                                     405-212-3945
25
26
27
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                                                                                           358
                DECLARATION OF ATTORNEY HALEY SIMMONEAU                           7
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 1   Kathleen P. March, Esq., (CA SBN 80366)
 2   THE BANKRUPTCY LAW FIRM, PC
     10524 W. Pico Blvd, Suite 212, LA, CA 90064
 3   Phone: 310-559-9224;      Fax: 310-559-9133
 4   Email: kmarch@BKYLAWFIRM.com
     Counsel for Greyson Law Center PC
 5
 6
 7                         UNITED STATES BANKRUPTCY COURT

 8         OF THE CENTRAL DISTRICT OF CALIFORNIA—SANTA ANA DIV.

 9                                    Bankruptcy Case No. 8:23-bk-10571-SC
                                      Chapter 11
10     In re
11                                    DECLARATION OF LINDA PREY
12                                    This Declaration relates to Han Trinh and Jayde Trinh’s
      LITIGATION
                                      Motion for Administrative Claim [dkt. 674 and dkt.
13    PRACTICE
                                      675] in LPG main bankruptcy case docket], which is set
14    GROUP, PC
                                      for hearing by Bankruptcy Judge Scott Clarkson on:
15                                    Date: April 25, 2024
                                      Time: 11:00 a.m.
16                                    Place: Courtroom of Bankruptcy Judge Scott Clarkson,
      Debtor.                         by Zoom or in person at:
17                                    411 West Fourth Street, Courtroom 5C
18                                    Santa Ana, CA 92701-4593

19                  DECLARATION OF LINDA PREY
20
               I, LINDA PREY, declare:
21
22             1.   I make this Declaration in support of Han Trinh and Jayde Trinh’s
23
     Motion [dkt. 674 and dkt. 675], which seeks payment, by debtor Litigation Practice
24
25   Group PC’s (“LPG”) bankruptcy estate, for the work Han Trinh and Jayde Trinh did

26   for LPG, from when LPG filed bankruptcy on 3/20/23, to when LPG’s bankruptcy
27
     Trustee did lockouts, on 6/2/23.
28
               2.   Everything I say in this Declaration I know of my own personal

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     _________________________________________________________________________________________________
                                                                                           359
                DECLARATION OF LINDA PREY            1
 Case 8:23-bk-10571-SC      Doc 1124 Filed 04/18/24 Entered 04/18/24 19:48:10             Desc
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 1   knowledge.
 2
            3.     I was an employee of LPG in 2023, and my job duty at LPG was related
 3
 4   to Document Control under the direction of Han Trinh.
 5
            4.     I left LPG around 03/03/2023.
 6
 7          5.      But then Han Trinh asked me to return to LPG, on or around 03/30/2023

 8   to assist with the wind up of LPG, because most of the LPG employees had already left
 9
     or been terminated, and Han’s team, which included me, were the only LPG personnel
10
11   trained to the LPG legal operations process and workflow.
12
            6.     I came back to LPG, to help Han with her work for LPG, and helped Han
13
14   with her work for LPG, remotely from the last week of March 2023 to 06/02/23, which

15   was the date the LPG Trustee did the lockouts. I worked with Han, Jayde, and other
16
     individuals who chose to come back to assist Jayde and Han to do their work for LPG.
17
18          7.     Following LPG’s bankruptcy filing in March 2023 (it was not until April
19
     that I was told LPG’s bankruptcy was filed on 3/20/23), the administrative work for
20
21   LPG increased greatly from the number they were before LPG filed bankruptcy. In

22   addition to the usual emails and documents being sent from former and current LPG
23
     consumer clients, and from former LPG’s “local counsel” attorneys defending former
24
25   and current LPG clients in state court lawsuits throughout the US, which Han’s LPG
26
     team handled before LPG filed bankruptcy, there were many more emails and
27
28   documents being sent to LPG, after LPG filed bankruptcy.

            8.     These many additional emails and documents coming into LPG, were
     ———————————————————————————————————————————————
     _________________________________________________________________________________________________
                                                                                           360
                DECLARATION OF LINDA PREY            2
 Case 8:23-bk-10571-SC      Doc 1124 Filed 04/18/24 Entered 04/18/24 19:48:10             Desc
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 1   also handled by Han Trinh and our team, including me, Maria Thach, Michael Vu,
 2
     Brenda Mendez, and Morgan Lee. Those additional emails asked about many new
 3
 4   issues. This included former local counsel attorneys asking whether the law firms the
 5
     clients they were servicing had been sent to, by LPG, would still honor the same terms
 6
 7   of their agreement with former LPG’s “local counsel” attorneys who were defending

 8   former LPG consumer clients in state court lawsuits, all over the US; whether
 9
     payments would need to start over entirely; how the transfer process would be initiated
10
11   or had occurred; what would happen to lawsuits already in active litigation, where new
12
     lawsuits needed to be sent etc.
13
14          9.     In addition, many clients contacted LPG, telling Han Trinh and Jayde

15   Trinh and the rest of their teams that they were unable to get in contact with the new
16
     firms that LPG had sent their files to, that they did not understand what was going on,
17
18   that they could not contact their attorneys who were defending them in state court suits,
19
     etc.
20
21          10.    From 03/20/23 through 06/02/23, all emails, phone calls, and other

22   communications to LPG, from clients, from vendors, opposing counsels, and from
23
     former LPG “local counsel” attorneys, ended up being directed to attorney Jayde Trinh
24
25   to respond to, assisted by Ramona Montiero and by Ana Gurrola, or to Han Trinh
26
     assisted by Maria Thach, Michael Vu, Brenda Mendez, Morgan Lee, and me.
27
28          11.     Additionally, around this time there was a major payment processing

     error, which was that clients were being charged twice, by double “draws” of fees
     ———————————————————————————————————————————————
     _________________________________________________________________________________________________
                                                                                           361
                DECLARATION OF LINDA PREY            3
 Case 8:23-bk-10571-SC       Doc 1124 Filed 04/18/24 Entered 04/18/24 19:48:10            Desc
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 1   taken out of the clients’ bank accounts/credit cards. That error caused huge problems
 2
     for the clients, resulting in even more communication from the clients in the form of
 3
 4   phone calls, emails, and letters to LPG. The clients reaching out to LPG were both
 5
     angry and panicked by the erroneous double draws. Jayde Trinh, assisted by Ramona
 6
 7   Montiero and by Ana Gurrola, had to attempt to calm the clients and to resolve the

 8   double draw errors. Han Trinh, assisted by Maria Thach, Michael Vu, Brenda Mendez,
 9
     Morgan Lee, and myself, had to keep track of those clients to make sure those clients
10
11   get reimbursed and that all of their concerns were addressed as best as possible with
12
     what was left of LPG.
13
14           12.   All of the tasks I have describe here, were handled exclusively by our

15   team under the direction of Han Trinh. Jayde Trinh, as the only attorney on the team,
16
     was overseeing all these tasks daily and was instructing her team and the rest of us on
17
18   how they should respond, until LPG’s bankruptcy trustee did the lockouts, on
19
     06/02/23.
20
21           I declare under penalty of perjury that the foregoing is true and correct, and that

22   this Declaration is executed by me at __________________,
                                           Eastvale            California, on April ____,
                                                                                     14
23
     2024.
24
25                                      ————————————
                                                LINDA PREY
26
27
28


     ———————————————————————————————————————————————
     _________________________________________________________________________________________________
                                                                                           362
                DECLARATION OF LINDA PREY            4
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 1   Kathleen P. March, Esq., (CA SBN 80366)
 2   THE BANKRUPTCY LAW FIRM, PC
     10524 W. Pico Blvd, Suite 212, LA, CA 90064
 3   Phone: 310-559-9224;      Fax: 310-559-9133
 4   Email: kmarch@BKYLAWFIRM.com
     Counsel for Greyson Law Center PC
 5
 6
 7                         UNITED STATES BANKRUPTCY COURT

 8         OF THE CENTRAL DISTRICT OF CALIFORNIA—SANTA ANA DIV.

 9                                    Bankruptcy Case No. 8:23-bk-10571-SC
                                      Chapter 11
10     In re
11                                    DECLARATION OF MARIA THACH
12                                    This Declaration relates to Han Trinh and Jayde Trinh’s
      LITIGATION
                                      Motion for Administrative Claim [dkt. 674 and dkt.
13    PRACTICE
                                      675] in LPG main bankruptcy case docket], which is set
14    GROUP, PC
                                      for hearing by Bankruptcy Judge Scott Clarkson on:
15                                    Date: April 25, 2024
                                      Time: 11:00 a.m.
16                                    Place: Courtroom of Bankruptcy Judge Scott Clarkson,
      Debtor.                         by Zoom or in person at:
17                                    411 West Fourth Street, Courtroom 5C
18                                    Santa Ana, CA 92701-4593

19                  DECLARATION OF MARIA THACH
20
               I, MARIA THACH, declare:
21
22             1.   I make this Declaration in support of Han Trinh and Jayde Trinh’s
23
     Motion [dkt. 674 and dkt. 675], which seeks payment, by debtor Litigation Practice
24
25   Group PC’s (“LPG”) bankruptcy estate, for the work Han Trinh and Jayde Trinh did

26   for LPG, from when LPG filed bankruptcy on 3/20/23, to when LPG’s bankruptcy
27
     Trustee did lockouts, on 6/2/23.
28
               2.   Everything I say in this Declaration I know of my own personal
     ———————————————————————————————————————————————
     _________________________________________________________________________________________________
                                                                                           363
                DECLARATION OF MARIA THACH                       1
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 1   knowledge.
 2
            3.     I was an employee of LPG in 2023, and my job duty at LPG was related
 3
 4   to Payment, Document Control and Legal Operations under the direction of Han Trinh.
 5
            4.     I left LPG around 03/6/2023.
 6
 7          5.      But then Han Trinh asked me to return to LPG, on or around 04/06/2023

 8   to assist with the wind up of LPG, because most of the LPG employees had already left
 9
     or been terminated, and Han’s team, which included me, were the only LPG personnel
10
11   trained to the LPG legal operations process and workflow.
12
            6.     I came back to LPG, to help Han with her work for LPG, remotely from
13
14   the first week of April 2023 to 06/02/23, which was the date the LPG Trustee did the

15   lockouts. I worked with Han, Jayde, and other individuals who chose to come back to
16
     assist Jayde and Han to do their work for LPG.
17
18          7.     Following LPG’s bankruptcy filing in March 2023 (it was not until April
19
     that I was told LPG’s bankruptcy was filed on 3/20/23), the administrative work for
20
21   LPG increased greatly from the number they were before LPG filed bankruptcy. In

22   addition to the usual emails and documents being sent from former and current LPG
23
     consumer clients, and from former LPG’s “local counsel” attorneys defending former
24
25   and current LPG clients in state court lawsuits throughout the US, which Han’s LPG
26
     team handled before LPG filed bankruptcy, there were many more emails and
27
28   documents being sent to LPG, after LPG filed bankruptcy.

            8.     These many additional emails and documents coming into LPG, were
     ———————————————————————————————————————————————
     _________________________________________________________________________________________________
                                                                                           364
                DECLARATION OF MARIA THACH                       2
 Case 8:23-bk-10571-SC      Doc 1124 Filed 04/18/24 Entered 04/18/24 19:48:10             Desc
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 1   also handled by Han Trinh and our team, including me, Michael Vu, Morgan Lee,
 2
     Linda Prey, and Brenda Mendez. Those additional emails asked about many new
 3
 4   issues. This included former local counsel attorneys asking whether the law firms the
 5
     clients they were servicing had been sent to, by LPG, would still honor the same terms
 6
 7   of their agreement with former LPG’s “local counsel” attorneys who were defending

 8   former LPG consumer clients in state court lawsuits, all over the US; whether
 9
     payments would need to start over entirely; how the transfer process would be initiated
10
11   or had occurred; what would happen to lawsuits already in active litigation, where new
12
     lawsuits needed to be sent etc.
13
14          9.     In addition, many clients contacted LPG, telling Han Trinh and Jayde

15   Trinh and the rest of their teams that they were unable to get in contact with the new
16
     firms that LPG had sent their files to, that they did not understand what was going on,
17
18   that they could not contact their attorneys who were defending them in state court suits,
19
     etc.
20
21          10.    From 03/20/23 through 06/02/23, all emails, phone calls, and other

22   communications to LPG, from clients, from vendors, opposing counsels, and from
23
     former LPG “local counsel” attorneys, ended up being directed to attorney Jayde Trinh
24
25   to respond to, assisted by Ramona Montiero and by Ana Gurrola, or to Han Trinh
26
     assisted by Michael Vu, Morgan Lee, Linda Prey, Brenda Mendez, and me.
27
28          11.     Additionally, around this time there was a major payment processing

     error, which was that clients were being charged twice, by double “draws” of fees
     ———————————————————————————————————————————————
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                                                                                           365
                DECLARATION OF MARIA THACH                       3
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 1   taken out of the clients’ bank accounts/credit cards. That error caused huge problems
 2
     for the clients, resulting in even more communication from the clients in the form of
 3
 4   phone calls, emails, and letters to LPG. The clients reaching out to LPG were both
 5
     angry and panicked by the erroneous double draws. Jayde Trinh, assisted by Ramona
 6
 7   Montiero and by Ana Gurrola, had to attempt to calm the clients and to resolve the

 8   double draw errors. Han Trinh, assisted by Michael Vu, Morgan Lee, Linda Prey,
 9
     Brenda Mendez, and myself, had to keep track of those clients to make sure those
10
11   clients get reimbursed and that all of their concerns were addressed as best as possible
12
     with what was left of LPG.
13
14           12.   All of the tasks I have describe here, were handled exclusively by our

15   team under the direction of Han Trinh. Jayde Trinh, as the only attorney on the team,
16
     was overseeing all these tasks daily and was instructing her team and the rest of us on
17
18   how they should respond, until LPG’s bankruptcy trustee did the lockouts, on
19
     06/02/23.
20
21           I declare under penalty of perjury that the foregoing is true and correct, and that

22   this Declaration is executed by me at __________________,
                                               Antelope        California, on April ____,
                                                                                    14
23
     2024.
24
25                                       ————————————
                                                MARIA THACH
26
27
28


     ———————————————————————————————————————————————
     _________________________________________________________________________________________________
                                                                                           366
                DECLARATION OF MARIA THACH                       4
 Case 8:23-bk-10571-SC      Doc 1124 Filed 04/18/24 Entered 04/18/24 19:48:10             Desc
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 1   Kathleen P. March, Esq., (CA SBN 80366)
 2   THE BANKRUPTCY LAW FIRM, PC
     10524 W. Pico Blvd, Suite 212, LA, CA 90064
 3   Phone: 310-559-9224;      Fax: 310-559-9133
 4   Email: kmarch@BKYLAWFIRM.com
     Counsel for Greyson Law Center PC
 5
 6
 7                         UNITED STATES BANKRUPTCY COURT

 8         OF THE CENTRAL DISTRICT OF CALIFORNIA—SANTA ANA DIV.

 9                                    Bankruptcy Case No. 8:23-bk-10571-SC
                                      Chapter 11
10     In re
11                                    DECLARATION OF MICHAEL VU
12                                    This Declaration relates to Han Trinh and Jayde Trinh’s
      LITIGATION
                                      Motion for Administrative Claim [dkt. 674 and dkt.
13    PRACTICE
                                      675] in LPG main bankruptcy case docket], which is set
14    GROUP, PC
                                      for hearing by Bankruptcy Judge Scott Clarkson on:
15                                    Date: April 25, 2024
                                      Time: 11:00 a.m.
16                                    Place: Courtroom of Bankruptcy Judge Scott Clarkson,
      Debtor.                         by Zoom or in person at:
17                                    411 West Fourth Street, Courtroom 5C
18                                    Santa Ana, CA 92701-4593

19                  DECLARATION OF MICHAEL VU
20
               I, MICHAEL VU, declare:
21
22             1.   I make this Declaration in support of Han Trinh and Jayde Trinh’s
23
     Motion [dkt. 674 and dkt. 675], which seeks payment, by debtor Litigation Practice
24
25   Group PC’s (“LPG”) bankruptcy estate, for the work Han Trinh and Jayde Trinh did

26   for LPG, from when LPG filed bankruptcy on 3/20/23, to when LPG’s bankruptcy
27
     Trustee did lockouts, on 6/2/23.
28
               2.   Everything I say in this Declaration I know of my own personal
     ———————————————————————————————————————————————
     _________________________________________________________________________________________________
                                                                                           367
                DECLARATION OF MICHAEL VU            1
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 1   knowledge.
 2
            3.     I was an employee of LPG in 2023, and my job duty at LPG was related
 3
 4   to Document Control and Legal Operations under the direction of Han Trinh.
 5
            4.     I left LPG around 03/03/2023.
 6
 7          5.      But then Han Trinh asked me to return to LPG, on or around 03/30/2023

 8   to assist with the wind up of LPG, because most of the LPG employees had already left
 9
     or been terminated, and Han’s team, which included me, were the only LPG personnel
10
11   trained to the LPG legal operations process and workflow.
12
            6.     I came back to LPG, to help Han with her work for LPG, and helped Han
13
14   with her work for LPG, remotely from the last week of March 2023 to 06/02/23, which

15   was the date the LPG Trustee did the lockouts. I worked with Han, Jayde, and other
16
     individuals who chose to come back to assist Jayde and Han to do their work for LPG.
17
18          7.     Following LPG’s bankruptcy filing in March 2023 (it was not until April
19
     that I was told LPG’s bankruptcy was filed on 3/20/23), the administrative work for
20
21   LPG increased greatly from the number they were before LPG filed bankruptcy. In

22   addition to the usual emails and documents being sent from former and current LPG
23
     consumer clients, and from former LPG’s “local counsel” attorneys defending former
24
25   and current LPG clients in state court lawsuits throughout the US, which Han’s LPG
26
     team handled before LPG filed bankruptcy, there were many more emails and
27
28   documents being sent to LPG, after LPG filed bankruptcy.

            8.     These many additional emails and documents coming into LPG, were
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                DECLARATION OF MICHAEL VU            2
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 1   also handled by Han Trinh and our team, including me, Maria Thach, Morgan Lee,
 2
     Linda Prey, and Brenda Mendez. Those additional emails asked about many new
 3
 4   issues. This included former local counsel attorneys asking whether the law firms the
 5
     clients they were servicing had been sent to, by LPG, would still honor the same terms
 6
 7   of their agreement with former LPG’s “local counsel” attorneys who were defending

 8   former LPG consumer clients in state court lawsuits, all over the US; whether
 9
     payments would need to start over entirely; how the transfer process would be initiated
10
11   or had occurred; what would happen to lawsuits already in active litigation, where new
12
     lawsuits needed to be sent etc.
13
14          9.     In addition, many clients contacted LPG, telling Han Trinh and Jayde

15   Trinh and the rest of their teams that they were unable to get in contact with the new
16
     firms that LPG had sent their files to, that they did not understand what was going on,
17
18   that they could not contact their attorneys who were defending them in state court suits,
19
     etc.
20
21          10.    From 03/20/23 through 06/02/23, all emails, phone calls, and other

22   communications to LPG, from clients, from vendors, opposing counsels, and from
23
     former LPG “local counsel” attorneys, ended up being directed to attorney Jayde Trinh
24
25   to respond to, assisted by Ramona Montiero and by Ana Gurrola, or to Han Trinh
26
     assisted by Maria Thach, Morgan Lee, Linda Prey, Brenda Mendez, and me.
27
28          11.     Additionally, around this time there was a major payment processing

     error, which was that clients were being charged twice, by double “draws” of fees
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                DECLARATION OF MICHAEL VU            3
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 1   taken out of the clients’ bank accounts/credit cards. That error caused huge problems
 2
     for the clients, resulting in even more communication from the clients in the form of
 3
 4   phone calls, emails, and letters to LPG. The clients reaching out to LPG were both
 5
     angry and panicked by the erroneous double draws. Jayde Trinh, assisted by Ramona
 6
 7   Montiero and by Ana Gurrola, had to attempt to calm the clients and to resolve the

 8   double draw errors. Han Trinh, assisted by Maria Thach, Morgan Lee, Linda Prey,
 9
     Brenda Mendez, and myself, had to keep track of those clients to make sure those
10
11   clients get reimbursed and that all of their concerns were addressed as best as possible
12
     with what was left of LPG.
13
14           12.   All of the tasks I have describe here, were handled exclusively by our

15   team under the direction of Han Trinh. Jayde Trinh, as the only attorney on the team,
16
     was overseeing all these tasks daily and was instructing her team and the rest of us on
17
18   how they should respond, until LPG’s bankruptcy trustee did the lockouts, on
19
     06/02/23.
20
21           I declare under penalty of perjury that the foregoing is true and correct, and that

22   this Declaration is executed by me at __________________,
                                           Garden Grove        California, on April ____,
                                                                                    15th

23
     2024.
24
25                                      ————————————
                                               MICHAEL VU
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   Kathleen P. March, Esq., (CA SBN 80366)
   THE BANKRUPTCY LAW FIRM, PC
   10524 W. Pico Blvd, Suite 212, LA, CA 90064
   Phone: 310-559-9224;      Fax: 310-559-9133
   Email: kmarch@BKYLAWFIRM.com
   Counsel for Greyson Law Center PC


                         UNITED STATES BANKRUPTCY COURT
          OF THE CENTRAL DISTRICT OF CALIFORNIA—SANTA ANA DIV.
                                   Bankruptcy Case No. 8:23-bk-10571-SC
                                   Chapter 11
     In re
                                   DECLARATION OF MORGAN LEE
                        This Declaration relates to Han Trinh and Jayde Trinh’s
    LITIGATION PRACTICE
                        Motion for Administrative Claim [dkt. 674 and dkt.
    GROUP, PC
                        675] in LPG main bankruptcy case docket], which is set
                        for hearing by Bankruptcy Judge Scott Clarkson on:
                        Date: April 25, 2024
                        Time: 11:00 a.m.
    Debtor.
                        Place: Courtroom of Bankruptcy Judge Scott Clarkson,
                        by Zoom or in person at:
                        411 West Fourth Street, Courtroom 5C
                        Santa Ana, CA 92701-4593


                  DECLARATION OF MORGAN LEE

             I, MORGAN LEE, declare:

             1.   I make this Declaration in support of Han Trinh and Jayde Trinh’s

   Motion [dkt. 674 and dkt. 675], which seeks payment, by debtor Litigation Practice

   Group PC’s (“LPG”) bankruptcy estate, for the work Han Trinh and Jayde Trinh did

   for LPG, from when LPG filed bankruptcy on 3/20/23, to when LPG’s bankruptcy

   Trustee did lockouts, on 6/2/23.

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          2.    Everything I say in this Declaration I know of my own personal

   knowledge.

          3.    I was an employee of LPG in 2023, and my job duty at LPG was related

   to Document Control under the direction of Han Trinh.

          4.    I left LPG around 03/03/2023.

          5.     But then Han Trinh asked me to return to LPG, on or around 03/30/2023

   to assist with the wind up of LPG, because most of the LPG employees had already left

   or been terminated, and Han’s team, which included me, were the only LPG personnel

   trained to the LPG legal operations process and workflow.

          6.    I came back to LPG, to help Han with her work for LPG, and helped Han

   with her work for LPG, remotely from the last week of March 2023 to 06/02/23, which

   was the date the LPG Trustee did the lockouts. I worked with Han, Jayde, and other

   individuals who chose to come back to assist Jayde and Han to do their work for LPG.

          7.    Following LPG’s bankruptcy filing in March 2023 (it was not until April

   that I was told LPG’s bankruptcy was filed on 3/20/23), the administrative work for

   LPG increased greatly from the number they were before LPG filed bankruptcy. In

   addition to the usual emails and documents being sent from former and current LPG

   consumer clients, and from former LPG’s “local counsel” attorneys defending former

   and current LPG clients in state court lawsuits throughout the US, which Han’s LPG

   team handled before LPG filed bankruptcy, there were many more emails and

   documents being sent to LPG, after LPG filed bankruptcy.
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          8.    These many additional emails and documents coming into LPG, were

   also handled by Han Trinh and our team, including me, Maria Thach, Michael Vu,

   Linda Prey, and Brenda Mendez. Those additional emails asked about many new

   issues. This included former local counsel attorneys asking whether the law firms the

   clients they were servicing had been sent to, by LPG, would still honor the same terms

   of their agreement with former LPG’s “local counsel” attorneys who were defending

   former LPG consumer clients in state court lawsuits, all over the US; whether

   payments would need to start over entirely; how the transfer process would be initiated

   or had occurred; what would happen to lawsuits already in active litigation, where new

   lawsuits needed to be sent etc.

          9.    In addition, many clients contacted LPG, telling Han Trinh and Jayde

   Trinh and the rest of their teams that they were unable to get in contact with the new

   firms that LPG had sent their files to, that they did not understand what was going on,

   that they could not contact their attorneys who were defending them in state court suits,

   etc.

          10.   From 03/20/23 through 06/02/23, all emails, phone calls, and other

   communications to LPG, from clients, from vendors, opposing counsels, and from

   former LPG “local counsel” attorneys, ended up being directed to attorney Jayde Trinh

   to respond to, assisted by Ramona Montiero and by Ana Gurrola, or to Han Trinh

   assisted by Maria Thach, Michael Vu, Linda Prey, Brenda Mendez, and me.

          11.    Additionally, around this time there was a major payment processing
   ———————————————————————————————————————————————___
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              DECLARATION OF MORGAN LEE             3
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   error, which was that clients were being charged twice, by double “draws” of fees

   taken out of the clients’ bank accounts/credit cards. That error caused huge problems

   for the clients, resulting in even more communication from the clients in the form of

   phone calls, emails, and letters to LPG. The clients reaching out to LPG were both

   angry and panicked by the erroneous double draws. Jayde Trinh, assisted by Ramona

   Montiero and by Ana Gurrola, had to attempt to calm the clients and to resolve the

   double draw errors. Han Trinh, assisted by Maria Thach, Michael Vu, Linda Prey,

   Brenda Mendez, and myself, had to keep track of those clients to make sure those

   clients get reimbursed and that all of their concerns were addressed as best as possible

   with what was left of LPG.

          12.   All of the tasks I have described here, were handled exclusively by our

   team under the direction of Han Trinh. Jayde Trinh, as the only attorney on the team,

   was overseeing all these tasks daily and was instructing her team and the rest of us on

   how they should respond, until LPG’s bankruptcy trustee did the lockouts, on 06/02/23.

          I declare under penalty of perjury that the foregoing is true and correct, and that

   this Declaration is executed by me at WILDOMAR, California, on April 14, 2024.

                                     ————————————
                                            MORGAN LEE




   ———————————————————————————————————————————————___
   ______________________________________________________________________________________________
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                                         PROOF OF SERVICE OF DOCUMENT
I am over the age of 18 and not a party to this bankruptcy case or adversary proceeding. My business address is:
10524 W. Pico Blvd., Ste. 212, Los Angeles, CA 90064

A true and correct copy of the foregoing document entitled (specify):          REPLY OF HAN TRINH (“HAN”), TO
TRUSTEE MARSHACK’S OPPOSITION TO HAN’S MOTION [DKT.674] FOR ALLOWANCE AND PAYMENT OF
ADMINISTRATIVE CLAIM PER 11 U.S.C. §503(b)(1)(A);
    REPLY DECLARATION OF HAN TRINH;
DECLARATION OF TONY DIAB SIGNED 4/14/24; DECLARATIONS OF MORGAN LEE, BRENDA MENDEZ, LINDA
PREY, MARIA THACH, RAMONA MONTIERO, ANA GURROLA, MICHAEL VU, HALEY SIMMONEAU, ESQ., COLLIN
O. DONNER, ESQ., GEORGE CHAMBERLAIN, ESQ., PETER OSTERMAN, ESQ., DENISE MIKRUT, ESQ., DAVID
ORR, ESQ., ISRAEL OROZCO, ESQ., AND KATHLEEN P. MARCH, ESQ. will be served or was served (a) on the
judge in chambers in the form and manner required by LBR 5005-2(d); and (b) in the manner stated below:

1. TO BE SERVED BY THE COURT VIA NOTICE OF ELECTRONIC FILING (NEF): Pursuant to controlling General
Orders and LBR, the foregoing document will be served by the court via NEF and hyperlink to the document. On (date)
___4/18/24___, I checked the CM/ECF docket for this bankruptcy case or adversary proceeding and determined that the
following persons are on the Electronic Mail Notice List to receive NEF transmission at the email addresses stated below:

See next page

                                                                                            Service information continued on attached page

2. SERVED BY UNITED STATES MAIL:
On (date) ___4/18/24___, I served the following persons and/or entities at the last known addresses in this bankruptcy
case or adversary proceeding by placing a true and correct copy thereof in a sealed envelope in the United States mail,
first class, postage prepaid, and addressed as follows. Listing the judge here constitutes a declaration that mailing to the
judge will be completed no later than 24 hours after the document is filed.

The Litigation Practice Group P.C.
17542 17th St
Suite 100
Tustin, CA 92780                                                                            Service information continued on attached page

3. SERVED BY PERSONAL DELIVERY, OVERNIGHT MAIL, FACSIMILE TRANSMISSION OR EMAIL (state method
for each person or entity served): Pursuant to F.R.Civ.P. 5 and/or controlling LBR, on (date) ___4/18/24___, I served the
following persons and/or entities by personal delivery, overnight mail service, or (for those who consented in writing to
such service method), by facsimile transmission and/or email as follows. Listing the judge here constitutes a declaration
that personal delivery on, or overnight mail to, the judge will be completed no later than 24 hours after the document is
filed.

Hon. Scott Clarkson
United States Bankruptcy Court
411 West Fourth Street, Suite 5130
Santa Ana, CA 92701-4593
                                                                                            Service information continued on attached page

I declare under penalty of perjury under the laws of the United States that the foregoing is true and correct.

 4/18/24                      Kathleen P. March                                                 /s/ Kathleen P. March
 Date                           Printed Name                                                    Signature




            This form is mandatory. It has been approved for use by the United States Bankruptcy Court for the Central District of California.


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1. TO BE SERVED BY THE COURT VIA NOTICE OF ELECTRONIC FILING (NEF):



       Bradford Barnhardt bbarnhardt@marshackhays.com,
        bbarnhardt@ecf.courtdrive.com,alinares@ecf.courtdrive.com
       Eric Bensamochan eric@eblawfirm.us, G63723@notify.cincompass.com
       Michael Jay Berger michael.berger@bankruptcypower.com,
        yathida.nipha@bankruptcypower.com;michael.berger@ecf.inforuptcy.com
       Ethan J Birnberg birnberg@portersimon.com, reich@portersimon.com
       Peter W Bowie peter.bowie@dinsmore.com, caron.burke@dinsmore.com
       Ronald K Brown ron@rkbrownlaw.com
       Christopher Celentino christopher.celentino@dinsmore.com, caron.burke@dinsmore.com
       Shawn M Christianson cmcintire@buchalter.com, schristianson@buchalter.com
       Randall Baldwin Clark rbc@randallbclark.com
       Leslie A Cohen leslie@lesliecohenlaw.com, jaime@lesliecohenlaw.com;clare@lesliecohenlaw.com
       Michael W Davis mdavis@dtolaw.com, jmartinez@dtolaw.com
       Anthony Paul Diehl anthony@apdlaw.net, Diehl.AnthonyB112492@notify.bestcase.com,ecf@apdlaw.net
       Jenny L Doling jd@jdl.law,
        dolingjr92080@notify.bestcase.com;15994@notices.nextchapterbk.com;jdoling@jubileebk.net
       Daniel A Edelman dedelman@edcombs.com, courtecl@edcombs.com
       Meredith Fahn fahn@sbcglobal.net
       William P Fennell william.fennell@fennelllaw.com,
        luralene.schultz@fennelllaw.com;wpf@ecf.courtdrive.com;hala.hammi@fennelllaw.com;naomi.cwalinski@fenne
        lllaw.com;samantha.larimer@fennelllaw.com
       Alan W Forsley alan.forsley@flpllp.com, awf@fkllawfirm.com,awf@fl-lawyers.net,addy@flpllp.com
       Marc C Forsythe mforsythe@goeforlaw.com, mforsythe@goeforlaw.com;dcyrankowski@goeforlaw.com
       Jeremy Freedman jeremy.freedman@dinsmore.com, nicolette.murphy@dinsmore.com
       Eric Gassman erg@gassmanlawgroup.com, gassman.ericb112993@notify.bestcase.com
       Christopher Ghio christopher.ghio@dinsmore.com,
        nicolette.murphy@dinsmore.com;angelica.urena@dinsmore.com;deamira.romo@dinsmore.com
       Amy Lynn Ginsburg efilings@ginsburglawgroup.com
       Eric D Goldberg eric.goldberg@dlapiper.com, eric-goldberg-1103@ecf.pacerpro.com
       Jeffrey I Golden jgolden@go2.law,
        kadele@ecf.courtdrive.com;cbmeeker@gmail.com;lbracken@wgllp.com;dfitzgerald@go2.law;golden.jeffreyi.b1
        17954@notify.bestcase.com
       Richard H Golubow rgolubow@wghlawyers.com, jmartinez@wghlawyers.com;svillegas@wghlawyers.com
       Mark Mark Good mark@markgood.com
       David M Goodrich dgoodrich@go2.law, kadele@go2.law;dfitzgerald@go2.law;wggllp@ecf.courtdrive.com
       D Edward Hays ehays@marshackhays.com,
        ehays@ecf.courtdrive.com;alinares@ecf.courtdrive.com;cmendoza@marshackhays.com;cmendoza@ecf.courtdri
        ve.com
       Alan Craig Hochheiser ahochheiser@mauricewutscher.com, arodriguez@mauricewutscher.com
       Garrick A Hollander ghollander@wghlawyers.com, jmartinez@wghlawyers.com;svillegas@wghlawyers.com
       Brian L Holman b.holman@musickpeeler.com
       Richard L. Hyde richard@amintalati.com
       Peter L Isola pisola@hinshawlaw.com
       Razmig Izakelian razmigizakelian@quinnemanuel.com
       Sara Johnston sara.johnston@dinsmore.com
       Sweeney Kelly kelly@ksgklaw.com
       Joon M Khang joon@khanglaw.com
       Ira David Kharasch ikharasch@pszjlaw.com

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       Meredith King mking@fsl.law, ssanchez@fsl.law;jwilson@fsl.law
       Nicholas A Koffroth nkoffroth@foxrothschild.com, khoang@foxrothschild.com
       David S Kupetz David.Kupetz@lockelord.com, mylene.ruiz@lockelord.com
       Christopher J Langley chris@slclawoffice.com,
        langleycr75251@notify.bestcase.com;ecf123@casedriver.com;john@slclawoffice.com
       Kelli Ann Lee Kelli.lee@dinsmore.com, kristy.allen@dinsmore.com
       Matthew A Lesnick matt@lesnickprince.com, matt@ecf.inforuptcy.com;jmack@lesnickprince.com
       Daniel A Lev daniel.lev@gmlaw.com, cheryl.caldwell@gmlaw.com;dlev@ecf.courtdrive.com
       Britteny Leyva bleyva@mayerbrown.com,
        2396393420@filings.docketbird.com;KAWhite@mayerbrown.com;ladocket@mayerbrown.com
       Marc A Lieberman marc.lieberman@flpllp.com, safa.saleem@flpllp.com,addy@flpllp.com
       Michael D Lieberman mlieberman@lipsonneilson.com
       Yosina M Lissebeck Yosina.Lissebeck@Dinsmore.com, caron.burke@dinsmore.com
       Mitchell B Ludwig mbl@kpclegal.com, kad@kpclegal.com
       Daniel S March marchlawoffice@gmail.com, marchdr94019@notify.bestcase.com
       Kathleen P March kmarch@bkylawfirm.com, kmarch3@sbcglobal.net,kmarch@sbcglobal.net
       Mark J Markus bklawr@bklaw.com, markjmarkus@gmail.com;markus.markj.r112926@notify.bestcase.com
       Richard A Marshack (TR) pkraus@marshackhays.com, ecf.alert+Marshack@titlexi.com
       Laila Masud lmasud@marshackhays.com,
        lmasud@ecf.courtdrive.com;lbuchanan@marshackhays.com;alinares@ecf.courtdrive.com
       Sarah S. Mattingly sarah.mattingly@dinsmore.com
       William McCormick Bill.McCormick@ag.tn.gov
       Kenneth Misken Kenneth.M.Misken@usdoj.gov
       Byron Z Moldo bmoldo@ecjlaw.com, aantonio@ecjlaw.com,dperez@ecjlaw.com
       Glenn D. Moses gmoses@venable.com,
        cascavone@venable.com;ipmalcolm@venable.com;jadelgado@venable.com
       Jamie D Mottola Jamie.Mottola@dinsmore.com, jhanawalt@ecf.inforuptcy.com
       Alan I Nahmias anahmias@mbn.law, jdale@mbn.law
       Victoria Newmark vnewmark@pszjlaw.com
       Jacob Newsum-Bothamley jacob.bothamley@dinsmore.com,
        angelica.urena@dinsmore.com;deamira.romo@dinsmore.com
       Queenie K Ng queenie.k.ng@usdoj.gov
       Israel Orozco israel@iolawcorp.com
       Keith C Owens kowens@foxrothschild.com, khoang@foxrothschild.com
       Lisa Patel lpatel@lesnickprince.com, jmack@lesnickprince.com;jnavarro@lesnickprince.com
       Michael R Pinkston rpinkston@seyfarth.com,
        jmcdermott@seyfarth.com,sfocalendar@seyfarth.com,5314522420@filings.docketbird.com,bankruptcydocket@s
        eyfarth.com
       Douglas A Plazak dplazak@rhlaw.com
       Tyler Powell tyler.powell@dinsmore.com, jennifer.pitcock@dinsmore.com;rosetta.mitchell@dinsmore.com
       Daniel H Reiss dhr@lnbyg.com, dhr@ecf.inforuptcy.com
       Ronald N Richards ron@ronaldrichards.com, 7206828420@filings.docketbird.com
       Vanessa Rodriguez vanessa.rodriguez@dinsmore.com, angelica.urena@dinsmore.com
       Kevin Alan Rogers krogers@wellsmar.com
       Gregory M Salvato gsalvato@salvatoboufadel.com,
        calendar@salvatolawoffices.com;jboufadel@salvatoboufadel.com;gsalvato@ecf.inforuptcy.com
       Olivia Scott olivia.scott3@bclplaw.com
       Jonathan Serrano jonathan.serrano@dinsmore.com
       Maureen J Shanahan Mstotaro@aol.com
       Paul R Shankman PShankman@fortislaw.com, info@fortislaw.com
       Zev Shechtman Zev.Shechtman@saul.com, zshechtman@ecf.inforuptcy.com;easter.santamaria@saul.com

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       Jeffrey M Singletary jsingletary@swlaw.com, rmckay@swlaw.com
       Leslie Skorheim leslie.skorheim@usdoj.gov
       Adam D Stein-Sapir info@pfllc.com
       Howard Steinberg steinbergh@gtlaw.com, pearsallt@gtlaw.com;NEF-BK@gtlaw.com;howard-steinberg-
        6096@ecf.pacerpro.com
       Andrew Still astill@swlaw.com, kcollins@swlaw.com
       Michael R Totaro Ocbkatty@aol.com
       United States Trustee (SA) ustpregion16.sa.ecf@usdoj.gov
       William J Wall wwall@wall-law.com
       Sharon Z. Weiss sharon.weiss@bclplaw.com,
        raul.morales@bclplaw.com,REC_KM_ECF_SMO@bclplaw.com
       Johnny White JWhite@wrslawyers.com, jlee@wrslawyers.com
       Reina Zepeda rzepeda@omniagnt.com




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June 2012                                                                                           F 9013-3.1.PROOF.SERVICE
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